Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 1 of 128 Page ID #5962




                 EXHIBIT A
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 2 of 128 Page ID #5963




                       Deposition of
                  Dominik Alexander, PhD


                            Date: March 8, 2023

         Case: PARAQUAT PRODUCTS LIABILITY LITIGATION

                               No. JCCP 5031


                    Court Reporter: Rebecca A. Harp


                          Paszkiewicz Court Reporting
                              Phone: 618-307-9320
                             Toll-Free: 855-595-3577
                               Fax: 618-855-9513
                              www.spreporting.com
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 3 of 128 Page ID #5964




                                                                     Page 1
                  SUPERIOR COURT OF THE STATE OF CALIFORNIA


                            COUNTY OF CONTRA COSTA


          In re: PARAQUAT PRODUCTS
          LIABILITY LITIGATION     Case No. 3:21-md-3004-NJR

          This Document Relates     United States District Court
          to All Cases              for the Southern District of
                                    Illinois, MDL No. 3004
          _______________________________________________________
          COORDINATION PROCEEDING            Case No. JCCP 5031
          SPECIAL TITLE (RULE 3.550)         CIVMS 5031


          PARAQUAT CASES


          This Document Relates to:
          All Coordinated Actions


                        Video Deposition of DOMINIK ALEXANDER, PhD,
                     taken on behalf of Plaintiffs at 4655
                     Executive Drive, San Diego, California
                     commencing at 9:08 a.m. on Wednesday,
                     March 8, 2023, before Rebecca A. Harp,
                     Certified Shorthand Reporter No. 11895.
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 4 of 128 Page ID #5965
                                               Dominik Alexander, PhD
                                                    March 8, 2023
                                                           Page 2                                                 Page 4
     1               APPEARANCES                                     1           APPEARANCES (cont.)
     2                                                               2
     3
                                                                     3   ALSO PRESENT:
     4   On behalf of the MDL Plaintiffs:
                                                                     4
     5
           Weisman Kennedy & Berris, Co., LPA, by
                                                                          (Appearing remotely)
     6     ERIC E. KENNEDY, ESQ.                                     5
           DAVID C. LANDEVER (Appearing remotely)                    6    Special Master Randi Ellis
     7     2900 Detroit Avenue, Second Floor                         7
           Cleveland, OH 44113                                       8    Carol Moore, Certified Legal Investigator/Assistant
     8     (216) 781-1111                                                 Amelia Woods, Paralegal
     9                                                               9    Sarah Merced, Paralegal
    10     - and -                                                        LEVIN PAPANTONIO
    11                                                              10
    12     LEVIN PAPANTONIO RAFFERTY PROCTOR BUCHANAN O'BRIEN       11
           BARR MOUGEY, P.A., by
                                                                    12
    13     SARAH SHOEMAKE DOLES, ESQ. (Appearing remotely)
           316 South Baylen Street
                                                                          Elijah Ochoa, Videographer
    14     Pensacola, FL 32502
                                                                    13    Scott Sill, Exhibit Tech
    15                                                                    PASZKIEWICZ REPORTING
    16     - and -                                                  14
    17                                                              15
    18     Walkup Melodia Kelly & Schoenberger, by                  16
           MICHAEL A. KELLY, ESQ.                                   17
    19     KHALDOUN A. BAGHDADI, ESQ. (Appearing remotely)          18
           650 California Street                                    19
    20     San Francisco, CA 94108                                  20
           (415) 889-2919
                                                                    21
    21
    22
                                                                    22
    23                                                              23
    24                                                              24
    25                                                              25


                                                           Page 3                                                 Page 5
     1               APPEARANCES (cont.)                             1              INDEX                  PAGE
     2
     3                                                               2
          On behalf of the Defendants Syngenta AG and Syngenta       3   BY MR. KENNEDY                              7
     4    Crop Protection LLC:                                       4
     5
            KIRKLAND & ELLIS LLP                                     5              EXHIBITS
     6      PAUL SAMPSON, ESQ.                                       6
            60 East South Temple, Suite 700
     7      Salt Lake City, UT 84111                                 7   101- Dr. Wells report                273
            (801) 877-8140                                           8   102- Dr. Alexander's report             10
     8
     9                                                               9   102A- Dr. Alexander's supplemental report      10
    10                                                              10   103- Breckenridge article             103
          On behalf of the Defendant CHEVRON, USA, INC.:
    11
                                                                    11   105- Dr. Wells deposition              261
    12      JONES DAY                                               12   106- Liou study                    157
            SHARYL A. REISMAN, ESQ.                                 13   108- Shrestha study                  169
    13      LEON F. DEJULIUS, JR., ESQ. (Appearing remotely)
            250 Vesey Street                                        14   112- Dr. Alexander's invoices            29
    14      New York, NY 10281-1047                                 15   113- Dr. Alexander's data sheet           89
            (212) 326-3939
    15                                                              16   114- Venable article                 68
    16                                                              17   118- Vaccari study                  115
            JONES DAY
    17      DEBRA BELOTT, ESQ.
                                                                    18   122- EPA quality criteria document         198
            51 Louisiana Avenue, N.W.                               19   124- Tanner study                   152
    18      Washington, D.C. 20001                                  20
            (202) 879-3689
    19                                                              21
    20                                                              22
    21
    22                                                              23
    23                                                              24
    24                                                              25
    25


                                                                                         2 (Pages 2 to 5)
                                Paszkiewicz Court Reporting
                         (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 5 of 128 Page ID #5966
                                         Dominik Alexander, PhD
                                              March 8, 2023
                                                     Page 6                                                       Page 8
     1             SAN DIEGO, CALIFORNIA                            1     A All right.
     2           WEDNESDAY, MARCH 8, 2023                           2     Q Please state your full name for the record.
     3                 9:08 A.M.                                    3     A Dominic Dean Alexander.
     4                 ****                                         4     Q Your professional address?
     5         VIDEOGRAPHER: This is the videotaped                 5     A 16769 Bernardo Center Drive, San Diego,
     6   deposition of Dominik Alexander. Today's date is March     6   California 92128.
     7   8, 2023. The time is 9:08 a.m.                             7     Q And your professional address, is that a
     8         This case -- this is the case of in re               8   building, an office space? What is that?
     9   Paraquat Products Liability Litigation. The case           9     A That is my mailing address. The box is
    10   number 3:21-MD-3004-MJR. In the United States District    10   61K-144.
    11   Court for the Southern District of Illinois. MDL          11     Q And you are employed by a company?
    12   Number 3004. Also for the Superior Court of the State     12     A MetaMethod, correct.
    13   of California, County of Contra Costa.                    13     Q And you own the company?
    14         Coordination Proceeding Special Title Rule          14     A I do.
    15   3.550. Paraquat cases, Case Number                        15     Q And does Meta -- your company, MetaMethod,
    16   JCCP-5031-CIVMS-5031.                                     16   does that have a physical address and office space
    17         My name is Elijah Ochoa. I am representing          17   where you go to?
    18   Paszkiewicz Court Reporting. The court reporter is        18     A I lease an office location in -- nearby that
    19   Rebecca Harp, also representing Paszkiewicz Court         19   mailing address, yes.
    20   Reporting. This deposition is taking place at 4655        20     Q And what is address of what you lease?
    21   Executive Drive, San Diego, California 92121.             21     A The address, I believe it is also Bernardo
    22         Counselors, would you please state your             22   Center Way. It is San Diego, California 92128. It is
    23   appearances.                                              23   Premium Business Offices.
    24         MR. KENNEDY: Eric Kennedy on behalf of              24     Q So when you say it is Premium Business
    25   plaintiffs in the coordinated proceedings.                25   Offices, what does that mean?


                                                     Page 7                                                       Page 9
     1         MR. KELLY: Mike Kelly representing plaintiffs        1      A That is the building address. I don't recall
     2   in the state court proceedings.                            2   the specific number.
     3         MS. REISMAN: Sharyl Reisman representing             3      Q How many square feet do you lease in that
     4   Chevron in the MDL and the JCCP proceedings.               4   building?
     5         MS. BELOTT: Debra Belott on behalf of Chevron        5      A Relatively small office. One single office.
     6   as well.                                                   6      Q And you have employees at your company?
     7         MR. SAMPSON: Paul Sampson on behalf of               7      A I do. However, not in California.
     8   Syngenta.                                                  8      Q Where are those employees located?
     9         VIDEOGRAPHER: The court reporter may now             9      A Ann Arbor, Michigan, and Chicago.
    10   swear in the witness.                                     10      Q Do those folks work from their homes?
    11         COURT REPORTER: Do you solemnly state the           11      A They do.
    12   testimony you shall give today shall be the truth, the    12      Q And the names of these two employees?
    13   whole truth, and nothing but the truth?                   13      A Hannah Davis Jones. And then I have
    14         THE WITNESS: I do.                                  14   scientific contractors. Maggie Sadoff and Lynn Zwica.
    15                (EXAMINATION)                                15      Q When you say "scientific contractors," what
    16   BY MR. KENNEDY:                                           16   does that mean?
    17      Q Dr. Alexander, my name is Eric Kennedy. I            17      A 1099 contractors.
    18   apologize for not introducing myself to you earlier. I    18      Q So they are not your employees?
    19   will be asking you many questions over several hours      19      A Not salaried employees, no.
    20   today. You had your deposition taken before. Per          20      Q Last time you had your deposition taken was
    21   usual, if you don't understand my question, let me know   21   when?
    22   and I will rephrase it so hopefully you do. All right?    22      A I don't recall exactly. Best estimate,
    23      A Understood.                                          23   sometime in the past couple of weeks.
    24      Q If you don't hear it, let me know. I will            24      Q And the last time you appeared in a court?
    25   repeat it so you hopefully do.                            25      A Six weeks, perhaps. A month.


                                                                                          3 (Pages 6 to 9)
                          Paszkiewicz Court Reporting
                   (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 6 of 128 Page ID #5967
                                         Dominik Alexander, PhD
                                              March 8, 2023
                                                   Page 10                                                        Page 12
     1      Q Exhibit 102, if you want to pull that out.            1      A I believe those are the only ones.
     2   Exhibit 102 is your report dated 1/20/23.                  2         MS. REISMAN: The only other change is on the
     3          Is that a true and accurate copy of the report      3   front page. It is noted to be amended March 7th, 2023.
     4   dated 1/20/23?                                             4      Q (By Mr. Kennedy) I am going to will reference
     5      A I believe so, yes.                                    5   102 or 102-A throughout, and we can recognize the fact
     6      Q And we were provided yesterday with an                6   they are essentially the same other than the changes
     7   amendment to Exhibit 102. Do you have copies of that       7   you just articulated. Agreeable?
     8   with you? Let me -- I will mark that 102-A, is that        8      A Understand.
     9   all right?                                                 9      Q Other than the changes you have just
    10          MS. REISMAN: That is fine here.                    10   articulated any other changes you want to make to
    11      Q (By Mr. Kennedy) I will give you a copy of           11   Exhibit 102, that being your 1/20/23 report?
    12   Exhibit 102-A. Can you tell me the changes that have      12      A No other changes I can think of.
    13   been made with respect to your amended report, Exhibit    13      Q Is your report in Exhibit 102, 102-A, is that
    14   102-A?                                                    14   a complete and accurate statement of the opinions you
    15      A I believe I have those amendments here.              15   have arrived at in this case?
    16          MS. REISMAN: We sent you a redline. Did you        16      A Yes. That is an accurate summary of my
    17   receive that, the couple of pages?                        17   epidemiology opinions that I have articulated in this
    18          MR. KENNEDY: We did. I haven't reviewed it.        18   particular matter.
    19          MS. REISMAN: No problem at all. I wanted to        19      Q The review list that you have included within
    20   make sure you have received it.                           20   your report, is that a complete statement and listing
    21          MR. KENNEDY: Yes. We have received the             21   of everything that you have reviewed prior to today
    22   redline. Somebody smarter than me has reviewed it.        22   with respect to this case and your responsibilities?
    23   There is not going to be a lot of questions.              23      A I believe the bibliography as well as some
    24      Q (By Mr. Kennedy) If you can just articulate          24   other additional materials indicated towards the end of
    25   for me -- if it's not going to take a long time -- the    25   the report do include the sources that I reviewed and


                                                   Page 11                                                        Page 13
     1   changes between Exhibit 102 and 102-A?                     1   considered for the completion of my report.
     2      A There is a change on page 39 where it was             2          Now, in addition to that, there are some
     3   changed from chronic cardiac disease to voter controls.    3   documents and studies and reports within some other
     4   So it was a comparison group in the study by Hertzman.     4   reports. For example, Dr. Wells' report or
     5         There was a change on page 53, where it was          5   Dr. Siegel's report I would have reviewed as well.
     6   changed from the final category to the fourth category.    6      Q But Dr. Wells and Dr. Siegal's report, are
     7   And in addition, that says the fifth category includes     7   they listed in what you have reviewed?
     8   studies of manufacturing workers.                          8      A They are listed.
     9         And finally on page 117, there was a footnote        9      Q If we look at the text of your report, Exhibit
    10   change from one column to another column. And I           10   102, and we look at your review list, we will have the
    11   believe a change from where the text says two pluses to   11   totality of what you have reviewed in order to render
    12   three pluses.                                             12   your opinions. Is that accurate?
    13         MS. REISMAN: In the footnote?                       13      A If you also include some of the studies within
    14         THE WITNESS: In the footnote of that page.          14   Dr. Wells and Dr. Siegel's report, yes.
    15      Q (By Mr. Kennedy) What page is that?                  15      Q Okay. Specifically what within Dr. Wells and
    16      A Page 117.                                            16   Dr. Siegel's report have you reviewed that is not in
    17         MS. REISMAN: And because you don't have it in       17   your report and is not in your review list?
    18   front of you, the chart didn't change. It is just in      18      A I can't say that they are not in the
    19   the footnote he's saying that extra -- here is a copy.    19   bibliography. They may be. But I did review some
    20         MR. KENNEDY: That is the footnote you are           20   studies looking at agreement and validation pertaining
    21   going from two to three on Liou.                          21   to exposure, recall. Some studies of that nature.
    22         MS. REISMAN: In the footnote. The chart             22      Q These would be reviews and reports that are in
    23   reflected three. So the footnote was just edited.         23   Wells or Siegel's reports?
    24      Q (By Mr. Kennedy) Any other changes between           24      A That is correct. Again, they may be in my
    25   Exhibit 102 and 102-A?                                    25   bibliography as well. But in addition to that, for


                                                                                      4 (Pages 10 to 13)
                          Paszkiewicz Court Reporting
                   (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 7 of 128 Page ID #5968
                                         Dominik Alexander, PhD
                                              March 8, 2023
                                                   Page 14                                                        Page 16
     1   example, there was a report submitted by Exponent          1   though you did not reference the Exponent Tanner
     2   researchers that I reviewed as well.                       2   analysis in your report, you are telling us today you
     3     Q And is there any comment with respect to the           3   nonetheless considered it to some extent in your
     4   Exponent reanalysis of the Tanner 2011 data. Is that       4   review?
     5   what you are referring to?                                 5         MS. REISMAN: Objection. Form.
     6     A It is an Exponent report for which they                6         THE WITNESS: No. I looked at it because it
     7   provide data and analysis of at least some data, some      7   was, I believe, mentioned by Dr. Wells either in
     8   incomplete data, I believe that they received from         8   deposition or in his declaration or report. But again,
     9   Tanner.                                                    9   my opinions in this report are based on a summary of
    10         MS. REISMAN: Let me just say, I don't want          10   the analytical epidemiology studies that have been
    11   there to be any misunderstanding. Some of the studies     11   published in the peer-reviewed literature.
    12   that he just referenced may have been referenced in       12         The Exponent report was not one of those that
    13   Siegel's deposition but not his report. He references     13   were published. So while I did look at it because it
    14   both his report and deposition in his report.             14   was brought to my attention from review of -- I think
    15         THE WITNESS: I am sorry. Just to clarify.           15   Dr. Wells, it did not serve as a basis to formulate my
    16   The same, I think, would apply for Dr. Wells too. I       16   epidemiology opinions.
    17   did review Dr. Wells deposition.                          17      Q (By Mr. Kennedy) Without the deposition
    18     Q (By Mr. Kennedy) With respect to the Exponent         18   today, though, we would not know that you reviewed it,
    19   analysis of the Tanner 2011 data, do you make any         19   correct?
    20   comment on that in your report?                           20      A I am sorry. Without the?
    21     A I don't recall doing so.                              21      Q Without today's deposition and this
    22     Q Why not?                                              22   questioning, we would not know you had reviewed the
    23     A I focused for my evaluation on peer-reviewed          23   Tanner analysis -- or excuse me, the Exponent analysis
    24   published analytical epidemiology studies.                24   of the Tanner data, true?
    25     Q So your review would not have included your           25         MS. REISMAN: Objection. Form.


                                                   Page 15                                                        Page 17
     1   analysis and your understanding of the tanner 2011         1         THE WITNESS: I am not sure. I don't believe
     2   Exponent review?                                           2   I have cited it. However, I did express to you that I
     3         MS. REISMAN: Objection. Form.                        3   considered the wells declaration report and deposition
     4         THE WITNESS: I am not sure if I would                4   testimony.
     5   characterize it that way in terms of what Exponent did.    5         So to the extent that that information would
     6   I certainly did review their report where they             6   have been in either of those two sources, it would have
     7   performed, admittedly analysis on some incomplete data     7   been reviewed at least in some capacity.
     8   provided to them. But it is not a peer-reviewed            8      Q (By Mr. Kennedy) But it is not mentioned in
     9   publication and thus was not reviewed systematically by    9   your report, correct?
    10   me in the same light that the other published studies     10         MS. REISMAN: Asked and answered.
    11   were.                                                     11         THE WITNESS: It is again not cited within the
    12      Q (By Mr. Kennedy) So the Exponent review was          12   report, nor summarized within the report. Again, it
    13   not part of your systematic review; would that be         13   would be within the context of Dr. Wells' materials.
    14   correct?                                                  14      Q (By Mr. Kennedy) I have looked at a lot of
    15         MS. REISMAN: Objection. Form.                       15   reports. Certain portions of the reports seem to be
    16         THE WITNESS: It was not part of the published       16   repetitious of prior reports or portions seem to be
    17   analytical epidemiology studies that served as the        17   boilerplate that goes into each report.
    18   foundation for my principal epidemiology opinions.        18         Would that be an accurate statement?
    19      Q (By Mr. Kennedy) So the answer would be yes,         19      A I typically don't use the term "boilerplate"
    20   it was not included?                                      20   when I do reports. But many of the concepts overlap,
    21      A The Exponent analysis was considered, but the        21   meaning the concept of statistical significance doesn't
    22   analytical epidemiology studies that were published       22   change from one report to another. Or the concept of
    23   serves as the foundation for my opinions and those are    23   confidence intervals or other parameters for that
    24   summarized in my report.                                  24   matter.
    25      Q My question is: What you are saying is even          25         So there should be appropriately some


                                                                                      5 (Pages 14 to 17)
                          Paszkiewicz Court Reporting
                   (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 8 of 128 Page ID #5969
                                         Dominik Alexander, PhD
                                              March 8, 2023
                                                  Page 18                                                        Page 20
     1   consistency from report to report in terms of the         1      A It would not for the reasons that I gave.
     2   methodological and analytical aspects of epidemiology     2   Meaning that these epidemiology concepts don't change
     3   as a scientific discipline.                               3   from report to report.
     4      Q Look at page -- Exhibit 102 of the report. I         4      Q And with respect to your section on page 9 of
     5   want to take a look at the table of contents if we        5   this report, types of epidemiologic studies,
     6   could. Your qualifications, looking at the table of       6   descriptive and analytical standard portion of your
     7   contents, starting at page 4, is that boilerplate? I      7   reports, true?
     8   mean, that section appears in the vast majority of the    8      A The section is and these sections are. There
     9   reports that you author.                                  9   may be some nuances in terms of some of the specific
    10         MS. REISMAN: I'm just going to object to the       10   verbiage, but typically that type of dialogue would
    11   form given his response before.                          11   show up in certain types of expert reports that I
    12         Go ahead.                                          12   submit.
    13         THE WITNESS: You are saying the two                13      Q I am not talking about type of dialogue. I am
    14   paragraphs under Qualifications. Is that what you are    14   talking about word for word. Would that surprise you
    15   asking?                                                  15   if we looked at 17 reports from 2020, and it was
    16      Q (By Mr. Kennedy) Correct.                           16   essentially word for word?
    17      A That appears -- they do appear in reports, but      17      A It wouldn't surprise me for the reasons that I
    18   that is the first page of my CV, which I think is at     18   gave.
    19   the end of this document as well. So I think, yes, you   19      Q And association and Causation section in this
    20   can generally see that as well in the appendix.          20   report, a standard practically word for word section in
    21      Q So the answer is yes, correct, with respect to      21   each of your reports, would that be accurate also?
    22   my first question about qualifications. You have --      22      A In prior reports?
    23   you testified 58 times in 2020.                          23      Q Yes, sir.
    24         Would there be a report with respect to all of     24      A That wouldn't surprise me because these are
    25   those pieces of testimony that you gave?                 25   standard epidemiology principles that remain in tact.


                                                  Page 19                                                        Page 21
     1      A If I have testified, there would be a report.        1      Q Would this be the same with Interpretation of
     2      Q And is there a qualification section probably        2   Relative Risk section, Statistical Significance
     3   in all 58 of those reports just looking at 2020?          3   section, Statistical Association versus Causal
     4      A Not necessarily a section that indicates that.       4   Relationship section? Would that also be true,
     5   But this type of information would be provided because    5   essentially word for word those sections appeared in
     6   this type of information or these two paragraphs go       6   your reports?
     7   along with my CV that I typically produce.                7      A It wouldn't surprise me because I created the
     8      Q If you look at -- again, we are looking at           8   reports. Now you are saying essentially word for word.
     9   this report -- general principles of epidemiology,        9   Again, there may be some minor nuances in the dialogue,
    10   page 8. Is that something that appears in the vast       10   but it would not surprise me that these were in prior
    11   majority of your expert reports that you are hired to    11   reports for the reasons I gave.
    12   create, general principles of epidemiology?              12      Q And those sections we talked about thus far
    13      A Not necessarily. Depending on the type of           13   that appear essentially in all of your reports, are
    14   report that I am producing. It may appear for general    14   those sections put into your reports by your staff
    15   causation reports. I typically provide this type of      15   members? Or are those sections that you select and put
    16   information.                                             16   them into the reports?
    17      Q If I showed you 17 reports, if that section         17      A Just for clarification, they don't appear in
    18   appears in all 17 reports, just about word for word,     18   all my reports. They appear in some for general
    19   would that be surprising to you?                         19   causation reports. But these are sections written by
    20      A No. Not at all.                                     20   me only.
    21      Q Next it says epidemiologic measures in your         21      Q The section that says General Causation in
    22   table of contents, page 8. If I showed you 17 reports    22   Bradford Hill, that section starting on page 22, if you
    23   where epidemiology measures, that section was            23   are asked to address questions of general causation, is
    24   essentially word for word in 17 reports, from 2020,      24   that section essentially word for word in your general
    25   would that surprise you?                                 25   causation reports?


                                                                                     6 (Pages 18 to 21)
                          Paszkiewicz Court Reporting
                   (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 9 of 128 Page ID #5970
                                         Dominik Alexander, PhD
                                              March 8, 2023
                                                   Page 22                                                        Page 24
     1      A Well, I believe this section has shown up.            1      A She is my primary administrative assistant.
     2   There may be some examples of word for word in prior       2      Q And which of these folks, if any, goes
     3   reports. But again, it wouldn't surprise me that this      3   physically into your office space each day?
     4   section would show up in prior reports because the         4      A Only me.
     5   concepts and citations and articulation would remain       5      Q So you daily go physically to the office?
     6   the same from study or report to report.                   6      A Not every day. I do go to the office location
     7      Q And I am not talking about some reports.              7   not every single day.
     8   Again, if I were to show you 17 reports from 2020, with    8      Q Then the two contractors in Ann Arbor, what do
     9   essentially word for word on this section titled           9   they do?
    10   General Causation and Bradford Hill, would that be        10      A They have master's degree in science,
    11   surprising to you?                                        11   environmental health sciences and -- or master's in
    12      A It would not surprise me. You said 17                12   public health with the focus on environmental health
    13   reports, I think in 2020. I submitted many more than      13   science and risk assessment. And they assist me on
    14   17 reports in 2020.                                       14   research and consulting matters.
    15      Q I am not saying you haven't. I am saying             15      Q Consistent legal matters also?
    16   those are the ones we have collected so far. It may be    16      A Yes.
    17   all 58. I don't know. But I am just talking about 17.     17      Q And then the three contractors in -- was it
    18   Would that surprise you?                                  18   Chicago?
    19      A No. Not necessarily. It shouldn't for the            19      A That's correct.
    20   reasons I gave.                                           20      Q What do those folks do?
    21      Q All right. Now, you indicated that you have          21      A They primarily assist me in some
    22   one employee and two folks that work with you as          22   litigation-related matters.
    23   independent contractors. Would that be an accurate        23      Q Full-time employees, the contractors in Ann
    24   characterization of your company?                         24   Arbor and your contractors in Chicago, are they
    25      A There are a total of three salaried employees,       25   full-time employees?


                                                   Page 23                                                        Page 25
     1   two 1099 contractors in Ann Arbor, and three 1099          1      A If you define full-time as 40 hours a week,
     2   contractors in Chicago.                                    2   then no.
     3      Q Okay. The three salaried employees, who are           3      Q Are they paid hourly?
     4   the salaried employees?                                    4      A They are.
     5      A Myself, my wife, and Ms. Hannah Davis Jones.          5      Q And what are the hourly rates of the
     6      Q What is the -- what is your responsibility,           6   contractors?
     7   your role in the company?                                  7      A 250.
     8      A I am a principal epidemiologist. I am the             8      Q The percentage of revenue of your company that
     9   only PhD epidemiologist. And I perform epidemiology        9   comes from involvement in legal matters, directly or
    10   consulting and research activities. I write               10   indirectly as a consultant, what percentage of the
    11   manuscripts. I give presentations. I do peer reviews.     11   revenues come from that?
    12   I am on the editorial board of journals. I interact       12      A I am not sure of the proportion, but I would
    13   with universities.                                        13   say the majority of the revenue.
    14         I interact with epidemiology societies at           14      Q And what percentage comes from the creation of
    15   various conferences. I perform matters such as this       15   the medical articles for publication where those
    16   pertaining to litigation consulting. I perform            16   articles are being published on behalf of some industry
    17   statistical analyses.                                     17   or corporation?
    18      Q And the role of your wife in your company?           18      A Well, you are asking specifically for studies
    19      A How she primarily assists me, she has a master       19   that receive some industry support?
    20   of science degree. She primarily assists me in report     20      Q Yes, sir.
    21   formatting, some administrative duties, some editorial    21      A Not studies that I do for other -- without
    22   reviews.                                                  22   industry support, meaning if I am working with
    23      Q And then did you say there was a Ms. Jones?          23   university or --
    24      A Yes. Hannah Davis Jones.                             24      Q Correct. If there is any industry corporate
    25      Q What does she do?                                    25   support for the creation of the writing on article for


                                                                                      7 (Pages 22 to 25)
                          Paszkiewicz Court Reporting
                   (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 10 of 128 Page ID #5971
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 26                                                        Page 28
      1   publication, what percentage of your income comes from     1   has, but infrequently, if at all.
      2   that responsibility?                                       2     Q How long have you known Dr. Garabrant?
      3      A I don't know the exact breakdown, but a               3      A Seven or so years.
      4   smaller proportion.                                        4     Q How did you come to know him?
      5      Q So between the direct medical work and then           5      A I worked with him at his former company.
      6   the publication of articles for industry or                6     Q And what work did you do with him at his
      7   corporations, that is the majority income of your          7   former company?
      8   company. Would that be true?                               8      A I was a principal epidemiologist and office
      9      A Repeat that one more time.                            9   manager.
     10      Q If we had together the work you do related to        10     Q And as a principal epidemiologist, did you
     11   legal proceedings and legal issues, and we add that to    11   provide services to corporations in legal proceedings?
     12   the work that you do in writing articles for industries   12      A I did litigation consulting, if that falls
     13   or corporations, if we combine those, would that be the   13   under that category.
     14   majority of the revenues of your company?                 14     Q Is that the majority of the work that you did
     15         MS. REISMAN: Objection to form.                     15   for Dr. Garabrant?
     16         THE WITNESS: In terms of the breakdown,             16      A I wouldn't characterize it as performing work
     17   again, I am not sure of the exact breakdown. But as I     17   for Dr. Garabrant. I worked independently in a company
     18   stated earlier, I would say that's the majority of the    18   that he and another business partner had. But I would
     19   revenue would come from such matters. Now that is --      19   say it is a similar breakdown that I articulated
     20   just for clarification, that is not the majority of       20   earlier. But in terms of time spent, I would say that
     21   time spent.                                               21   over -- a little bit over 50 percent would be
     22      Q (By Mr. Kennedy) All right. How does your            22   nonlitigation consulting in terms of time.
     23   company market itself? What does it market itself as?     23     Q When you say "nonlitigation consulting," what
     24   A company providing what services?                        24   would that entail?
     25      A I don't.                                             25      A That would be working on research,


                                                    Page 27                                                        Page 29
      1      Q You don't do any marketing?                           1   collaborating with universities, performing statistical
      2      A In terms of, do you mean advertising?                 2   analyses, doing editorial board responsibilities, doing
      3      Q Well, that is a funny distinction.                    3   peer reviews.
      4   Advertising, marketing. When you go speak at DRI, that     4      Q Take a look at Exhibit 112, if we could. Is
      5   is marketing, correct?                                     5   Exhibit 112 a complete and accurate copy of your
      6      A No. Not for me. Not at all.                           6   billing invoices in relation to this current litigation
      7      Q That is not a way for you to get corporations         7   to date, not counting the last few days or whatnot?
      8   and defense lawyers to hire you?                           8         MS. REISMAN: Does this include the couple of
      9      A No.                                                   9   invoices we sent you with the report last night? Let
     10      Q How do you hold yourself out on your website         10   me explain what it is. This indicated it was -- the
     11   and, you know, any conversations? We are a company        11   two last invoices, they were half the amount. So we --
     12   that provides you with X.                                 12   so you would know there was another half, but we
     13      A I do none of that. I have a -- what is it, a         13   actually produced the invoices to you last night.
     14   URL or something like that for a website but nothing is   14         MR. KENNEDY: This would not include what you
     15   on it.                                                    15   produced last night.
     16      Q Ever receive referrals from Dr. Garabrant with       16         MS. REISMAN: Let me just tell you so you know
     17   respect to work related to legal proceedings?             17   and so the witness knows when he is looking at them.
     18      A Doctor who?                                          18   There were two additional invoices produced last night
     19      Q Garabrant.                                           19   that were merely the other half of what appears here.
     20      A Garabrant.                                           20   And if you look at the end -- you can look at the last
     21      Q I could be mispronouncing. From Michigan.            21   page as an example. The last page of Exhibit 112.
     22      A Dr. Garabrant.                                       22         MR. KENNEDY: It should be 23,000 and not
     23      Q I am sorry.                                          23   11,7-.
     24      A He may provide my name from time to time. I          24         MS. REISMAN: Exactly. So just so you know,
     25   am not sure. I have been told on a few cases that he      25   you have copies now of the other half that would fill


                                                                                       8 (Pages 26 to 29)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 11 of 128 Page ID #5972
                                         Dominik Alexander, PhD
                                              March 8, 2023
                                                   Page 30                                                       Page 32
      1   that out. But they did represent the full amount.        1      A There is not another invoice going to a
      2          MR. KENNEDY: If we look at Exhibit 112 and we     2   different firm.
      3   look at the dollar amounts and the time spent, all of    3      Q Sometimes I am a mediator for two different
      4   these should be doubled. Would that be correct?          4   law firms. I send one of them a bill for 100 bucks and
      5          MS. REISMAN: No, no. Just so he knows what        5   the other bill for 100 bucks. My total bill is 200.
      6   we produced, just the last two invoices.                 6   This billing here on between 10/25/21 for the senior
      7          MR. KENNEDY: Are the ones that should be          7   research associate for 3.2 hours, that would be the
      8   doubled?                                                 8   totality of the time billed and the amount billed?
      9          MS. REISMAN: Well, double if you look at the      9      A Yes. Going nowhere else other than this
     10   total due, but not double what it indicates in the      10   invoice for the amount that I invoiced for that
     11   invoices. The total amount is represented in the        11   particular person.
     12   invoice. Do you understand what I am saying?            12      Q Okay. And that particular person -- there
     13          MR. KENNEDY: Not at all.                         13   wasn't an additional invoice going to anybody else that
     14          MS. REISMAN: Here, turn to the last page.        14   would add to this, correct?
     15   Let me help. I don't want you to be confused. You see   15      A Not for that work performed. That's correct.
     16   total due?                                              16      Q So on 10/25/21, senior research associate, did
     17          MR. KENNEDY: You are so helpful. I thought I     17   a literature search article acquisition. Who was that
     18   came here to ask this witness questions.                18   person? Do you know?
     19          MS. REISMAN: I am so glad you think so.          19      A It may have been Lynn Zwica.
     20          MR. KENNEDY: Yes, I do.                          20      Q Not sure?
     21          MS. REISMAN: Total due is eleven seven.          21      A My best recollection is Lynn Zwica.
     22   11,700 on the last page. But if you look at the note,   22      Q And her qualifications are what?
     23   the total amount is 23,400. So it actually represents   23      A She has an MPH or a master of science from
     24   the total amount being billed by this invoice. But      24   University of Michigan.
     25   this specific one is only half. That is only the case   25      Q And any more specific as to what literature


                                                   Page 31                                                       Page 33
      1   for the last two invoices here. The other ones are       1   search articles acquisition that she did? Would that
      2   total invoices by the total due and the amount shown.    2   have been the beginning of the collection of medical
      3          MR. KENNEDY: All right.                           3   studies, epidemiologic studies, or you are not able to
      4      Q (By Mr. Kennedy) Let's look at page 1. Thank        4   tell from that?
      5   you.                                                     5      A Well, this likely would have been the start of
      6          MS. REISMAN: That was helpful. Wasn't it?         6   an epidemiology review looking for epidemiology studies
      7          MR. KENNEDY: Very helpful. I think you broke      7   on this topic area.
      8   your foot and you got more helpful.                      8      Q 10/27, senior research associate, 4.3 hours,
      9          MS. REISMAN: Not reasonable.                      9   Lynn Zwica or unable to tell?
     10          MR. KENNEDY: But again, it is early.             10      A Again, likely Lynn Zwica.
     11      Q (By Mr. Kennedy) Alexander Exhibit 112. Look       11      Q Again, probably a general look at that point
     12   at the first page, it says 10/25/21, correct?           12   in time the beginning of your systematic review in
     13      A Yes.                                               13   searching literature?
     14      Q And senior research associate. Did some work,      14      A For that entry, I believe that would have been
     15   correct?                                                15   assistance in formatting the table templates.
     16      A Correct.                                           16      Q What is that?
     17      Q And would the total hours of work they did be      17      A The tables are provided within the report. So
     18   3.2 hours?                                              18   there is different columns such as study author, year,
     19      A It would be the total amount I invoiced. Not       19   study design and so on.
     20   necessarily worked, but invoiced.                       20      Q Page 39, would that be the beginning of the
     21      Q So they could have done more, and you didn't       21   creation of these table templates such as we see
     22   invoice?                                                22   starting on page 39?
     23      A Yes.                                               23      A Those tables, yes.
     24      Q So there isn't another invoice going to            24      Q So Lynn Zwica after doing some research would
     25   another law firm, correct?                              25   begin to create tables such as we see on 39, is that


                                                                                     9 (Pages 30 to 33)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 12 of 128 Page ID #5973
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 34                                                       Page 36
      1   what your testimony is?                                    1   come under 10/27/21?
      2         MS. REISMAN: Object to form. I will also             2         MS. REISMAN: Objection. Form.
      3   assert an objection that drafts and communications with    3         THE WITNESS: That was done independently.
      4   nontestifying staff are not subject to the deposition.     4      Q (By Mr. Kennedy) Separate from what we are
      5   You can continue to ask your questions. I am just --       5   talking about on this date?
      6         MR. KENNEDY: I just want to know who created         6      A Yes.
      7   what.                                                      7      Q You have narrative summaries after these
      8         MS. REISMAN: I understand. I am putting that         8   tables of a long list of epidemiologic studies. Would
      9   out there so the witness knows as you are asking           9   that be included on what the research associate was
     10   questions.                                                10   doing on 10/27/21, the narratives with respect to
     11      Q (By Mr. Kennedy) The type of table we see on         11   individual epi studies?
     12   39, would be what corresponds to the 4.3 hours of Lynn    12         MS. REISMAN: Objection. Form.
     13   Zwica on 10/27/2022?                                      13         THE WITNESS: In terms of the narratives
     14         MS. REISMAN: Objection. Form.                       14   written by them specifically, no. I may have asked
     15         THE WITNESS: Well, again, I believe at that         15   them to review my writing for editorial purposes or to
     16   time it may have been the beginning of the templates.     16   cross-check the extraction of information from each
     17   So I want to be clear that the table templates under my   17   study.
     18   direction of what types of columns to provide and so      18      Q (By Mr. Kennedy) That is not the 10/27 entry?
     19   on.                                                       19      A It may include some of that as well to the
     20      Q (By Mr. Kennedy) Similar to what we are              20   extent I may have provided some information in any of
     21   seeing on page 39?                                        21   the tables. I may have asked Ms. Zwica to review the
     22      A Not necessarily the information extraction.          22   study to cross-check the extraction.
     23      Q Okay. You have no billing for 10/27/21, do           23      Q On 11/15/21, data extraction statistical
     24   you?                                                      24   models. This is the -- she would be engaged in
     25      A I did not provide an invoice for my time or          25   extracting data from epidemiologic studies; is that


                                                    Page 35                                                       Page 37
      1   record my time for that day or bill my time for that       1   true? Is that what that references, epidemiologic
      2   day, for that matter.                                      2   studies?
      3      Q Looking at your billing then, we have the             3      A Under my direction or validating my
      4   research associate at least beginning to structure         4   extraction.
      5   tables such as we see on 39, correct?                      5      Q And statistical models, what work was a senior
      6      A Template, not content.                                6   scientist doing on statistical models on 11/15/21?
      7      Q Do you have a specific memory of that date            7      A I don't recall specifically, but likely
      8   back on 10/27/21 as to what was done?                      8   something under my direction in terms of extracting
      9      A Not specifically other than what I articulated        9   information.
     10   to you.                                                   10      Q Meta-analysis, would that come under
     11      Q What other studies summary tables would this         11   statistical models.
     12   be referencing.                                           12          MS. REISMAN: Objection. Form.
     13         MS. REISMAN: Objection. Form.                       13          THE WITNESS: A senior scientist would not
     14      Q (By Mr. Kennedy) On 10/27/21 other than those        14   have performed a meta-analysis.
     15   that begin on page 39?                                    15      Q (By Mr. Kennedy) So what statistical models
     16      A I am not sure. To the extent there is any            16   if we are not looking here, your meta-analysis, what
     17   other formatting for any, I guess tables or figures,      17   statistical models would come under that heading for
     18   they would likely be represented. I believe I have        18   the 11/15/21 senior scientist?
     19   some illustrations in the epidemiology sections. Maybe    19      A That likely would involve a review of the data
     20   there is no some modifications there, but I don't         20   that I extracted and organized.
     21   really recall.                                            21      Q And who was the senior scientist doing this on
     22      Q There is a variety -- when you do your               22   11/15?
     23   meta-analysis, there is a variety of graphs. Would        23      A That likely would have been Maggie or Margaret
     24   that be included on what she was doing on 10/27/21, the   24   Sadoff.
     25   forest plots for your meta-analyses? Or does that not     25      Q Do you know which?


                                                                                     10 (Pages 34 to 37)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 13 of 128 Page ID #5974
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 38                                                        Page 40
      1      A Maggie or Margaret. It is the same.                   1   practice and that individual would perform searches to
      2      Q Same person?                                          2   see if they identify the same studies I did.
      3      A Depending on what day she goes by Maggie or           3      Q Down at the bottom, 1/19/22, senior research
      4   Margaret.                                                  4   associate. Who would that be?
      5      Q 11/16, more work then -- similar-type work            5      A Again, at that time it likely would have been
      6   being done by the senior scientist, 4.8 hours?             6   either one of the two. Either Lynn Zwica or Maggie
      7      A Where are you? 11/16?                                 7   Sadoff have.
      8      Q Correct.                                              8      Q And they -- descriptive epidemiology for
      9      A Yes. As articulated.                                  9   Parkinson's disease, 2.3 hours. What would that
     10      Q Can you cite to the pages of your report that        10   involve?
     11   were relate to the 4/16/21 data extraction and the        11      A For that entry, they likely would have
     12   statistical models?                                       12   assisted me in looking at rates or incidence and
     13          MS. REISMAN: Can you ask that again?               13   prevalence data for Parkinson's disease.
     14      Q (By Mr. Kennedy) Can you cite to the places          14      Q No billing for you on that date, is there?
     15   in your report that would relate to the data extraction   15      A Looks like I didn't bill for any time spent
     16   and statistical models that are being referenced on       16   that day.
     17   11/16/21 as being done by a senior scientist?             17      Q Go to 2/14/22 and 2/22/22, both entries on
     18          MS. REISMAN: Objection to form.                    18   literature search. Would that be sitting in front of a
     19          THE WITNESS: Their effort would have been          19   computer searching literature? Is that what the senior
     20   reviewing the information that I extracted or             20   scientist would be doing when we say literature search?
     21   summarized. Some of which likely would have been          21      A Well, it is more systematic than that. Again,
     22   beginning on page 39 where I include odds ratios,         22   it would have been under my direction. But I don't
     23   measures of association, conference intervals, measures   23   recall the specific activities performed under that
     24   of variability and so on.                                 24   description. But the entry is consistent with
     25      Q (By Mr. Kennedy) I don't see an entry for you        25   identifying studies that report data on incidence and


                                                    Page 39                                                        Page 41
      1   on 11/16/2021. Is it your testimony here today you         1   prevalence of Parkinson's disease.
      2   have a specific memory of working on that day that you     2      Q Do you have any entry in this billing anywhere
      3   did not bill for?                                          3   where it says literature search?
      4      A Well, I did not bill any time. I don't recall         4      A I am not sure if it says literature search
      5   each and every day what I worked on, but I am a            5   specifically. But, for example, if there are entries
      6   notoriously terrible biller. And I typically do much       6   that say epidemiology study review, that description
      7   more work than I invoice for, because I am focused -- I    7   would likely subsume my search of the literature and
      8   am more focused on the work and the report and the         8   then review of the articles.
      9   scientific effort than these other matters.                9      Q You seem to use the word "search" some places
     10      Q If we look to the next page, 12/3/21. Senior         10   and review in others. Is it your testimony here today
     11   scientist on that date, spent 1.9 hours with study        11   that when you use the term "review," that means search
     12   identification and review. Would that be                  12   also?
     13   identification of epidemiologic studies and then          13      A I wouldn't necessarily say that they are
     14   reviewing those studies?                                  14   mutually exclusive activities. But I would say under a
     15      A That, again, I don't recall these specific           15   description of epidemiology review, that may also
     16   activities. But a common activity that may fall under     16   involve some type of search for articles and review of
     17   that rubric would be verifying the -- any type of         17   those articles.
     18   literature search and identifying studies that I have     18      Q Who creates this billing? Do you create this
     19   identified for validation.                                19   billing?
     20      Q It says the senior scientist was identifying         20      A I do, yes.
     21   studies. Would that be incorrect?                         21      Q So you actually type in the words in each one
     22      A That is not incorrect. I can explain that.           22   of these bills?
     23   So if I am looking for studies and identifying studies,   23      A I do.
     24   I may have a second researcher also perform searches,     24      Q This doesn't go to your office manager?
     25   which is accepted practice -- actually recommended        25      A No.


                                                                                     11 (Pages 38 to 41)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 14 of 128 Page ID #5975
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 42                                                       Page 44
      1      Q Can you tell me who actually would run the            1   through it.
      2   software and create the outputs for your meta-analysis?    2         I'm talking, have you ever been hired or ever
      3      A I am the only one who performed any                   3   worked for pay or been a volunteer on any type of a
      4   meta-analytical activities.                                4   research program where you participated that involved
      5      Q So you are the one that sits in front of the          5   Parkinson's disease?
      6   computer, chooses the searches, the parameters --          6      A I don't believe I have.
      7   excuse me.                                                 7      Q Have you ever worked actually as part of any
      8         Puts in, actually types in the instructions to       8   kind of a study relating to the effects of Paraquat
      9   allow the software to create the meta-analysis?            9   prior to this litigation?
     10      A I would articulate that slightly differently         10      A I would have to take a look at my prior
     11   than you did. But I am the one who performs the           11   publications, but Paraquat epidemiology may have come
     12   meta-analytic activities.                                 12   up in a few other publications that I have produced.
     13      Q Meaning you actually do the entries, do the          13      Q We talk about the numbers of reports that you
     14   instructions, from a keyboard into the software to        14   have created. Would I be correct in saying that you in
     15   create the meta-analysis. Is that your testimony?         15   the course of -- let's talk about the last five
     16      A It is much more complex than that. But I am          16   years -- you have created more medicolegal reports or
     17   the person as a principle epidemiologist who performs     17   scientific legal reports than cases where you have
     18   all meta-analytic activities.                             18   provided testimony by way of deposition or trial?
     19      Q My question was: Who types the information           19      A I don't know the breakdown, but I believe I
     20   into the software to create meta-analysis?                20   have produced more reports than I have testimony.
     21      A I am the one who performs all meta-analytic          21      Q In the course of your significantly more
     22   activities. Everything that would go into any kind of     22   reports than actual testimony?
     23   meta-analysis, that would be me.                          23      A I am sorry?
     24      Q Including the typing?                                24      Q Significantly more reports in the course of a
     25      A All activities, yes.                                 25   year than actual testimony. Would that be accurate?


                                                    Page 43                                                       Page 45
      1      Q Including the typing, yes?                            1         MS. REISMAN: In the course of a year?
      2      A I type, yes. When I am working on my program,         2      Q (By Mr. Kennedy) In the course of a year,
      3   yes. I am at a keyboard.                                   3   would I correct that you produce and create
      4      Q Prior to this litigation, had you ever                4   significantly more legal reports than you do actually
      5   performed an epidemiologic review involving Parkinson's    5   testify?
      6   disease?                                                   6      A I am not sure what you mean by "significantly
      7          MS. REISMAN: Objection to form.                     7   more." But I have produced more reports than I have
      8          THE WITNESS: I have reviewed literature on          8   provided testimony on a yearly basis.
      9   Parkinson's disease as an epidemiologist over the          9      Q And if you produce -- let's say you testify 50
     10   years. I have not performed a publication on that         10   times in a year. Would it be 100 reports to that 50
     11   topic.                                                    11   pieces of testimony? Or more? Or less?
     12      Q (By Mr. Kennedy) What caused you to review           12      A I am not sure on the breakdown. I can't say
     13   literature on Parkinson's disease?                        13   more reports than testimony.
     14      A Again, as an epidemiologist doing this for           14      Q Do you participate in asbestos litigation?
     15   over 20 years, I look at a wide variety of outcomes.      15      A Low-level chrysotile on motor vehicle
     16   You said what caused me to do it? I don't know if         16   mechanics.
     17   there is a specific ideologic factor that caused me to    17      Q And how many reports do you think you produced
     18   look at it.                                               18   in the asbestos legal area in the course of a year?
     19          Ut perhaps in reviews of other matters or          19      A In terms of reports, I don't know the number.
     20   chronic disease outcomes, it has come up and I reviewed   20   If you look at my testimony list, the majority of the
     21   the literature. But generally as an epidemiologist, I     21   depositions would be in that articular area.
     22   have a wide span of literature that I review.             22      Q And more reports than deposition as it relates
     23      Q Let me put it a different way. I am not -- I         23   to asbestos?
     24   am not talking about sitting at home in the living        24      A More reports produced than I am deposed on an
     25   room, the journal gets published, you are looking         25   annual basis for that type of litigation would occur.


                                                                                     12 (Pages 42 to 45)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 15 of 128 Page ID #5976
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 46                                                        Page 48
      1      Q But you can't quantify how much more?                 1      Q And you gave one or two lectures during that
      2      A I know it is more. I can't quantify it.               2   trip?
      3      Q Is it double?                                         3      A I did.
      4      A Ballpark perhaps it is, but I can't quantify          4      Q And what was the topic?
      5   it. But my -- as I sit here, my best estimate would        5      A That would have been something involving -- I
      6   perhaps be something in that range. Again, I can't         6   believe dietary epidemiology.
      7   stand behind a specific number.                            7      Q Other than the one or two lectures on a single
      8      Q Can you give me a range of the number of              8   trip, specifically what was your other involvement?
      9   medical reports that your company, medicolegal reports     9      A I performed dietary epidemiology research with
     10   your company creates in the average year over the last    10   some of the staff members. I think postgrad students.
     11   five years?                                               11      Q Was any of this research published?
     12      A In terms of the number of reports, I am not          12      A There was a publication I believe in the past
     13   sure.                                                     13   couple of years, where I interacted with some of the
     14      Q Can you give me a ballpark?                          14   researchers.
     15      A I can't. However, the likely best estimate           15      Q And where was that publication? Where was it
     16   would be to look at my deposition history, which the      16   published?
     17   large majority would be motor vehicle mechanic            17      A I don't recall the journal. It is in PubMed
     18   epidemiology and take a look at the testimony there.      18   or the National Library of Medicine.
     19   And again, rough ballpark double the number of reports.   19      Q So the other folks on the article would be
     20   That would likely be the best way to do that.             20   from the University of Copenhagen?
     21      Q Are you affiliated with any academic                 21      A At least some, I believe.
     22   institutions at the present time?                         22      Q And who funded that publication?
     23      A Colorado State at the present time, and I            23      A There was some collaboration, perhaps funding
     24   recently -- I can't remember when exactly, but finished   24   with one of the agricultural groups in Europe. I don't
     25   my four-year tenure engagement at University of           25   know if that's a Danish group or Norwegian group.


                                                    Page 47                                                        Page 49
      1   Copenhagen.                                                1      Q When you say "group," what is that? Are you
      2      Q Let's start with the University of Copenhagen         2   talking about an industry organization or somebody that
      3   you were there four years?                                 3   is actually involved in the business of agriculture?
      4      A Affiliated, yes.                                      4      A I am not sure if I would characterize it as a
      5      Q And when you say "affiliated," what does that         5   the business of agriculture. I am not really sure
      6   mean?                                                      6   those aspects. But it is -- I know it is an
      7      A An adjunct appointment. Adjunct professor.            7   agricultural organization, and my understanding is they
      8      Q What are the responsibilities of an adjunct           8   have nutritional arms or science arms under that
      9   professor involved at the University of Copenhagen?        9   organization.
     10      A I believe I gave a presentation there. I have        10      Q What was the topic or the thesis of that
     11   interacted with students and staff members, perform       11   publication?
     12   some research together.                                   12      A That particular one that comes to mind, I
     13      Q When you say -- how many presentations did you       13   believe was looking at processed meat intake.
     14   give with respect to your affiliation with the            14      Q And anyway related to health concerns?
     15   University of Copenhagen?                                 15      A Cancer outcome.
     16      A I think one or two.                                  16      Q And was the conclusion of that research that
     17      Q And was it one or was it two?                        17   was published by you that there was not sufficient
     18      A I don't recall. It was around the same trip.         18   epidemiologic evidence to establish any sort of
     19   I -- obviously one for sure. And I think --I think I      19   association or causation in cancer?
     20   gave another one during that trip as well. One or two,    20      A I would have to break down that question.
     21   to my best recollection.                                  21   Because you asked two different items there.
     22      Q So the -- in the four years you went to the          22      Q So you think there is a difference between
     23   University of Copenhagen on one occasion, correct? You    23   association and causation?
     24   went there on one occasion?                               24         Let's start with association. That relate to
     25      A That's correct. One trip.                            25   association, that article.


                                                                                     13 (Pages 46 to 49)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 16 of 128 Page ID #5977
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 50                                                        Page 52
      1     A In terms of association, I believe in that             1   have you been to Colorado State?
      2   article we summarized -- it was a review article. I        2      A In this capacity, I have not.
      3   believe we summarized some statistically significant       3      Q And have you provided any lectures since 2019
      4   associations. And nonstatistical significant               4   at Colorado State?
      5   associations in that particular paper.                     5      A Not physically there, no.
      6     Q And the conclusion was what?                           6      Q Have you done any lectures other than being
      7     A I would have to take a look at the paper. I            7   physically there since 2019?
      8   don't recall exactly.                                      8      A I have. Not under the category of me being an
      9     Q All right. What department were you in at the          9   affiliated associated professor with Colorado State.
     10   University of Copenhagen?                                 10   But I have interacted, I think via presentations, with
     11     A I think department of nutrition.                      11   staff members over the past four years.
     12     Q Who was the chair of the department?                  12      Q Okay.
     13     A I believe it was Dr. Arnie Astrup. And I am           13      A Or it would have been earlier, more in '23,
     14   not sure if that was the chair, but I know he was a       14   pre-COVID.
     15   senior professor.                                         15      Q So I am talking about lectures to students.
     16     Q Not sure if he is the chair.                          16   Have you done any lecturing to students since 2019 in
     17     A Not sure. May have been at some point. I              17   any capacity?
     18   don't recall.                                             18      A None at this time.
     19     Q Did you have an office there?                         19      Q Are you paid for this affiliation with
     20     A No.                                                   20   Colorado State?
     21     Q Did you get paid for your affiliation?                21      A No.
     22     A No.                                                   22      Q Do you have an office at Colorado State?
     23     Q Next affiliation with an academic institution         23      A I do not.
     24   would be the Colorado State?                              24      Q This affiliation, I would -- you are not a
     25     A Yes.                                                  25   tenured professor. You are not a full professor,


                                                    Page 51                                                        Page 53
      1      Q What department there?                                1   correct?
      2      A Nutrition or animal sciences. I think it is a         2      A I am not.
      3   combination, depending on how you look at their            3         MS. REISMAN: If you are getting to the end of
      4   affiliations. But it is listed under animal sciences       4   background, can we take a few-minute break when you are
      5   with my focus being nutritional epidemiology.              5   done with this section?
      6      Q Who was the head of that department?                  6         MR. KENNEDY: I am getting there.
      7      A The name is escaping me right now.                    7      Q (By Mr. Kennedy) have you ever testified for
      8      Q Are you still affiliated with Colorado State?         8   a plaintiff in any legal proceeding?
      9      A I am.                                                 9      A I have been retained, but not testified.
     10      Q And what are your responsibilities with              10      Q And when were you retained by a plaintiff?
     11   respect to this affiliation?                              11      A I don't recall the exact dates, but five, six
     12      A Well, pre-COVID anyway, my responsibilities          12   years ago on a matter. And recently on a -- when I say
     13   were to take on students, mentor doctoral students and    13   "recently," over the past two or three years or two
     14   graduate students and provide some lectures. Now,         14   years on other matters.
     15   where we are in the world, I wouldn't necessarily         15      Q And matters years ago, what did that involve?
     16   characterize it post-COVID, but where we are right now,   16         MS. REISMAN: I don't know what it is, but I
     17   I have recently begun some engagements to plant some      17   will caution you if you can't disclose it because of
     18   curriculum over the course of time to rebuild or          18   confidentiality, please -- I don't know what the matter
     19   re-establish that relationship in terms of taking on      19   is. So I am not asserting any issue on that. If you
     20   students and providing some lectures and doing some       20   recall.
     21   research.                                                 21         THE WITNESS: Sure. I testified before. It
     22      Q How long have you been affiliated with the           22   was pertaining to an asbestos allegation.
     23   University of Colorado -- Colorado State? I am sorry.     23      Q (By Mr. Kennedy) So you testified on behalf
     24      A Beginning in 2019.                                   24   of a plaintiff in an asbestos case?
     25      Q And between 2019 and today, how many times           25      A I was retained. I did not testify. The case


                                                                                     14 (Pages 50 to 53)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 17 of 128 Page ID #5978
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                   Page 54                                                        Page 56
      1   resolved.                                                 1   epidemiologist. But in terms of any kind of salaried
      2      Q So at this point you have never testified on         2   employment type of work, I was an employee under
      3   behalf of a plaintiff, correct?                           3   Exponent during that time period.
      4      A I have not testified on behalf of a plaintiff.       4      Q (By Mr. Kennedy) And as an employee of
      5      Q And the asbestos case where you were retained,       5   Exponent, did you work as an expert witness?
      6   what was the nature of the asbestos, the type, the        6      A I did not do expert testimony during my time
      7   product?                                                  7   at Exponent.
      8      A I was looking at cigarette smoking and               8      Q Did you prepare manuscripts and publications
      9   amphibole asbestos. And I believe that was a lung         9   for corporations for publication consistent with your
     10   cancer matter.                                           10   responsibilities or via your responsibilities at
     11      Q And your opinion in that case was what?             11   Exponent?
     12         MS. REISMAN: And again, I just put the             12         MS. REISMAN: Objection to form.
     13   caution out there. I don't know what it is, Doctor.      13         THE WITNESS: I did not publish manuscripts
     14   But you are in the best position to assess the           14   for corporations. I published manuscripts where I
     15   confidentiality of that matter.                          15   acknowledged if there was any kind of research grant
     16         THE WITNESS: So that, I did not testify in.        16   support. So I published manuscripts that were vetted
     17   I can't remember if I even articulated a specific        17   through the peer-review process and published in
     18   opinion in that matter. I certainly reviewed the         18   peer-review journals.
     19   epidemiology on that topic area.                         19      Q (By Mr. Kennedy) Some of those were funded by
     20      Q (By Mr. Kennedy) Not sure if you got to the         20   corporations while you were at Exponent?
     21   point where you rendered an opinion?                     21      A There were some papers for which there was
     22      A I can't remember.                                   22   some partial funding support from various entities,
     23      Q Have you ever testified on behalf of an             23   which would all be disclosed in the manuscript.
     24   individual as opposed to a corporation?                  24      Q If you were creating a writing or publication,
     25      A I have not.                                         25   pursuant to your responsibilities at Exponent, it would


                                                   Page 55                                                        Page 57
      1      Q You worked for Exponent from '04 to 2010.            1   always be for a client of Exponent, would it not?
      2   Would that be true?                                       2     A No.
      3      A No.                                                  3     Q So again, I am trying to focus on what you did
      4      Q When did you work for Exponent? I am sorry.          4   via your responsibilities of Exponent. So you were
      5   '04 to when? Maybe it is not '04.                         5   writing manuscripts for Exponent that were not being
      6      A It would be 2004 to 2014.                            6   paid for by an Exponent client, is that what you are
      7      Q I am sorry. What was your responsibility at          7   saying?
      8   Exponent?                                                 8     A No. I never wrote any manuscripts for
      9      A Well, I performed epidemiology activities,           9   Exponent.
     10   meaning I worked on manuscripts. I conducted research.   10     Q Never. So you never published pursuant to
     11   I published papers. I gave many presentations around     11   your responsibility at Exponent?
     12   the world. I was a peer reviewer. I interacted with      12     A I wouldn't articulate any publication I have
     13   universities. I performed statistical analyses. And I    13   done as for Exponent or for any corporation or
     14   did research consulting.                                 14   industry. I publish manuscripts independently where I
     15      Q All of these were through Exponent, correct?        15   am the independent researcher in the peer-reviewed
     16      A I don't want to say they were all --                16   publication. Now -- or the literature.
     17      Q You weren't hired independent of your job,          17         Now, while I publish, submit manuscripts,
     18   were you?                                                18   publish manuscripts, I may be an employee for Exponent
     19         MS. REISMAN: He was finishing the answer,          19   which I was. There may be some research funding
     20   which may have helped you.                               20   support, which is disclosed in the manuscript. So I as
     21         THE WITNESS: Yeah. The first part of your          21   an epidemiologist publish the paper and I was an
     22   question there when you said through Exponent. Not       22   employee for Exponent, but it was not done for
     23   necessarily, meaning if I had editorial board            23   Exponent.
     24   responsibilities or peer-reviewer activities, that       24     Q You are working to Exponent, right?
     25   would have been as -- me as a professional               25     A I can give you another example. That is, I


                                                                                    15 (Pages 54 to 57)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 18 of 128 Page ID #5979
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                   Page 58                                                        Page 60
      1   was employed at Exponent. And I collaborated with UAB     1   terms of peer-reviewed publications.
      2   on studies of colorectal cancer, which had nothing to     2          My understanding that there is some type of
      3   do with Exponent. But while I was employed at             3   non-peer-reviewed or non-scientific publication in the
      4   Exponent, I wrote those manuscripts.                      4   form of a book.
      5     Q And who paid you to write those manuscripts?          5       Q And do you know what that means when that
      6     A Those -- no one paid me. Those were NIH and           6   statement with respect to Exponent and this book,
      7   NCI research grants.                                      7   "doubt is their product"? Do you know what that is a
      8     Q All right. And were those grants grants that          8   reference to?
      9   were made to you or grants made to Exponent?              9       A I am not sure if it is specifically a
     10     A Exponent had nothing to do with those. So            10   reference to Exponent. I am not familiar with that
     11   that would have been academic.                           11   direct correlation if that is what you are assuming
     12     Q So we are going to go back the second time. I        12   there is. And I am even unaware there would be.
     13   want to know what you did pursuant to your job at        13       Q Does Exponent primarily work for defendants in
     14   Exponent. I understand you were doing some stuff         14   litigation as opposed to plaintiffs in litigation?
     15   during that period independent of them, but I want to    15          MS. REISMAN: Objection to form. Foundation.
     16   know what you did for them.                              16          THE WITNESS: You keep saying Exponent.
     17         Did you write articles where Exponent was          17   Exponent is fairly large with a variety of researchers,
     18   being paid by a corporation and then Exponent had you    18   various engineers and other types of scientists. I am
     19   write the articles pursuant to your salary with          19   not sure of the total breakdown or the capacity of
     20   Exponent? Did that occur?                                20   various litigation activities for everyone.
     21         MS. REISMAN: Objection to form. Asked and          21       Q (By Mr. Kennedy) Do you know whether Exponent
     22   answered.                                                22   ever works for individual humans in litigation that are
     23         THE WITNESS: I wouldn't articulate it that         23   plaintiffs?
     24   way. You are using the word "Exponent." For example,     24          MS. REISMAN: Objection to form. Foundation.
     25   you can look at my publications as well. But while at    25          THE WITNESS: I am not sure. They may, but I


                                                   Page 59                                                        Page 61
      1   Exponent, for example, if a principal investigator        1   am not sure.
      2   received some research grant from a particular entity,    2      Q (By Mr. Kennedy) Exponent, has one of their
      3   and that research grant was through or a collaboration    3   clients over the years been the tobacco industry?
      4   with that principal investigator who worked for           4         MS. REISMAN: Objection to form. Foundation.
      5   Exponent and whatever entity that was, and I may have     5         THE WITNESS: If so, it would be nothing that
      6   been asked to work on that particular manuscript. So I    6   I would have worked on. I am not sure. I know that in
      7   would have been a salaried employee under Exponent and    7   prior matters that has been brought up, but I have no
      8   asked by a principal investigator to work on that         8   direct understanding if that was even the case.
      9   particular manuscript.                                    9      Q (By Mr. Kennedy) Do you know Dr. Mandel at
     10      Q (By Mr. Kennedy) And some of the payment for        10   Exponent?
     11   that would have been coming from Exponent client?        11      A Yeah. I am not sure if Dr. Mandel is still at
     12      A That research grant I believe would have gone       12   Exponent. I am not sure.
     13   to Exponent as an entity. My work, however, would have   13      Q Did you know him --
     14   been with or for a principal investigator scientist.     14      A I know that he was.
     15      Q From Exponent?                                      15      Q Did you know about the work he did for
     16      A From Exponent, yes.                                 16   Syngenta while he was there?
     17      Q Correct. You heard of the phrase "doubt is          17      A When you say "work for Syngenta," all that I
     18   their product" with respect to Exponent? Have you read   18   can comment --
     19   those articles or been asked about that in the past?     19      Q Through Exponent.
     20         MS. REISMAN: I didn't hear what you asked.         20      A All that I can comment on is two manuscripts
     21      Q (By Mr. Kennedy) "Doubt is their product,"          21   where Dr. Mandel was a co-author, which I understand
     22   have you heard of that sentence, that statement with     22   had a research grant from Syngenta.
     23   respect to the business of Exponent?                     23      Q Do you know anything about the contractual
     24      A Well, the first time you said articles. I           24   agreement between Syngenta and Exponent with respect to
     25   don't believe there are articles pertaining to that in   25   the content of that manuscript that Dr. Mandel was


                                                                                    16 (Pages 58 to 61)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 19 of 128 Page ID #5980
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 62                                                        Page 64
      1   involved with?                                             1     A Chrysotile in the brake linings specifically.
      2      A You say "that manuscript." I am not sure if           2     Q Asbestos in brake linings. And the
      3   we are on the same page.                                   3   plaintiffs, the individual or the people that worked in
      4      Q You talked about --                                   4   the manufacturing?
      5      A I was referring to two different manuscripts.         5     A Not the manufacturing industry of such
      6      Q Either manuscript.                                    6   products. But they would be -- typically they are
      7         When Dr. Mandel via his work for Exponent            7   motor vehicle mechanics working in auto body shop or
      8   would write a manuscript for publication for Syngenta,     8   garage or even shadetree mechanic work doing it at
      9   are you familiar with the contractual terms between        9   home.
     10   Syngenta and Exponent?                                    10     Q You worked for Epistat. What is Epistat?
     11      A Well, again, I am not sure exactly if you are        11     A Epistat was in research, epidemiology
     12   talking about a specific manuscript. But I can say        12   consulting firm.
     13   regardless of the manuscript, I have no idea of any       13     Q And did they work primarily for defendants in
     14   kind of relationship that way.                            14   the litigation aspect of their work?
     15         MS. REISMAN: We have been going. I need a           15          MS. REISMAN: Objection. Form.
     16   break. Thank you.                                         16          THE WITNESS: I can't speak for -- the company
     17         VIDEOGRAPHER: We are off the record. The            17   no longer exists. But I can't speak for everyone,
     18   time is 10:29 a.m.                                        18   everyone there. I can comment on my activities while
     19         (Off the record.)                                   19   there.
     20         VIDEOGRAPHER: We are back on the record. The        20     Q (By Mr. Kennedy) Did you work -- when you
     21   time is 10:46 a.m.                                        21   were involved in legal matters, primarily for
     22      Q (By Mr. Kennedy) Dr. Eric Kennedy on behalf          22   defendants or solely for defendants?
     23   of plaintiffs, you provided us with a list of the         23     A Pertaining to any of my litigation consult
     24   testimony that you have given, I think it is over four    24   work, which was only part of my time, typically those
     25   years approximately. If we go through those one at a      25   matters would have been defense retentions as


                                                    Page 63                                                        Page 65
      1   time, would you be able to tell me how many of those       1   consistent with my testimony list.
      2   cases were cases involving asbestos?                       2      Q And has Epistat been referred to as the voice
      3      A Not each and every one. I may have a decent           3   of the defense bar? Have you heard that phrase with
      4   ballpark estimate.                                         4   respect to Epistat?
      5      Q If you can give -- me instead of going through        5      A No.
      6   them all, which is -- I think it could be 100, can you     6      Q Did you create any -- as part of your
      7   tell me if we look over the last four years, what          7   responsibilities, did you write any articles for
      8   percentage of your testimony would involve asbestos?       8   publication?
      9      A Ballpark estimate, 85 to 90 percent.                  9      A Yes. As an epidemiologist, during that time
     10      Q Would all of those outings and the testimony         10   span, I published peer-reviewed articles. Again, same
     11   be on behalf of a defendant who in some way               11   response as before. They were not for Epistat. They
     12   manufactured or produced some product involving           12   were independent publications vetted through the
     13   asbestos?                                                 13   peer-reviewed process.
     14      A They were all defense retentions. Largely or         14      Q You were being paid by Epistat to write those
     15   the overwhelming majority would have been motor vehicle   15   articles as part of your responsibilities as an
     16   mechanic epidemiology. Low-level Chrysotile exposures.    16   employee of that company? And again, that is all I am
     17      Q Okay. So when you say "Chrysotile," that is a        17   concerned about.
     18   form of asbestos?                                         18      A Right.
     19      A It is a fiber type.                                  19      Q If you are doing something independent of
     20      Q And when you said "motor vehicle industry,"          20   that, that is all good and dandy. I want to know what
     21   meaning what?                                             21   you were doing pursuant to your responsibilities as an
     22      A Automotive friction materials. Brakes                22   employee of Epistat as it relates to writing medical
     23   primarily.                                                23   articles to be published.
     24      Q So asbestos involvement in the braking aspect        24      A I would have the same response generally that
     25   of automobiles?                                           25   I did before, meaning I did do some articles, again as


                                                                                     17 (Pages 62 to 65)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 20 of 128 Page ID #5981
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 66                                                        Page 68
      1   a professional epidemiologist. But there were some         1      A I believe he was, but I am not sure if he
      2   occasions as well where either myself or a colleague       2   testified.
      3   serving as a principal investigator would have received    3      Q But he was involved.
      4   some research funding support or research grant as         4          MS. REISMAN: Objection. Form. Foundation.
      5   disclosed in each article. And that grant likely would     5      Q (By Mr. Kennedy) If you know.
      6   have come through Epistat for which I was an employee      6      A I know that is a topic area that he has worked
      7   or spending time working on a manuscript.                  7   in, but I have no idea if it was something as a
      8       Q Have you published with Dr. Garabrant?               8   consultant, researcher, or whatnot.
      9       A On a few occasions I have.                           9      Q Were you involved in the C-8 litigation?
     10       Q Have you published with Dr. Weed?                   10          MS. REISMAN: I will give you -- again, I have
     11       A I have.                                             11   no idea what your confidentiality was or your
     12       Q How long have you known Dr. Weed?                   12   involvement in that matter. So I leave that to you to
     13       A Ballpark estimate, 12 or so years.                  13   make the judgment call. But I would caution you on
     14          MS. REISMAN: Can we use a first name?              14   that issue.
     15       Q (By Mr. Kennedy) Douglas. Have you referred         15          THE WITNESS: Sure.
     16   potential clients to him over the years?                  16          I do have in my list of testimony a few
     17       A I likely have.                                      17   occasions for which I provided testimony on such
     18       Q Has he referred clients to you over the years?      18   matters.
     19       A I am not sure. He may have.                         19      Q (By Mr. Kennedy) Look at Exhibit 114, if you
     20       Q Did you have anything to do with your               20   would. Do you recognize Exhibit 114?
     21   involvement in this litigation, the Paraquat              21      A I think this has been shown to me before.
     22   litigation?                                               22      Q Venable is a law firm, true?
     23       A Not directly with me, no.                           23      A I believe it is.
     24       Q Did you know that he published on this topic?       24      Q And this is quoting you from something that
     25       A I have cited a review. It is in my report.          25   you wrote for a publication called For The Defense,


                                                    Page 67                                                        Page 69
      1      Q Did you have any involvement in the creation          1   correct?
      2   of the review published by Dr. Weed?                       2      A This is not my quote. No. This is not my
      3      A On this particular topic, specifically the one        3   quote.
      4   that I have cited in the report, no. Nothing to do         4      Q So you never wrote an article with Bruce
      5   with it.                                                   5   Parker that started with the quote, "According to
      6      Q Any knowledge that it was going to be                 6   Homer"? You never wrote -- that was not part of any
      7   published before it was published? Did he tell you he      7   publication you ever wrote with Bruce Parker?
      8   was writing the article while he was in the process of     8      A Well, certainly not a peer-reviewed
      9   it? I am writing this article as it relates to             9   publication. It is my understanding that while I was
     10   Paraquat.                                                 10   asked to provide a presentation at one of the DRI
     11      A No. I had no idea he had even published this         11   conferences where I discussed the methodology of doing
     12   article until I started my review.                        12   a meta-analysis, and I believe Mr. Parker, perhaps,
     13      Q Have you been an expert witness in the same          13   Mr. O'Conner, whoever that may be, wrote some text
     14   case or cases that Dr. Weed has also been hired to be     14   regarding that.
     15   an expert witness?                                        15          But this particular quote had nothing to do
     16      A On the exact same case, meaning under --             16   with anything that I did.
     17      Q Same litigation.                                     17      Q So clearly not -- you understand this is just
     18      A Same topic or same case?                             18   to disseminate to defense lawyers. You understand
     19      Q Topic.                                               19   that, correct?
     20         MS. REISMAN: Objection. Foundation.                 20          MS. REISMAN: Objection. Form. Foundation.
     21         THE WITNESS: I am not sure. I don't know his        21      Q (By Mr. Kennedy) This publication for the
     22   entire testimony history or what he has been retained     22   defense?
     23   on. So I am not sure if there was some overlap in any     23      A I have no idea if this was -- you are calling
     24   topic areas.                                              24   it a publication. Certainly I did not publish a
     25      Q (By Mr. Kennedy) Was he involved in C-8?             25   peer-reviewed article in the epidemiology literature to


                                                                                     18 (Pages 66 to 69)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 21 of 128 Page ID #5982
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 70                                                        Page 72
      1   that.                                                      1   article was published. I am not sure published in
      2         And also looking at these quotes here, that is       2   what. I don't think it is anything that --
      3   not something I would publish in the literature anyway.    3      Q (By Mr. Kennedy) When I say "published" --
      4      Q Please understand, I am not talking about             4      A -- I assumed.
      5   peer-reviewed public literature. I am talking about a      5      Q -- we are referencing this article published
      6   publication that you wrote that goes only to defense       6   in For The Defense, given to defense lawyers. That is
      7   lawyers. That is what we are talking about here. That      7   what I mean when I say published as we talk about this
      8   is what this is, correct?                                  8   article, right?
      9         MS. REISMAN: Objection. Form. Foundation.            9      A I --
     10      Q (By Mr. Kennedy) A quote from something that         10      Q So did you publish an article where your name
     11   you wrote that was disseminated only to defense           11   was on it titled "Recycling Garbage, for an
     12   lawyers. Would that be true?                              12   important -- for evaluating the evidence" in a
     13      A I wouldn't characterize it that way, no.             13   publication called For The Defense?
     14      Q You let me know where I am going amiss.              14      A Well, like I said, I think there are some
     15   Exhibit 114, this is something that was created by the    15   texts that Mr. Parker used from me. I do not have a
     16   Law Firm Venable. It states "Bruce R. Parker, Jamie       16   publication or this report. I don't know what For The
     17   0'Conner, and Dominik Alexander" -- and that is you,      17   Defense is. I don't know what was contained in terms
     18   correct, Dominik Alexander?                               18   of any acknowledgements within that particular
     19      A That is.                                             19   document.
     20      Q "Published 'recycling garbage for an important       20      Q Do you still have this publication that we can
     21   tool for evaluating the evidence' in the September 2017   21   look at the entire text?
     22   edition for the defense."                                 22      A Like I said, I don't. I don't even know if I
     23         Is that a true statement?                           23   have ever seen a publication, a full publication unless
     24      A As I indicated to you earlier, I provided a          24   it was shown to me by attorneys in similar matters.
     25   methodology summary and presentation of meta-analysis.    25   But what I did, I keep saying, is I was asked to give a


                                                    Page 71                                                        Page 73
      1   Much of which information would be contained within my     1   presentation on meta-analysis methodology at -- I think
      2   report because it is meta-analysis methodology. That       2   it was a medical device conference. And I discussed
      3   was my only part. I believe part of that was embedded      3   some of the methodology, which I am happy to discuss
      4   into Mr. Parker's report here.                             4   now, which is also contained within my report.
      5      Q Is the answer to my question yes?                     5          And my understanding is that Mr. Parker
      6         MS. REISMAN: Objection. Form. Asked and              6   utilized some of that methodology writing that I had
      7   answer.                                                    7   produced into whatever document this is.
      8      Q (By Mr. Kennedy) Please, Just listen to the           8       Q So we are clear, is it your testimony here
      9   question. I read you a sentence and I asked you            9   today that this article got published in an edition of
     10   whether or not that sentence was accurate. So please      10   For The Defense with your name on it and you never read
     11   tell me, yes or no, whether that first I just read to     11   it? Is that your testimony?
     12   you was accurate.                                         12       A Like I said, I don't know what For The Defense
     13         MS. REISMAN: Same objection.                        13   is. I don't recall seeing an article. Like I said, it
     14         THE WITNESS: Like I said, some of the               14   is my understanding that Mr. Parker used some of my
     15   meta-analysis methodology text that I provided and        15   methodology text, which I am happy to discuss with you,
     16   reported on or presented on was included in -- I          16   pertaining to meta-analysis.
     17   believe a document written by Mr. Parker, which was       17       Q So if this article, again with your name on
     18   likely this document here.                                18   it, stated "Unlike the -- defense counsel need to be
     19      Q (By Mr. Kennedy) Well, let me ask you: This          19   difficult to expose junk science premised on a faulty
     20   was published, did it say this part is from Mr. Parker    20   meta-analysis that appears to have the trappings of a
     21   and this part down here is from Dominik Alexander? Did    21   legitimate scientific methodology."
     22   it divide the article up in that fashion so only the      22          Is it your testimony here today that you did
     23   analysis were attributed to you and not the text?         23   not know that that was put into an article with your
     24         MS. REISMAN: Objection. Form.                       24   name on it? You don't know?
     25         THE WITNESS: You keep saying when this              25       A You keep saying "article." I don't view


                                                                                     19 (Pages 70 to 73)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 22 of 128 Page ID #5983
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 74                                                        Page 76
      1   articles as none -- in terms of anything, science or       1   to DRI?
      2   epidemiology related, I don't view articles as             2      A I don't recall specifically. A few years ago
      3   something like For The Defense, which I am not sure        3   perhaps.
      4   what that is. But I review the peer-reviewed               4      Q Two years ago when you say "a few"?
      5   publications and to the extent that something like that    5      A I think at least three or over three, I
      6   was in some type of report or some non-peer-reviewed or    6   believe.
      7   non-scientific publication, that is dialogue that I am     7      Q Where was the presentation, the last
      8   unfamiliar with.                                           8   presentation you gave at DRI?
      9      Q So you are unfamiliar with what was in this           9      A I think it was in Austin, Texas.
     10   writing that appeared in this journal, is what you are    10      Q Prior to that, can you give me the location of
     11   saying?                                                   11   where you made a presentation to DRI?
     12      A Well, like I said, I may have been shown this        12      A I know one was in New Orleans. I don't recall
     13   before and I believe other counsel members have shown     13   where the other two were.
     14   me such a document. So I may have seen it in that         14      Q When you make presentations, how many lawyers
     15   respect. But I don't have a recollection of -- looking    15   are usually present?
     16   at this language, that is not something that I would      16         MS. REISMAN: Objection. Form. Foundation.
     17   have written with -- and I can say that with              17         THE WITNESS: I don't know. It was just a few
     18   certainty -- but I don't have a recollection of seeing    18   occasions. I think it was like a hotel ballroom type
     19   this prior to any kind of article.                        19   of set-up. And there were, I think some attorneys
     20      Q Do you know what that the Defense Research           20   there. I am not sure. It wasn't a sold-out crowd. I
     21   Institute is?                                             21   can tell you that.
     22      A I have an understanding. As an epidemiologist        22      Q (By Mr. Kennedy) And did they pay your
     23   and not being a member of DRI, I have an understanding    23   expenses, your hotel, your meals, your travel when you
     24   of what it is.                                            24   travelled to DRI conventions or meetings to make
     25      Q What is it?                                          25   presentations?


                                                    Page 75                                                        Page 77
      1      A I believe it is a group of -- like an                 1      A I know that the last one they did not. That
      2   organization of defense attorneys. And I am sure I am      2   is the one most fresh in my head. The prior ones,
      3   really severely overgeneralizing that because I am not     3   perhaps air fare or hotel.
      4   neither part of that organization nor an attorney. I       4      Q If you can believe it, I am getting a phone
      5   have been asked a few times to give presentations.         5   call from a politician. What does he want?
      6      Q Mr. Kelly is not a member, you realize that.          6          Would I be correct, you have done paid
      7   They don't let -- it is for defense lawyers only. You      7   research for Nestlé, the company called Nestlé, Nestlé?
      8   understand that?                                           8      A I have been retained on behalf of Nestlé as a
      9      A I don't know. I don't know what the                   9   research consultant.
     10   membership entails. I have never looked into that.        10      Q What topic or topics?
     11      Q On how many occasions have you made                  11      A A variety of topics. Most of which have been
     12   presentations at any DRI gathering?                       12   related to infant health.
     13      A I think three or four.                               13      Q Have you published any of that research where
     14      Q Have you been paid to make those                     14   you were retained by Nestlé?
     15   presentations?                                            15      A I have.
     16      A No.                                                  16      Q What about Dairy Research Institute? Have you
     17      Q And do you have any PowerPoints or materials         17   been retained by them to do research?
     18   related to any of those presentations?                    18      A Let me just clarify one thing. You said
     19      A Not that I can recall specifically.                  19   retained by. Again, my Nestlé engagement, as well as
     20      Q What would have happened to those PowerPoints?       20   dairy would have been some type of research grant to
     21   Were they destroyed? Were they discarded? Why don't       21   perform independent research. So that is a different
     22   you have those anymore?                                   22   enterprise than if I was being retained to do other
     23      A They may have been on, for example, a laptop         23   analyses or research for them.
     24   from Epistat.                                             24          So the -- any Nestlé publications or the Dairy
     25      Q When was the last time you did a presentation        25   publication or two would have been from research


                                                                                     20 (Pages 74 to 77)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 23 of 128 Page ID #5984
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 78                                                        Page 80
      1   grants.                                                    1   being paid directly or indirectly to you to do
      2      Q Research grants. That is money being paid to          2   research, either part of a salary or a specific
      3   you to do research?                                        3   project. Directly or indirectly, you are being paid by
      4      A Not to me, no. I believe those engagements            4   a corporation to do research?
      5   were when I was employed by perhaps Exponent or            5          MS. REISMAN: Objection. Form. Asked and
      6   Epistat. So, no, not money to me.                          6   answered.
      7      Q Money to the company you are working for to           7          THE WITNESS: No. I am a salaried employee
      8   have you do the research?                                  8   and if I am writing a manuscript or if I am doing
      9      A I guess a similar response to what I provided         9   statistical analyses or if I am doing administrative
     10   before. Meaning, there were research grants. They         10   responsibility, my salary would remain the same.
     11   would have likely been the arrangement set-up between     11          Now, being a salaried employee, I would have
     12   whatever, either Exponent or Epistat. And as an           12   performed various activities. One of which would have
     13   employee, I would have performed those -- work on those   13   been working on manuscripts.
     14   manuscripts.                                              14       Q (By Mr. Kennedy) PCBs, have you worked on
     15      Q And National Cattleman's Beef Association,           15   litigation involving PCBs?
     16   have they ever funded research for -- that you have       16       A I have. I believe that is -- there is an
     17   done either directly or indirectly through your           17   entry in my list of testimony.
     18   employer?                                                 18       Q And what are PCBs?
     19      A Yes. Under research grants, I have worked            19       A Polychlorinated biphenyl.
     20   with National Cattleman's Beef Association.               20       Q And what is it alleged -- what harm is it they
     21      Q American Meat Institute, either directly or          21   are alleged to cause?
     22   indirect through your employer, have they funded          22       A I can't speak on various allegations and
     23   research you have done?                                   23   allegations made by whom. But I believe that I
     24      A I have received some research by that                24   addressed male and female infertility and Type 2
     25   organization in the past.                                 25   diabetes.


                                                    Page 79                                                        Page 81
      1      Q What about pharmaceutical companies? What             1      Q Dioxin, what is Dioxin?
      2   pharmaceutical companies have directly or indirectly       2      A Dioxin, I view it as a -- and again, I don't
      3   paid you to do research?                                   3   want to misrepresent what it is. But I correlate that
      4         MS. REISMAN: Objection to form.                      4   with tactical herbicide.
      5         THE WITNESS: I have had no, I don't believe          5      Q What is the injury that it is alleged to
      6   any direct interactions with pharmaceutical companies      6   cause?
      7   to work on manuscripts or perform research. I have         7      A I have not provided testimony on Dioxin. I
      8   worked on such manuscripts for which I think a             8   don't think I performed any expert litigation work to
      9   principal investigator on those projects would have        9   that particular compound, but --
     10   interacted with pharmaceutical company. And I would       10      Q Before you answer, you have had -- you have
     11   have been asked to work on a manuscript, but --           11   done no work relating to the Dioxin any time in your
     12      Q (By Mr. Kennedy) And paid to do it?                  12   career?
     13      A I would have been involved as a salaried             13      A That is not what I said. I haven't provided
     14   employee for a company.                                   14   testimony or been a retained testifying expert on that
     15      Q My question was directly or indirectly paid to       15   topic. I have done research, I believe several years
     16   do research.                                              16   ago on Dioxin. If I recall correctly, I think I looked
     17      A I understand what you are saying. I wouldn't         17   at a variety of different malignancies.
     18   necessarily characterize it that way. There would have    18      Q Benzine, have you worked in any capacity on
     19   been a research grant. I would have been as a salaried    19   benzene litigation research or otherwise?
     20   employee. Meaning that my salary would not have been      20      A I have. I have published on benzene.
     21   dependent on that particular research grant or the time   21      Q Benzine is alleged to have caused what injury?
     22   spent. So I would have had a set salary and that would    22      A Benzene can cause acute myeloid leukemia at 40
     23   have been one activity under a research grant, though.    23   parts her million years within 15 years of diagnosis of
     24   However, I would have performed some work.                24   AML or MDS.
     25      Q Either way we want to look at it, money is           25      Q Have you worked in litigation for Dow,


                                                                                     21 (Pages 78 to 81)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 24 of 128 Page ID #5985
                                           Dominik Alexander, PhD
                                                March 8, 2023
                                                    Page 82                                                       Page 84
      1   Monsanto, DuPont, Rio Tinto, American Chemistry Council    1   engaged versus in retained versus doing research.
      2   and Chevron?                                               2   Meaning that --
      3       A In terms of litigation, you went through six         3      Q I am talking paid directly or indirectly as an
      4   or seven there. I think two jumped out that I have not     4   employee of a company or directly.
      5   performed litigation work or been retained by for that     5      A My distinction --
      6   matter.                                                    6         MS. REISMAN: Objection to form.
      7          MS. REISMAN: He wants to know by worked on --       7         Go ahead and answer.
      8       Q (By Mr. Kennedy) Have you worked in                  8         THE WITNESS: My distinction would have been I
      9   litigation for Dow?                                        9   may have undertaken some activities on my own. Meaning
     10       A I have.                                             10   there was no engagement. But I understand what you are
     11       Q Have you worked in litigation for Monsanto?         11   asking.
     12       A I have.                                             12         We would have to, one, start would be to take
     13       Q Have you worked in litigation for DUPONT?           13   a look at my presentation and publication list to look
     14       A I have.                                             14   at various topics that I have evaluated and/or my list
     15       Q Have you worked in litigation for Rio Tinto?        15   of testimony regarding those various topic areas.
     16       A I don't believe so.                                 16      Q (By Mr. Kennedy) Have you been engaged and
     17       Q What did you do for Rio Tinto?                      17   worked in occupational trichloroethylene exposure?
     18       A What did I do for them?                             18      A I have published some manuscripts on that
     19       Q Yes. What involvement have you had with the         19   topic.
     20   company Rio Tinto?                                        20      Q And paid to do it, correct?
     21       A I have had no direct involvement with that          21         MS. REISMAN: Objection. Form.
     22   company. There was a principal investigator who I         22         THE WITNESS: I wouldn't characterize it that
     23   believe had a research grant from that group. I am not    23   way. I would characterize the way I did to my prior
     24   even sure what that group is.                             24   responses.
     25          And at any rate, I was asked to address the        25      Q (By Mr. Kennedy) trichloroethylene, what is


                                                    Page 83                                                       Page 85
      1   epidemiology of low-level arsenic in drinking water and    1   that?
      2   bladder cancer. I think I addressed heart disease as       2      A It is a chlorinated hydrocarbon solvent.
      3   well. That is my only recollection or understanding of     3      Q How are human beings exposed to that?
      4   where Rio Tinto has come up in any work I have done.       4         MS. REISMAN: Objection to form.
      5       Q American Chemistry Council, what work did you        5         THE WITNESS: There may be a variety of
      6   do for them? Litigation work?                              6   sources of exposure. But one relatively common one
      7       A No. I don't believe so.                              7   would be in metal parts degreasing.
      8       Q What work did you do?                                8      Q (By Mr. Kennedy) What about hair die? Have
      9       A I don't believe specific work.                       9   you been retained to do research and retained, paid
     10       Q Anything?                                           10   directly or indirectly to do research as it relates to
     11       A I simply don't recall. No. Particularly in          11   hair dies?
     12   litigation-related activities.                            12      A Not retained as you say. I believe there was
     13       Q What -- Monsanto would have been Roundup; is        13   a research grant, not to me, but to a principal
     14   that right?                                               14   investigator some years ago where that principal
     15       A No.                                                 15   investigator asked me to work on that topic pertaining
     16       Q What product for Monsanto?                          16   to bladder cancer.
     17       A That would have been the PCB area you brought       17      Q You were paid to do it, correct?
     18   up.                                                       18      A I was not paid specifically to do that. I was
     19       Q What other products or substances other than        19   a salaried employee at the time and that my
     20   PCBs, Dioxin, benzene, asbestos, what other substances    20   compensation had nothing to do with a specific project
     21   or products, toxins, have you been engaged to work on?    21   or that specific manuscript.
     22       A When you say "have been engaged"?                   22      Q My point is, you didn't do it for free, true?
     23       Q To do research or be involved in some form of       23   You were being a paid a salary and that was part of
     24   litigation.                                               24   your work for which you were paid the salary, true?
     25       A There may be a distinction too of being             25         MS. REISMAN: Objection to form. Asked and


                                                                                     22 (Pages 82 to 85)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 25 of 128 Page ID #5986
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 86                                                        Page 88
      1   answered.                                                  1   case, did you conclude that at levels of exposure, it
      2         THE WITNESS: I don't think I would answer it         2   could cause bladder cancer? Did you conclude and
      3   any differently. I was working for a company. I            3   publish that?
      4   received a salary. I was compensated via an                4      A I have looked at bladder cancer from low-level
      5   established salary. I had a variety of work                5   arsenic drinking water exposures and thankfully there
      6   engagements. That was one topic area that I was            6   is no support for a causal relationship.
      7   working on while a salaried employee.                      7      Q I will ask for any of these research projects
      8      Q (By Mr. Kennedy) Have you been paid directly          8   that we have just talked about, where you have
      9   or indirectly to do research on whey protein infant        9   published, have you found and concluded that there was
     10   formula?                                                  10   cause and effect between any of these products or
     11         MS. REISMAN: On what kind of infant formula?        11   exposures or substances and the alleged injury or harm?
     12         MR. KENNEDY: Whey, W-H-E-Y, protein infant          12         MS. REISMAN: Other than the one he just said?
     13   formula.                                                  13         MR. KENNEDY: Correct.
     14      Q (By Mr. Kennedy) Have you been paid directly         14         THE WITNESS: There likely would be in some of
     15   or indirectly to do research in that area?                15   the manuscripts, but I would have to take a look at
     16      A I have been retained as a consulting -- a            16   each and every paper to look at causation. Now, just
     17   research consultant to perform work on that topic. I      17   for clarification, you said cause and effect. Cause
     18   have also published on that topic via research grants     18   and effect typically means a randomized control
     19   under the same circumstances that I provided to you       19   clinical trial where you are looking at cause and
     20   earlier.                                                  20   effect.
     21      Q Have you been retained and paid directly or          21         There is other nuances pertaining to that in
     22   indirectly via salary to do research on processed meat    22   terms of the epidemiology vernacular for general
     23   and colorectal cancer?                                    23   causation.
     24      A I have been retained as a consulting                 24      Q (By Mr. Kennedy) I am not talking about --
     25   researcher to look at the epidemiology of that topic.     25   have you concluded general causation, the existence of


                                                    Page 87                                                        Page 89
      1   There also have been research grants for which I worked    1   general causation with respect to any of these
      2   on manuscripts under the same circumstances that I         2   substances, exposures, or products that we went through
      3   expressed earlier.                                         3   where you published a study?
      4      Q Have you been retained and paid directly or           4      A Again, I may have. I would have to take a
      5   indirectly via salary to research multivitamin,            5   look at word for word every single paper.
      6   multimineral use?                                          6      Q Do you remember offhand as you sit here today?
      7      A Again, I believe there was a research grant           7          MS. REISMAN: Other than the one he mentioned?
      8   for which I worked on a manuscript under the same          8          MR. KENNEDY: Correct.
      9   circumstances that I expressed.                            9          THE WITNESS: I just gave you one example.
     10      Q On any of these research topics where you have       10   There may have been something in terms of treatment
     11   done research and published, have you ever concluded      11   modality comparisons and in certain studies I
     12   that one of the products' substances toxins that we       12   published. But again, I don't want to say anything off
     13   talked about caused the alleged injury? Have you          13   the top of my head. I would rather go through each
     14   published that?                                           14   article word for word.
     15      A I would have to take a look at each and every        15      Q (By Mr. Kennedy) Look to Exhibit 113, if you
     16   manuscript. I believe that you brought up, I think Rio    16   would, please. Can you tell us what Exhibit 113 is,
     17   Tinto and I mentioned bladder cancer. I think the         17   please.
     18   first line in that paper says high-level arsenic can      18      A Exhibit 113 appears to be my data input or
     19   cause bladder cancer.                                     19   entry for which I would have typed in on a keyboard.
     20      Q What about at the exposure you were asked to         20      Q And do these relate to meta-analysis you did?
     21   study? A high level of anything can cause injury,         21      A Well, there is a couple things. One is this
     22   right?                                                    22   is a repository for me. This is a database like
     23          MS. REISMAN: Objection to form.                    23   someone using Excel to put data in. This would be my
     24      Q (By Mr. Kennedy) Even water at high levels           24   database repository. So I would say first and foremost
     25   can cause injury. With respect to your study in that      25   it is that.


                                                                                     23 (Pages 86 to 89)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 26 of 128 Page ID #5987
                                         Dominik Alexander, PhD
                                              March 8, 2023
                                                   Page 90                                                        Page 92
      1      Q My question is: Can we look at this and              1      Q Where did that odds ration come from, 1.210
      2   determine what meta-analyses you did in this case?        2   for van der Mark in this table?
      3      A This in combination with my report and the           3      A That would have come from the actual study.
      4   figures expressed in the report, yes.                     4      Q Look on page 46 of your report, if you would.
      5      Q The answer to my question again, please?             5      A I am sorry. You are saying it came from my
      6   Please answer my question.                                6   response was it came from the data in the study. Is
      7      A Same response. This in combination with the          7   that what you are saying?
      8   figures in the report, yes.                               8      Q I am asking you where it came from.
      9      Q I asked you whether or not you could look at         9      A It came from the data provided within a study
     10   this and enumerate for me every meta-analysis you did    10   for -- I believe occupational or by exposure level, the
     11   in the case based upon this. I didn't ask about the      11   0 to 3.8 and the 3.8 plus. So I may have been
     12   rest of your report. Looking at this, can you tell me    12   misreading what you were asking there. But the data
     13   every meta-analysis that you ran in this case? Yes or    13   came from the exposure level data in the study.
     14   no?                                                      14      Q Look to page 46 of your report, if you would,
     15      A That is not the purpose of this document.           15   please. Are you looking at that?
     16      Q I didn't ask you the purpose. I just asked          16      A Yes.
     17   you a yes or no, can you look at this Exhibit 113 and    17      Q With respect to van der Mark, where does 1.210
     18   tell me every meta-analysis you ran in this case. Yes    18   odds ratio appear for your table of van der Mark. What
     19   or no?                                                   19   does that appear? Anywhere?
     20      A It is not something that I would address            20      A That number, no. Like I said, it comes from
     21   because that is not how this would be used. So I can't   21   the data reported in the study. So that would be the
     22   tell you every specific analysis that was run without    22   exposure level, the 1.42 and the 1.01. So that is the
     23   looking at the figures in the report. The figures that   23   underlying data.
     24   for which this document give rise to.                    24      Q Correct.
     25         MR. KENNEDY: Sharyl, we just got three more        25      A So what I am doing epidemiologically is


                                                   Page 91                                                        Page 93
      1   hours in a deposition that was taken because the          1   looking at --os van der Mark has two categories.
      2   witness would not answer yes-or-no questions in that      2   Right? They have the different exposure categories.
      3   fashion. That was so simple, I don't have time to do      3      Q High and a low, correct?
      4   this.                                                     4      A Yes. So this is the ever exposure. So it is
      5      Q (By Mr. Kennedy) If I have a clear yes-or-no         5   taking the data points and the data sources which is
      6   question, Doctor, please answer my question yes or no.    6   what I was referring to before. And I am sorry if I
      7   That was very simple.                                     7   misheard that.
      8         MS. REISMAN: Eric, he has been doing a darn         8      Q So where does the 1.210 come from if you look
      9   good job answering the very questions. I think he         9   at 46? Is 1.210 reported anywhere in van der Mark?
     10   explained to you --                                      10      A No. That is the weighted combination of those
     11         MR. KENNEDY: I have done a good job being          11   two entries that I just mentioned.
     12   tolerant.                                                12      Q So it is the weighted combination of 1.42,
     13         MS. REISMAN: Let's not waste time.                 13   right?
     14         MR. KENNEDY: I know. I will ask for more           14      A 1.42, correct.
     15   time if it keeps up.                                     15      Q And 1.01?
     16         MS. REISMAN: I understand you have an opinion      16      A And 1.01. Not just that. But it is with the
     17   on that. Let's let the witness answer the questions.     17   measures of variants as well.
     18      Q (By Mr. Kennedy) Look to van der Mark on            18      Q Look to page 95. 95, page 95, do you outline
     19   Exhibit 113 if you would. The odds ratio you offer for   19   your rules you utilized for extraction of data from the
     20   van der Mark is 1.210. Is it not?                        20   studies that you evaluated?
     21      A It is not necessarily that I offer. It is           21      A I have outlined some of the methodology.
     22   something that is in that particular entry.              22      Q That you utilized to extract data from the
     23      Q Okay. My question is: How did you calculate         23   study, true?
     24   an odds ratio of 1.210 for van der Mark?                 24      A I utilized this methodology.
     25      A I didn't calculate that.                            25      Q Look to number two. What does number two


                                                                                    24 (Pages 90 to 93)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 27 of 128 Page ID #5988
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 94                                                        Page 96
      1   state? Does number two the most adjusted ORRR HR for       1   to studies reporting associations between occupational
      2   the highest level of exposure to Paraquat as an            2   exposure to Paraquat and Parkinson's disease, the
      3   independent variable? Is that what you state?              3   summary remains -- association remains below 2.0."
      4      A Yes.                                                  4         Where are those calculations that you
      5      Q As one of your rules?                                 5   reference in Footnote 104 indicating they would remain
      6      A Yes.                                                  6   below 2.0 if you were to limit these to occupational
      7      Q In van der Mark, the most adjusted for the            7   exposure? Where do I find those odds ratios for those
      8   highest level exposure would be 1.01, would it not?        8   calculations in your report?
      9      A Yes. Which is extracted.                              9      A I understand. They are not there because you
     10      Q Correct.                                             10   don't need to do calculations. When the data for
     11      A And utilized.                                        11   Shrestha, the odds ratio is 1.09. That is lower than
     12      Q 1.210 is the odds ratio you utilize in your          12   the 2.0. So it is mathematically impossible for you to
     13   analysis throughout van der Mark, is it not?              13   conduct a meta-analysis with a lower number like 1.09
     14      A That is not completely accurate.                     14   to make that number rise above 2.0.
     15      Q Look at your meta-analysis and the numbers you       15      Q I think you need to read your quote again.
     16   used for van der Mark. 1.210 is being utilized, is it     16   You are not understanding. I will read your quote, the
     17   not?                                                      17   last sentence. You are not putting Shrestha in. You
     18      A In some models of ever exposure as it should.        18   are not removing Shrestha. You are just limiting the
     19   When a particular analytical model is created for ever    19   analysis done of these three reviews to occupational
     20   exposure, that van der Mark statistic comes into play.    20   exposure only. And you indicate that if we do that
     21         For example, however, if you look on pages 102      21   with the studies used in those three reviews, the odds
     22   and 103 of my report, you will see the 1.01 for van der   22   ratio will remain under 2.0.
     23   Mark.                                                     23         Number one, where are your calculations of the
     24      Q Where in your rules on page 95 do you say you        24   occupational studies contained in those three articles
     25   are going to extract the ever number as opposed to the    25   that indicate an odds ratio under two as you state?


                                                    Page 95                                                        Page 97
      1   highest adjusted number for the highest level of           1   Where do those appear in your report?
      2   exposure? Where is that stated in your rules on page       2          MS. REISMAN: Objection to form.
      3   95?                                                        3          THE WITNESS: I am sorry. I think we are on a
      4      A In number one and number two. These aren't            4   different pages there.
      5   necessarily mutually exclusive because there is            5      Q (By Mr. Kennedy) I am on page 104. Footnote
      6   different analytical models that are generated. So on      6   36. Where are your calculations to support the
      7   page 95, in number one, it indicates that I extracted      7   statement in Footnote 36?
      8   ever or any exposure.                                      8      A Well, again, those are looking at the studies
      9         In number two, I also extracted the highest          9   in the published meta-analyses. So you don't need to
     10   level of exposure. In any particular paper, that          10   generate different odds ratio. That was my point for
     11   reports some type of exposure metric.                     11   Shrestha.
     12      Q Go to page 36 of your report. Excuse me, look        12          So if, for example, we were to add Shrestha or
     13   at Footnote 36. I am sorry. Footnote 36 is going to       13   do something before Shrestha, if you limit something to
     14   be page 104.                                              14   just strictly occupational exposure, some studies would
     15         Do you see Footnote 36 on page 104?                 15   drop out. So again, it would be mathematically
     16      A I do.                                                16   impossible to generate something above the 2.0 number.
     17      Q You state "I note the three most recent              17   For example, like if Liou came out.
     18   published meta-analysis that Dr. Wells references in      18      Q Let's go back. In the Vaccari, when you make
     19   his report and which I review above were all conducted    19   this statement, what occupational exposures were you
     20   prior to Shrestha 2020 and included Tanner 2011."         20   including in your meta-analysis to include that it
     21         Did I read that right?                              21   would nonetheless, if we look at occupational, be under
     22      A I think you did.                                     22   2.0? What occupational studies in Vaccari were you
     23      Q You next write "The summary associations             23   including in that determination?
     24   reported in those meta-analysis were all below 2.0. If    24          MS. REISMAN: Objection to form.
     25   one were to limit those pre-Shrestha 2020 meta-analysis   25          THE WITNESS: Well, one way to look at it


                                                                                     25 (Pages 94 to 97)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 28 of 128 Page ID #5989
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                    Page 98                                                      Page 100
      1   would be the one study removed analysis.                   1          MS. REISMAN: I will --
      2      Q (By Mr. Kennedy) I am not asking is where --          2          MR. KENNEDY: I asked him a very simple
      3   I want to know where in your report do you tell me,        3   question: Where is the listing in the studies. He can
      4   number one, the occupational studies in Vaccari that       4   gave me explanations all he wants. But the fact of the
      5   you used to make the calculation that the odds ratio       5   matter is they are nowhere in his report.
      6   would be under 2.0? Where in your report does it tell      6          MS. REISMAN: He is misunderstanding.
      7   me those studies?                                          7          MR. KENNEDY: No, it's not. He needs to say
      8      A Well, again, it is based on mathematical              8   they are not in my report.
      9   logic. Meaning that if you remove a study that has an      9          MS. REISMAN: He has referred you to the
     10   association higher than the 2. -- meaning that you        10   listing of studies that he used in his report twice.
     11   don't need a calculation to make that particular          11   He has pointed you to the pre-Tanner studies that he
     12   assessment.                                               12   uses, the occupational studies. He pointed you to page
     13      Q Where do you tell me the study you are               13   98. He pointed you to those studies.
     14   removing from the Vaccari in your report?                 14          MR. KENNEDY: Let's take a look then. Maybe I
     15      A Well, you keep bringing up Vaccari                   15   am wrong. I will take a look.
     16   specifically --                                           16          MS. REISMAN: You asked him what occupational
     17      Q We are going to go through one at a time. And        17   studies, and he pointed you to page 98.
     18   I want to know where in your report you tell us the       18          MR. KENNEDY: This has nothing to do with the
     19   occupational studies that you used in Vaccari to          19   Vaccari article.
     20   conclude that the odds ratio is under 2? Where in your    20          MS. REISMAN: He references the Vaccari
     21   report do you list the studies?                           21   article in the first sentence. Then he says if you
     22      A Sure. We can correlate what I have here on           22   limit.
     23   page 98 with Vaccari if you would be happy to show it     23          MR. KENNEDY: This has nothing to do with
     24   to me.                                                    24   Vaccari. This is the meta-analysis that he wrote on
     25      Q No. I want to know where in the text you list        25   page 98, which has nothing to do with Vaccari.


                                                    Page 99                                                      Page 101
      1   the studies. Does it appear? This is Vaccari. These        1         MS. REISMAN: His footnote?
      2   are the occupational studies that I am going to run an     2         THE WITNESS: My footnote is not Vaccari.
      3   OR with where the result is under 2.                       3   That is why I think there is a disconnect. That's why
      4         Where is that stated in your report?                 4   I was --
      5      A Again, you don't need to run a particular             5      Q (By Mr. Kennedy) The footnote references the
      6   calculation to make that conclusion because of the         6   three review articles.
      7   mathematical nature of those odds ratios in that           7      A It does, but that statement -- I am saying if
      8   particular assessment.                                     8   you were to limit those to the pre-Shrestha studies --
      9      Q Is the answer to my question, there is no             9      Q Right.
     10   listing of the occupational studies in the Vaccari that   10      A -- the summary associations remain below 2.
     11   you utilize to draw the conclusion that the OR is under   11   And that is looking at -- on page 98 where I look at
     12   2? Is that the answer to my question? They are not        12   all the studies with Shrestha removed as well. And
     13   listed anywhere in your report?                           13   that is -- so you kept saying Vaccari and that is where
     14         MS. REISMAN: Objection to form.                     14   I was confused, because it wasn't pertaining to that.
     15      Q (By Mr. Kennedy) And if they are, show me            15   That is not specifically for that.
     16   please.                                                   16      Q Page 98 has Shrestha in it.
     17      A Well, I can comment on the data, for example.        17      A It is a one-study removed analysis. And I
     18   The Liou study, but again, I haven't put in a specific    18   would be more than happy to walk you through what that
     19   language pertaining to Vaccari. But like I said, you      19   means.
     20   don't need to run separate analyses to make that          20         MR. KENNEDY: Well, take a break.
     21   conclusion because mathematically one can simply look     21         MS. REISMAN: I understand your confusion.
     22   at the odds ratios reported and one can simply say,       22         MR. KENNEDY: It is a very simple question.
     23   given the nature of these odds ratios, it would not be    23         MS. REISMAN: Do you want to take a break?
     24   above 2.0.                                                24         MR. KENNEDY: Yes.
     25         MR. KENNEDY: We need to take a break.               25         VIDEOGRAPHER: We are off the record. The


                                                                                   26 (Pages 98 to 101)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 29 of 128 Page ID #5990
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 102                                                       Page 104
      1   time is 11:44 a.m.                                         1      Q So we are going to go back. Does your report
      2          (Off the record.)                                   2   contain a list of occupational studies in the
      3          VIDEOGRAPHER: We are back on the record. The        3   Breckenridge meta-analysis that you utilized and did a
      4   time is 11:57 a.m.                                         4   calculation that resulted in an odds ratio of under 2?
      5      Q (By Mr. Kennedy) Doctor, we are still talking         5   Show me the list for Breckenridge.
      6   about Footnote 36. But with respect to the Vaccari         6      A I don't have a list for Breckenridge because
      7   review article, I assume that is one of the three          7   that is not specifically what that entry in the
      8   published meta-analysis that Dr. Wells referenced, ne      8   footnote refers to. I understand that I mention
      9   of them would be Vaccari, true?                            9   meta-analyses in the first sentence and I think the
     10      A In the first sentence that I have there, yes.        10   second sentence.
     11   That would be one of them.                                11          However, the third sentence means that I
     12      Q One would be Breckenridge?                           12   looked at the associations from occupational studies to
     13      A I believe so.                                        13   Paraquat prior to Shrestha 2020. And again, this
     14      Q And one would be Tangamornsuksan?                    14   effort was for illustrative purposes in looking at the
     15          MS. REISMAN: Can we just say Tang?                 15   studies or evaluating those studies pre-Shrestha
     16          MR. KENNEDY: I've been going with Tang. That       16   results in a summary association below 2.
     17   is the first time I have ever said that correctly. So     17      Q We are going to call Randy at lunch.
     18   we are saying the whole thing now. The Tangamornsuksan    18          For Tangamornsuksan, same question. Show me
     19   review article.                                           19   where there is a list anywhere? We'll interpret this
     20          THE WITNESS: Tangamornsuksan, yes.                 20   sentence later. We'll let a jury do it.
     21      Q (By Mr. Kennedy) Those are the three articles        21          Is there anywhere in your report, a list of
     22   we are talking about, the three meta-analysis we are      22   the occupational studies that you utilized to calculate
     23   talking about in Footnote 36, correct?                    23   an odds ratio that you say is under 2? Is there such a
     24      A I believe those are the three.                       24   list for Tangamornsuksan in your report?
     25      Q So my question is: Can you show me where in          25      A Again, it is not broken down by those authors.


                                                  Page 103                                                       Page 105
      1   your report you list the occupational studies in           1   However, we can go to, like I said earlier, page 98
      2   Vaccari that you used to calculate the odds ratio that     2   would be one. We can go to page 96. And those are the
      3   you indicate is under 2? Where is the list of the          3   studies -- again for illustrative purposes in this
      4   studies in Vaccari in your report?                         4   section -- those are studies that would have been
      5      A I don't have a list pertaining to Vaccari             5   occupational exposures to Paraquat. And they would
      6   specifically. The last sentence that I have in that        6   have been the ones that I analyzed and I did perform an
      7   footnote pertains to reviewing the studies of              7   analysis of the studies pre-Shrestha.
      8   occupational exposure that existed prior to the            8      Q All right. Did you perform a specific
      9   Shrestha 2020 article. And that is an analysis that I      9   analysis for the occupational studies in Vaccari? Did
     10   performed, and the summary association remained below     10   you perform a specific analysis for the occupational
     11   2.0.                                                      11   studies in Vaccari? Yes or no?
     12      Q With respect to Breckenridge, can you tell me        12      A I didn't utilize Vaccari as a source of
     13   with respect to Breckenridge, what are the specific       13   studies. My section here on meta-analysis was for
     14   epidemiology studies, occupational, that you utilized     14   illustrative purposes responding to Dr. Wells.
     15   to calculate an odds ratio that you maintain is under     15      Q Did you calculate a specific odds ration for
     16   2?                                                        16   occupational studies in Breckenridge?
     17      A Well, again, this entry, that sentence in the        17      A Not for -- I don't believe so. For the same
     18   footnote is not necessarily specific to each of those     18   reasons that I provided.
     19   meta-analyses. However, that entry reflects the           19      Q Did you calculate a specific odds ratio for
     20   occupational studies for illustrative purposes as         20   the occupational studies in Tanga?
     21   expressed by Dr. Wells in this particular section.        21      A Not the way that you are asking the question
     22         And so the occupational exposure to Paraquat        22   for this purpose, no. Again --
     23   summary relative risk, for the studies, again for         23      Q I want you to answer the questions as I am
     24   illustrative purposes prior to the Shrestha 2020 paper,   24   asking them.
     25   remains below 2.                                          25         MS. REISMAN: He just answered.


                                                                                27 (Pages 102 to 105)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 30 of 128 Page ID #5991
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 106                                                      Page 108
      1      Q (By Mr. Kennedy) That's the premises.                 1   publication bias? Where is that in your report?
      2         MS. REISMAN: He just answered, Eric. Move            2      A Well, there is -- it wouldn't be because there
      3   on.                                                        3   is different methodologies. I used a meta-regression.
      4      Q (By Mr. Kennedy) What is publication bias?            4      Q So it is not in your report; is that true?
      5      A Publication bias is a potential bias that can         5   That is all I am asking. Is there anywhere in your
      6   happen if there is an over or underreporting of certain    6   report where you say I did the BEG test and looked for
      7   risk estimates. Typically where you see publication        7   publication bias?
      8   bias would be if you have a small sample size with         8      A It shouldn't be.
      9   large odds ratios or relative risks reported.              9      Q Is it or isn't it? I didn't ask you whether
     10         There may be an over publishing process,            10   it should. Is it in your report?
     11   whether it is by the researchers reporting it or the      11      A I don't recall it being in the report.
     12   journal editors.                                          12      Q What about Egger's test? Is that in your
     13      Q Are there tests done to assess the extent of         13   report where you used the Egger's test to look for
     14   publication bias?                                         14   publication bias?
     15      A It is not necessarily the extent of, but there       15      A Egger's regression may have been in part of
     16   are certainly -- I provided some, for example, in         16   some of the analyses for meta-regression, but I don't
     17   meta-regression, looking at some of these figures. I      17   recall specifically reporting the Egger's regression
     18   can point those to you in the report. But that is a       18   test.
     19   methodology to look at outliers.                          19      Q Can you show me in your report where you used
     20      Q Can you tell me the -- list for me what              20   meta-regression to specifically address publication
     21   analyses or tests can be done to determine the extent     21   bias? Where is that in your report?
     22   or existence of publication bias?                         22      A Well, I performed a meta-regression on page
     23      A What analyses or test? You could take a look,        23   97. And again, the purpose wasn't necessarily for
     24   for example, on page --                                   24   publication bias. Again, this was for -- this section
     25      Q I am not asking what you did or didn't do.           25   was for illustrative purposes only in response to


                                                  Page 107                                                      Page 109
      1   Tell me the tests that exist to determine the extent or    1   Dr. Wells.
      2   existence of publication bias.                             2         Now, as part of that process, I performed a
      3      A One methodology that can be used is                   3   variety of analyses including meta-regression. You can
      4   meta-regression.                                           4   see that on page 97 --
      5      Q Can you cite me a source that says                    5      Q Listen to my question again. I hate to stop
      6   meta-regression is an analysis that can be done to test    6   you. I want to know where in your report do you state
      7   or assess publication bias?                                7   I am using meta-aggression to assess publication bias?
      8      A I would have to take a look at the literature,        8   Is that in your report?
      9   but it is a methodology that we use as epidemiologists.    9         MS. REISMAN: You meta -- you said
     10      Q What others are there?                               10   meta-aggression.
     11      A Well, there is initial -- one method at least        11      Q (By Mr. Kennedy) Where in your report do you
     12   visually is what's called a funnel plot. And in a         12   state I am using meta-aggression?
     13   funnel plot, it just generally graphically illustrates    13         MS. REISMAN: Regression.
     14   studies around a level of variance.                       14      Q (By Mr. Kennedy) Regression --
     15      Q Did you do a funnel plot in this case?               15      A Millions of meta-aggression.
     16      A I did a meta-regression, which is more               16      Q Meta-regression to assess publication bias,
     17   informative than a funnel plot. It is kind of like        17   where is that stated in your report?
     18   taking a P value versus a conference interval. A          18      A I don't believe that would be stated. Again,
     19   funnel plot versus meta-regression, where conference      19   because this is for illustrative purposes only in
     20   interval is preferred and meta-regression is preferred.   20   response to Dr. Wells.
     21      Q Did you do a BEG test?                               21      Q Thank you.
     22      A There may have been some output with the BEG         22         You used the term risk ratios in your report,
     23   test.                                                     23   I think at page 15. And odds ratio, hazard ratios,
     24      Q Where is that in your report where you say I         24   both come under the umbrella risk ratios?
     25   performed a BEG test to determine and assess              25      A No. They come under relative risk.


                                                                                28 (Pages 106 to 109)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 31 of 128 Page ID #5992
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 110                                                       Page 112
      1      Q Under relative risk, I am sorry.                      1   peer-reviewed publication for that process, I would
      2         So risk ratios, odds ratio, and hazard ratios        2   typically express the subgroup, or while I am looking
      3   come under relevant risk ratios?                           3   at a subgroup, a part of the subgroup analyses as to
      4      A No. No. Relative risk, not relevant risk.             4   explore statistical heterogeneity and design
      5   So a relative risk is an umbrella term for -- in           5   heterogeneity by different characteristics.
      6   association or looking at association between two          6         So it may not be something that is explicitly
      7   variables. There is different specific metrics like        7   stated, but it is an exploration for sources of
      8   nods ratio or rate ratio and so on.                        8   heterogeneity by different studies or characteristics.
      9      Q Odds ratios and hazard ratios measure                 9      Q (By Mr. Kennedy) So the answer is no?
     10   different things?                                         10      A Like I said, I typically in a -- my published
     11         MS. REISMAN: Objection. Form.                       11   meta-analysis, my peer-reviewed published
     12         THE WITNESS: I don't know. You would have to        12   meta-analyses, I typically provide the reason for a
     13   be more specific when you say "different things." They    13   subgroup based on my recollection. And again, that
     14   are both providing a ratio analysis. Meaning they are     14   reason may be to explore sources of heterogeneity by
     15   both performed using certain study designs to generate    15   different study characteristics.
     16   an estimate of risk.                                      16      Q So when you publish, you do state a rationale
     17      Q (By Mr. Kennedy) Do you use the terms "odds          17   or reasoning for subgrouping, is that your statement?
     18   ratio" and "hazards ratio" interchangeably?               18         MS. REISMAN: Objection. Form.
     19      A I don't use those terms interchangeably.             19         THE WITNESS: If I -- in my published
     20   However, both are statistics estimating the ratio         20   meta-analyses, what I am responding to is I know that
     21   measure, the probability of disease occurrence or the     21   in some of my meta-analyses there may be a reason for
     22   probability of exposure. I specifically refer to odds     22   doing that. But other times there may be situations
     23   ratios and case-control studies that report odds          23   where you don't need to express that if it is -- if
     24   ratios. I refer to hazard ratios if they are              24   there is a well-known -- if you are doing a subgroup
     25   specifically reported in a prospective cohort study.      25   analysis by gender, it is implied that the researcher


                                                  Page 111                                                       Page 113
      1      Q So is the answer to my question, you don't use        1   is looking at different patterns of risks between men
      2   them interchangeably, very simply?                         2   and women in a study.
      3      A It is not as simple for the first part. So I          3      Q (By Mr. Kennedy) Sometimes you don't need to
      4   use measures of association which subsumes those           4   state it, that is your testimony? There are
      5   estimates when I am referring to estimating the            5   circumstances where you do not need to outline your
      6   probability of the occurrence of disease or exposure.      6   rationale for subgrouping?
      7   Now, when the studies use them separately, I will use      7      A No. That is not necessarily what I am saying.
      8   them separately.                                           8   I am just saying in my experience in terms of my
      9      Q Anywhere in here -- so you don't care whether         9   publications, which I would have to go back and look at
     10   you say odds ratio or hazard ratios when you are          10   all of them, I think there is many meta-analyses I
     11   drafting a report such as this? You can use them          11   performed for which there may be reasons. It could be
     12   interchangeably in certain circumstances?                 12   looking at exposure levels or looking at a variety of
     13      A I think that is the opposite of what I was           13   things for which I discussed.
     14   trying to say.                                            14          There may be other situations where I may have
     15      Q Thank you.                                           15   a model by study country or by gender where I don't
     16         When you subgroup -- when you subgroup in an        16   really talk about it much more than that. But I would
     17   analysis, either for review purposes or meta-analyses     17   say for the most part, there is some kind of reason for
     18   purposes, is it necessary to provide an explanation for   18   a subgroup or talked about or interpreted in my
     19   your subgrouping or a rationale for your subgrouping?     19   publications.
     20   Is that part of a systematic review to provide an         20      Q Should be? Not whether there is or isn't.
     21   explanation for a rationale for the subgrouping of        21   You should state rationale reasoning for subgrouping in
     22   epidemiology studies?                                     22   an analysis, true?
     23         MS. REISMAN: Objection to form.                     23          MS. REISMAN: Objection. Form.
     24         THE WITNESS: Well, typically if I do a              24      Q (By Mr. Kennedy) Would you agree with that
     25   peer-reviewed publication, a manuscript for a             25   statement? It should be done?


                                                                                29 (Pages 110 to 113)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 32 of 128 Page ID #5993
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 114                                                      Page 116
      1      A I believe I expressed that in the methods            1      Q You reviewed this?
      2   section of each and every report. Meaning that I          2      A I read it.
      3   perform subgroup or sensitivity analyses, and that is     3      Q Provided a critique of it?
      4   likely something that is in the methods section of        4      A I have a summary in my report.
      5   every report, which is then illustrated in graphical      5      Q Had some criticisms of it?
      6   form. But it is something in my practice that I           6      A I discuss methodological aspects, and I
      7   typically do.                                             7   believe I also paraphrase or summarize some of
      8      Q (By Mr. Kennedy) State rationale reasoning,          8   Vaccari's own limitations of their analysis.
      9   correct?                                                  9      Q Not what I asked. Did you have criticisms of
     10         MS. REISMAN: Objection to form.                    10   Vaccari in your report, Exhibit 118?
     11      Q (By Mr. Kennedy) I will ask you one more            11      A I believe there are some.
     12   time. Then we will save this one for the special         12      Q Are there any others other than those that are
     13   master.                                                  13   articulated in your report?
     14         Is it -- if you're approaching this in what        14      A I would have to take a look at my summary.
     15   you believe to be an acceptable fashion, is it           15      Q Go to page 190.
     16   required -- listen to my question. I said required.      16      A Of Vaccari --
     17   How would you do --                                      17      Q There's one on page 190 in Exhibit 18, which
     18         Is it required to state rationale or reasoning     18   is Vaccari 2019. I am going to focus on Vaccari's
     19   for a subgroup of analysis?                              19   treatment of Liou 1997 study. All right?
     20      A Required by whom?                                   20         I think you wrote about Vaccari's treatment of
     21      Q You. In your opinion. We're here to ask             21   Liou. You are familiar with the Liou 1997 study, are
     22   about your opinions and thoughts and beliefs. So I am    22   you not?
     23   asking you your opinions.                                23      A I am. Just bear with me one second.
     24      A It may depend on the types of studies. It may       24      Q 190. They are numbered every other. I think
     25   depend on the nature of exposure. It may depend on a     25   you have to find page 189 and go to the next page. You


                                                  Page 115                                                      Page 117
      1   variety of factors. So it is not just as simply           1   set?
      2   saying, expressing it like you are doing.                 2      A I see it. But I think you said I discuss
      3      Q All right. Look to 118, if we could. Let's           3   their treatment of Liou in Vaccari, and I don't think I
      4   look at Vaccari.                                          4   do that. I am not sure where you are referring to.
      5         MS. REISMAN: Are you marking a new exhibit?         5      Q You do, but we can go there later. You talk
      6      Q (By Mr. Kennedy) Exhibit 118. I am sorry.            6   about Liou and Vaccari. When you deal with Vaccari in
      7   You have reviewed Vaccari, correct?                       7   your meta-analysis -- excuse me.
      8         MS. REISMAN: Give me a second.                      8          When you deal with Liou in your meta-analysis,
      9         MR. KENNEDY: These are the basic ones. You          9   which you do with Liou kind of taking that mixed group
     10   don't have to get the exhibit. I will wait for you       10   and pushing it over, you reference what Liou did, which
     11   when we get to the hard ones.                            11   you basically did the same thing.
     12      Q (By Mr. Kennedy) 118, this is the Vaccari           12          MS. REISMAN: If you have questions.
     13   review article, true?                                    13      Q (By Mr. Kennedy) Go to page 189. 190. You
     14      A It is paper by Vaccari. It is a                     14   have to find 190 via 189. Go to 190. I want to look
     15   meta-analysis.                                           15   at Vaccari and what was done with Liou.
     16      Q So the answer to my really simple question          16      A I think I am tracking you.
     17   would be yes?                                            17      Q You all set?
     18      A Well --                                             18      A I see 189. I see 190.
     19      Q If you can do so. I asked you: Is this the          19      Q Look at the bottom. When she does her
     20   review article by Vaccari, yes or no?                    20   calculations, she arrives at an odds ratio of 1.43, do
     21      A Well, you said is this the review article. It       21   you see that, on the bottom of 189? Her odds ratio?
     22   is a meta-analysis and review by Vaccari. I don't know   22      A I see that statistic on the bottom of the
     23   if there is other Vaccari reviews out there. But this    23   page.
     24   is a review and meta-analysis Paraquat and Parkinson's   24      Q Go to the next page. Up at the top on the
     25   where the lead author is Vaccari.                        25   left, 190. She starts by talking about the estimate.


                                                                               30 (Pages 114 to 117)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 33 of 128 Page ID #5994
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 118                                                        Page 120
      1   Do you see that?                                           1      Q (By Mr. Kennedy) Is Liou being considered in
      2      A I see the words, yes.                                 2   the meta-analysis if it is being weighted at zero?
      3      Q The estimate by Liou was considered an outlier        3         MS. REISMAN: Objection. Form. Foundation.
      4   because it was far different from the other estimates.     4      Q (By Mr. Kennedy) Does it factor into the
      5   OR 3.45. 95 percent, gives a confidence interval.          5   meta-analysis?
      6   Then the article states, "In the Liou, et al., '97         6      A It is being considered as she reported in text
      7   investigation, the participants were categorized as        7   above. However, that particular model looks like it
      8   residentially or occupationally exposed to Paraquat.       8   would be consistent with her text of the 1.25, where
      9   But such information was obtained only through             9   Liou was removed from that particular analysis.
     10   questionnaires, which might have been a source of         10      Q Thank you.
     11   recall bias.                                              11         So with Liou in the analysis, the
     12         "In addition, there were two categories of          12   meta-analysis, the odds ratio is 1.43, correct? And
     13   exposure duration. From 1 to 19 years and over 20         13   with Liou out, the meta-analysis was 1.25 odds ratio,
     14   years, but detailed information regarding the frequency   14   correct?
     15   or amount of exposure was not available. Therefore,       15      A That is what it appears to be.
     16   exposure may have been overestimated especially in the    16      Q Go to page 192 now. 192, if you look at
     17   case of the residential exposures scenarios."             17   Figure 7, they do a sensitivity analysis. Again, Liou
     18         Do you see that?                                    18   is given zero weight, correct?
     19      A I do.                                                19         MS. REISMAN: Objection. Form.
     20      Q She seems to be trying to explain why Liou had       20         THE WITNESS: Are you saying in Figure 7?
     21   such a high odds ratio in relation to the other           21      Q (By Mr. Kennedy) Yes, sir.
     22   studies, correct?                                         22      A In 1.2.2, yes.
     23         MS. REISMAN: Objection. Form. Foundation.           23      Q Now, go down to the bottom of 192. This is
     24         THE WITNESS: I don't know if she is trying to       24   the beginning the section where Vaccari now is doing a
     25   explain that. But she is making a comment and perhaps     25   Bradford Hill analysis, correct? She is looking at the


                                                  Page 119                                                        Page 121
      1   if there was some type of overreporting of exposure,       1   magnitude of the effect in a causation Bradford Hill
      2   that may inflate the odds ratio.                           2   analysis, true?
      3       Q (By Mr. Kennedy) She goes on to say "The             3      A She has some language pertaining to Bradford
      4   sensitivity analysis excluding Liou, et al., 1997,         4   Hill in that area. However, there is an improper
      5   indicated that the meta-analysis might result in lower     5   application of what Bradford Hill was referring to
      6   significant OR with reduced heterogeneity."                6   pertaining to strength of association.
      7          So she then indicates the odds ratio with Liou      7      Q Last sentence in this -- Bradford Hill is used
      8   out is down to 1.25. Do you see that?                      8   for causation, correct?
      9       A I do.                                                9      A Bradford Hill is a set of considerations for
     10       Q If you look down then at her meta-analysis in       10   general causation. With that being said, there is
     11   the table below, Figure 4, do you see that?               11   specific applications. And this language in this
     12       A Yes.                                                12   section, with all due respect, I believe that Dr.
     13       Q She gives zero weight to Liou, did she not?         13   Vaccari is maybe misinterpreting what that application
     14       A Well, she is not giving weight. She, meaning        14   is or performing an improper application for the
     15   Dr. Vaccari, is not giving weight.                        15   consideration of strength.
     16       Q That is who I am talking about. Is Dr.              16      Q And I didn't ask you anything about her. I
     17   Vaccari a woman? Maybe I'm mistaken.                      17   just asked you whether the Bradford Hill criteria was a
     18       A No, no. You're right.                               18   methodology used in general causation.
     19          MS. REISMAN: He was in the middle of the           19         Is that true? In a general sense, is that
     20   response.                                                 20   true?
     21          THE WITNESS: Yeah. So what I am saying is,         21      A As I indicated, Bradford Hill is used in
     22   she meaning Dr. Vaccari did not give weight. It would     22   general causation.
     23   have been the analytical program that did not give        23      Q Thank you.
     24   weight. And so weight means relative weight. It is        24         Next sentence down, she states, "The estimated
     25   the inverse of the variants on the overall model.         25   OR for the case control studies was positive and


                                                                                31 (Pages 118 to 121)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 34 of 128 Page ID #5995
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 122                                                       Page 124
      1   significant, all be it close to a non-association          1   looking at this model with the relative rate of zero,
      2   value."                                                    2   and her text above that says 1.25, I would believe that
      3         And she refers us to Figure 4, correct?              3   that particular model was run without Liou.
      4      A I see Figure 4 listed.                                4      Q My question is: Do you find this to be
      5      Q Figure 4 is the odds ratio of 1.25 that               5   acceptable on her part to only reference the odds ratio
      6   excluded the Liou study, is it not?                        6   with Liou removed when looking at Bradford Hill and
      7      A Figure 4 represents the 1.25.                         7   causation? Is that acceptable to reference in the odds
      8      Q Where the Liou study was removed, correct?            8   ratio with Liou removed?
      9      A The Liou study is there, but it appears it was        9      A Well, first of all, this is a small paragraph
     10   removed from a particular model based on the text         10   when you are talking about Bradford Hill. And I don't
     11   above.                                                    11   believe Dr. Vaccari has done -- I know that she invoked
     12      Q Correct. So Vaccari, in doing her analysis,          12   Bradford Hill and looked at some of these. It is a
     13   excluded the Liou study. It looks like based upon its     13   publication with word space and word count. So she
     14   effect on heterogeneity and her commentary about          14   talks about one model. I think 1.25, she talks about a
     15   quality of the Liou study from what we've earlier read?   15   cohort study.
     16      A Well, again, there is an analysis for which it       16         Clearly she reported the data for 1.43. So
     17   was removed. She did include the Liou study. She          17   she generated those data and would have considered
     18   reported data, I think it was 1.43 before the Liou        18   those data.
     19   study. But then there is an additional model for which    19         But again, this is a small paragraph for
     20   she removed that particular study that we discussed.      20   certain Bradford Hill considerations pertaining to
     21      Q She is talking about causation. Does she             21   strength.
     22   reference anything other than Figure 4, which is the      22      Q You will have to listen to my questions. We
     23   1.25 odds ratio with Liou removed? Does she reference     23   will get answers to this one, and we will get it with
     24   anything else in this causation Bradford Hill section     24   the special master on the call.
     25   other than the 1.25 with Liou removed?                    25         Number one, in this Bradford Hill section,


                                                  Page 123                                                       Page 125
      1      A Yes. She discusses a 1.08 for the cohort.             1   does she mention anything other than the 1.25 with
      2      Q Does she discuss the meta-analysis that had           2   respect to the odds ratio for the case control study,
      3   been done with Liou included 1.43 in her Bradford Hill     3   yes or no? Does she mention anything other than the
      4   analysis, or does she only reference the 1.25 odds         4   1.25 in this Bradford Hill section? Yes or no?
      5   ratio with respect to Liou being removed?                  5         MS. REISMAN: You are talking about the bottom
      6      A She references to a Figure 4, which we                6   paragraph here and the top paragraph on 193? 192 to
      7   discussed what the summary estimate in that model was.     7   193? Just that paragraph?
      8   She also references to cohort analysis of 1.08 in that     8         MR. KENNEDY: Correct.
      9   particular --                                              9      Q (By Mr. Kennedy) Does she mention anything
     10      Q I am not talking about -- I want to focus on         10   other than Figure 4, which is the 1.25 with Liou
     11   the meta-analysis done with the case controlled study.    11   removed, yes or no?
     12         Does she reference any other meta-analysis          12      A Well, she mentions it. But if you are asking
     13   with the case controls other than the case control        13   just about case control studies, like I have said
     14   study that removed Liou? If she did, show me where she    14   before, she just references Figure 4. And I told you
     15   did.                                                      15   what I thought Figure 4 represented.
     16      A I keep going back to what she references in          16      Q Thank you. That is all I want to know.
     17   Figure 4.                                                 17   That's all she mentioned.
     18      Q Thank you.                                           18         And my question, if that is all she actually
     19         Figure 4 is the meta-analysis with Liou             19   considered, would it be appropriate for her to remove
     20   removed, correct?                                         20   from a meta-analysis a study on the basis of its effect
     21      A As I have been saying in that figure, yes. It        21   on heterogeneity and on the basis of its quality? Is
     22   is the 1.25.                                              22   that appropriate to remove from a meta-analysis based
     23      Q With Liou removed, yes or no?                        23   upon heterogeneity and quality of the study when
     24      A That particular model, again, looking -- I           24   considering causation? Is that an appropriate
     25   can't speak for everything that Dr. Vaccari did. But      25   methodology?


                                                                                32 (Pages 122 to 125)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 35 of 128 Page ID #5996
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 126                                                       Page 128
      1      A Well --                                              1      Q The other part of the paragraph has to do with
      2      Q If you believe it adversely affects                  2   cohorts. I am not talking about the cohorts. I'm just
      3   heterogeneity and you believe it is a study of poor       3   talking about what she did with the case control
      4   quality, is it appropriate to remove from her             4   meta-analysis and how she utilized it without Liou to
      5   meta-analysis when considering causation?                 5   address this single factor of Bradford Hill.
      6      A Well, first of all, I would caution not to           6         Simple question. Do you find that an
      7   conflate a meta-analysis with causation. A                7   acceptable approach?
      8   meta-analysis may be used to help inform an opinion of    8      A Well, based on her reasons -- and again we are
      9   causation. They are not the same thing.                   9   just taking a small paragraph here, and I am not sure
     10         So is it proper to perform different analyses      10   if there is other factors that go into it -- but this
     11   by removing studies because they are a known             11   paragraph isn't just about a 1.43 or 1.25.
     12   statistical outlier or there may be methodological       12      Q This paragraph is just about a 1.25. There is
     13   concerns? 100 percent.                                   13   nothing in this paragraph about a 1.43. Correct?
     14      Q And a methodological concerns would relate to       14      A No.
     15   quality and might relate to heterogeneity. Is that       15      Q It is not stated anywhere?
     16   what you are saying, because that was my question?       16      A Meaning 1.08. That is important as well.
     17      A I am not necessarily differentiating those          17   That is the totality of the evidence. That is right
     18   two. There are statistical heterogeneity. There is       18   here in that paragraph. That is what I keep going back
     19   design heterogeneity. That particular study was          19   to.
     20   identified as a statistical outlier. Therefore, it is    20      Q We will deal with the cohort next.
     21   common practice to run analyses with and without that    21         With respect to the case control
     22   particular study, which I did for each and every study   22   meta-analysis, very simply, do you think it is
     23   in my meta-analysis for illustrative purposes only.      23   appropriate for her consideration of this single factor
     24   Yes, that is very common practice.                       24   that she use the case control meta-analysis without
     25         It is also very common practice to include or      25   Liou? Do you think that is appropriate or acceptable?


                                                  Page 127                                                       Page 129
      1   exclude certain studies based on methodological           1      A I have told you that from a meta-analytic
      2   characteristics. So that is something that is commonly    2   standpoint, yes, for the reasons that she gave that is
      3   done.                                                     3   acceptable. And I have been consistent with that
      4      Q Okay. So you don't have a problem with her           4   response.
      5   removal of Liou and utilizing the odds ratio without      5      Q Thank you. Lunch?
      6   Liou in this consideration?                               6         VIDEOGRAPHER: We are off the record. The
      7      A Again, this -- I am seeing a snippet of what         7   time is 12:37 p.m.
      8   she reported for something called magnitude.              8         (Off the record.)
      9      Q Correct.                                             9         VIDEOGRAPHER: We are back on the record. The
     10      A From a meta-analysis standpoint --                  10   time is 1:22 p.m.
     11      Q I am just talking about magnitude and where         11      Q (By Mr. Kennedy) Eric Kennedy, still doctor.
     12   she uses it. We will talk about the rest. I am           12   Look to 177 in Vaccari, if you could.
     13   talking about magnitude, the Bradford Hill criteria,     13         MS. REISMAN: Page 177?
     14   and the fact she used or certainly cited to only the     14         MR. KENNEDY: Yes.
     15   meta-analysis with Liou removed.                         15         THE WITNESS: 177?
     16         MS. REISMAN: For magnitude?                        16      Q (By Mr. Kennedy) Yes. The bottom box. Lists
     17         MR. KENNEDY: Correct.                              17   exclusion criteria for the Paraquat epidemiology and
     18      Q (By Mr. Kennedy) And my question is that            18   Parkinson disease studies. Do you see that?
     19   appropriate or not for her to have done that?            19      A I do.
     20      A Well, one is she makes reference to Figure 4.       20      Q The right-hand, the bottom box, three-quarters
     21   That is totally fine. Liou was removed, she reports      21   of the way down, it looks likes Vaccari excluded PD
     22   the 1.43. She reports the 1.25. She made a reference     22   mortality records. Do you agree excluding Parkinson's
     23   to Figure 4. But that is only half of that paragraph.    23   disease mortality record epi studies from this
     24   And we are missing another very important factor under   24   analysis?
     25   Bradford Hill.                                           25         MS. REISMAN: Objection. Form.


                                                                               33 (Pages 126 to 129)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 36 of 128 Page ID #5997
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 130                                                      Page 132
      1         THE WITNESS: You are asking if I agree?              1          THE WITNESS: I would have to look at more
      2      Q (By Mr. Kennedy) Do you agree with that               2   information than that, if there is any validation,
      3   exclusion in this analysis by Vaccari of Paraquat and      3   if -- what type of mortality records are we referring
      4   Parkinson's disease?                                       4   to, so on.
      5         MS. REISMAN: Objection. Form.                        5      Q (By Mr. Kennedy) Colinearity, are you
      6         THE WITNESS: Given their expression of the           6   familiar with the concept?
      7   methodology that they used, I guess I wouldn't neither     7      A That is a concept I am familiar with.
      8   agree or disagree. It looks like it is a two-study         8      Q Colinearity is a statistical phenomena that
      9   selected PD cases from PD mortality records. I am not      9   occurs when two or more factors in a regression model
     10   exactly sure what they mean by that, but it is a method   10   are correlated with each other. True?
     11   by which they followed.                                   11      A It can be. Or multi-colinearity, yes.
     12      Q (By Mr. Kennedy) If you have an epidemiology         12      Q Possible for several variables in a study to
     13   study where PD cases are being selected from              13   be colinear?
     14   Parkinson's disease mortality records, would you agree    14      A Are you saying is it in the realm of
     15   with excluding those type epidemiology studies from       15   possibility?
     16   your review?                                              16      Q Yes.
     17         MS. REISMAN: Objection. Form.                       17      A That there could be multiple variables that
     18         THE WITNESS: Well, one is I am not sure if          18   could be colinear? It is possible. I know that from
     19   they are referring to epidemiology studies. That is       19   genetic epidemiology, that can happen if there is
     20   what I am saying, I just don't know. It may be a case     20   different snips or different things evaluated.
     21   series of mortality records. I am not sure.               21      Q What is multiple then? Multiple colinearity?
     22      Q (By Mr. Kennedy) You are not sure these are          22      A Those terms are commonly used interchangeably.
     23   the exclusion criteria for epidemiology studies?          23   Colinearity or multi-colinearity. Just means when more
     24      A No. That is not what I am saying. I am               24   than one variable is colinear in a regression model.
     25   saying that I don't know -- you said epidemiology         25      Q How is colinearity or multi-colinearity


                                                  Page 131                                                      Page 133
      1   studies. They may have been a case series or subtype       1   measured?
      2   of cross-sectional survey evaluation for which they        2      A Well, if a researcher is doing, for example, a
      3   reported on PD mortality. I am just simply not sure.       3   logistic regression analysis, they can look at the
      4      Q They don't state they are excluding these             4   standard errors. And there are some other -- I have
      5   because they are a case series. They say they are          5   done it before for different areas of research and
      6   excluding these as a result of them being PD cases from    6   academically. But there is different methods they can
      7   PD mortality records. Do you think epidemiology            7   look at. One is, I believe reviewing the standard
      8   studies where the PD cases are selected from PD            8   errors of the variants between the studies -- or, I
      9   mortality records should be excluded from the analysis     9   mean, the covariables.
     10   that Vaccari is doing?                                    10      Q Anything else? Any other ways to measure?
     11      A Again, I have no basis to agree or disagree          11      A You are saying measure or evaluate?
     12   given this limited information here. One methodology      12      Q Assess. Measure, evaluate, either one.
     13   is to evaluate PD decedents. One methodology is to        13      A That is one. I think there are some
     14   evaluate incidence of prevalent cases.                    14   statistics where you can look at the colinear
     15          What I am simply saying is, I am not sure          15   relationship and some statistics may be produced from
     16   where those mortality records come from. Whether or       16   that.
     17   not they come from some kind of case series. Whether      17         Then you can review the standard errors in
     18   it is a case control or a cross-sectional survey or       18   certain types of logistic regression models. There may
     19   ecological design. I am just not sure.                    19   be other ways as well. It's certainly something I have
     20      Q What score would you give -- how many crosses        20   done, but not for a while.
     21   would you give for the category of case ascertainment     21      Q How might colinearity impact a statistical
     22   in a PD study if the PD cases were identified via         22   regression?
     23   mortality records? How many crosses would you give        23      A Well, if there is confirmed or established
     24   that, one?                                                24   multi-colinearity, you may have statistical models for
     25          MS. REISMAN: Objection to form.                    25   which the standard errors become quite variable. It


                                                                                34 (Pages 130 to 133)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 37 of 128 Page ID #5998
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 134                                                       Page 136
      1   may result in some variability in the reported             1   regression of colinear variables can cause a true
      2   estimates. That is why it is important to perform          2   association to disappear, true?
      3   models that adjust for factors that may be correlated.     3         MS. REISMAN: Say it again.
      4   Like other pesticide exposures. For example what           4      Q (By Mr. Kennedy) statistical regression of
      5   Shrestha did.                                              5   colinear variables can cause a true association to
      6      Q Do you agree it is important to consider the          6   disappear. Do you agree with that statement?
      7   colinearity of variables when performing regression of     7      A Well, if there is true multi-colinearity, it
      8   meta-analysis?                                             8   may generate variability in risk estimates that could
      9         MS. REISMAN: Objection. Form.                        9   go up or down.
     10         THE WITNESS: Well, that aspect wouldn't go          10      Q Are there appropriate -- so the answer would
     11   into a meta-analysis in terms of the statistics. That     11   be yes, it can cause it to go down. So the answer is
     12   would be at the individual study level. So, for           12   yes, correct?
     13   example, again, let me use Shrestha, where there were     13         MS. REISMAN: Objection to form.
     14   perhaps multiple pesticides and Shrestha created models   14      Q (By Mr. Kennedy) You said cause it to go up
     15   that statistically adjusted or accounted for highly       15   or down. So I asked you about going down. So the
     16   colinearity variables, which was a very important         16   answer is yes, true?
     17   strength of their study. So at the individual study       17      A Can go up or down.
     18   level, that is something that Shrestha did.               18      Q Are there ways specifically -- not to
     19         Now, other studies may not do that, even when       19   repeat -- other ways to appropriately control for the
     20   there may be exposures that are related to each other.    20   effects of colinearity in a regression analysis? Are
     21   But in terms of actually conducting a meta-analysis,      21   there ways to control for it?
     22   that colinearity statistic wouldn't be at play in the     22      A Well, researchers, that is what I was
     23   meta-analysis, but you would have to consider if it is    23   referring to earlier, such that researchers can look at
     24   addressed or assessed, as you put it, from the            24   variables that may be correlated with each other. And
     25   individual studies.                                       25   then create logistic regression models or some type of


                                                  Page 135                                                       Page 137
      1      Q (By Mr. Kennedy) You agree that regression            1   commercial hazards or coccyx regression models.
      2   estimates of colinear variables are unstable and have      2   Whether creating separate variables for those factors
      3   high standard errors?                                      3   or creating -- accounting for that correlation, in a
      4      A Well, I refer to the standard errors. I               4   model.
      5   talked about the stability or variability in estimates.    5         You can do subgroup analyses in a specific
      6   Yes, there are certain analyses where there is             6   study. Or other types of analyses. You can look at
      7   established high colinearity, you can have unstable        7   different exposure response metrics and really evaluate
      8   risk estimates. That is why you should adjust for some     8   the patterns of relative risk and consistency within
      9   factors like Shrestha did with correlated exposures.       9   and across the various analyses. So there are ways
     10         MR. KENNEDY: I am going to move to strike.          10   that can be delved into it to address it.
     11      Q (By Mr. Kennedy) I didn't ask you anything           11      Q Speaking with respect to statistical
     12   about Shrestha. Listen to my question if you would,       12   approaches, can you give me a list of the statistical
     13   please.                                                   13   approaches for controlling for the effects of
     14         Do you agree that regression estimates of           14   colinearity, statistical approaches?
     15   colinearity variables are unstable and have high          15      A Well, you are saying controlling for the
     16   standard errors? Do you agree with that statement, yes    16   effects. I am not -- you can control for the effects
     17   or no?                                                    17   of confounding. Statistical colinearity may be
     18         MS. REISMAN: Objection to form.                     18   something that is considered after, but it is after you
     19         THE WITNESS: I will stand behind the first          19   run the regression analysis.
     20   part of my prior response such that as I stated, if       20         So you may not know the presence of that
     21   there is true multi-colinearity, you can have variable    21   particular issue until after you run an analysis. But
     22   risk estimates or what you refer to as unstable and the   22   there may be, let's say in certain genotype studies,
     23   standard errors may be out of line or inconsistent or     23   there may be analysis that restrict participants to
     24   high. But that is a feature that can be addressed.        24   certain genotypes or certain classifications of
     25      Q (By Mr. Kennedy) Do you agree statistical            25   genotypes. And I believe there are statistical


                                                                                35 (Pages 134 to 137)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 38 of 128 Page ID #5999
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 138                                                       Page 140
      1   analyses that do that.                                     1   proportional hazards regression model. And she is
      2      Q What are they? I am asking you to identify            2   reporting statistics looking at various pesticides.
      3   the statistical analyses that can be utilized to           3   She made the extra effort to look at those that are
      4   control for the effects of colinearity, the statistical    4   correlated. It's not colinearity.
      5   analyses.                                                  5          You can have correlation that is not
      6      A Well, after the presence of statistical               6   colinearity, and that happens all the time in
      7   colinearity, and again that would be at the individual     7   epidemiology. You are asking about a very nuanced
      8   study level. For example, if you are doing a study of      8   concept, which I see no evidence that that existed.
      9   certain genotypes that may be highly correlated. You       9   Dr. Shrestha, I don't believe reported statistical
     10   could restrict participants in a stratified analysis to   10   evidence of colinearity other than evaluating
     11   a certain genotype, for example.                          11   correlation and building models for that.
     12      Q You consider that to be a statistical                12      Q So you believe she didn't do it because there
     13   analysis? That is my question.                            13   were no colinear variables?
     14      A A subgroup or stratified analysis is a               14      A You are saying didn't do it. Didn't do what?
     15   statistical analysis. You can use the approach of         15      Q Didn't adjust for it.
     16   restriction if you have enough information to be able     16      A You don't really adjust for it.
     17   to stratify people on a more harmonious group or          17      Q Control for it. She controlled for it. Or
     18   isolated group of particular exposures.                   18   are you saying colinearity didn't exist so she didn't
     19      Q Are there ways to adjust for independent             19   need to control for it in her regression analysis?
     20   colinear variables without performing statistical         20      A That is not the proper characterization of how
     21   regression?                                               21   to address the phenomena of colinearity or
     22      A I am sorry. Are there?                               22   multi-colinearity.
     23      Q Are there ways to adjust for independent             23      Q Did Pouchieu, the Pouchieu study, did they do
     24   colinear variables without performing statistical         24   anything to control for the effects of colinearity in
     25   regression?                                               25   their regression analysis?


                                                  Page 139                                                       Page 141
      1      A Well, the example I gave was restriction.             1      A One, it is not really the proper way to
      2      Q I am talking about is there ways to adjust for        2   articulate that statistical aspect. But I would have
      3   the independent colinear variables without performing      3   to take a look at the Pouchieu article to see if it was
      4   statistical regression?                                    4   discussed in any capacity in that paper. I don't
      5      A The response I gave was restriction where you         5   recall it off the top of my head.
      6   are removing those particular colinear factors from the    6      Q Is it your opinion that Dr. Wells gave no
      7   analysis. So you are not -- you are performing a           7   consideration to Pouchieu in his review?
      8   different analysis, but you are not doing an analysis      8      A I am sorry. Is it my opinion?
      9   for those factors. So that example I think would           9      Q Dr. Wells gave no consideration to Pouchieu,
     10   account for that.                                         10   the Pouchieu study in his review?
     11      Q Do you know anything about the colinearity of        11      A I know that Dr. Wells acknowledged its
     12   the variables in Shrestha?                                12   presence. I believe there was an analysis performed or
     13      A Meaning, do I know their standard errors? I          13   sensitivity analysis using a fixed model for the
     14   don't believe so. But Shrestha, I know did account for    14   Pouchieu article.
     15   a correlation between different pesticide uses.           15      Q So the answer would be no?
     16      Q How many different variables were colinear in        16      A Well --
     17   Shrestha? How many different colinear variables were      17      Q He did consider it?
     18   there in Shrestha?                                        18         MS. REISMAN: Objection. Form.
     19      A I am not sure. I don't know if any were.             19         THE WITNESS: You said "considered it." I am
     20      Q Did Shrestha control for the effects of              20   not -- in his language, I am not sure what considered
     21   colinearity in her regression analysis?                   21   it means. I can tell you that it was in his -- I
     22      A Well, no disrespect, it is a different concept       22   believe the report in some kinds of sensitivity
     23   than what is actually at play here in Shrestha. You       23   analysis for which he used, for some reason, a
     24   wouldn't know if there is colinearity until after you     24   fixed-effects model in that particular analysis.
     25   run regression models. She used what is called a          25      Q (By Mr. Kennedy) So in your opinion he did


                                                                                36 (Pages 138 to 141)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 39 of 128 Page ID #6000
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 142                                                       Page 144
      1   consider Pouchieu in his review?                           1       Q (By Mr. Kennedy) So you don't know whether he
      2         MS. REISMAN: Objection to form. Asked and            2   considered it to that extent, but you acknowledge that
      3   answered.                                                  3   he at least considered it in his review but you don't
      4         THE WITNESS: All I can say, I don't know if          4   know the extent. Is that your testimony?
      5   it was considered an interpretation. But he did report     5          MS. REISMAN: Object to form. Asked and
      6   a sensitivity analysis with Pouchieu.                      6   answered.
      7      Q (By Mr. Kennedy) I am asking you your                 7       Q (By Mr. Kennedy) And we are not here about
      8   opinion. In your opinion, your view, did he consider       8   whether Eric Kennedy thinks he considered it. We are
      9   Pouchieu in his review, yes or no?                         9   here about whether you think he considered it. And
     10         MS. REISMAN: Objection. Form. Asked and             10   with respect to his review, starting at the top, we
     11   answer.                                                   11   know we have subquestions below that.
     12         THE WITNESS: Again, it shows up in his report       12          With respect to his overall review, in your
     13   in a sensitivity analysis and he used the fixed-effects   13   opinion, did he consider the Pouchieu study?
     14   model.                                                    14       A Again, it is in his report. So if that means
     15      Q (By Mr. Kennedy) In your opinion, does that          15   considered it, meaning acknowledge, considered putting
     16   mean he considered it? I am asking. I have to use         16   it in his report, then it is there, which I've stated.
     17   words of the English language. Did he consider it, in     17   Now, I can't go beyond that to say if that was
     18   your opinion, given what you told us he did with it,      18   considered in his final interpretation of the evidence
     19   did he consider it?                                       19   or his causation interpretation.
     20         MS. REISMAN: He told you exactly what he            20          But acknowledge its presence. If considering
     21   thinks three times. He has a lack of foundation for       21   means putting in a report, he put it in a report like I
     22   what wells may have done with it. He's told you that.     22   keep saying.
     23      Q (By Mr. Kennedy) In your opinion, did Wells          23       Q So you don't have an opinion whether that
     24   consider it?                                              24   constitutes consideration or not. You are just stating
     25      A Well, again, I can tell you exactly what I           25   what he did or didn't do. You didn't have an opinion


                                                  Page 143                                                       Page 145
      1   said before. But when you say "consider it," I am not      1   whether that constitutes consideration. Is that what
      2   sure if that means did he consider it in his               2   you are telling me? I asked you a very specific
      3   interpretation of the evidence? Did he consider it in      3   question.
      4   any opinions on causation? Or did he consider it just      4      A I don't know if I can express it any
      5   because or acknowledge its presence just because it is     5   differently. He put it in his report. I am not trying
      6   a study that is out there?                                 6   to be stubborn. I am just saying I am not sure if he
      7       Q Any one. Okay. We'll go one at a time.               7   considered it in a causation assessment. If we say
      8          In your opinion, did he consider it -- let's        8   considered it in terms of the data, it at least showed
      9   start with the big one. In your opinion, did he            9   up in one sensitivity analysis. So if that means
     10   consider Pouchieu in his review of this case? His         10   considered it from data in one sensitivity analysis,
     11   analysis, did he consider it? Starting with the           11   then it is there for that.
     12   global.                                                   12         I can't extend beyond whether or not he
     13       A Well, as I've said four times, it shows up in       13   considered that in overall interpretation or overall
     14   his article or his report.                                14   causation. That is all I am saying.
     15       Q Does that mean to you that he considered it?        15      Q Look to page 101 of your report, if you would.
     16          MS. REISMAN: Objection. Form. Asked and            16   101, you do a high-low exposure comparison or ever
     17   answered.                                                 17   exposure to a high exposure, do you not?
     18          THE WITNESS: It means he at least                  18      A I have a subgroup of ever exposure from the
     19   acknowledged its presence. Put it into some kind of       19   occupational studies or from the agricultural worker
     20   sensitivity analysis using a fixed-effects model. Now     20   cohorts. And a high-exposure analysis for the ag
     21   if that means considered it to you, then as such, I       21   worker cohorts.
     22   don't -- I am saying from there, though, I don't know     22      Q This shows a difference between ever exposure
     23   if any finding was then considered for interpretation     23   and high exposure to Paraquat, does it not?
     24   or causation analysis. That is what I am saying. I        24      A Not a statistical comparison between the two.
     25   don't recall that.                                        25   Those are two separate subanalyses within the same


                                                                                37 (Pages 142 to 145)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 40 of 128 Page ID #6001
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 146                                                       Page 148
      1   plot. Meaning they are not relative to each other if       1   duration, true?
      2   that is what you are referring to.                         2      A No.
      3      Q So you are not saying there is a difference           3      Q You are talking about dose?
      4   between ever exposure and high exposure? Is that what      4      A Well, it is cumulative exposure metric where
      5   you are telling me?                                        5   they incorporate the intensity and frequency of
      6      A I don't know what you mean by "different."            6   exposure. So that is a cumulative exposure metric.
      7   What I am saying is there is not a relative rate           7      Q You are telling me every one of the studies in
      8   statistical comparison between the two because that is     8   Figure 7 did duration and intensity, is that what you
      9   not something you would do because some of the same        9   are telling me?
     10   data are in the high as with ever.                        10      A No. For the high category, that is what this
     11         This is a subgroup analysis looking at              11   is looking at. This is a comparison there. So Elbaz
     12   individuals ever exposed to Paraquat. And that pool,      12   has a high category. Shrestha does as well,
     13   there summary odds ratio is 1.09. In those same           13   intensity-weighted lifetime days of exposure. And Van
     14   studies, they also report the highest exposure metric     14   der Mark.
     15   for exposure to Paraquat and that summary association     15      Q Have you -- this compares the high group is
     16   becomes 0.88 in that particular analysis.                 16   one set of epidemiology studies and the ever is a
     17      Q Is the difference between the ever exposure          17   different group, correct? Some overlap but ever is a
     18   pool result of 1.09 and the high-exposure pool result     18   different group, correct?
     19   of .88, is that a statistical significant difference,     19      A Not really. I mean, there is some important
     20   do you know?                                              20   overlap.
     21      A Well, first of all, you wouldn't do that,            21      Q Kuopio is not not high, is it?
     22   because like I said, it is the same -- the people in      22      A 44 percent overlap or so. Something along
     23   high are also in ever. So you wouldn't compare a          23   those lines.
     24   statistic like that to the same people. That wouldn't     24      Q There is 60 percent that does not overlap,
     25   make sense.                                               25   true?


                                                  Page 147                                                       Page 149
      1      Q Go to the page before. Do you see how you             1      A In terms of a -- it is a different model. So
      2   describe this table on the page before?                    2   that is my point. It is an entirely different
      3      A You are saying -- which one?                          3   analytical model. So these are two different models
      4      Q Page 100. You state "The following                    4   just graphically illustrated in the same plot.
      5   meta-analysis," which is the one we just looked at,        5      Q What does it mean when the confidence
      6   "evaluates the highest level of exposure reported in       6   intervals overlap?
      7   the study of agricultural workers. The subgroup            7      A Overlap of 1.0?
      8   analysis shows there is an inverse association,            8      Q Two different studies. No. When the
      9   reversal of direction analyzing those with the highest     9   confidence intervals of two different sets of data
     10   level of Paraquat exposure. This finding clearly          10   overlap, does that mean there is no statistically
     11   indicates there is no positive dose-response trend with   11   significant difference?
     12   Paraquat exposure and Parkinson's disease and provides    12      A I think I know where you are going. If you
     13   compelling evidence there is no causal relationship       13   can give me an example just to make sure we're on the
     14   between exposure to Paraquat and Parkinson's disease."    14   same page.
     15         Do you stand by that statement on page 100?         15      Q Look at Figure 7. Do you see the confidence
     16      A Yes. Absolutely.                                     16   intervals of pooled result from ever and the confidence
     17      Q You do. Thank you.                                   17   intervals from the pooled result of high? Do you see
     18         Look to page 102. These are duration                18   those?
     19   comparisons, correct? These aren't dose comparisons?      19      A I do.
     20   These are duration comparisons?                           20      Q Do they overlap?
     21         MS. REISMAN: Objection. Form.                       21      A Same response as the prior. Those individuals
     22         Go ahead.                                           22   from those three studies are also in the top model. So
     23         THE WITNESS: In the figure?                         23   you wouldn't compare the confidence intervals
     24      Q (By Mr. Kennedy) Yes. You are not talking            24   necessarily between those two.
     25   about dose. You are just talking about exposure           25         Let's take, for example, Elbaz and Firestone


                                                                                38 (Pages 146 to 149)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 41 of 128 Page ID #6002
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 150                                                       Page 152
      1   at the very top. .6 to 2.01. 0.14 to 5.61. Those           1   statistic of 0.92.
      2   largely overlap.                                           2         Now, we can look at the patterns of relative
      3      Q Very simple question. In Figure 7 are you             3   risk between those two analyses and you can see or
      4   doing any comparison between the pooled result of the      4   determine that there is an inverse association of lower
      5   high, 1.11 and the pooled result -- excuse me.             5   magnitude for those in the high category.
      6          Are you doing any comparison in Figure 7 of         6         MR. KENNEDY: Move to strike as nonresponsive.
      7   the pooled result from the ever of 1.11 and the pooled     7      Q (By Mr. Kennedy) Look at Tanner 2011.
      8   result from the high of .92? Are you doing any             8   Exhibit 124, if you would. Go to page 868, if you
      9   comparison between those two numbers in Figure 7?          9   would. The left-hand side, 868. The left-hand column
     10      A Well, when you say "comparison," there is not        10   up at the top. It starts with "We also examined."
     11   a statistical rate ratio comparing the two. Because       11         Do you see that?
     12   that would be inappropriate because there is overlap in   12      A I do.
     13   population.                                               13      Q And Tanner states, "We also examined whether
     14          When you say "comparison," I am looking at and     14   adjusting for overall pesticide use or education level
     15   reviewing the 1.11. I am reviewing the 0.92. And I am     15   changed point estimates plus minus 15 percent for
     16   comparing not the way perhaps that you are referring --   16   individual pesticides. To adjust for overall pesticide
     17      Q Not the way the scientists would do it.              17   use, we categorized individuals who used pesticides on
     18          MS. REISMAN: You say we are not doing it?          18   less than 25 days as unexposed and others as exposed."
     19      Q (By Mr. Kennedy) You are not doing any               19         Do you see that?
     20   statistical comparison between these two numbers. Is      20      A I do.
     21   that true?                                                21      Q You don't mention that adjustment in your
     22      A You said not the way a scientists -- I would         22   outline in your narrative of Tanner. Would that be
     23   vehemently disagree with your characterization of         23   correct?
     24   what --                                                   24      A I am sorry?
     25      Q How are you comparing those two numbers if you       25      Q Page 118 I think of your report. I am sorry.


                                                  Page 151                                                       Page 153
      1   are not doing it statistically?                            1   Page 57 of your report. You talk about Tanner and
      2      A So with that comparison -- when I am saying           2   adjustments. Adjusted for age, sex, cigarette smoking.
      3   comparing, I am looking at that magnitude, the 1.11.       3   You don't mention the adjustment for overall pesticide
      4   And then I am looking at the magnitude for people with     4   use and education, correct?
      5   higher exposure at 0.92. So the summary odds ratio         5      A Their data that they report, I believe the two
      6   drops from 1.11 when we look at everybody down to 0.92     6   point --
      7   when we look at people with higher exposures.              7      Q Five.
      8         Now you would not do -- even a scientist would       8      A Five. That was not adjusted for that factor.
      9   not do a statistical comparison because the people in      9   They are talking about a different subgroup analysis.
     10   the high group are also in the ever group. So that        10      Q Does it state "We also examined whether
     11   would be improper. But in epidemiology this is very       11   adjusting for overall pesticide use or education level
     12   common in and established practice if we want to look     12   changed point estimates for individual pesticides"?
     13   at a subgroup of people with higher exposure. And that    13          Isn't that a clear statement of what she
     14   is what is done here.                                     14   adjusted for?
     15         And we look -- when we look at that subgroup,       15      A A clear statement of what she adjusted for
     16   the summary association is lower than the summary         16   isn't listed for the actual data reported. That is
     17   association for everybody with ever or any exposure.      17   under Table 3 where it indicates the information in the
     18      Q So this comparison that you are making is            18   logistic regression model. That is exactly what she
     19   simply an eyeball comparison. It doesn't involve any      19   adjusted for.
     20   math other than the math Eric Kennedy can do saying one   20          What she is referring to there appears to be
     21   number is higher than the number?                         21   a -- perhaps some kind of supplemental file.
     22      A I can't speak for your mathematical abilities,       22      Q Look on page 869. So you don't believe in her
     23   but no. I think you are simplifying it. It is a           23   Paraquat analysis, Tanner adjusted for overall
     24   complex analysis that generates a summary statistic of    24   pesticide use in education level. You don't believe
     25   1.1. It is a complex analysis that generates a summary    25   she did that?


                                                                                39 (Pages 150 to 153)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 42 of 128 Page ID #6003
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 154                                                       Page 156
      1         MS. REISMAN: Objection. Form.                        1   she showed any adjustment for other pesticides.
      2         THE WITNESS: Well, that is not what I am             2      Q (By Mr. Kennedy) That is not my question. I
      3   saying. I am saying look at the actual data. She may       3   am fully aware what Table 3 states. We all agree what
      4   have for other things. But I am saying for Paraquat        4   she stated on the page before.
      5   specifically, if you look at Table 3, it indicates what    5         My question is: Do you believe the adjustment
      6   was adjusted for under that table.                         6   as stated on page 868 was not done by Tanner with
      7      Q (By Mr. Kennedy) Table 3?                             7   respect to Paraquat?
      8      A I am sorry. You are asking me? Yes. Table 3           8      A I can say I am not sure if it was.
      9   she has her logistic regression analysis for which         9      Q All right.
     10   reports data on Paraquat.                                 10      A Because Tanner does not report it. She may
     11      Q Table 3 titled Association of PD with ever use       11   have for certain pesticides. I am not sure. But none
     12   of pesticides before diagnosis? Is that the title of      12   of the pesticides in Table 3 were adjusted for those
     13   the table?                                                13   factors. I don't see other analyses that she has
     14      A Yes.                                                 14   reported for which that adjustment took place.
     15      Q Just left of the table where she says                15      Q And Table 3 has every one of the pesticides
     16   "Adjustment for education or overall pesticide use did    16   listed, correct?
     17   not appreciably alter the effects," you don't think she   17      A Well, it has pesticides listed at least that
     18   made those adjustments because of your comparison to      18   she reported data on.
     19   Table 3?                                                  19      Q Okay. When she states right next to the
     20         MS. REISMAN: Objection. Form.                       20   table, "Adjustment for educational -- for education or
     21      Q (By Mr. Kennedy) Is that where we have the           21   overall pesticide use did not appreciably affect or
     22   disconnect here?                                          22   alter effect estimates."
     23      A I don't have a disconnect with the data in the       23         You don't believe that that estimate applies
     24   paper. I can explain to you what the different            24   to Paraquat, or you just don't know?
     25   analyses are and what she is referring to specifically.   25      A I am saying she doesn't provide data for that


                                                  Page 155                                                       Page 157
      1      Q Let me ask. You don't think Tanner ran a              1   particular adjustment. That is all I am saying.
      2   check for her odds ratio for Paraquat by doing a check     2   Perhaps she did for Paraquat. I am just not sure
      3   to see if it went up or down 15 percent by adjusting       3   because it is not reported here. The optimum method to
      4   for overall pesticide use or education level?              4   do it would be to adjust for other pesticides that
      5         You don't believe she did that with respect to       5   would have been correlated with Paraquat which she did
      6   Paraquat, that is my question?                             6   not do.
      7      A She may have, which is different than which is        7         MR. KENNEDY: I will move to strike.
      8   different than what is reported in Table 3. I can also     8      Q (By Mr. Kennedy) I didn't ask you your
      9   tell you based on what is reported here, it says           9   opinion of what you thought should or should not have
     10   overall pesticide use.                                    10   been done. I simply asked you one question.
     11         Now importantly when you are looking at a           11         Look to Liou 1997. That's Exhibit 106. If I
     12   specific pesticide, you should adjust for those that      12   end up going back, it is easier if they are in order.
     13   are more correlated with the pesticide of interest just   13         Liou, do you have Liou 106?
     14   like Shrestha did.                                        14      A I do.
     15      Q Okay. My question is very simple. We read --         15      Q If you look to page 1585 in Liou.
     16   page 868 says "We also examined whether adjusting for     16         MS. REISMAN: 1585, did you say?
     17   overall pesticide use or education changed levels of      17      Q (By Mr. Kennedy) 1585 in Liou, which is
     18   point estimates 15 percent up or down for individual      18   Exhibit 106. Second paragraph down on the left.
     19   pesticides."                                              19   Second sentence down starts with "In univariant
     20         Do you believe that she did that adjustment         20   analyses." It states "In univariant analyses, there
     21   for Paraquat? Very simple.                                21   were significant associations between PD risk and the
     22         MS. REISMAN: Objection. Form.                       22   duration of a cumulative lifetime exposure to rural
     23         THE WITNESS: All I can say is the data              23   residents farming herbicides, pesticides, and Paraquat
     24   reported in Table 3 did not adjust for those factors.     24   use. To estimate multi-varied adjusted ORs for
     25   She did not report any risk estimate for Paraquat where   25   environmental factors, two conditional logistic


                                                                                40 (Pages 154 to 157)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 43 of 128 Page ID #6004
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 158                                                       Page 160
      1   regression models were used to assess associations with    1   described in page 1585, do they state that the odds
      2   PD risk for use of herbicides, pesticides, model one       2   ratio for Paraquat remained statistically significant
      3   and use of Paraquat model two separately.                  3   after adjustment for other environmental factors? Is
      4          "As shown in Table 2, the associations with PD      4   that what it states?
      5   risk for previous use of herbicides, pesticides, model     5      A For the factors in this particular model. I
      6   one and Paraquat model two remained statistically          6   would direct you to Model 2 just like I indicated in my
      7   significant after adjusting for other environmental        7   report. However, just for clarification, that analysis
      8   factors."                                                  8   there for Model 2 is duration of 20 or more years. But
      9          If you go up above, do you see the list of          9   it is summarized in my report and I included the
     10   environmental factors?                                    10   co-variants in that particular model.
     11          MS. REISMAN: Object to form.                       11      Q Is it your position there was no adjustment
     12          THE WITNESS: In text form or --                    12   for Paraquat for the environmental factors listed in
     13      Q (By Mr. Kennedy) Up in Table 1, do you see           13   Table 1?
     14   the list of environmental factors?                        14      A You said no adjustment for Paraquat?
     15      A I see a list of exposure variables.                  15      Q Excuse me. Is it your opinion there was no
     16      Q To environmental factors. Table 1, do you see        16   adjustment with respect to Paraquat for the
     17   that?                                                     17   environmental factors listed in Table 1?
     18      A I do see Table 1, yes. But I mean it says            18          MS. REISMAN: Objection to form. Asked and
     19   environmental factors are things like alcohol and         19   answered.
     20   smoking, which aren't necessarily environmental           20          THE WITNESS: Well, no. And that is what I
     21   factors. I see where you are reading from.                21   said. If you look at the multi-varied adjusted odds
     22      Q This adjustment was not listed anywhere in           22   ratio in Table 2, as well as in my report, you will see
     23   your report on page 40 or 66 when you talk about the      23   there are some of these factors. Duration of living in
     24   adjustments in Liou, would that be true?                  24   a rural residence, that is also on Table 1. Duration
     25          MS. REISMAN: Objection. Form?                      25   of farming. Well water. Smoking cigarettes.


                                                  Page 159                                                       Page 161
      1          THE WITNESS: If it didn't -- if it wasn't           1          So those were included in this model like just
      2   summarized in my report, it is, again, because they did    2   I've stated in my report.
      3   not report those data for Paraquat for those other         3      Q (By Mr. Kennedy) In your meta-analysis you
      4   factors. I did report what was adjusted for for            4   used Shrestha instead of Tanner 2011 study; is that
      5   Paraquat.                                                  5   true?
      6      Q (By Mr. Kennedy) My question, just like in            6      A Well, it is a meta-analysis in response to
      7   the Tanner study, is it your position that in the Liou     7   Dr. Wells for illustrative purposes. I created models
      8   study, they did not adjust for these factors listed on     8   using the data from Shrestha 2020.
      9   page 1585?                                                 9      Q So you used Shrestha instead of Tanner in your
     10          MS. REISMAN: Objection. Form.                      10   meta-analysis; is that true? Yes or no?
     11      Q (By Mr. Kennedy) Is that your position, or is        11      A I used Shrestha over Tanner for the reasons
     12   your position you don't know.                             12   that I provided in my report.
     13          MS. REISMAN: Objection. Form.                      13      Q And that would be -- those reasons would be
     14          THE WITNESS: Well, again, it is not a matter       14   based upon your opinion with respect to quality?
     15   of -- I mean, I can read the article. But the point is    15      A Well, there is quality -- quality certainly is
     16   that they have a multi-variant adjusted odds ratio        16   a prominent issue, but it depends how you define
     17   with certain factors that they adjusted for in that       17   quality as well. There are some well-known factors
     18   analysis, and that is summarized in the report            18   such as being a prospective study design evaluating
     19   accurately.                                               19   60,000 people using proportional hazards models,
     20          They may have done some other modeling, but        20   adjusting for highly correlated factors. So those
     21   they didn't report data specific for Paraquat in their    21   would be some reasons.
     22   paper pertaining to anything that would be correlated     22      Q Those are factors of quality as listed in your
     23   with use of other pesticides. Even Tanner herself         23   fault table, correct?
     24   commented on that from the Liou paper.                    24      A Those should be included, yes.
     25      Q (By Mr. Kennedy) After the adjustment                25      Q The answer to my question is a simple yes.


                                                                                41 (Pages 158 to 161)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 44 of 128 Page ID #6005
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                   Page 162                                                      Page 164
      1   You substituted Shrestha for Tanner because of your        1   most recent publication.
      2   quality analysis and determination that Shrestha was of    2      Q So the answer is yes, correct, to my question?
      3   higher quality than Tanner, correct?                       3      A Shrestha was included because of quality
      4          MS. REISMAN: Objection. To form.                    4   factors over Tanner and the relevancy of the recent
      5      Q (By Mr. Kennedy) Yes or no?                           5   publication.
      6      A Those are some factors. What I am saying,             6      Q Thank you.
      7   too, the term "quality" may mean some different things.    7      A Again, I am using quality as a broad term.
      8   But yes, those are some factors, but there is also         8   There are numerous things under quality. But anyway.
      9   established factors that someone may not refer to as       9      Q Did you do any meta-analysis that you -- that
     10   something of quality. But an established fact in          10   are outlined in your report where you used Tanner
     11   epidemiology, looking at a large sample size with         11   instead of Shrestha in any meta-analysis that you did?
     12   prospective cohort studies. But I would say overall       12      A I looked at Tanner in my illustrative
     13   yes. They are based on the quality of Shrestha, yes.      13   meta-analyses in the occupational analysis that we
     14      Q Well, you are the one that created a quality         14   referred to before. I think it was Footnote 36 that we
     15   table and called it all the factors you just talked       15   kept going back and forth on. Page 104. Footnote
     16   about as part of your quality table. I am just trying     16   Number 36, the last sentence. That would have included
     17   to communicate with you.                                  17   Tanner instead of Shrestha, and that summary relative
     18          Very simple. It was your quality analysis as       18   risk was below 2.0.
     19   outlined in your table on page 117 and 118 of your        19      Q Show me, if you will for me, please, show me
     20   report that caused you to use Shrestha over Tanner,       20   the studies that were included in your meta-analysis
     21   correct?                                                  21   that involved and included Tanner. Show me the list of
     22          MS. REISMAN: Objection to form.                    22   those studies where Tanner was included and tell me the
     23      Q (By Mr. Kennedy) This is not a trick. This           23   odds ratio.
     24   is a simple foundational question. Did you have           24      A If you go to -- I think -- where is it? 1
     25   discussion?                                               25   would be page 96. I believe that would have the value


                                                   Page 163                                                      Page 165
      1         MS. REISMAN: You are limiting his response.          1   there.
      2   So objection to form.                                      2      Q Page 96. Show me where Tanner, the odds ratio
      3      Q (By Mr. Kennedy) If there is something other          3   from Tanner is utilized in a meta-analysis on page 96,
      4   than your quality analysis on 117 and 118, then please     4   if you would.
      5   tell me.                                                   5      A I conducted an analysis where Tanner 2011
      6      A Well, the fact Shrestha has been published, it        6   replaced Shrestha 2020.
      7   is the most newly published analysis on this topic that    7      Q Is that in Figure 1?
      8   replaces a previous analysis. Now again, what I was        8      A No. This was an illustrative meta-analysis
      9   trying to say is you are talking about quality and you     9   for the purpose of responding to Dr. Wells. So in a
     10   mentioned simply a quality. Quality is not simple. It     10   proper meta-analysis I would not rely upon a model that
     11   is a very comprehensive evaluation. But there is AHS      11   Tanner would be used over Shrestha.
     12   studies, right? And over time additional studies are      12         But in response to Dr. Wells, and I took a
     13   published.                                                13   look at those data, and like I said the summary
     14         So commonly in a meta-analysis we include the       14   relative risk did not go above 2.0. My best
     15   most recently published updated data. That may not be     15   recollection is I think it was around 1.64 when that
     16   a quality parameter. It is just an updated analysis       16   happened.
     17   and Shrestha was.                                         17      Q Page 96, does the word Tanner even appear on
     18      Q Okay.                                                18   page 96? You and I aren't communicating. Where is the
     19      A So in addition to all the quality parameters,        19   meta-analysis you did where the Tanner study odds
     20   that is another aspect of it.                             20   ration was included on page 96?
     21      Q Okay. So you used a quality determination,           21         MS. REISMAN: Objection to form.
     22   and the very fact it was a later published study in       22      Q (By Mr. Kennedy) On page 96, where is the
     23   your decision to use Shrestha over Tanner. Is that        23   listing of studies in a meta-analysis that included
     24   correct?                                                  24   Tanner?
     25      A Primarily because of the quality. And the            25      A The listing of studies would be here.


                                                                                42 (Pages 162 to 165)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 45 of 128 Page ID #6006
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 166                                                       Page 168
      1      Q Is Tanner in that list?                               1   Or is it in your report anywhere? That is all I am
      2          MS. REISMAN: Objection to form. He is in the        2   asking.
      3   middle of a response.                                      3         MS. REISMAN: Objection. Form.
      4          MR. KENNEDY: I'm sorry, but this is getting         4         THE WITNESS: It is not 1.46. It is 1.64.
      5   silly.                                                     5      Q (By Mr. Kennedy) Is that stated anywhere in
      6          MS. REISMAN: It is not getting silly. He has        6   your report?
      7   referred you to what he did.                               7         MS. REISMAN: Objection. Asked and answer.
      8      Q (By Mr. Kennedy) Go ahead, please.                    8         THE WITNESS: The 1.64?
      9      A Like I said, it would be the studies in Figure        9      Q (By Mr. Kennedy) Yes.
     10   1, but I replaced Shrestha with Tanner. I did not         10      A No. For the reasons that I provided.
     11   report that visually or graphically because of the        11      Q What was the confidence interval with respect
     12   reasons that I said.                                      12   to the 1.64 finding?
     13      Q Okay. And you didn't report it visually,             13      A I don't recall specifically.
     14   graphically or numerically on page 96; is that true?      14      Q Is it anywhere in your report, the confidence
     15      A For the reasons that I said, I believe that is       15   interval?
     16   correct. Again, to my best recollection, I think the      16      A No. For the reasons I gave.
     17   summary association is around 1.64 with that included.    17      Q Will you agree the exposure assessment in
     18      Q Where is that stated anywhere in your report?        18   Tanner 2011 was of higher quality than the exposure
     19   Anywhere in your report that you did a meta-analysis      19   assessment in Shrestha?
     20   that included Tanner with an odds ratio of 1.46? Where    20      A Are you referring to the appendix or just in
     21   is that stated in your report?                            21   general?
     22      A Well, again, this was an illustrative                22      Q Just in general. You are welcome to look at
     23   analysis.                                                 23   your report to answer any question.
     24      Q That is not my question. Where is the 1.46           24      A Did you say the --
     25   odds ratio stated in your report as the result of a       25      Q The exposure assessment was of higher quality


                                                  Page 167                                                       Page 169
      1   meta-analysis including Tanner? Where is it?               1   in Tanner than Shrestha?
      2      A For the reasons that I have expressed to you a        2      A I wouldn't necessarily say it was of higher
      3   few times, it is not reported.                             3   quality. They are both among agricultural workers.
      4      Q Thank you.                                            4   From the agricultural health study in terms of the
      5      A For those various reasons.                            5   exposure.
      6      Q I don't care about the reasons. It is nowhere         6         Shrestha went to pretty significant detail
      7   in your report, correct?                                   7   talking about exposure assessment, and I would say what
      8         MS. REISMAN: I will object. You both talked          8   they did with the exposure is far superior at least for
      9   about Footnote 36.                                         9   Paraquat in Shrestha compared to Tanner. Even though
     10      Q (By Mr. Kennedy) In your report anywhere?            10   they may have a similar three pluses for exposure, but
     11      A In terms of that data, no. Other than, like I        11   Shrestha did much more computationally with the
     12   have said, in 36 we have talked about that footnote.      12   exposure information.
     13   The last sentence in 36 would indicate that I looked at   13      Q Look to page 55, if you would, of your report.
     14   Tanner. I looked at the pre-Shrestha studies, which       14      A Okay.
     15   would include Tanner. And I apologize if I didn't         15      Q This is referencing Shrestha?
     16   articulate that earlier, but pre-Shrestha would include   16      A It is.
     17   Tanner.                                                   17      Q You indicate that the HR in Shrestha is 1.09?
     18         And so I performed that analysis and that           18      A In one model.
     19   summary odds ratio remained below 2.0.                    19         MS. REISMAN: Where are you? Sorry. Thank
     20      Q You are sitting here today and from your             20   you.
     21   memory, you think it is 1.46, is that your testimony?     21      Q (By Mr. Kennedy) And look to page 5 of
     22      A No.                                                  22   Shrestha, if you would. 108.
     23      Q Okay. As you sit here today, can you tell me         23         So there is -- the hazard ratio is 1.09,
     24   what studies were included in this meta-analysis that     24   correct?
     25   involved Tanner that resulted in your memory of 1.46?     25      A For Paraquat, it is.


                                                                                43 (Pages 166 to 169)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 46 of 128 Page ID #6007
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 170                                                      Page 172
      1      Q And the odds ratio 1.13, and that is I think         1      A In that model, absolutely. Using hazards
      2   on page 8 of the supplement.                              2   ratio, because they are both estimate, they are both
      3         MS. REISMAN: I am sorry. You are hopping            3   ratio measures of a potential risk of disease. That is
      4   from a study to a supplement?                             4   widely accepted.
      5         MR. KENNEDY: The supplement in Shrestha.            5      Q Do you agree that the more cases you
      6   Page 8 of the supplement.                                 6   misclassify as having no exposure, the lower the odds
      7         THE WITNESS: You are asking me if it's 1.13         7   ratio is going to be? Do you agree with that?
      8   on page 8?                                                8      A Say that again.
      9      Q (By Mr. Kennedy) Correct.                            9      Q The more cases you misclassify as having no
     10      A It is in the analysis that includes prevalent       10   exposure, the lower the odds ratio?
     11   cases.                                                   11      A The more cases you classify as --
     12      Q 1.13.                                               12      Q Misclassify.
     13      A That is the odds ratio.                             13      A Misclassify as no exposure, not necessarily.
     14      Q Look at 96 of your report.                          14   Because that sounds like nondifferential. I am sorry.
     15      A Okay.                                               15   That sounds like differential bias because you are
     16      Q For Shrestha, you are using an odds ratio of        16   saying classified cases only as -- so you are just
     17   1.09. That is the hazards ratio, correct?                17   doing one thing.
     18      A That is the hazard. The program lists a             18      Q Correct. That was my question.
     19   subcategory of odds ratio in the column. So that is      19      A So if you are just doing one thing, and just
     20   generated by the column. It is the hazard ratio, which   20   to be clear, that sounds like you are saying
     21   is clearly shown there. 1.09 and 0.84 to 1.41.           21   differential. Exposure misclassification. That can
     22      Q Right. It says odds ratio. It is not the            22   bias things either up or down.
     23   odds ratio. That is actually the hazard ratio,           23      Q So you don't agree with the statement: The
     24   correct?                                                 24   more cases you misclassify as having no exposure, the
     25      A It is the -- like I said, the comp meta             25   lower the odds ratio is going to be? You do not agree


                                                  Page 171                                                      Page 173
      1   program generates this particular plot. But clearly       1   with that statement?
      2   you can see the metric is 1.09.                           2      A The way that you are articulating that, you
      3      Q That is a mistake?                                   3   are referring to, I believe, differential
      4      A No. It is what the program puts together. It         4   misclassification.
      5   is not a mistake.                                         5      Q That is what we established.
      6      Q So you're combining -- you use odds ratios for       6      A If it is differential misclassification, that
      7   other studies, but then use the hazard ratio for          7   can go up or down.
      8   Shrestha. Why are you combining odds ratios and hazard    8      Q What if it's nondifferential?
      9   ratios and mixing those two?                              9      A Nondifferential, if you are using --
     10      A Because that is appropriate to do. It is well       10         MS. REISMAN: Nondifferential what?
     11   accepted and well utilized.                              11      Q (By Mr. Kennedy) Go ahead. Nondifferential
     12      Q So you decided to use the hazards ratio for         12   what?
     13   Shrestha instead of the odds ratio in Shrestha to        13      A Are you asking if it is nondifferential
     14   compare to the odds ratio of the other studies? You      14   misclassification?
     15   consider that acceptable?                                15      Q Correct.
     16         MS. REISMAN: Objection. Form.                      16      A If there is nondifferential classification
     17         THE WITNESS: Well, there is a couple things        17   and it is a dictyomas exposure variable, it may result,
     18   there. I didn't just do that. If you look further on     18   not always, but it may result in attenuation towards
     19   the page, I used the odds ratio from that supplemental   19   the no value. Not always, though.
     20   table as well. And the overall result remained           20      Q Do you know how many -- do you know the number
     21   unchanged, but --                                        21   of cases Tanner misclassified as having no exposure
     22      Q (By Mr. Kennedy) I am just talking about the        22   compares to the number of cases that Shrestha
     23   ones you are pulling. You are pulling an odds ratio      23   misclassified as having no exposure?
     24   from Elbaz to the hazard ratio of Shrestha. And my       24         MS. REISMAN: Objection to form.
     25   question is: Do you consider that acceptable?            25         THE WITNESS: When you say misclassified, what


                                                                               44 (Pages 170 to 173)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 47 of 128 Page ID #6008
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 174                                                       Page 176
      1   data piece are you referring to?                           1   know. That is all I want to know.
      2      Q (By Mr. Kennedy) Cases. PD cases.                     2          Do you know?
      3      A I know. But you are saying a case that is             3          MS. REISMAN: Object to form.
      4   misclassified.                                             4          THE WITNESS: The answer would be, that is not
      5      Q I am talking misclassified as having no               5   a representative comparison based on any of the data
      6   exposure.                                                  6   reported, because that information is -- you need other
      7      A You are asking about -- that is what my point         7   pieces. So you are missing part of the equation on
      8   is. You are asking misclassification on the exposure       8   that question. That is why I can't answer that the way
      9   side.                                                      9   it is. That's why I was directing you to data that
     10      Q Listen very carefully.                               10   would help make sense of that to try and fill in the
     11      A I did.                                               11   gap.
     12      Q Do you know the number of cases Tanner               12       Q (By Mr. Kennedy) So you don't know. You
     13   misclassified as having no exposure compared to the       13   don't have the data to know, is that your answer?
     14   number of cases that Shrestha misclassified as having     14       A Well, those data have not been shown to exist
     15   no exposure?                                              15   because of the way you are asking the question.
     16      A If you are referring to Supplemental Table 8,        16       Q Thank you.
     17   that is not what that is saying specifically. No. You     17          MS. REISMAN: Can we take a break?
     18   have to put that in some kind of relative comparison.     18          MR. KENNEDY: Sure.
     19   You would have to -- they are just comparing it with      19          VIDEOGRAPHER: We are off the record. The
     20   each other in terms of classification.                    20   time is 2:37 p.m.
     21         That is not saying that one is classified           21          (Off the record.)
     22   correctly versus another one. Supplemental 8 in           22          VIDEOGRAPHER: We are back on the record. The
     23   Shrestha is saying that they are the same                 23   time is 2:51 p.m.
     24   classifications and there are the AHS classifications     24       Q (By Mr. Kennedy) From my reading, could we
     25   at baseline. And it is looking at the percentage of       25   agree one of the goals in choosing studies for


                                                  Page 175                                                       Page 177
      1   differences there.                                         1   meta-analysis is to choose a group of studies with the
      2         Your question specific, which I was listening        2   least amount of heterogeneity?
      3   very carefully, would be if there is some kind of other    3      A Well, that is not necessarily how it works
      4   parameter for each of those studies on what was truly      4   because you don't know if there is heterogeneity until
      5   misclassified or not. That is not what is represented      5   you run some of the initial models. Then you can
      6   in Shrestha Table 8.                                       6   determine whether or not there is statistically
      7      Q Did I ask you was Table 8 -- you said you were        7   significant heterogeneity. I am referring to
      8   listening carefully. Did I mention Table 8 in my           8   statistical heterogeneity. Not design heterogeneity
      9   question?                                                  9   right now.
     10         MS. REISMAN: Eric, he is trying to make sense       10         And then if you determine that, then you can
     11   of your question.                                         11   create different models or analyses to explore sources
     12         MR. KENNEDY: I didn't ask about Table 8. We         12   of that heterogeneity.
     13   will get there. Relax.                                    13      Q That is not a goal to try to limit
     14         MS. REISMAN: He is obviously trying to answer       14   heterogeneity, very simple. Is that one of the goals
     15   your question with the data he has.                       15   or no?
     16      Q (By Mr. Kennedy) So the answer would be you          16      A Well, it is not --
     17   don't know.                                               17         MS. REISMAN: Objection.
     18      A Well --                                              18         THE WITNESS: Well, it is not very simple.
     19         MS. REISMAN: Objection. Form. I don't know          19   You said when you choose studies. That is different.
     20   what the question is.                                     20      Q (By Mr. Kennedy) When you ultimately put your
     21      Q (By Mr. Kennedy) I am not talking about Table        21   collection together, one of the goals is going to be to
     22   8. I'm asking you a general question. Do you know the     22   have as little heterogeneity as possible.
     23   number of cases Tanner misclassified as having no         23         MS. REISMAN: Objection. Form.
     24   exposure compared to the number of cases that Shrestha    24         THE WITNESS: That is where I keep coming back
     25   misclassified as having no exposure? Maybe you don't      25   to. With all due respect, the way that you are asking


                                                                                45 (Pages 174 to 177)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 48 of 128 Page ID #6009
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 178                                                       Page 180
      1   the question now. When you identify studies for your       1   of there may be some variability based on the
      2   inclusion criteria into a review that would go into a      2   scientific justification or rationale or protocol being
      3   meta-analysis, you identify studies if they address the    3   followed. So again, there may be some variability.
      4   topic, the exposure, and the outcome of interest. From     4         But importantly in the peer-reviewed published
      5   that point, then you can synthesize the studies and        5   literature, there is going to be some type of protocol
      6   generate meta-analysis.                                    6   or scientific rationale for the adaptation for a
      7         You don't know if there is statistical               7   certain type of structure or protocol to evaluate the
      8   heterogeneity or not until you run your initial            8   quality.
      9   analyses.                                                  9      Q Is my answer then yes? No matter how they get
     10      Q Correct.                                             10   there, good, experienced epidemiologists can come to
     11      A Then you run your analyses and determine             11   different conclusions about the quality of an
     12   whether or not there are statistical heterogeneity from   12   epidemiology study; is that true?
     13   that point. Then you can explore sources of that          13      A Again, under the conditions that I said, there
     14   heterogeneity by performing different analyses.           14   may be some variability in how different studies are
     15      Q One of the goals in choosing studies for             15   graded. But there is an established protocol. So
     16   meta-analysis is to choose and select studies of the      16   under the conditions that I said, there may be some
     17   highest quality. Is that a goal of meta-analysis?         17   variability.
     18      A Well, when you say "choose," that sounds like        18      Q You graded Pouchieu high. The EPA said it is
     19   when you are beginning a meta-analysis. When you begin    19   low. There is an example, correct?
     20   a meta-analysis or any kind of systematic review, at      20      A Did I say high?
     21   that time you don't know the study quality. You have      21      Q You gave it a whole lot of crosses. Pouchieu.
     22   to identify the studies based on your research question   22   The second -- you gave it a lot of crosses and they
     23   and your inclusion and exclusion criteria. Then you       23   said low quality. Is that an example where two
     24   review the strengths and limitations and the data and     24   different epidemiologists grade the quality of an
     25   all the other aspects.                                    25   epidemiology study differently?


                                                  Page 179                                                       Page 181
      1         But yes, you can review that -- those quality        1      A This isn't in terms of a whole lot of crosses
      2   parameters after you identified the studies.               2   or pluses that you said. This isn't a ranking system.
      3      Q Good honest epidemiologists have different            3   This is not a ranking system at all. This is not a
      4   opinions with respect to how they grade the quality of     4   weighted assessment of each of these factors.
      5   epi studies; is that true?                                 5         Pouchieu was not in the overall models for my
      6      A Well, you said good honest epidemiologists. I         6   illustrative purposes. So probably would be on the
      7   just say I would bring it to epidemiologists and           7   same page as another source in terms of their
      8   scientists. You said when they grade the study             8   interpretation of Pouchieu.
      9   quality?                                                   9      Q From your ranking of Pouchieu's quality, would
     10      Q I will ask you again. Can you agree that             10   you consider it low quality from what the EPA found?
     11   epidemiologists can have different opinions with          11         MS. REISMAN: Objection. Form.
     12   respect to how they grade the quality of an               12         THE WITNESS: Like I said and I was very clear
     13   epidemiology study? Is that true?                         13   about it, it is not a ranking. I did not do a ranking.
     14      A Well, it depends what metric and what rules or       14   These are characteristics that I reviewed. This is not
     15   protocol they may be following. There is typically        15   a ranking system.
     16   some type of scientific justification or protocol that    16      Q (By Mr. Kennedy) At the top of your page 116,
     17   researchers may adopt or utilize in their assessments.    17   you say quality. Did you use the word "quality"?
     18   So there may be some differences between researchers.     18      A Yes. These are methodological and analytical
     19         However, that application is going to be based      19   internal validity parameters.
     20   on the underlying methodology that is reported or         20      Q Did you give a score to every single study
     21   described by the researchers.                             21   under your quality table?
     22      Q Can you answer my question? Can different            22      A Each one has a series of pluses. Yes. So the
     23   epidemiologists arrive at different conclusions about     23   combined or the individual or sections score is only a
     24   the quality of the same epidemiology study?               24   matter of those pluses. They are not weighted and they
     25      A Well, again, my response was accurate in terms       25   are not ranked.


                                                                                46 (Pages 178 to 181)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 49 of 128 Page ID #6010
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 182                                                       Page 184
      1      Q I asked you a simple yes-or-no question. Did          1         SPECIAL MASTER: Okay. Dr. Alexander, he is
      2   you give a score or a grade to each study, yes or no?      2   not asking about what type of score. Is there a score,
      3         MS. REISMAN: Objection to form. Asked and            3   yes or no?
      4   answer.                                                    4         THE WITNESS: There is a score that I keep
      5         THE WITNESS: Each of these --                        5   going back to. There is a score listed on page 117 and
      6      Q (By Mr. Kennedy) It is a yes-or-no question.          6   118.
      7   Did you give a grade or score to each study in your        7      Q (By Mr. Kennedy) For every study that was
      8   quality table on page 117 and 18? Yes or no?               8   evaluated in your table, yes? For every study?
      9      A They have quality factors with pluses. Yes.           9      A For each of the studies, there is a score.
     10   There is pluses for these as illustrated in Appendix      10      Q And the score that you gave to Pouchieu of 22,
     11   Number 1.                                                 11   would you consider that to be a low quality score? Yes
     12      Q I will ask you again. I want a yes-or-no             12   or no?
     13   answer. Did you give a quality score to each of the       13      A It is not based on that. Again, that is what
     14   studies in your quality table on page 117 and 18? Did     14   I keep going back to. It is not a ranking. It is not
     15   you give a final quality score? Yes or no?                15   a weighted average. So each of these columns would not
     16         MS. REISMAN: Objection. Form.                       16   necessarily be weighed equally. So this is just a way
     17         THE WITNESS: The final is not a final quality       17   to characterize some of the study quality parameters.
     18   score, as you would, I don't believe as you are           18         So I keep saying this is not a ranking system.
     19   expressing it. There are quality scores, but again, it    19   So I am not classifying Pouchieu as low, medium, or
     20   is not a ranking of that. This is a summary of the        20   high quality overall. I am just saying based on these
     21   characteristics based on the quality of certain           21   parameters shown on pages 117 and 118, just adding the
     22   factors. They are not weighed within each other. That     22   pluses up, that is the number that you get.
     23   is my point.                                              23         But importantly, this isn't -- each of these
     24      Q (By Mr. Kennedy) I didn't ask you about              24   are not weighted. Meaning they may not be equal
     25   weighting. I didn't ask you about comparison. I asked     25   factors in what I would call my overall evidence of


                                                  Page 183                                                       Page 185
      1   you whether you gave a combined quality score just like    1   study quality.
      2   the column says. It's a yes-or-no answer.                  2      Q So is it your testimony that we cannot use the
      3          Did you give a combined quality score for           3   table on page 117 and 118 to compare the quality of any
      4   every single one of the studies in your table, yes or      4   of the studies that appear in that table? Is that your
      5   no?                                                        5   testimony?
      6       A As I said, I have provided pluses for                6      A No. This is -- it is for a different purpose.
      7   characteristics, as I said. There is a score where I       7   This Appendix Number 1 on 117 and 118 is for a
      8   combined those pluses. I said that.                        8   different purpose. That is looking at some of the
      9       Q And is the special master on the line? I want        9   methodological and analytical parameters and reporting
     10   an another hour. I asked a yes-or-no question. It         10   information within each and every study, and that is
     11   took five minutes. I have so many more questions.         11   what is here. My only point is each of these is not
     12          SPECIAL MASTER: Dr. Alexander, is it yes or        12   weighed for an overall study quality assessment.
     13   no? You don't need to explain anything further to the     13         These are important pieces to look at study
     14   question. Do you need to hear the question again?         14   quality, but they are not weighed equally. That is
     15          THE WITNESS: I don't believe so. I would           15   what I keep on going back to.
     16   continue to say as I articulated, I added the scores.     16      Q So the answer is yes, you cannot use your
     17   There is a column that says combined quality score, and   17   scoring in your table on page 117 to compare the
     18   it is visible on page 117 and page 118 of my report.      18   quality of any of the studies that appear in that
     19       Q (By Mr. Kennedy) So that is why it's so             19   table; is that correct? Yes or no?
     20   simple. It is in your report. Did you give a final        20      A Not necessarily. You look at each column
     21   combined quality score to every single study in your      21   where you can compare some of those aspects. So, for
     22   quality table, please? Yes or no?                         22   example, the evaluation of incident or prevalent cases.
     23       A There is a combined quality score. The point        23   Incident cases are a superior type of case to evaluate
     24   is it is not a final quality score for the reasons I      24   epidemiologically.
     25   gave.                                                     25         So if you look in that column you can see


                                                                                47 (Pages 182 to 185)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 50 of 128 Page ID #6011
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 186                                                       Page 188
      1   Shrestha and Firestone evaluated incident cases. So        1      A It would not allow you to conclude that.
      2   within that particular parameter, it gives you an          2      Q Thank you.
      3   indication of a general level of quality. Where            3      A It would allow me to explain it to you in
      4   Shrestha and Firestone looked at incident cases, that      4   terms of how to interpret this appendix.
      5   is a better methodological quality factor compared to      5      Q You would need to explain it. I couldn't do
      6   the other studies.                                         6   that by looking at your report, correct?
      7          But again, my point is I am not relying on the      7      A You could use this. You could review the text
      8   overall score at the end because each of these are not     8   where I summarize those papers and discuss the
      9   weighted the same.                                         9   strengths and limitations of those papers. So this
     10      Q The answer to my question would be -- I am           10   should not be viewed in isolation. This is part of an
     11   going to ask it again. I am looking for a simple          11   overall weight of evidence assessment, where this
     12   yes-or-no question.                                       12   should be taken in the context of the actual summaries
     13          Based on what you have told us then, is it         13   in the text I provided.
     14   correct to say that you cannot use the quality scoring    14      Q Also, take another example. If Tanner gets a
     15   in this table to compare the overall quality of any of    15   score of a 21 and Rugbjerg gets a score of 16. It is
     16   the studies within the table? Is that correct?            16   your testimony that we cannot use those quality score
     17      A That is not necessarily correct. I just              17   numbers to determine and conclude that Tanner is of
     18   explained how we look at the individual columns.          18   higher quality than Rugbjerg, is that also your
     19      Q I didn't ask you about the individual column.        19   testimony?
     20   I asked you about comparing the overall quality of each   20      A I would have the same response. I would say
     21   of the studies. Can that be done with the scoring in      21   take a look at the individual study parameters. And
     22   this table? The overall quality of each study, can        22   take a look at the text I have written in terms of the
     23   that be done with this table, yes or no?                  23   strength and limitations.
     24      A In a way, that is why I keep going back to           24      Q If we want to understand your opinion, then,
     25   what each column represents. But in a way, it serves      25   you are telling us we have to look at these


                                                  Page 187                                                       Page 189
      1   as a roadmap for the process for review. So this           1   quantifiable scores and then go look at your text
      2   involves the study synthesis process. There are            2   description. And then after doing that, we would be
      3   certain parameters within the columns where you can        3   able to figure to figure out your true opinion, is that
      4   look within those columns. But it serves as a roadmap.     4   your statement?
      5         Now, the overall score again is not a                5      A No. It is a weight of evidence assessment
      6   reflection of each of these items being weighed or         6   where I am looking at a variety of things. These are
      7   given more weight or credence than other factors.          7   standard methodological and analytical factors to look
      8         But it serves as a guidance for the review           8   for following the guidance that I set forth.
      9   process. This is the standard methodological practice.     9   Standardized scientific methodology, mos tro prisma
     10      Q Now you are telling us you can use the               10   (sic), that I have cited to in my report. These are
     11   combined quality score in the review process to compare   11   factors that epidemiologists and scientists consider
     12   the studies. Is that your testimony?                      12   and review. I have done that as well.
     13      A I stand behind exactly what I said.                  13          If you want to compare something like Tanner
     14      Q Let me ask you more specific. Shrestha gets a        14   or Rugbjerg, Rugbjerg is more limited because they
     15   29 quality total score, correct?                          15   didn't adjust for anything. So that is, for example, a
     16      A Adding up the pluses, yes.                           16   weighting aspect.
     17      Q And Pouchieu got a 22. Does your table now           17      Q Let's go back. Very simple question. If I
     18   allow us to say that Shrestha's overall quality is        18   wanted to understand whether you thought the quality of
     19   better than that of Pouchieu because Shrestha got a       19   Tanner was higher than the quality of Rugbjerg, I would
     20   score of 29 and Pouchieu only got a score of 22?          20   look at your quality score of the two, and then I would
     21      A Regarding that score, that is not necessarily        21   have to go read your text or narrative where you
     22   the purpose.                                              22   describe the two of them. Is that correct?
     23      Q I didn't ask you the purpose. I asked you,           23      A That is not exactly what I said.
     24   does this scoring allow us to conclude that according     24      Q Where else would I have to look in your report
     25   to you?                                                   25   to determine which of these two studies you thought had


                                                                                48 (Pages 186 to 189)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 51 of 128 Page ID #6012
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 190                                                       Page 192
      1   higher quality, other than your narrative description      1         Where on page 118 or 117 does it tell us the
      2   of the two and your actual score? Where else would I       2   relative weights of the quality criteria. Is it stated
      3   look?                                                      3   anywhere? Yes or no, is it stated?
      4          MS. REISMAN: Object to form.                        4      A One, I didn't say it like you said. I said
      5          THE WITNESS: Again, I would say each of the         5   that the study quality score does not have any relative
      6   columns. There are parameters within each of these         6   weighting to it. That is what I said regarding this.
      7   columns that would be considered. And that is what I       7         Now in terms of relative weight or other
      8   keep going back to. I would say the parameters in          8   aspects, I discussed those parameters within my report
      9   these columns for which I discuss those factors in the     9   in the foundation of epidemiology section, within the
     10   footnotes. And those parameters have some rationale       10   process for review. I have tables -- for example,
     11   for the different levels or the pluses, additional        11   hazard ratio. I discuss hazard ratios or proportional
     12   pluses, both for methodology and both for the             12   hazards in my report.
     13   analytical aspects.                                       13         And in the tables, I think beginning on around
     14          So I would say this is a documentation of my       14   page 39 or so. In some of the texts summaries within
     15   synthesis process. In addition to the written text        15   my report, I identify studies that report hazard
     16   that I have articulated within the body of the report.    16   ratios. I discuss confounding in my report. And the
     17   And consistent with how I explain my process for review   17   importance of confounding. In the tables and the
     18   in the beginning of that section.                         18   narrative summary text, I have information on
     19      Q My question was: Where, other than your text         19   confounding factors.
     20   and this quality scoring, do I have to look in your       20         I have a section on statistical significance.
     21   report to understand how you compare Rugbjerg and         21   In the table and the text, I have statistical
     22   Tanner? Is your answer simply the narrative and this      22   significance data. Those are some examples.
     23   table, that is where I would look to understand which     23      Q Let me ask you this: You have different
     24   of these two you thought was higher quality. Is there     24   criteria you are scoring for quality. Sample size,
     25   anywhere else I would look? Yes or no?                    25   exposed cases, ORRR, dose-response matrix. Are those


                                                  Page 191                                                       Page 193
      1         MS. REISMAN: Object to form.                         1   equally weighted in your quality analysis? Yes or no?
      2      Q (By Mr. Kennedy) Please, yes or no.                   2         MS. REISMAN: Objection. Form.
      3      A I am not doing a quality ranking. So you are          3      Q (By Mr. Kennedy) Yes or no, are they equally
      4   asking questions for a quality ranking. I did not do       4   weighted?
      5   that. I would refer you to my process for evaluation       5      A No, and that's what I've been saying the
      6   where I discuss the study designs. I discuss the           6   entire time.
      7   methodological aspects. The text of the report where I     7      Q Then my next question is: If they are not
      8   discuss the strengths and limitations of the study. I      8   equally weighted, where does it tell us on this page
      9   would refer you to the footnotes in each of these          9   the weighting that is to be attributed to each of these
     10   columns as well.                                          10   different quality criteria? Where is that objectively
     11      Q Where on page 118 do you tell us that the            11   stated?
     12   relative strength or importance of each of these          12      A It wouldn't necessarily have a scale such as
     13   different factors of quality? Dose response versus        13   that. That is not the point of this.
     14   confounding versus ORRR HR? Where does it tell us the     14      Q That is fine. That is all I need. Explain
     15   relative weighting of those criteria on this page?        15   this: At the bottom of this quality table, you write
     16         MS. REISMAN: Objection. Form.                       16   "The following analysis" -- and that is the quality
     17      Q (By Mr. Kennedy) Is it anywhere on that page,        17   analysis -- "shows that the study quality is increased,
     18   yes or no? Is it anywhere on this page? Yes or no?        18   the association attenuates."
     19         MS. REISMAN: Object to form.                        19         How do you make that statement if these
     20         THE WITNESS: What do you mean now by                20   quality scores don't have relative weights? How can
     21   "relative weighting"? I am not sure.                      21   you possibly make that statement if these have no
     22      Q (By Mr. Kennedy) You told us the columns have        22   meaning with respect to the relationship of one to the
     23   different levels of importance. Different weights of      23   other?
     24   the different criteria you utilized to evaluate           24      A It is a categorical evaluation of those
     25   quality.                                                  25   numbers in the column. Again, this is for illustrative


                                                                                49 (Pages 190 to 193)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 52 of 128 Page ID #6013
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 194                                                       Page 196
      1   purposes, taking a look at those studies in response to    1   talking about replicating individual scores. I am
      2   Dr. Wells. That is the purpose of my meta-analysis         2   talking about the overall quality of a study. If I
      3   section. So these are factors that I looked at             3   can't rely upon combined quality scores as your final
      4   according to standardized and well-cited guidelines for    4   assessment of quality and I can't use the combined
      5   the proper application of scientific methods.              5   quality scores to compare individual studies, and I
      6      Q And --                                                6   don't know the relative weights to give to each of
      7      A And when I categorize these characteristics           7   these criteria, that is not stated here, tell me how I
      8   and generated and added them up, this is what -- this      8   would replicate your analysis of quality determination?
      9   is a meta-regression analysis of those categories.         9      A Well, let's start with dose response metrics.
     10      Q You added them up and you drew conclusions           10   It is a column. And in that column, that is -- and if
     11   based upon the quality score. At least that is what       11   you read the body of the report as well, studies that
     12   you stated in that last sentence of the page, correct?    12   report data by frequency or duration, some kind of
     13      A The conclusion or interpretation of this             13   cumulative exposure. That is a factor that is
     14   model, this meta-regression model is that based on, in    14   typically included in a causation analysis.
     15   general, the higher the score, overall based on that      15          So looking at this column of dose response,
     16   categorization, in an illustrative meta-analysis and      16   you can see that there is a couple studies that
     17   response to Dr. Wells where I followed methodology, the   17   evaluated cumulative exposure metrics. So they get a
     18   overall association attenuates slightly.                  18   higher quality rating for that particular column.
     19         And in addition, that is reflected, if you          19          You can look at studies confounding --
     20   look at the individual forest plot, that is reflected     20      Q I can stop you there. I understand. I could
     21   in those analyses as well. So it is not mutually          21   replicate each of the individual criteria because you
     22   exclusive.                                                22   gave me a way to do that.
     23      Q And so Shrestha gets a score of 29. That             23          I am talking about the final score. I am
     24   doesn't necessarily mean it is the best study in your     24   talking about the weighting you put on each of these
     25   opinion, correct? Just because you scored it 29, that     25   criteria, which I don't know because it is not stated.


                                                  Page 195                                                       Page 197
      1   doesn't mean it is the best study, correct?                1   If I don't know the relative weighting between each of
      2      A It is the best study to address whether or not        2   your quality criteria and I can't count on the final
      3   Paraquat exposure is associated with Parkinson's           3   score, how do I replicate it?
      4   disease.                                                   4          MS. REISMAN: Hold on. Objection to form.
      5      Q Based on scores? I thought we couldn't do             5          THE WITNESS: This isn't an overall final
      6   that with these scores.                                    6   quality score. It is not a ranking. That is what I
      7      A Based on the scores -- I am not using the             7   have been saying. You would review my summaries. You
      8   score necessarily for that purpose.                        8   would review the tables. You would review the
      9      Q I have to read the rest of your report                9   methodology for review. You would review the
     10   combined with the score to conclude that, correct?        10   epidemiology consideration for causation. You would
     11      A I think I state that in the report pretty            11   take a look at Bradford Hill.
     12   explicitly.                                               12          So it is not merely just one appendix. It is
     13      Q Okay. If we can't count on the design scores         13   an overall weight of evidence evaluation. That is the
     14   to rank and a sign of quality -- is your quality          14   composite of the entire report.
     15   scoring system, how would we replicate it? If you were    15      Q (By Mr. Kennedy) Thank you.
     16   to say replicate it and I couldn't rely upon your         16      A That is one way where I would suggest you
     17   scoring system on 17 or 18, how would I replicate your    17   start.
     18   scoring system without reading your entire report and     18      Q I read your whole report and looked at all
     19   without being able to rely upon your design or final      19   these quality scores, I could try to figure out what
     20   quality score? How would I replicate this?                20   you did, correct? That's what you're telling me?
     21         MS. REISMAN: Objection to form.                     21          MS. REISMAN: Objection to form.
     22         THE WITNESS: Well, if I am reading your             22      Q (By Mr. Kennedy) That is what I would have to
     23   question right, it is quite easy. Let's take dose         23   do?
     24   response metrics, okay? That column.                      24      A Well, I have expressed my opinions within this
     25      Q (By Mr. Kennedy) I want to stop. I am not            25   report. I have provided a background on epidemiology.


                                                                                50 (Pages 194 to 197)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 53 of 128 Page ID #6014
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 198                                                       Page 200
      1   I have provided established scientific methods that we     1         MR. KENNEDY: I will move to strike.
      2   as epidemiologists follow. I have provided information     2      Q (By Mr. Kennedy) I will ask you again. I am
      3   on Bradford Hill. I have provided qualitative and          3   going to be asking the special master for more time.
      4   quantitative information.                                  4   You can continue on if you want. We can be here all
      5      Q Look at Exhibit 122. Does everybody use the           5   night. I don't care.
      6   same quality criteria as epidemiologists? Are there        6         Can we agree there are different ways,
      7   different quality criteria that can be utilized?           7   different methods that epidemiologists use to evaluate
      8      A Depends what you are referring to? Quality            8   the quality of case control studies? Yes or no? There
      9   for --                                                     9   are different methods used, true?
     10      Q Relating to evaluate the quality of an               10      A Well --
     11   epidemiology study.                                       11      Q Yes or no. If you can't answer it, you don't
     12      A That is quite broad. It depends what you             12   have to answer it. Is that true, yes or no? Case
     13   mean. There may be differences if you are looking at      13   control studies, are there different methods that
     14   drug trials, if there is randomized control clinical      14   epidemiologists use to evaluate quality, yes or no? If
     15   trials.                                                   15   you can't answer it, let me know.
     16      Q Talking about epidemiology studies. There is         16      A I am trying. It is not as simple as just
     17   probably 86 different standards and guidances with        17   saying yes or no.
     18   respect to evaluating quality of an epidemiology study.   18      Q Then do not answer my question.
     19   Haven't you published that yourself and testified to      19      A Okay.
     20   it? 86 different ways you have enumerated?                20      Q Have you ever heard -- is there a Nos
     21      A There may be. But my point was, I said there         21   methodology of evaluating quality of epidemiology
     22   is examples or differences by the application or type     22   studies?
     23   of study. One is randomized control clinical trials,      23      A I am sorry?
     24   which is an epidemiology study. There may be              24      Q The Nos method?
     25   differences in the type of framework or guidance used     25      A N-O-S?


                                                  Page 199                                                       Page 201
      1   for different types of studies.                            1      Q Yes.
      2      Q For case controlled study. There is many              2      A I have heard of it, yes. I may have utilized
      3   different ways that scientists, epidemiologists            3   it before.
      4   evaluate, correct?                                         4      Q Did you utilize it in this case, yes or no?
      5      A There are --                                          5      A I don't believe so. But many of the
      6      Q And I think your 86 is case control studies.          6   parameters that I did utilize, they overlap from, if
      7   Does that surprise you?                                    7   you are talking strobe, prisma, moose, Cochran, Nos,
      8      A I would need to see what you are referring to.        8   Grade, Amstar, they come to the top of my head. They
      9      Q Can we agree there are many different ways            9   are overlapping concepts and overlapping principles.
     10   that epidemiologists rank and evaluate the quality of     10   So it is not like -- you keep saying different methods
     11   epidemiology studies. There are many different ways?      11   or different scientists. They are typically the same
     12   That is a yes or no.                                      12   type of method. There may be slight variations and
     13      A Okay. I was still responding to the first.           13   slight variability in how an epidemiologist would apply
     14   Meaning that there is different guidance or protocols     14   those. But they are the same overarching principles in
     15   out there. Now, epidemiologists utilize a certain         15   different paradigms.
     16   protocol to evaluate the quality of different studies.    16      Q Look to Exhibit 112.
     17         Now, that protocol that they are using is           17         MS. REISMAN: 112 or 122?
     18   typically transparent and they may have some rules.       18      Q (By Mr. Kennedy) 122. I am sorry. This is
     19   There may be variability between scientists and their     19   an expert from EPA analysis 2019. You reviewed this,
     20   application, but they have an established protocol to     20   have you not? It is on your reliance list?
     21   follow. So different scientists may use different         21      A I have read the full report at some point.
     22   protocols.                                                22      Q Page 102, Table A-13 is titled Epidemiologic
     23         But those are typically established and relied      23   Quality Considerations. Do you see that?
     24   upon or at least transparently discussed in their         24      A I do.
     25   review.                                                   25      Q Study evaluation criteria, do you see that?


                                                                                51 (Pages 198 to 201)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 54 of 128 Page ID #6015
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 202                                                       Page 204
      1      A I am sorry. Say that one more time?                   1   assessment."
      2      Q The top states epidemiology study evaluation          2         Do you know what they mean by high quality?
      3   criteria?                                                  3      A In terms of what you just read?
      4      A It does.                                              4      Q Correct.
      5      Q Underneath that it talks to the quality               5      A I see what you read.
      6   considerations for ranking the Paraquat Parkinson's        6      Q When they say "high quality air sample," how
      7   disease study in the evaluation, correct?                  7   do they define -- excuse me.
      8      A Well, it doesn't say that. But it has                 8         High quality questionnaire, how do they define
      9   parameters and different factors with high, moderate,      9   a high quality questionnaire? Do you know from reading
     10   and low.                                                  10   this?
     11      Q Under Exposure, is this the same methodology         11      A I don't specifically from reading this. They
     12   that you used in your quality evaluation of the           12   may say it within the report.
     13   Paraquat Parkinson's disease quality?                     13      Q When they say under confounder control, under
     14      A I don't see --                                       14   high, it says "Good control for important confounders."
     15          MS. REISMAN: Object to form.                       15         Do you know what they mean by "good control"?
     16          THE WITNESS: I don't see what they are citing      16      A I would -- I don't want to speculate to what
     17   to when you say the same methodology. I relied upon --    17   they are referring to. But I would have to see the
     18      Q (By Mr. Kennedy) We talked about this. Is            18   entire report where I think this is one of over 100
     19   this the same method or whatever you want to use,         19   pages.
     20   approach, method, analysis that you utilized to           20      Q This is all they wrote, can we agree you would
     21   evaluate quality? Is it the same?                         21   not be able to replicate that, that confounder control?
     22      A If it is not strobe, prisma, or moose, then it       22   When they say "good control for important confounders,"
     23   would not be the same. However --                         23   can we agree you would not be able to replicate the
     24      Q Not however. That is all I want. It is not           24   application of that criteria for high?
     25   the same as what you did, correct?                        25      A Not necessarily. I mean, as an


                                                  Page 203                                                       Page 205
      1         MS. REISMAN: Object to form.                         1   epidemiologist, I am reviewing this document with a
      2         THE WITNESS: There is overlap here. I don't          2   lens of a methodological epidemiologist. And while
      3   see the--                                                  3   they are not saying their specific requirements, I take
      4      Q (By Mr. Kennedy) I didn't ask if there was            4   this to mean that they would have graded high for
      5   overlap. I asked if it was the same the approach, the      5   studies, or at least in this category, that
      6   analysis, or method you used to evaluate the epi           6   statistically adjust using proper methodology for
      7   studies in this case?                                      7   confounders that may be relevant to -- at least for
      8      A It looks like there is considerable overlap.          8   Parkinson's disease outcome.
      9   But I don't see if this is described as something that     9          But in terms of any other demarcation, it is
     10   EPA did this or relied on other sources for this, or if   10   not listed here. I would have to review the entirety
     11   they created it. But there appears to be significant      11   of the report to see if it is discussed.
     12   overlap in what I addressed as well.                      12      Q If we base it just on this, that is all there
     13      Q Did they use crosses to assign scores? Yes or        13   is in the report, you are telling me you would able to
     14   no?                                                       14   replicate the confounder control? You would be able to
     15         MS. REISMAN: When you say crosses to assign         15   replicate that? Again, yes or no?
     16   scores, are you talking about the pluses that he is       16          You believe you could replicate that, that is
     17   putting in his chart?                                     17   all I want to know?
     18      Q (By Mr. Kennedy) Yes.                                18      A I would stand behind my prior answer.
     19      A Did they, at some point in the report, I am          19      Q Is your answer yes?
     20   not sure.                                                 20      A This is one page. This would apply to the
     21      Q Okay. When they say "Exposure assessment.            21   study where they summarize the study and talk about
     22   High is defined as exposure assessment includes           22   these elements. It is my understanding and
     23   information on Paraquat or metabolite in the body.        23   recollection in that report, they have summaries for
     24   Quantitative air sample data or high quality              24   those studies and they have some tables of those
     25   questionnaires or chemical-specific exposure              25   studies and they put what was adjusted for. They put


                                                                                52 (Pages 202 to 205)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 55 of 128 Page ID #6016
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 206                                                       Page 208
      1   how it was adjusted for.                                   1   approach to analyzing quality of an epi study? You
      2          So I would take that summary and I would            2   don't know without reading the rest of the dock; is
      3   consider this as well. I believe that would make sense     3   that your opinion today?
      4   and that is how things are commonly done.                  4      A It depends on the operational evasion of these
      5      Q Maybe we can short -- you believe taking a lot        5   considerations. It is the application. So these are
      6   at this, this is an acceptable methodology, approach,      6   the -- so many of these are the framework of a proper
      7   or analysis of quality for the epidemiology studies        7   methodological evaluation and then it is how these are
      8   involving Paraquat and Parkinson's disease. You            8   then applied. And so that is what I am saying. This
      9   believe this is acceptable?                                9   is one page. I don't know exactly how these were
     10      A I would have to go through each of these and         10   applied without seeing the document, seeing the entire
     11   review the documents in the context of how this was       11   document, which I would be happy to discuss on a
     12   expressed or articulated for each of these factors. I     12   study-by-study basis.
     13   would have to review the individual study summaries.      13         What I can say is many of these are -- from
     14          But what I can tell you is some of these           14   what I see here, very, very acceptable, well-utilized
     15   aspects are widely accepted. Control for confounding,     15   considerations when you evaluate internal and external
     16   there is no dispute that that is important. The           16   validity in a study.
     17   appropriate statistical analysis, there is no dispute.    17         MR. KENNEDY: Special Master Ellis, could you
     18      Q Stop a second, please. I am asking about --          18   instruct the witness to answer? And I would really
     19   we are talking about replication. With respect to         19   like to ask the -- you and the Court for an extra two
     20   replication, very simply: Is it your opinion that what    20   hours at this point in time. I asked him a yes-or-no
     21   is stated on this page, is acceptable? Yes or no, is      21   question. I got no answer. I got a speech. It has
     22   this an acceptable approach methodology analysis from     22   been going on six hours.
     23   the standpoint of replication of the Paraquat             23         MS. REISMAN: That is not accurate. No, we
     24   Parkinson's disease epi studies? What is your opinion?    24   are going to object to two more hours. And we can go
     25          Is it acceptable, yes or no?                       25   off the record and have this discussion with Ms. Ellis.


                                                  Page 207                                                       Page 209
      1      A What do you mean by "replication"?                    1          You said this morning there was going -- and
      2      Q You use the word help "replication" throughout        2   there was not any problem with the questioning. Let's
      3   your report. You criticized Dr. Wells replication. So      3   not backtrack on the fact that we didn't have an issue.
      4   let's use it the way you use it.                           4          You are getting hung up on very scientific
      5          Do you consider this an appropriate                 5   questions you are asking him. You handed him one
      6   methodology or approach in analyzing quality with          6   single page. He said he would like to see the
      7   respect to the aspect of replication, yes or no?           7   background. He is doing the best he can. He said --
      8      A Well, first of all, you said something that           8   in his question, he gave you what else he would need
      9   was out of line with what I did. I talked about            9   and he said this is the framework for a proper
     10   Dr. Wells in terms of replicating his methodology for     10   methodological evaluation. That is all we can tell you
     11   his meta-analysis where I documented some issues there.   11   based on a chart.
     12          In terms of this, I would have to review the       12          MR. KENNEDY: After he said that, I asked him
     13   overall document to evaluate how each of these are        13   a simple question. Is it then your position today, you
     14   being applied or discussed in addition to this table.     14   cannot answer my question unless you look at the rest
     15   What I can tell you that in this table, there are some    15   of the dock? I got a ten-minute answer. His answer
     16   very important methodological and analytical quality      16   should be yes, I can't give you an opinion unless I
     17   considerations that I would agree with. And many of       17   look at the rest of the dock.
     18   these are outlined and well-established documents such    18          He should have said yes. It is ten minutes
     19   as Moose and Prisma and Strobe.                           19   every question, and I am losing hours. I have a stack
     20      Q Okay. So we will move on.                            20   of papers here to ask.
     21          It is your opinion -- you don't have an            21          MS. REISMAN: I understand. You are not
     22   opinion as to whether that is acceptable. You need to     22   satisfied with what you are getting, and I do think he
     23   look at the entire document; is that true? Is that        23   is doing better. If we would like to go off the record
     24   your opinion?                                             24   and we can try to figure out --
     25          Is this acceptable methodology, analysis,          25      Q (By Mr. Kennedy) Let's try it again. Am I


                                                                                53 (Pages 206 to 209)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 56 of 128 Page ID #6017
                                         Dominik Alexander, PhD
                                              March 8, 2023
                                                 Page 210                                                       Page 212
      1   correct, sir, you cannot give me an opinion on whether    1   the Nos system that you published under, do they use
      2   it is an acceptable methodology to evaluate quality of    2   numbers?
      3   an epidemiologic study unless you see the rest of the     3      A They may have. I don't recall specifically.
      4   document. Is that true?                                   4      Q You don't remember. Okay. We will move on.
      5       A I would need to see the application and the         5         If you want to take a look here and read in
      6   rest of the document.                                     6   that column, it tells us about the quality evaluation
      7       Q Yes?                                                7   done by Vaccari in the right-hand column.
      8       A Indeed, I would need to see the rest of the         8      A I am sorry?
      9   document for the application.                             9      Q Look at the right-hand column. "To evaluate
     10       Q As we sit here, you have no opinion, correct?      10   quality, does it indicate questions regarding the
     11       A I am sorry?                                        11   confidence -- the confidence and specificity of the
     12       Q As you sit here, you have no opinion unless        12   methods that were used to assess exposure to Paraquat,
     13   you see the rest of the document; is that true?          13   selection of participant, outcome of injuries, and
     14          MS. REISMAN: Beyond what he said.                 14   adjustments for confounding factors were asked."
     15          THE WITNESS: For the proper application of        15         Do you see that?
     16   this framework of which there are very strong elements   16      A I do.
     17   here. Like I keep saying --                              17      Q So the authors ask questions about the
     18          MS. REISMAN: That is fine.                        18   individual studies with respect to those four different
     19          MR. KENNEDY: Here we go again.                    19   categories, true? Are you on the right page?
     20          MS. REISMAN: I stopped.                           20      A I am, but they are referencing -- I just want
     21       Q (By Mr. Kennedy) Grab the Vaccari study.           21   to make sure. Did you provide me with the supplemental
     22       A The one from before?                               22   tables? I am not sure I see those here. I may be
     23       Q Yes. The Vaccari study. It is 118.                 23   incorrect.
     24       A I have located it.                                 24      Q All right. Did I read that right?
     25       Q Go to 175 if you would, please.                    25      A In terms of you reading that, I believe you


                                                 Page 211                                                       Page 213
      1      A Okay.                                                1   read that paragraph correctly.
      2      Q The right-hand column titled: Risk of Bias           2      Q Then the questions are asked, then the
      3   Assessment. Do you see that?                              3   answers, probably yes. Definitely yes to each question
      4      A I do.                                                4   were assigned to the low risk above category. Answers
      5      Q They indicate they are using the New Castle          5   probably not, definitely not were assigned to the high
      6   Ottawa scale to assess the methodological qualities of    6   risk bias category.
      7   the studies. True?                                        7         After assigning each response to one of the
      8      A That is what they say, yes.                          8   categories, the entire study was also classified
      9      Q Some overlap between that system and what you        9   regarding its overall methodologic quality. Do you see
     10   did, but it is a different system, correct?              10   that?
     11      A It is a different source. I would say               11      A I do.
     12   overlap. There is overlap.                               12      Q It says, "The two authors classified a study
     13      Q And that system doesn't use crosses. It uses        13   as low risk only if there were at least four responses
     14   numbers, does it not? It uses numbers as opposed to      14   out of six for case controls and the six responses out
     15   crosses?                                                 15   of eight for cross-sectional and cohorts as probably
     16      A I mean, I would like to say they are plus           16   definitely yes, considering the two of the responses
     17   marks than crosses. But that is just a way -- I could    17   had to be necessarily -- were necessarily about the
     18   have used anything. Do they use numbers?                 18   confidence and the exposure and the outcome
     19      Q That is my question. Do they use numbers as         19   assessments. Otherwise, the study was considered a
     20   opposed to crosses?                                      20   high risk of bias."
     21      A If you could bear with me a second while I          21         Do you see that?
     22   look at the paper.                                       22      A I see where you are reading from.
     23      Q Are you familiar with the Nos system?               23      Q Do you know why they chose four, let's say out
     24      A I think I published on it.                          24   of six and not three of six?
     25      Q Okay. Do they assign numbers in the use of          25      A I am not sure specifically.


                                                                               54 (Pages 210 to 213)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 57 of 128 Page ID #6018
                                         Dominik Alexander, PhD
                                              March 8, 2023
                                                 Page 214                                                       Page 216
      1      Q Go to page 189, if you would.                        1   you have them, I could take a look at them to see if
      2      A I see it.                                            2   that's addressed there. But I would need to see their
      3      Q You see the questions with respect to the case       3   application to the specific studies before I could
      4   control studies?                                          4   address that.
      5         MS. REISMAN: Where are you?                         5      Q Without further information that cannot be
      6         MR. KENNEDY: We're in the diagram now.              6   replicated, that question, can we agree?
      7         MS. REISMAN: Which one?                             7      A Well, first of all, I want to make sure there
      8         MR. KENNEDY: 189. The diagram to the case           8   is no further information. I don't have the
      9   control.                                                  9   supplemental files here. I am not saying they have
     10         MS. REISMAN: Figure 2?                             10   that information. I am just saying for completeness I
     11         MR. KENNEDY: Yes.                                  11   would need to see those to determine whether or not
     12      Q (By Mr. Kennedy) Do you see that?                   12   they have such information there. And that would
     13      A I see Figure 2.                                     13   reflect, perhaps, the application of what they did.
     14      Q And do you see one of the questions the author      14         I am just saying, I would like to rule that
     15   asked with respect to each of the studies, "Can we be    15   out by looking at the supplemental tables.
     16   confident in the exposure assessment?"                   16      Q Just answer me this. You would need
     17         So for each study the author would ask -- was      17   additional information than what you see here in order
     18   asked to evaluate the study and answer the question,     18   to determine whether or not that could be replicated,
     19   "Can we be confident in the exposure assessment?" And    19   true?
     20   if they answered probably, definitely yes, then that     20      A I would need to see the application. How they
     21   was a low risk of bias, right?                           21   undertook that assessment in terms of what you are
     22      A I am sorry. Who are you saying answered that        22   asking me right here.
     23   question?                                                23      Q Can we be confident in the PD diagnosis? The
     24      Q The two authors. We just read --                    24   author was to answer, probably definitely yes.
     25      A The two from this paper?                            25   Probably definitely not. You would need additional


                                                 Page 215                                                       Page 217
      1      Q Correct.                                             1   information to determine whether or not that could be
      2      A Okay. I want to make sure we are on the same         2   replicated also, correct?
      3   page.                                                     3      A I think for each of these, I would need to see
      4      Q We just read that. Now we are looking at the         4   the application. I don't think that is the author's
      5   questions and seeing what the responses should be.        5   intent here in a peer-reviewed manuscript to provide
      6   Right? So the authors are asking with respect to each     6   that in this particular page. Again, perhaps in the
      7   study, "Can we be confident in the exposure               7   supplementary files there is some information, I am not
      8   assessment?" And if the author answered, probably         8   sure. But based on what I am seeing here, I think it
      9   definitely yes, that was a low risk of bias, correct?     9   would -- I would need to see that application.
     10      A I believe based on the footnote below it.           10      Q If you only have the information here, you
     11   Okay.                                                    11   cannot replicate their quality analysis, true? If you
     12      Q And if they answered with respect to that           12   only have the information based on this table?
     13   question probably definitely not, then that was          13      A Just based on this diagram Figure 2 or Figure
     14   considered a high risk of bias, correct?                 14   3, I could not because I don't understand their
     15      A That is how they classified it.                     15   application.
     16      Q Could you replicate the application of that         16      Q And is there anything in the article -- I
     17   quality criteria with that question and those            17   don't have the supplements with me -- but is there
     18   responses?                                               18   anything in the article that would allow you to
     19      A I would have to apply it to the individual          19   replicate it?
     20   studies and determine whether or not the authors of      20          MS. REISMAN: The article refers to the
     21   Vaccari had some other pieces of information that they   21   supplement. If by referring to the supplement and the
     22   utilized to substantiate their conclusions. So I am      22   article, you are including that in your question?
     23   not sure -- I am not saying it is not here. But I        23          MR. KENNEDY: I don't have the supplements.
     24   would have to review this paper and maybe any of the     24      Q (By Mr. Kennedy) In looking at the article,
     25   supplemental files, which have I don't see here. If      25   are you able to gather enough information to replicate


                                                                               55 (Pages 214 to 217)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 58 of 128 Page ID #6019
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 218                                                      Page 220
      1   their quality analysis?                                   1   Is that your opinion?
      2      A The supplements are part of the article. So I        2      A If you are differentiating a review versus a
      3   am looking at an incomplete document.                     3   meta-analysis, where a meta-analysis is part of a
      4      Q I will ask the question again. Excluding the         4   systematic review, I would say that yes. It is
      5   supplements, is there anything in the article that you    5   required for both.
      6   can gleam or understand that allows you to replicate      6      Q In your opinion, are narrative reviews an
      7   their quality analysis?                                   7   unacceptable way to assess causation?
      8      A Not a full replication. There is some                8         MS. REISMAN: Objection to form.
      9   information in the text of the article and of course      9         THE WITNESS: Narrative reviews are not
     10   there is information in the tables of the article.       10   designed to address causation. I don't think a
     11      Q So your answer is no, you can't do a full           11   narrative review in and of itself would be necessary
     12   replication?                                             12   for causation.
     13      A Looking at an incomplete document that I have       13      Q (By Mr. Kennedy) My question was in your
     14   in my hands, not a complete replication, no. Not a       14   opinion, is a narrative review an unacceptable
     15   full replication.                                        15   methodology to utilize in assessing causation? Please
     16      Q You reviewed the Vaccari article in your            16   answer my question.
     17   analysis, did you not?                                   17         MS. REISMAN: Objection to form.
     18      A I reviewed it.                                      18         THE WITNESS: I have an opinion on narrative
     19      Q Did you do an assessment of the ability to          19   review. I want to make sure we are on the same page.
     20   replicate their quality analysis in your review of the   20   What are you referring to as a narrative review?
     21   Vaccari?                                                 21      Q (By Mr. Kennedy) Define for me "narrative
     22      A No. That is not something I would have done         22   review" as you have used it in the literature?
     23   in terms of replication.                                 23      A Narrative review typically means a review that
     24         MS. REISMAN: We have been going an hour or         24   is not systematically done. It may be a commentary or
     25   so, unless I am mistaken. Want to take a few minutes?    25   summary, but it is not a data-driven review process.


                                                  Page 219                                                      Page 221
      1         MR. KENNEDY: Take five or ten.                      1   Systematic reviews, on the other hand, involve a
      2         VIDEOGRAPHER: We are off the record. The            2   data-driven process and they may be better equipped or
      3   time is 3:52 p.m.                                         3   well equipped or designed to address matters of general
      4         (Off the record.)                                   4   causation.
      5         VIDEOGRAPHER: We are back on the record. The        5       Q Are narrative reviews an unacceptable method
      6   time is 4:09 p.m.                                         6   to evaluate causation? Please answer that question.
      7      Q (By Mr. Kennedy) Dr. Alexander, you have             7          MS. REISMAN: Objection to form.
      8   indicated in your report that in a systematic review      8          THE WITNESS: I do not -- narrative reviews,
      9   inclusion/exclusion criteria for what you are going to    9   if they are true narrative reviews and not data-driven
     10   include in your review is required. Would that be        10   reviews for epidemiology general causation, should not
     11   true?                                                    11   be relied upon for that premise.
     12      A Could you point me to where you are reading         12       Q Did you have inclusion/exclusion criteria for
     13   from?                                                    13   selecting the studies that you were going to include in
     14      Q In your opinion, is inclusion/exclusion             14   your review?
     15   criteria required in doing a systematic review?          15       A Yes. If you allow me to refer to my report.
     16      A It is my practice to do so, yes. I do believe       16   I believe that is indicated at some point.
     17   that is a fundamental aspect of a systematic review. I   17       Q Possibly page 24.
     18   think that is according to guidance as well.             18       A Exactly. Page 24.
     19      Q That is a yes-or-no question. Is it required        19       Q Is that statement of your inclusion/exclusion
     20   in doing an appropriate systematic review, yes or no?    20   criteria on page 24 and I think it goes over to page 25
     21      A Based on protocol that I follow, I believe it       21   correct?
     22   is required.                                             22       A On page 24, it may extend to page 25. But I
     23      Q Required for both a determination of what will      23   do provide those parameters.
     24   be included in your review and also required with        24       Q Then do you reference Appendix 2 to provide us
     25   respect to what would be included in a meta-analysis.    25   with a flow diagram of your review, your


                                                                               56 (Pages 218 to 221)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 59 of 128 Page ID #6020
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                 Page 222                                                       Page 224
      1   exclusion/inclusion criteria and how you went about       1   you apply to go from 283 down to 81?
      2   selecting the studies for your review?                    2      A The ones on the right, the full text articles.
      3      A In Appendix 2, I put a literature search flow        3         MS. REISMAN: What you're excluding for?
      4   diagram. But the specific factors for inclusion           4         THE WITNESS: I'm sorry?
      5   articulated in the main body of the report on page 24.    5         MS. REISMAN: You said full text article.
      6      Q Go to, if you would, Appendix 2.                     6         THE WITNESS: I'm sorry. Yeah. The full text
      7      A Okay.                                                7   articles excluding for the ones that we just went
      8      Q You started with search terms. If we look at         8   through. That is what I thought you were referring to.
      9   Appendix 2, on 120, on the top box it looks like you      9   So 283 after those, then it went down to 81.
     10   put search terms in and you came up with 373 studies,    10      Q (By Mr. Kennedy) My question is: How did you
     11   correct?                                                 11   get from 283 to 81?
     12      A I didn't come up with that. But that was            12      A After excluding full text articles -- full
     13   generated by the National Library of Medicine.           13   text articles after excluding for no Paraquat data and
     14      Q And then it is filtered, human studies,             14   so on went from 283 to 81.
     15   English studies, right?                                  15      Q Can you tell us what studies make up the 202?
     16      A Those two filters were applied in the NLM           16   Is that listed anywhere?
     17   database.                                                17      A I don't have a separate list of those studies.
     18      Q So filtering for human and English, you found       18   I gave you the parameters that you can search the
     19   373 published articles, correct?                         19   National Library of Medicine database for. And if
     20      A Using those terms, yes.                             20   studies come up, for example, in vitro or animal
     21      Q You go down to the next box, 283, correct?          21   studies or editorials, those would have been those.
     22      A Correct. In the next box.                           22      Q What criteria was applied to go from the 81 to
     23      Q And it went from 373 down to 283, because you       23   the 32? What exclusion criteria, to go from the 81 to
     24   filtered down, right, using exclusion criteria? Got      24   the 32?
     25   rid of articles with no Paraquat data, right? Got rid    25      A That would have been the more granular


                                                 Page 223                                                       Page 225
      1   of articles with no mechanistic modeling, correct?        1   information provided on page 24. That would have been
      2      A No. With mechanistic modeling.                       2   cohort, case control specifically. That would have
      3      Q Case studies and case series, those were             3   been a greater evaluation of relative risk information
      4   excluded, correct?                                        4   and so on.
      5      A They were.                                           5      Q Can you show me where on page 24, 25, it
      6      Q Policy papers excluded?                              6   indicates that that was utilized to go from 81 to 32?
      7      A Yes.                                                 7   Show me that direct application, if you could, on 24
      8      Q General reviews excluded?                            8   and 25.
      9      A Yes. That would be -- your narrative reviews         9      A It doesn't say it on page 24 or 25. That is
     10   would fall under that.                                   10   not the purpose of this. The purpose in Appendix 2 is
     11      Q Editorial commentary, in vitro animal studies.      11   to show there was an iterative process starting with a
     12   Those were excluded, and you went from 373 down to 283   12   group of studies in coming down to a group that I have
     13   articles, correct?                                       13   cited, and they show up in the bibliography. And page
     14      A Yes.                                                14   24 clearly shows or indicates the types of studies I am
     15      Q We go to the next box down. You go from 283         15   evaluating.
     16   articles down to 81. Correct?                            16      Q Again, is there anywhere where you state
     17      A 81, yes.                                            17   specifically how you went from 81 down to 32,
     18      Q What exclusion criteria did you use to exclude      18   exclusion? Something that says these are the exclusion
     19   202 studies, going from 283 down to 81?                  19   criteria that allow us to go from 81 to 32 studies?
     20      A I am sorry. I thought you were reading from         20   Where are those exclusion criteria stated?
     21   the top down. So those filters were applied. Went        21      A I don't believe I reported that on pages 24 or
     22   from 373 to 283. The filters were applied. They went     22   25. Again, that information would be obtained on page
     23   down to 81. I thought that is what you were referring    23   24. So we are going through a group of studies. And I
     24   to.                                                      24   am also -- you can see there is an iterative search
     25      Q My question is: What exclusion criteria did         25   process looking at other published reviews and


                                                                               57 (Pages 222 to 225)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 60 of 128 Page ID #6021
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 226                                                       Page 228
      1   articles. Meaning I am hand searching those articles       1      A It is the footnote on page 25.
      2   for additional studies or to identify any studies that     2      Q In the footnote, could you explain the
      3   may have been missed in the electronic searches.           3   exclusion criteria in your footnote, how you got from
      4         And after that process, there are 32 studies         4   81 to 32? Is that explained in your footnote?
      5   that were cited and included in my overall original        5      A In the footnote, it is not. It is most
      6   assessment.                                                6   definitely implied and shown on page 24.
      7      Q Question very simple. Can we agree that no            7      Q That is all I wanted. It was implied on page
      8   place on 24 or page 25 do you outline specific             8   24, correct?
      9   exclusion criteria that explain to us how you went from    9      A Well, epidemiologically or any scientist
     10   81 to 32? There is no exclusion criteria listed to        10   looking at this would see that classification and
     11   explain that, true?                                       11   understand that is what I am doing.
     12      A Well, those criteria are listed. Do I have it        12      Q The final 32. Go to page 31 of your report.
     13   broken down going from 81? Again, I looked at the full    13   Continue on with your exclusion/inclusion criteria.
     14   text of the articles filtered down. 81 identified for     14   The final 32 studies are listed on page 31, correct?
     15   full text review.                                         15      A I believe they are cited there.
     16         From that full text review, there were 32           16      Q This is what you ultimately resulted in with
     17   relevant epidemiology studies. Now that is -- but do I    17   respect to your search, correct? Do you see that?
     18   have it broken down more than that? I haven't             18      A I do.
     19   articulated that in this report. But this is an           19      Q You state at the bottom after listing the 32
     20   iterative process where I am going through and doing      20   studies, "All of these studies were considered,
     21   National Library Medicine searches and I have             21   however, some of them were excluded from my evidentiary
     22   identified a comprehensive list of studies, focussing     22   analysis because of methodologic and analytical
     23   on cohort, case control, adult populations. I am          23   reasons." Then you give examples, IE, did not report
     24   unaware of any analytical epidemiology studies that       24   Parkinson's disease as an independent outcome. Did not
     25   were missed.                                              25   report on relative risk data for Paraquat and


                                                  Page 227                                                       Page 229
      1      Q Very simply, I am going to ask you again.             1   Parkinson's disease or combined Paraquat with other
      2   Very simply. Can we agree that nowhere on pages 24 and     2   chemicals or pesticides, correct?
      3   25 do you list exclusion criteria that explain how you     3      A There are some other very specific reasons
      4   got from 81 to 80 -- excuse me, 81 to 32 studies? Is       4   that -- for exclusion.
      5   that true?                                                 5      Q Did I read that right? Do you see that? From
      6      A The criteria -- again, you say exclusion, that        6   this 32, some were excluded from your evidentiary
      7   is the opposite of inclusion. So if you look on page       7   analysis, correct? And then you give examples.
      8   24, I have cohort case control, cross-sectional, and       8      A I'm sorry. Where exactly are you reading
      9   other factors here that I evaluated. So to the extent      9   from?
     10   that those studies that I have listed did not evaluate    10      Q Last sentence in the page 31.
     11   these very granular factors, then they would have been    11      A I see it.
     12   excluded.                                                 12      Q You list the 32 studies that your search
     13          MS. REISMAN: He is pointing to page 24.            13   found. Then you state, quote, All of these studies
     14          THE WITNESS: Page 24 where I have listed           14   were considered, however, some of them were excluded
     15   types of studies, the adult population, analysis          15   from my evidentiary analysis because of methodological
     16   evaluating risk of Parkinson's disease among              16   and analytical reasons." Then IE, does that stand for
     17   participants reported to be exposed to Paraquat.          17   example? IE, example?
     18          So from those 81 studies, if they did not have     18      A Yes.
     19   these factors and reporting measures of association and   19      Q My question is: What were the exclusion
     20   other things, they would have been excluded.              20   criteria other than the example that you give that you
     21      Q (By Mr. Kennedy) Maybe I can make it simpler.        21   utilize to exclude studies from your evidentiary
     22   Does the number 81 appear on page 24 and 25? Yes or       22   analysis?
     23   no?                                                       23      A Well, these are all studies that reported on
     24      A Yes.                                                 24   that topic. Now, if they did not report on Parkinson's
     25      Q Where is 81 on page 24?                              25   disease as a specific or independent outcome, there


                                                                                58 (Pages 226 to 229)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 61 of 128 Page ID #6022
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                   Page 230                                                      Page 232
      1   would be no basis because of specificity.                  1   that anywhere in your report?
      2      Q Stop for one second. Where do you state --            2         MS. REISMAN: Besides 31 and 32?
      3   you state all of these studies were considered.            3         THE WITNESS: I think --
      4   However, some of them were excluded from my evidentiary    4         MR. KENNEDY: Page 32. Page 31 is 32 studies
      5   analysis.                                                  5   listed on page 31.
      6        Where do you list your criteria for the               6         MS. REISMAN: You both -- both of you are
      7   exclusion of some of the 32 studies other than             7   reading a sentence that goes from 31 to 32 that lists
      8   providing an example? Where are your criteria stated?      8   various things in the parenthetical. That is what he
      9      A Page 24 is a start of that. Again, it is              9   keeps referring to. Those are listing specific
     10   quite clear. Reported measures of association in          10   characteristics.
     11   varying assessments or sufficient data to provide --      11         MR. KENNEDY: Absolutely. Those are examples.
     12   date provided to calculate relative risk and confidence   12   That is not the totality. Those are examples of why he
     13   intervals. That is very clear.                            13   excluded.
     14        Another one. Analysis evaluating risk of             14         MS. REISMAN: There is a difference between IG
     15   Parkinson's disease exposed to Paraquat. That is very     15   and EG.
     16   specific. Cohort case control cross-sectional design,     16      Q (By Mr. Kennedy) How are you using IE?
     17   disease incidence, prevalence, mortality, adult           17      A Well, perhaps I am mixing up IE versus EEG.
     18   population. So that is the framework that is being        18      Q Perhaps I am also.
     19   followed for that evaluation.                             19         MS. REISMAN: I use -- the specific EG is not
     20        Now, once you get -- you identify studies,           20   the specific.
     21   then once you look at the studies and review those        21         THE WITNESS: I think maybe just to clarify
     22   studies, you may identify different aspects of those      22   this. In the footnote, those are studies that were
     23   studies for which they are not fully evaluating; for      23   excluded because of those reasons listed in the
     24   example, Parkinson's has a specific outcome. They may     24   footnote. If you look at the list of all the other
     25   be combining it with another outcome. Or they don't       25   studies on page 31, I believe they are at least


                                                   Page 231                                                      Page 233
      1   actually report data that would allow you to calculate     1   tabulated or referenced in the tables.
      2   a summary relative risk, for example.                      2      Q (By Mr. Kennedy) My question is: Are you
      3         So that would be some of the reasons. And            3   saying that the only thing excluded from the 32 studies
      4   also it just reminded me as well looking at this to        4   was Semchuk, Seidler, and Engel in your review? Is
      5   hopefully help clarify some of the other aspects of        5   that what you are saying?
      6   that process. So those 32 would be epidemiology based.     6      A After it was boiled down to those 32 or so
      7   There are other reviews and analyses that I have cited     7   studies, I believe those are the three.
      8   to on page 74 that would have likely been embedded in      8      Q When you say some of these studies were
      9   the number 81.                                             9   excluded, you are only excluding the three in Footnote
     10      Q I am going to ask you a very simple question.        10   8. Is that your testimony?
     11   Where do you state in your report specifically: I         11      A The three in foot -- well, let me clarify
     12   reduced the 32 by these exclusion criteria. Is that       12   that. The three in Footnote 8 pertaining to the
     13   specifically stated anywhere in your report? You make     13   evidentiary analysis part of it. Now, if you look at
     14   the statement on page 31, without bouncing back to page   14   the tables, there may be studies that -- with an
     15   24 or up to 79, where do you specifically state in your   15   update --
     16   report the exclusion criteria that was applied to these   16      Q We will get there. I just want to know, are
     17   32 studies?                                               17   those three studies in Footnote 8 the only three
     18      A Well, I highlighted some in the footnote.            18   studies you excluded from the 32? Yes or no?
     19      Q Those were examples.                                 19      A I would like to respond in terms of the --
     20      A No. The footnote.                                    20   they were all considered. In terms of not being
     21      Q I understand. The footnote is from the               21   tabulated, I think I would have to take a look. I
     22   examples that you gave above. IE, examples. I want a      22   think those are the three.
     23   statement of your exclusion criteria somewhere in your    23      Q That were excluded from the evidentiary
     24   report that specifically applies to the 32 studies        24   review, is that correct? I am just asking.
     25   listed on page 31. Is there a specific statement like     25      A Based on -- I would have to take a look at the


                                                                                59 (Pages 230 to 233)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 62 of 128 Page ID #6023
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 234                                                       Page 236
      1   tables, but I believe that is the case for those three.    1   page alone.
      2      Q Go to 38. Page 38. You have excluded three            2     Q Did you consider Tanner 2011 in your Bradford
      3   from your 32. Go to page 38, if you would. On 38, you      3   Hill review?
      4   say, "The descriptive characteristics including the        4     A I certainly reviewed Tanner 2011. That was
      5   exposure assessments, techniques, and results are          5   considered in my overall weight of evidence analysis.
      6   summarized in the table below."                            6     Q I will ask my question again. This is why I
      7          So now we have a table that summarizes a group      7   am asking for more time.
      8   of studies, correct? Is that what follows next?            8         Did you consider Tanner 2011 in your Bradford
      9      A The tables are the characteristics,                   9   Hill analysis?
     10   descriptive characteristics of the studies, yes.          10         MS. REISMAN: I will object to form. He just
     11      Q What studies? What is the grouping now in            11   answered your question.
     12   this table? This doesn't tell me. What is the             12         MR. KENNEDY: He answered the totality of the
     13   grouping of the studies in the table?                     13   weight.
     14      A These are the studies for consideration and my       14         MS. REISMAN: That is how he does his
     15   evidentiary analysis. These are cited earlier. I          15   analysis, which is clear on --
     16   think that was page 31. So these studies are cited on     16         MR. KENNEDY: I asked him about Bradford Hill.
     17   page 31.                                                  17         MS. REISMAN: You can't get sound bites
     18      Q Your table only has 16 studies. Not 32. Why?         18   when --
     19      A That is not true. Cited. If you look at              19         MR. KENNEDY: I asked about Bradford Hill.
     20   Hertzman, remember there is two on Hertzman.              20         MS. REISMAN: That is his analysis.
     21      Q Count the studies if you would in your table.        21         THE WITNESS: That is my weight of evidence
     22          MS. REISMAN: You want him to go through and        22   analysis, with all due respect.
     23   count?                                                    23     Q (By Mr. Kennedy) Did you consider Tanner in
     24          MR. KENNEDY: Count. Not 32.                        24   your Bradford Hill analysis, yes or no?
     25          MS. REISMAN: Go ahead.                             25         MS. REISMAN: Object to form.


                                                  Page 235                                                       Page 237
      1      Q (By Mr. Kennedy) Go ahead. 16, correct? Did           1     Q (By Mr. Kennedy) I used the term "Bradford
      2   I count right?                                             2   Hill." I didn't use the term "weight of evidence."
      3         MS. REISMAN: No.                                     3         Did you consider Tanner 2011 in your Bradford
      4      Q (By Mr. Kennedy) How many?                            4   Hill analysis?
      5      A Interjected, but I think I got to about 29.           5         MS. REISMAN: You can ask the question, but
      6      Q You are counting the overlapping publications?        6   you can't require unscientific answers.
      7      A Yes. Everything cited in these tables, yes.           7         MR. KENNEDY: I can require an answer to my
      8      Q Do you do descriptive characteristics of              8   question.
      9   Kamel, Goldman, Furlong? Do you?                           9         MS. REISMAN: Certainly.
     10      A Many of which are the same if they are               10     Q (By Mr. Kennedy) That's simple. Is it
     11   overlapping populations. I have typically relied on       11   impossible for you to answer that question? Did you
     12   the most updated analysis, as you should. But I have      12   consider Tanner in your Bradford Hill analysis? You
     13   identified studies for which there were prior             13   have a whole section on it. Did you consider Tanner
     14   publications. Much of this information would overlap      14   2011 in your Bradford Hill analysis? Yes or no?
     15   in terms of if there is California studies or studies     15     A Let me say, I am doing the best I can as an
     16   in certain areas or Tomenson if there is an updated       16   epidemiologist answering epidemiology questions with an
     17   analysis.                                                 17   epidemiology response. I considered Tanner in my
     18      Q So next you have narratives on, I think, 22          18   overall weight of evidence. Bradford Hill is part of
     19   studies. Why 22?                                          19   that weight of evidence.
     20      A Well, these narratives would subsume                 20         So each of these things are not mutually
     21   everything in the tables. So, for example, if there is    21   exclusive. Tanner would have been considered in my
     22   an updated analysis, the narrative would focus on         22   overall analysis which includes all the other summaries
     23   the -- that particular update.                            23   and weight of evidence assessments and looking at
     24         So, for example, looking at page 53, there is       24   methodological parameters.
     25   one, two, three, four -- five cited just on that one      25     Q I will ask you again. I want a yes-or-no


                                                                                60 (Pages 234 to 237)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 63 of 128 Page ID #6024
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 238                                                       Page 240
      1   answer. I am going to ask the special master to please     1   part of the application.
      2   give me an answer.                                         2         But in terms of the Liou paper, I summarized
      3         Did you consider Tanner 2011 in your Bradford        3   what is reported in the actual study.
      4   Hill analysis, yes or no?                                  4      Q The point would be there is not data. Data
      5      A As I said, it is considered in my weight of           5   does not exist internally or externally for you to do a
      6   evidence analysis which includes Bradford Hill. So by      6   calculation or an assessment of the existence of recall
      7   virtue of my response, then it would be included in        7   bias in Liou. Would that be true?
      8   Bradford Hill, yes.                                        8         MS. REISMAN: Objection to form.
      9      Q Thank you very much.                                  9         THE WITNESS: I did not see data reported
     10         Where is it cited in that section of your           10   pertaining to exposure information if that is what you
     11   report? Where is Tanner 2011 cited in your Bradford       11   are referring to.
     12   Hill analysis section?                                    12      Q (By Mr. Kennedy) With respect to confounding
     13      A I am sorry. Are you referring to page 76 and         13   in the Liou study, I do not see in your report an
     14   page 77?                                                  14   analysis of the data to determine whether there
     15      Q Yes. It is titled Bradford Hill Analysis. Do         15   actually was confounding.
     16   you cite Tanner in the section of your report that says   16         Are you able to do that in the Liou study to
     17   Bradford Hill Analysis?                                   17   determine the existence and degree of confounding with
     18      A I am so sorry. I may be -- you said titled           18   the data available? Are you able to do that?
     19   Bradford Hill Analysis. I see general causation.          19      A Again, with all due respect, I am not
     20      Q Then you cite Bradford Hill, and then you do         20   understanding your theory on that particular concept.
     21   an analysis starting with temporality on page 76,         21   I have reported the data in Liou that has looked at the
     22   correct?                                                  22   or reported on the multi-variant adjusted information.
     23      A Yes. That wasn't -- anyway. Yes. Individual          23         If we take that particular paper, they have
     24   studies, I put an example there for temporality which     24   multi-variant information and they have some - they
     25   is obviously crucial. I cited Shrestha there. But I       25   have a wide range and other models here as well. But


                                                  Page 239                                                       Page 241
      1   am not citing studies on those two pages. The evidence     1   they report some unit data. They report some
      2   for these are listed in the tables or shown in the         2   multi-variant data. So I reported the information as
      3   tables and in the summaries of the article.                3   expressed by Liou in that paper.
      4     Q I don't have any time here. My question is             4      Q My question is: Where in your report could we
      5   very simple. It's a yes-or-no question. Do you cite        5   find an assessment where you took data and did a
      6   Tanner 2011 in the specific section titled Bradford        6   calculation and concluded that confounding existed in
      7   Hill Analysis, yes or no?                                  7   Liou? Did you do that?
      8     A I don't for the reasons I gave.                        8         MS. REISMAN: I think there is a little bit of
      9     Q Thank you.                                             9   misunderstanding to cut through. Are you asking beyond
     10          In the Liou study, did you actually assess the     10   what Liou reports, did he do anything additional?
     11   Liou study to determine whether there was, in fact,       11         MR. KENNEDY: Correct.
     12   recall bias calculation in the Liou study? Did you do     12      Q (By Mr. Kennedy) Were you able to take some
     13   an assessment to determine whether or not there was, in   13   data from Liou, do a calculation to assess the
     14   fact, recall bias in Liou?                                14   existence of confounding?
     15     A With all due respect, I am not following you.         15      A I would have to have the raw data set from
     16   What type of analysis for recall?                         16   Liou to do it in the way that you are asking, the way I
     17     Q Was there enough data in that to determine            17   think you are asking, I would have to have the raw data
     18   whether or not recall bias actually existed to assess     18   set.
     19   the existence of recall bias in Liou?                     19      Q That is exactly what I am asking. You don't.
     20     A Again, with all due respect, I am not sure if         20   In Tanner, were you able to independent evaluation
     21   you understand exactly what that means in terms of how    21   using some data to determine whether or not or to
     22   you could assess it. Liou reports data. The only way      22   evaluate the existence of recall bias in Tanner 2011?
     23   specifically you could is if there was a different        23         MS. REISMAN: Beyond what is reported in the
     24   piece of information or data as reported within Liou,     24   paper?
     25   where somewhere they took some type of sample for that    25      Q (By Mr. Kennedy) Beyond what is recorded in


                                                                                61 (Pages 238 to 241)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 64 of 128 Page ID #6025
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 242                                                       Page 244
      1   the paper?                                                 1   data, look at the studies, and make a determination
      2      A Beyond what is in the paper, no.                      2   that this method with respect to diagnosing Parkinson's
      3     Q You would need raw data to do that, true?              3   disease is unreliable? Did do that for any of the
      4      A Well --                                               4   studies?
      5     Q Additional external data.                              5      A Did I say, is there a certain method from
      6      A Not necessarily. The raw data perhaps with            6   Pouchieu all the way to Shrestha, was it unreliable?
      7   some additional data pertaining to exposure.               7   No. I didn't draw that conclusion.
      8     Q Unable to do that in Tanner, correct?                  8      Q A study can account for confounders with
      9      A I didn't have the data if that is what you are        9   matching and control groups, is that one method for
     10   asking. To the extent that even exists, I am not sure.    10   accounting for confounding?
     11     Q In Firestone, Hertzman, Kuopio, same question,        11      A I think you said that correctly, but I will
     12   did you -- were you able to collect data and assess the   12   say matching is one way to control for confounding
     13   impact of the failure to control for confounding?         13   depending on how you do it.
     14         MS. REISMAN: Beyond whatever is reported --         14      Q And a study can account for confounding by
     15     Q (By Mr. Kennedy) Beyond what is reported in           15   doing adjustments. We talked about in great detail,
     16   the paper?                                                16   correct?
     17      A I did not obtain the underlying data sets by         17      A Statistical adjustments is one way, yes.
     18   Firestone, Kuopio and did you say --                      18      Q Is there enough data in any of the epi studies
     19     Q Hertzman?                                             19   that Dr. Wells looked at or you looked at to calculate
     20      A Hertzman.                                            20   or assess whether or not the study at the end of the
     21     Q Did you collect data and evaluate or assess           21   day provided results that were reliable or unreliable?
     22   the impact of the failure to control for confounding in   22      A I don't really follow your question.
     23   Dhillon?                                                  23      Q Did you look at any of the studies and say
     24      A Did I assess the impact of failure to control?       24   this study, the results in this study are unreliable?
     25     Q Yes.                                                  25   Or did you simply evaluate qualities and do comparative


                                                  Page 243                                                       Page 245
      1      A I did not have their underlying data set, but         1   analyses? Did you look at any of the studies and say,
      2   they reported a crude odds ratio, unadjusted.              2   given that design, given what they did, this
      3      Q Were you able to calculate -- do a formal             3   epidemiologic study reported unreliable results, any of
      4   assessment and calculate the impact of that failure to     4   the studies?
      5   control for confounding? Were you able to do that?         5      A In any individual study, I am not sure I
      6      A I did not have their underlying database.             6   articulated it or expressed it that way. I certainly
      7      Q With respect to any of the studies you                7   discussed some of the strengths and limitations.
      8   evaluated, did you do an analysis to determine whether     8      Q That is not my question, which I know you did.
      9   or not the Parkinson's disease diagnostic criteria or      9         I am asking you whether or not any of the
     10   method was reliable? Or did you just determine the        10   studies, you looked at them and made a determination
     11   relative reliability of the different approaches?         11   that the results were unreliable?
     12      A I guess, what do you mean by relative                12         MS. REISMAN: And just for clarification,
     13   reliability?                                              13   because we are going back and forth, are you now
     14      Q You have graded and talked throughout                14   talking about everything he looked at?
     15   self-report is probably less reliable than an             15         MR. KENNEDY: The epidemiologic studies.
     16   examination by a group of subspecialist. We agree on      16         MS. REISMAN: The ones in his chart?
     17   that?                                                     17      Q (By Mr. Kennedy) The ones Dr. Wells looked
     18      A Based on my characteristics or classification        18   at. Did you determine any of the epidemiologic studies
     19   of characteristics, movement disorder specialists,        19   used in the meta-analysis by Dr. Wells were unreliable?
     20   received greater weight or emphasis than self-report.     20      A Just to clarify, are you referring to the
     21      Q So you are looking at the relative reliability       21   generally seven?
     22   of those two diagnostic approaches, correct?              22      Q Yes. Start with that.
     23      A Within that grouping in a way, yes.                  23      A I don't believe I drew a conclusion of
     24      Q My question is a little different. With              24   unreliability, nor would I necessarily in a weight of
     25   respect to any of the studies, though, did you look at    25   evidence assessment. I would look at different


                                                                                62 (Pages 242 to 245)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 65 of 128 Page ID #6026
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                   Page 246                                                      Page 248
      1   gradations of weight and quality. There are certainly      1   reference. That is where he is having difficulty
      2   studies of lower quality because of important reasons.     2   answering his question. You're misstating your
      3   But I don't think I used those words that way.             3   question. You know what Dr. Wells' testimony was. So
      4      Q In any of the epidemiologic studies that you          4   I think that is what he is having difficulty with.
      5   included in your meta-analysis, did you review and         5      Q (By Mr. Kennedy) I'm simply asking: Of the
      6   evaluate them and determine any of them were unreliable    6   32 that you identified, do you know of any that Dr.
      7   in what they reported?                                     7   Wells missed in his review?
      8      A In addition to the seven by Dr. Wells, plus           8         MS. REISMAN: Objection to form.
      9   the ones that I -- in that section --                      9         THE WITNESS: Like I said, as I sit here
     10      Q Correct.                                             10   today, I would have to review some type of bibliography
     11      A -- evaluated? No. I don't recall providing a         11   or whatever he discussed in his deposition for a
     12   conclusion using that language.                           12   complete list of whatever he found or thought he found
     13      Q You were critical of Dr. Wells and his search        13   after his report. I haven't memorized any kind of list
     14   methodology for the studies he ultimately reviewed.       14   from him. I don't know. I can't tell you. And I did
     15   Did you look at his review list?                          15   say that.
     16      A To the extent that it was in his whatever            16      Q That is why I am asking for more time. It is
     17   report, declaration, or in his testimony, I likely        17   so simple. As you sit here today, given the
     18   would have, yes.                                          18   limitations you have described, do you know of anything
     19         When you say review list, you mean some kind        19   he missed in his search of the 32 studies that you
     20   of bibliography or citations?                             20   evaluated? Do you know of any? Yes or no, please.
     21      Q Yes. The same as you provided.                       21      A As I sit here today, I am not sure of any he
     22      A I would have when I reviewed it.                     22   missed or he captured. The only way I could answer
     23      Q Your search method as we talked about boiled         23   that is if you showed me a list of articles.
     24   down to 32 studies, correct?                              24      Q You have been provided with a list of
     25         MS. REISMAN: Objection. Form.                       25   articles. It was part of his report.


                                                   Page 247                                                      Page 249
      1         THE WITNESS: Well, I looked at 32                    1          MS. REISMAN: He told you he doesn't know. If
      2   epidemiology studies listed on page 31 of the report.      2   you want to badger him, that is not a basis for more
      3      Q (By Mr. Kennedy) The answer is yes?                   3   time. He says he doesn't know and he would have to
      4      A You say boiled down. Again, we had the three          4   check.
      5   studies and the footnotes. So if you want to get more      5      Q (By Mr. Kennedy) Do you know of any he missed
      6   specific, maybe 29.                                        6   that Breckenridge, Vaccari, Tanga or the EPA evaluated?
      7      Q Let's use the 32. Did Dr. Wells miss any of           7      A I didn't review it in terms of comparing
      8   those 32 studies in his search?                            8   Dr. Wells' list to other meta-analyses or the EPA. So
      9         MS. REISMAN: Objection. Form. Foundation.            9   I don't know.
     10      Q (By Mr. Kennedy) Do you know?                        10      Q Can we agree all of the standards you cite in
     11      A I don't recall. I would have to take a look          11   your report and guidelines that you utilized to
     12   at his bibliography.                                      12   criticize Dr. Wells all relate to systematic review
     13      Q As you sit here today, do you know of any of         13   methodology?
     14   the 32 studies that he missed?                            14      A Would I say all of my criticisms relate to
     15         MS. REISMAN: Objection to form.                     15   that?
     16         THE WITNESS: He certainly did not provide           16      Q All of the criticisms of the methodology of
     17   meta-analytic evidence that he evaluated all of them.     17   Dr. Wells that you outlined in your report, all of
     18   Like I said, as I sit here today, I would have to take    18   those criticisms come from guidelines or standards
     19   a look at his bibliography.                               19   relating to systematic reviews?
     20      Q (By Mr. Kennedy) This is the reason I am             20          MS. REISMAN: Objection to form.
     21   going to ask for more time.                               21          THE WITNESS: Not necessarily. I mean, there
     22         My question is very simple. Do you know of          22   are some data extraction issues. That is not
     23   any studies of the 32 you identified that Dr. Wells, do   23   necessarily a systematic review. That is just a -- as
     24   you know of any? Yes or no?                               24   an epidemiologist reviewing a study. Dr. Wells did not
     25         MS. REISMAN: Listed or not listed in his            25   discuss chance, bias, or confounding on a


                                                                                63 (Pages 246 to 249)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 66 of 128 Page ID #6027
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 250                                                      Page 252
      1   study-by-study basis. That is not systematic review.       1   same.
      2         That is standard epidemiology practice. That         2         Now, if you include a different study or a
      3   was not performed or conducted by Dr. Wells. So the        3   different data point, then I-squared values and
      4   answer would be no. It is not just systematic review       4   P-values for heterogenicity can change.
      5   methodology.                                               5      Q Have you determined the effect on statistical
      6      Q You believe that systematic review is the             6   heterogenicity of adding the Van der Mark study to the
      7   preferred method over narrative reviews; is that true?     7   seven studies Dr. Wells used in his meta-analysis? Yes
      8      A It depends on your objective. In terms of             8   or no?
      9   addressing matters of general causation, then yes.         9      A I have certainly included Van der Mark. We
     10   Systematic review is the preferred method over            10   can look at the various analyses.
     11   narrative reviews.                                        11         MS. REISMAN: He was asking with respect to --
     12      Q Did you determine the statistical                    12   sorry, Eric. In case he didn't hear. He is looking at
     13   heterogeneity in the seven studies Dr. Wells used in      13   his report. I am trying to straighten it out.
     14   his meta-analysis?                                        14         MR. KENNEDY: Fine.
     15      A Did I determine it? To the extent that it was        15         MS. REISMAN: The question is?
     16   reported by him, which I think he did provide some        16      Q (By Mr. Kennedy) Have you determined the
     17   heterogeneity statistics.                                 17   effect on statistical heterogenicity of adding the Van
     18      Q I said did you calculate it?                         18   der Mark study to the seven studies in Dr. Wells'
     19      A Did I -- I replicated his analysis using the         19   meta-analysis? Did you do that calculation, yes or no?
     20   studies and the data that he did. So yes, I would have    20      A I don't believe I added that without making
     21   generated or reviewed it at that time.                    21   other corrections to his analysis.
     22      Q Tell me what score -- what score did you             22      Q Did you determine the effect on statistical
     23   arrive at in your calculation of the heterogenicity of    23   heterogenicity of adding the Elbaz study to
     24   Dr. Wells seven studies. Tell me your I-2 score.          24   Dr. Wells seven studies in his meta-analysis? Did you
     25      A I believe it would have been largely the same.       25   do that calculation?


                                                  Page 251                                                      Page 253
      1   It's not --                                                1      A Not without making other corrections because
      2      Q Will you show me where in your report you             2   it wouldn't make sense to do so because he has -- not
      3   state your calculation of the statistical                  3   without other corrections.
      4   heterogenicity of the seven studies used by Dr. Wells?     4      Q Can you tell me what is your opinion is an
      5   Where is your calculation in your report?                  5   acceptable quantification of statistical
      6      A With all due respect, it is not my                    6   heterogenicity?
      7   calculation. Meaning that I will not produce a             7         MS. REISMAN: Objection. Form.
      8   different I-squared than someone else if you are           8         THE WITNESS: I have no idea what you mean.
      9   evaluating the exact same studies. So I made an effort     9      Q (By Mr. Kennedy) 10 percent? 20 percent? 30
     10   and you can see on page 92, I looked at Dr. Wells'        10   percent? 50 percent? What is the cutoff between
     11   figure and looked at his studies in his summary           11   acceptable and unacceptable?
     12   association. I inputted these same data points that       12         MS. REISMAN: Objection to form.
     13   Dr. Wells did and based on the same data, I arrived at    13         THE WITNESS: Who is saying acceptable or
     14   the same numerical value with the same I-squared          14   unacceptable? That's not my language. That's not how
     15   scores.                                                   15   I express it.
     16      Q What was your I-square score you arrived at?         16      Q (By Mr. Kennedy) Tell me what is the
     17      A It would have been the same. Whatever is             17   significance of 30 percent of statistical
     18   reported here. It looks like zero.                        18   heterogenicity. How would you characterize that? Low?
     19      Q So you reported zero also when you did it?           19   Moderate? High? How would you characterize 30
     20      A I didn't report --                                   20   percent?
     21      Q You didn't report it?                                21      A Are you saying 30 percent in a P-value for
     22      A Okay. What I keep saying is it is the same           22   heterogeneity or an I-squared statistic?
     23   analysis. Meaning if you use the exact same data in a     23      Q I-squared.
     24   random or fixed model, you are going to get the exact     24      A I-squared statistic? 30 percent, it is modest
     25   same I-squared score because the underlying math is the   25   perhaps.


                                                                                64 (Pages 250 to 253)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 67 of 128 Page ID #6028
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 254                                                       Page 256
      1      Q What would you say of 60 percent?                     1      Q (By Mr. Kennedy) Yes or no, please.
      2      A That is ranging to be higher. For statistical         2      A Well, I think that was part of what I said
      3   heterogeneity we are talking about only, yes. That         3   pertaining to his meta-analysis studies that he
      4   would be generally on the higher. Starting to get to       4   included. Which I just read to you, which I believe
      5   the higher range.                                          5   was done inconsistently in his evaluation. But I
      6      Q Can you cite me any guidelines that describe          6   believe that was one of the factors that he discussed.
      7   this low, moderate, high degree of I-squared               7   I just cited to a quote from him.
      8   heterogeneity? What are you referring to or relying        8      Q (By Mr. Kennedy) I have to have an answer to
      9   upon, if anything?                                         9   this question. I am going to ask the special master to
     10      A In terms of -- well, in I-squared for                10   please intervene. I will ask it again.
     11   heterogeneity, is what it is. It is a statistic that's    11         Is it your belief as you sit here today that
     12   generated. Now in numerous textbooks, I may have cited    12   Dr. Wells used Parkinson's disease diagnostic criteria
     13   some here pertaining to meta-analysis. They may           13   or method as an exclusion or inclusion criteria for his
     14   characterize it.                                          14   meta-analysis? Please answer my question.
     15          But typically in epidemiology practice, the        15      A Well, again, my understanding and my
     16   higher the I-squared value, that means there is more      16   recollection -- and I may be not finding it
     17   between study variation. And that correlates with a       17   specifically in my report -- but I read you a quote
     18   lower P-value for heterogeneity, which indicates a        18   where my understanding is he purported limit his
     19   higher degree of between study variation.                 19   meta-analysis to that diagnostic classification of
     20      Q Sir, I asked you about what guidelines. I am         20   evaluations that are articulated.
     21   asking about the guidelines or protocols. Specifically    21         I am not sure if he actually enumerated that
     22   can you identify any?                                     22   particular classification. But again, I would have to
     23      A Again, it is well-known in epidemiology the          23   review this. Review his report. But my recollection
     24   statistic is what it is. Some reports may characterize    24   is that was a factor, at least the diagnostic
     25   it. I have seen some where there may be -- zero to 20     25   methodology for at least some of his meta-analytic


                                                  Page 255                                                       Page 257
      1   percent would be lower. I have seen some 20 to 40          1   models that he created.
      2   would be moderate.                                         2      Q Is the answer to my question you don't know?
      3      Q I want the names.                                     3         MS. REISMAN: Objection. Form.
      4      A I would have to go back and look at various           4      Q (By Mr. Kennedy) You just said it was one of
      5   textbooks. Perhaps some I cited here.                      5   the criteria. I asked you a very different question.
      6      Q Is it your belief Dr. Wells used Parkinson's          6   I asked you -- I will ask you again. I must have an
      7   disease diagnostic criteria or methods as an               7   answer.
      8   exclusion/inclusion criteria in his analysis?              8         Is it your belief that Dr. Wells used PD
      9      A Is it my belief that he used -- I am sorry?           9   diagnostic criteria or method as an exclusion or
     10   Diagnosis?                                                10   inclusion criteria?
     11      Q PD diagnostic criteria or method as an               11         MS. REISMAN: Objection to form.
     12   exclusion/inclusion criteria in his analysis? In his      12         THE WITNESS: Like I said, based on my
     13   meta-analysis?                                            13   recollection -- and I may be misrecalling something at
     14      A I believe in his declaration he purported to         14   the present time -- but my recollection was that he
     15   limit his meta-analysis to in-person evaluations. I       15   considered, I guess the methodology or modality for
     16   believe he said including standardized medical and        16   diagnosis per his inclusion or exclusion criteria in
     17   neurological history and examination by movement          17   some of his meta-analysis models or maybe his overall
     18   disorder specialist.                                      18   meta-analysis model.
     19      Q That wasn't my question. You have reviewed a         19         There may have been other things as well.
     20   lot. You reviewed his testimony. You reviewed his         20   Again, my recollection -- and I may be misrecalling
     21   report. As you sit here today, from everything you        21   that -- is that he included those studies. I don't
     22   have reviewed, it your belief that Dr. Wells used         22   remember seeing, however, a clearly laid out inclusion
     23   Parkinson's disease diagnostic criteria or method as an   23   or exclusion method.
     24   exclusion/inclusion criteria as you sit here today?       24      Q So the answer to my question is you do not
     25         MS. REISMAN: Objection to form.                     25   know?


                                                                                65 (Pages 254 to 257)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 68 of 128 Page ID #6029
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 258                                                       Page 260
      1      A I don't recall a clearly laid out inclusion or        1   he said solely because of that.
      2   exclusion method. I don't know if he had a specific        2      Q Is it your belief that Dr. Wells excluded any
      3   eligibility type of aspect. But I remember that I          3   study that relied upon self-report of Parkinson's
      4   believe at least he discussed some type of diagnostic      4   disease based solely on the fact that the diagnosis was
      5   modalities.                                                5   made because of self-report?
      6         But again, my recollection is that I don't           6      A I don't recall a specific study based solely
      7   remember seeing a clearly laid out inclusion or            7   on self-report as addressed by -- or as, I guess, in
      8   exclusion criteria.                                        8   that capacity by Dr. Wells.
      9      Q So the answer would be you don't know.                9      Q Can we agree that Parkinson's disease
     10         MS. REISMAN: Objection. He just answered            10   diagnostic criteria was one of the factors Dr. Wells
     11   you.                                                      11   utilized to evaluate the quality of the epidemiology
     12         MR. KENNEDY: I am going to ask you, Special         12   studies? Can we agree to that?
     13   Master Ellis, these are important questions.              13      A I cannot agree to that. Dr. Wells did not
     14         MS. REISMAN: He told you that there is no           14   evaluate the quality of any of the studies and he
     15   specific inclusion or exclusion --                        15   admitted to doing that.
     16         MR. KENNEDY: So the answer is he doesn't            16      Q We will stop there. It is your belief that
     17   know?                                                     17   Dr. Wells did not evaluate the quality of any of the
     18         MS. REISMAN: You are asking an assumption.          18   epidemiology studies, is that your testimony that I
     19      Q (By Mr. Kennedy) Let me ask you this                 19   just heard?
     20   question. Is it your belief, as you sit here today,       20      A My understanding --
     21   that Dr. Wells excluded studies from his meta-analysis    21      Q No. I just asked you. Was that the testimony
     22   based solely on the PD diagnostic criteria used in the    22   you just gave accurately restated by me?
     23   study? Is that your belief, yes or no, or I don't         23         MS. REISMAN: That is what he is about to tell
     24   know?                                                     24   you.
     25      A Well, he included -- I am trying to answer           25         THE WITNESS: My understanding -- and I think


                                                  Page 259                                                       Page 261
      1   that the best I can. I am thinking through the various     1   I have cited either on footnote forum or in text
      2   analyses that he --                                        2   forum -- is that he indicated he did not assess bias,
      3         SPECIAL MASTER: Dr. Alexander, this is               3   chance, or confounding. Those are internal validity
      4   painful. And everybody there I am sure is in as much       4   quality assessments. I did not see any summaries of
      5   pain as I am, but you are in the most pain. Can you        5   those factors or study quality parameters for internal
      6   answer the question and then you can explain if you        6   validity.
      7   want to explain. You don't have to explain. But yes,       7         I believe he testified to that, and I don't
      8   no, I don't know. And you can stop there. If               8   recall seeing that in his report.
      9   Mr. Kennedy wants further explanation, he can say why      9      Q Which wasn't my question. Let me get back to
     10   don't you know or further. Because we got to get          10   my question. Can we agree that Parkinson's disease
     11   moving. This is taking way too long.                      11   diagnostic criteria was just one of the factors that
     12         Do you understand what I am asking you to do?       12   Dr. Wells utilized to evaluate the quality of the epi
     13         THE WITNESS: Yes, I hear you. I understand.         13   studies? Can we agree to that, yes or no?
     14         SPECIAL MASTER: Thank you.                          14      A Again, I am not sure if he used that for the
     15         Mr. Kennedy?                                        15   quality of the studies. That is what I am saying. I
     16         MR. KENNEDY: I'm sorry. Yes.                        16   know that he discussed it. I don't recall him saying
     17      Q (By Mr. Kennedy) Let me ask again. Is it             17   for the quality of the study. But I did not see any
     18   your belief as you sit here today that Dr. Wells          18   other quality parameters that he addressed. Beyond
     19   excluded studies from his meta-analysis based solely on   19   that, I can't answer that.
     20   the Parkinson disease diagnostic criteria used in that    20      Q Look at 105. 105. Look at page 104 of
     21   study?                                                    21   Dr. Wells deposition. Question on line 7.
     22      A I don't recall if it was solely because of           22         "Okay. If a study had only self-reported
     23   that. Again, I may indicate that within the report. I     23   Parkinson's disease diagnosis, is that study eligible
     24   would have to take a look at those sections within my     24   for inclusion in your meta-analysis?
     25   report. But as I sit here right now, I don't recall if    25         "Answer: It is not necessarily. Not


                                                                                66 (Pages 258 to 261)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 69 of 128 Page ID #6030
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                   Page 262                                                      Page 264
      1   necessarily. I look at, you know, the other parts of       1      Q Look at page 107.
      2   the study. The other aspects of the study.                 2         "Question: Can you give me a set of rules
      3          "What other aspects of the study did you look       3   that a study would have needed to meet in order to be
      4   at:                                                        4   included in your meta-analysis:
      5          "Answer: How well -- how well was the disease       5         "Answer: So you have to look at the -- you
      6   diagnosed. I look at the analysis, the design. You         6   know, what the case, the assessment of the disease.
      7   know, all aspects of the study."                           7   You look at the assessment of exposure. You look at,
      8          Do you see that?                                    8   you know, were the cases actually cases. Were the
      9       A I do.                                                9   controls selected for the same population. Were they,
     10      Q So when I asked you diagnostic criteria was          10   did they actually have PD. Was it designed well. So
     11   just one of the criteria that he looked at. Didn't he     11   these -- so there is all these features that go into
     12   just testify to that, he looked at other aspects of       12   trying to understand whether it is a good epidemiologic
     13   design. Was that his testimony?                           13   study."
     14       A He said -- I really have no idea what that          14         Can we agree that Dr. Wells looked at criteria
     15   means. He says, you know, all the aspects of the          15   other than diagnostic criteria in assessing the quality
     16   study. That is what he said. I have seen no evidence      16   of the study including what he listed there? Can we
     17   in his report of that type of summary or that type of     17   agree to that?
     18   process. That is what he said here.                       18      A Well, with all due respect, for me to answer
     19      Q That is what he said. Let me ask you: Do you         19   that, can we just complete this where he was asked
     20   think that is not truthful testimony? Are you weighing    20   about those parameters more specifically and he said he
     21   the credibility of that when he says he not only looked   21   took a holistic view, which that is not a method I have
     22   at diagnostic criteria, but he looked at other aspects    22   seen in any peer-reviewed publication or standardized
     23   of design? Are you saying that that is not truthful       23   guideline to evaluate the evidence.
     24   testimony in giving your opinion?                         24         So he says he did those things. I am not
     25       A No. I am not questioning the fact that he           25   talking about his veracity. But he is saying those


                                                   Page 263                                                      Page 265
      1   said those things. My issue with this is show me the       1   things. He was pressed on it. And he said he
      2   evidence because I don't understand what he means by       2   undertook some type of holistic view, which I am not
      3   saying "you know, all the aspects of the study." What      3   sure what that means.
      4   does that mean? The design. Design of what? The            4      Q Did he say he assessed disease? Diagnostic
      5   study design? What went into the study? I am not sure      5   criteria, did he say he assessed that in this statement
      6   what that means.                                           6   on 107 and what we previously read? Did he state that?
      7         I look at the analysis. Does that mean               7      A I'm sorry, the diagnostic criteria?
      8   proportional hazards? Does that mean statistical           8      Q Assessment of the disease. And earlier we
      9   adjustment? I simply don't know by reading these           9   talked about diagnostic criteria. Did he assess those
     10   words.                                                    10   by his testimony?
     11      Q At least from his testimony, he looked at            11      A Again, it says the assessment of disease. I
     12   other aspects of design other than diagnostic criteria.   12   am not sure what that means, but he did say that.
     13   You are not saying that is untruthful, are you? Are       13      Q Did he say he assessed exposure?
     14   you saying that is untruthful?                            14      A Well, he says you have to look at the
     15      A You asked me that and I said I am not                15   assessment of exposure. I am not sure if he's
     16   disputing or talking about the veracity of these words    16   saying --
     17   on this paper.                                            17      Q Do you think he is talking to the lawyer,
     18      Q Look at page 107 of his testimony, if you            18   telling the lawyer she had to look. Or you think he
     19   would. You read his deposition, did you not?              19   was indicating that is something that he would have to
     20      A I would have at some point.                          20   look at? We don't have a lot of time. Did he say he
     21      Q Did you summarize it?                                21   assessed exposure?
     22      A I am sorry?                                          22      A He says you have to look at the assessment of
     23      Q Did you summarize it?                                23   exposure.
     24      A There are some summary elements within my            24      Q Did he say you have to look at the assessment
     25   report.                                                   25   of disease, and are we talking about Parkinson's


                                                                                67 (Pages 262 to 265)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 70 of 128 Page ID #6031
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 266                                                       Page 268
      1   disease, sir?                                              1   definition would be a large volume or all encompassing.
      2      A I would presume Parkinson's disease. That is          2   But again, that is not what is in epidemiology
      3   what he said.                                              3   standards, I can tell you that.
      4      Q Did he say you have to look at whether or not         4      Q (By Mr. Kennedy) The word isn't.
      5   the cases are actually cases, and that would be cases      5      A No.
      6   of Parkinson's disease. Does he say that, sir?             6         MS. REISMAN: Is this a good time for a break?
      7      A I would presume he is referring to PD cases.          7         MR. KENNEDY: Yes.
      8      Q Does he say you have to look at the controls?         8         VIDEOGRAPHER? We are off the record. The
      9   Were the controls selected from the same population,       9   time is 5:26 p.m.
     10   you have to look at that, does he not?                    10         (Off the record.)
     11      A That is there. Yes.                                  11         VIDEOGRAPHER: We are back on the record. The
     12      Q Does he say you have to look and determine           12   time is 5:40 p.m.
     13   whether the study is well designed, does he state that?   13      Q (By Mr. Kennedy) Dr. Kennedy, can you tell me
     14      A It says was it designed well, he says that.          14   from your review of the deposition of Dr. Wells, can
     15      Q You don't doubt the truth of any of these            15   you tell me why the Elbaz studies was excluded from Dr.
     16   statements he gave under oath, do you?                    16   Wells meta-analysis?
     17      A Well, again, I am not questioning the veracity       17      A I am taking a look at my report. You said
     18   of that. That is not something I am doing.                18   from?
     19      Q That is all I asked.                                 19      Q From your review of this case, can you tell me
     20         How does he define holistic view? How do you        20   why Dr. Wells excluded Elbaz from his meta-analysis?
     21   define holistic view? You look it up in the               21         MS. REISMAN: You gave him testimony. You
     22   dictionary?                                               22   want him to go through the transcript?
     23         MS. REISMAN: That is three questions.               23         MR. KENNEDY: I assume he has an opinion as to
     24      Q (By Mr. Kennedy) Does holistic view means you        24   why Dr. Wells excluded Elbaz. If he doesn't know or
     25   looked at all aspects as opposed to focussing on a        25   doesn't have an opinion, that is fine.


                                                  Page 267                                                       Page 269
      1   single aspect of a human being, a study, an entity, a      1          THE WITNESS: I am looking at my report to see
      2   beautiful picture on the wall? A landscape. Holistic       2   if I summarized that. Is there a page number in this
      3   means you are looking at all aspects of something you      3   transcript you could refer me to?
      4   are evaluating by definition.                              4      Q (By Mr. Kennedy) I do not. I am wondering
      5         MS. REISMAN: Objection to form.                      5   whether you have reviewed the deposition and the report
      6         Go ahead.                                            6   and arrived at an opinion as to why Dr. Wells excluded
      7      Q (By Mr. Kennedy) Isn't that what the term             7   Elbaz from his meta-analysis.
      8   holistic means?                                            8          MS. REISMAN: If it is not in his report and
      9      A In terms of holistic for a standardized               9   if he has to review the testimony, would you like him
     10   epidemiology guideline, which is what we are talking      10   to review the testimony? If he thought he knew, that
     11   about here, I have not seen that term used in             11   is all I am asking.
     12   standardized epidemiology guidelines or disease           12          MR. KENNEDY: He can't read the entire thing.
     13   causation assessments.                                    13   Did he review the report and the deposition and
     14         Holistic to me, I don't know. You brought up        14   conclude that he knew why Elbaz was excluded from at
     15   a painting. I am looking at this large landscape          15   meta-analysis? Maybe he didn't. I don't know.
     16   outside this window. Giving me a nice view here. Does     16          THE WITNESS: I don't recall a specific
     17   that mean holistic? I am not sure. In terms of            17   reason. I did review obviously his report. I did
     18   epidemiology in this application, I have no idea what     18   review the deposition. I was just looking in my report
     19   that is.                                                  19   to see if I had some information, and I don't want to
     20      Q Fine.                                                20   speculate. That is why I am wondering if you could
     21         MS. REISMAN: Take a break?                          21   point me to a specific page, and I could give you --
     22      Q (By Mr. Kennedy) Can you give me what your           22          MS. REISMAN: I haven't done this review.
     23   understanding is, the common definition of holistic?      23   There are multiple citations. Do you want him to
     24         MS. REISMAN: Objection to form.                     24   review the transcript? Just because he said he
     25         THE WITNESS: Holistic, I would -- one common        25   reviewed --


                                                                                68 (Pages 266 to 269)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 71 of 128 Page ID #6032
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 270                                                       Page 272
      1          MR. KENNEDY: There is a lot of testimony            1      A That would be incorrect.
      2   about Elbaz. If nothing allowed him to conclude that,      2      Q I didn't ask you --
      3   that is fine.                                              3      A It would not be an appropriate exclusion
      4          MS. REISMAN: I don't think he said he               4   because it would not be correct.
      5   couldn't conclude it. Just said he doesn't recall and      5      Q That is going to be more time.
      6   he would have to review the report.                        6          If he concluded that Elbaz was not studying
      7      Q (By Mr. Kennedy) Are there any statements in          7   Paraquat exposure, can we agree that would be an
      8   your report as to why Elbaz was excluded from the Wells    8   appropriate exclusion?
      9   meta-analysis?                                             9      A I understand what you are asking now. If that
     10          MS. REISMAN: Not whether it is in the              10   was his thought, meaning that Paraquat specifically was
     11   testimony. Just whether it is in his report.              11   not evaluated as the exposure group -- well, you said
     12          MR. KENNEDY: Is it in his report.                  12   appropriate exclusion. He did not provide inclusion
     13          THE WITNESS: I don't recall if it is in the        13   and exclusion criteria. And I was unable to -- despite
     14   report specifically. I would -- in terms of my report.    14   my efforts, unable to follow along. So if he said that
     15   In terms of my report, based on what Dr. Wells would      15   was his exclusion criteria based on his feeling or
     16   have said, I don't recall that specifically. In my        16   belief that that were to be true, then that would be
     17   report, which I am looking at, there are certainly        17   his rationale. My understanding is that that is not
     18   entries within this transcript that I can look at and     18   true.
     19   provide you an overview of why Dr. Wells, perhaps his     19      Q I will ask you again. Listen very carefully.
     20   rationale for excluding it.                               20   If Dr. Wells concluded that Elbaz was not a study of
     21          MS. REISMAN: He wants --                           21   Paraquat, would that be an appropriate exclusion
     22          MR. KENNEDY: I don't want you to review the        22   criteria? Yes or no?
     23   report.                                                   23      A Well, again, I am trying to go back. He
     24          MS. REISMAN: If it is in the report.               24   doesn't articulate inclusion and exclusion criteria.
     25      Q (By Mr. Kennedy) Is it in the report?                25   But if there is a study that does not address Paraquat,


                                                  Page 271                                                       Page 273
      1         MS. REISMAN: There is something in the               1   in my view, in general, and based on my analysis, that
      2   report.                                                    2   would be a reason for exclusion if a study does not in
      3     Q (By Mr. Kennedy) Do you know why he excluded           3   fact evaluate Paraquat.
      4   Elbaz? Is that in your report anywhere?                    4      Q So the answer to my question is a simple yes,
      5     A Again, it may be. I would have to take a               5   true?
      6   break and take a look at the report.                       6         MS. REISMAN: Objection to form.
      7         MS. REISMAN: Do you want him to do that?             7      Q (By Mr. Kennedy) Simple true, it is yes?
      8         THE WITNESS: I would be happy to do it. I            8      A Based on my qualifications, that would be
      9   don't think it should take --                              9   correct.
     10     Q We will come back to it.                              10      Q Look on page 88.
     11     A Well, sure enough. Given a little time.               11      A Of my report or the Wells?
     12     Q Very good.                                            12      Q Your report. Under PD Diagnostic criteria,
     13     A Page 91. It says in the report "Relied on             13   second sentence, middle of the third line. Do you see
     14   ambiguities and exposure and diseases specificity." So    14   that? You are talking about Dr. Wells.
     15   that is what it says there. However, Dr. Elbaz            15      A Okay. I am following with you on the bottom
     16   confirmed cases with an in-person examination by          16   of page 88.
     17   movement disorder specialist to find PD. Identical to     17      Q You state, "He," meaning Wells, "also claimed
     18   the criteria used in Hertzman, which he did include.      18   to exclude one study Van der Mark 2014 because it did
     19         In terms of specificity, there is outcome           19   not require a PD diagnostic exam given by a group of
     20   specificity. And they clearly report relative risk        20   disorder specialists in contrast to the other case
     21   data or odds ratio data for Paraquat specifically.        21   control studies in the meta-analysis." You cite report
     22     Q In Elbaz, if Dr. Wells believed that it was           22   page 15. That would be the Wells report. Page 15,
     23   not a study of Paraquat, assessing the risk and           23   correct?
     24   exposure to Paraquat, would that be an appropriate        24      A That should be, yes.
     25   exclusion?                                                25      Q Do you have that Wells report in front of you?


                                                                                69 (Pages 270 to 273)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 72 of 128 Page ID #6033
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 274                                                       Page 276
      1   Have you looked at that yet? That is Exhibit 101. Do       1   reason -- but in addition in the prior page, on page
      2   you have Exhibit 101?                                      2   87, he also excluded it purportedly because it was a
      3     A Did we pull that out yet?                              3   hospital-based case control study not restricted to
      4     Q My question is: Where on page 15 did Dr.               4   agricultural workers. So I am not saying that's the
      5   Wells state that he excluded Van der Mark based solely     5   only consideration he had. I have two pages in a row
      6   on how the PD cases were identified? Does he state         6   talking about some inconsistencies pertaining to his
      7   that on page 15 of his report?                             7   exclusion of Van der Mark.
      8     A I note here he excluded Van der Mark. I note           8      Q Read me the words on page 15. Read me the
      9   where he discussed the PD diagnostic exam. Was             9   words in his report, if you would, please, that you are
     10   there --                                                  10   referencing.
     11     Q Did you answer my question?                           11      A "This study does not mention the PD diagnostic
     12         MS. REISMAN: He answered it a while ago.            12   criteria. Case identification did not require a PD
     13         THE WITNESS: Yeah, that's why I was asking          13   diagnostic exam given by a movement disorder specialist
     14   you.                                                      14   in contrast to the other case control studies and the
     15         MS. REISMAN: Do you want to have the court          15   meta-analysis that required such a PD diagnostic exam
     16   reporter read it back?                                    16   by a movement disorder specialist."
     17         (Read back.)                                        17      Q Why did you not read the sentence above?
     18     Q (By Mr. Kennedy) Tell me, where does it state         18          MS. REISMAN: He did.
     19   on page 15 that he excluded Van der Mark based upon the   19      Q (By Mr. Kennedy) Once a patient had an
     20   fact that there was not a diagnostic exam given by a      20   initial record of PD diagnosis, one neurologist from
     21   movement disorder specialist? Where does he state that    21   each hospital reviewed the medical files of the
     22   was the reason for exclusion? If you can read me the      22   potential participants. The study does not mention the
     23   words on page 15 that you cite of his report.             23   PD diagnostic criteria, correct? Was that one of the
     24     A The words may not be directly addressing your         24   reasons he excluded?
     25   question. But he said limiting his meta-analysis to       25      A Because it does not mention the PD diagnostic


                                                  Page 275                                                       Page 277
      1   in-person evaluations, including standardized medical      1   criteria?
      2   and neurological history and examination by movement       2      Q Is that one of the reasons?
      3   disorder specialist.                                       3      A It appears that collectively that is one of
      4      Q Page 15?                                              4   the reasons. And there is some other reasons on the
      5      A That is page 17 and 18.                               5   page before.
      6      Q You cited page 15. I am asking you where on           6      Q Thank you.
      7   page 15 does Dr. Wells state that he excluded Van der      7         Can you tell me the diagnostic criteria used
      8   Mark because there was not, as you say, an exam given      8   in the Dhillon study? Dhillon is 107 -- strike that.
      9   by a movement disorder specialist? Where does he state     9         I am not going to do that.
     10   that on page 15 that you cite?                            10         Go to page 94 of your report if you would,
     11      A That appears to be one of the reasons because        11   please. Meta-analysis of occupational Paraquat
     12   of what I just read to you. And because of what he        12   exposure and Parkinson's disease. Do you see that
     13   said in his report, he said it was excluded on page 15.   13   heading?
     14   He talked about the diagnostic issue. That is             14      A I do.
     15   consistent with what he said on page 17 and 18.           15      Q Second paragraph, you state "For illustrative
     16      Q Read me the words on page 15 where he says I         16   purpose only, I have conducted meta-analyses of
     17   am excluding Van der Mark because there was not an exam   17   occupational Paraquat exposure and Parkinson's disease
     18   done by a movement disorder specialist? Read me the       18   using the appropriate methodology. As indicated, the
     19   words Dr. Wells used where he states that, according to   19   current literature is two methodologically and
     20   your report? Where are the words on page 15?              20   analytically heterogeneity to perform a reliable
     21      A Again, it doesn't say it exactly like you are        21   meta-analysis."
     22   asking. He said he excluded Van der Mark. He provides     22         Is that your statement?
     23   reasons. One of which is it does not mention the PD       23      A That is what I wrote in the report.
     24   diagnostic criteria.                                      24      Q Is that equally applicable to the
     25         In addition -- that may not be the sole             25   meta-analysis you performed?


                                                                                70 (Pages 274 to 277)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 73 of 128 Page ID #6034
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 278                                                       Page 280
      1      A That is what I am -- this is a meta-analysis          1   characteristics. But relying upon a summary relative
      2   performed for illustrative purposes only. I am             2   risk to estimate risk in an individual or population,
      3   referring to that overall, I did an illustrative           3   it is not reliable.
      4   meta-analysis in response to what Dr. Wells did. And       4      Q Is your answer Dr. Wells' meta-analysis are
      5   that is the point of what I am saying in terms of at       5   unreliable, but yours are? Is that your answer?
      6   least how he combined studies into an analytical model.    6      A No. The answer is the summary relative risk
      7   It is not reliable. It is not replicable.                  7   produced -- if you are to use those to estimate risk in
      8      Q I need an answer to the question.                     8   a person like Dr. Wells did -- that is completely
      9          MR. KENNEDY: Court Reporter, could you read         9   unreliable. Meaning I would not take my summary
     10   the question back?                                        10   relative risk estimate I produced and reliably say an
     11          (Question read back.)                              11   individual is at risk or not of a disease at this
     12      Q (By Mr. Kennedy) I will repeat it. You state,        12   magnitude. The purpose of my illustrative
     13   "As indicated, the current literature is too              13   meta-analysis was to methodologically show the
     14   methodologically and analytically heterogenous to         14   variability and the inconsistency which I did.
     15   perform a reliable meta-analysis."                        15      Q Let me ask you again. You can answer it yes
     16          Is that statement that you wrote equally           16   or no. You state, "As indicated the current literature
     17   applicable to every meta-analysis that you performed in   17   is too methodologically and analytically heterogenous
     18   this case? Yes or no?                                     18   to perform a reliable meta-analysis." You are talking
     19      A I would say that this represents the overall         19   about the current literature that you reviewed.
     20   state of all the meta-analyses. Meaning the studies       20          You then go on to perform meta-analysis. Is
     21   are too variable in terms of study design to provide a    21   your statement applicable to your meta-analysis for the
     22   reliable association for -- based on what Dr. Wells       22   purposes that you perform them?
     23   did. So this meta-analysis is on the basis or response    23      A As I said, for the summary relative risk
     24   to Dr. Wells inclusion those set of studies overall.      24   estimates generated, yes. Those summary relative risk
     25          So based on that type of analysis of               25   estimates would not be reliable.


                                                  Page 279                                                       Page 281
      1   Dr. Wells, the data overall are unreliable.                1      Q Those are the ones done by Dr. Wells?
      2      Q I need an answer to my question.                      2          MS. REISMAN: Let him finish his sentence.
      3      A I am sorry, just to clarify that. That is the         3          THE WITNESS: No. The ones I generated -- I
      4   point of this exercise. Meaning I am discussing the        4   said this last time. The ones I generated as well,
      5   heterogeneity, the variability, design differences. So     5   they would not be used to estimate risk of disease in
      6   this meta-analysis, again, is in response to that.         6   an individual. So --
      7   That is the point. I am showing you the heterogeneity      7      Q (By Mr. Kennedy) Can you point out the ones
      8   and unreliability of the findings.                         8   in your report that are equally unreliable if you
      9      Q I need an answer to this question. Can you            9   would?
     10   read the whole question back, please.                     10          MS. REISMAN: Objection to form.
     11          I'm going to ask it again. Very clearly.           11   Mischaracterizes the witness' testimony.
     12          You state, "As indicated the current               12          THE WITNESS: That is apples and oranges
     13   literature is too methodologically and analytically       13   compared to what you are saying. Compared to what I
     14   heterogeneous to perform a reliable meta-analysis."       14   did. I explained the reason why I performed these
     15          Is that statement equally applicable to the        15   illustrative meta-analysis. What you are asking is
     16   meta-analysis that you performed in this case? Yes or     16   apples and oranges to what I actually did.
     17   no?                                                       17      Q (By Mr. Kennedy) Can we use your
     18      A It is not with all due respect. Meta-analysis        18   meta-analysis you performed, are they reliable to
     19   can be quite complex. If someone were to rely on -- if    19   estimate the risk of Paraquat in relation to
     20   someone were to rely on a statistically significant       20   Parkinson's disease?
     21   relative risk generated from this analysis, like at       21      A The summary estimates of relative risk
     22   1.88 from Dr. Wells, or any summary relative risk, that   22   generated here, again, are only in response to Dr.
     23   is not a reliable estimate of relative risk. This         23   Wells. That is the only reason why they were
     24   meta-analysis that I performed evaluates                  24   conducted. So I am not saying -- nowhere in here am I
     25   characteristics that are valid subgroup                   25   drawing a conclusion that the association between


                                                                                71 (Pages 278 to 281)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 74 of 128 Page ID #6035
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 282                                                       Page 284
      1   Paraquat exposure and Parkinson Disease is 1.44 with a     1   type of analysis. A very complex interpretation. You
      2   certain confidence interval. I am not doing that.          2   are asking about disease risk, whether it is an
      3   That wasn't the intent or purpose. I am doing an           3   individual or a population.
      4   illustrative meta-analysis in response to what Dr.         4         Again, as an epidemiologist, I am doing my
      5   Wells did. I did not generate the summary statistics       5   best to express epidemiology concepts to you. But with
      6   for that purpose that you are asking.                      6   all due respect, some of the questions you are asking
      7      Q So my statement is correct? We cannot use             7   are not consistent with the application of
      8   your meta-analysis to assess or evaluate the risk of       8   epidemiology.
      9   Paraquat exposure and Parkinson disease? Is that           9         Again, I can say what I did, why I did it for
     10   correct? That is not the purpose of your studies, and     10   the purpose of the reason. Again, I apologize, but
     11   we cannot use them for that purpose; is that true? Yes    11   that is -- at least my reading of your question, that
     12   or no?                                                    12   is the best I can do. I am trying the best I can.
     13      A It is based on the question you are asking, it       13      Q I just don't think he is answering the
     14   is apples and oranges. Again, I keep coming back to       14   question. Let me ask it again.
     15   the purpose. There is summary relative risk. Like I       15         Are you telling us that we can use the results
     16   said, the summary relative risk should not be implied     16   from your meta-analysis to assess and evaluate the risk
     17   to an individual, so they are not reliable estimates of   17   related to exposure to Paraquat and Parkinson's
     18   risk for an individual. But they do give you various      18   disease? Is that what you are saying? Yes or no?
     19   patterns of relative risk based on the set of             19      A Again, that is not necessarily what I am
     20   literature Dr. Wells was looking at.                      20   saying because of the reasons I gave. The purpose of
     21         And when you are taking his set of literature       21   what I did is to take Dr. Wells' body of literature for
     22   and performing -- trying to do proper methodology based   22   illustrative purposes in response to what he did. And
     23   on what he provided, you get those summary relative       23   at least make some proper methodological modifications.
     24   risks. I am comparing the summary relative risk here,     24   Doing this at least in a correct way given his body of
     25   using better methodology than Dr. Wells did. That is      25   literature.


                                                  Page 283                                                       Page 285
      1   the point.                                                 1         When doing so, I have reported the data. And
      2      Q Special Master, I need an answer to this              2   if you are following Dr. Wells' methodology, or lack
      3   question. It is an important question, and I am simply     3   thereof, in doing appropriate methodology with that set
      4   not getting an answer. It is a yes or no question. It      4   of studies, I reported summary relative risk estimates.
      5   is based upon the testimony he gave. The answer, I         5   I am not saying that these should be applied to risk
      6   believe, is obvious, but I absolutely need an answer.      6   estimates for study populations exposed to Paraquat and
      7   If you can assist us please.                               7   Parkinson's disease.
      8          MS. REISMAN: The witness is doing the best he       8         That is, I think, the first your first
      9   can to explain scientific concepts to you.                 9   question. I went back and I discussed that and the
     10          MR. KENNEDY: He is not answering the               10   purpose of it. Now, again, I am looking at the
     11   question. I have asked it five different ways.            11   methodology. I am looking at sources of heterogeneity,
     12          I think the special master maybe has left us.      12   and that is what this is.
     13          MS. REISMAN: Want to take a break and clarify      13      Q Did you just tell us that the purpose of your
     14   what it is there is the difference in?                    14   epidemiology studies were not to assess the risk of
     15          MR. KENNEDY: I don't want to take a break.         15   Paraquat relating to Parkinson disease, and therefore
     16   He said it in the middle of a four-page answer.           16   we cannot use your meta-analysis to assess the risk of
     17      Q (By Mr. Kennedy) My question is very simple.         17   Parkinson disease in relation to -- the risk of
     18   I will ask it one more time.                              18   Paraquat in relation to Parkinson, correct?
     19          Is it accurate that the meta-analysis that you     19         You just told us that, correct? That wasn't
     20   created in this case cannot be used to assess the risk    20   the intention of your studies, and we can't use them to
     21   of Paraquat exposure as it relates to Parkinson           21   assess the risk of Paraquat exposure in relation to
     22   disease; is that correct?                                 22   Parkinson disease. Is that accurate?
     23      A Not necessarily. Again, that is for reasons I        23      A Again, I am sorry. I have to be an honest
     24   expressed to you. And I am sorry it is not a simple       24   epidemiologist. The way you are asking the question
     25   yes or no answer. You are asking about a very complex     25   and the complexity of this type of analysis, it is not


                                                                                72 (Pages 282 to 285)
                            Paszkiewicz Court Reporting
                     (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 75 of 128 Page ID #6036
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 286                                                       Page 288
      1   a straightforward answer. But for the purpose of doing     1   evaluated pertaining to type of exposure. I discuss
      2   this type of assessment, I am generating some summary      2   the fact throughout the report that agricultural
      3   statistics by virtue of creating models you are            3   workers may have a greater understanding of use of
      4   creating summary statistics.                               4   pesticides. Greater knowledge of their application.
      5         Now, the point of this was in response to Dr.        5      Q Stop right there. Can you tell me what is the
      6   Wells. My point was not to say here are summary            6   basis for that statement that agricultural workers are
      7   statistics, and these are the overall risk estimates       7   going to have better recall than -- what did you say,
      8   for Paraquat exposure in the epidemiology studies and      8   occupational workers? What is the basis for that
      9   Parkinson's disease. It is taking Dr. Wells set of         9   statement?
     10   literature, making some improvements on his               10      A I said a better understanding of their use
     11   methodological flaws, and creating the data sets that     11   practices.
     12   you see here.                                             12      Q Okay. What is the basis for that statement,
     13         SPECIAL MASTER: Mr. Kennedy, can we move on?        13   that agricultural workers have a better understanding
     14         MR. KENNEDY: I think he probably said what I        14   of their use practice than occupational workers? What
     15   said.                                                     15   is the basis for that?
     16         MS. REISMAN: I suspect we are at time at            16      A Well, in epidemiology, in reviewing and being
     17   seven hours. If you have a quick topic, I am happy to     17   a trained epidemiologist, individuals train to use
     18   let you finish this topic.                                18   certain products, or in an environment that is what
     19      Q (By Mr. Kennedy) Let me finish this page             19   they do per their job on a daily basis. Typically have
     20   then. You established three different groups for your     20   a greater understanding of their nature of exposure.
     21   synthesis for your analysis, did you not? Paraquat --     21      Q I asked you, cite me the study that says there
     22   agricultural workers, occupational and mixed. Did you     22   is better understanding amongst agricultural workers as
     23   not?                                                      23   opposed to occupational workers who use Paraquat. Cite
     24      A Yes. On page 94, yes.                                24   me any study. I didn't see it anywhere in your report.
     25      Q What is the rationale for this subgrouping?          25      A I would have to take a look at the individual


                                                  Page 287                                                       Page 289
      1   Is it stated anywhere in your report? The rationale        1   study.
      2   for these subgroups?                                       2      Q Do you cite any in your report?
      3       A These are -- these groupings, again, I would         3      A I may cite studies that have said that, yes.
      4   have to take a look and see if -- I think I discuss        4   Regardless of that, on page 94 the three groups, I have
      5   some of those groupings in the report. But these are       5   looked at each and every individual study. That is
      6   groupings based on similar types of studies in terms of    6   just a way to characterize study by similar
      7   it is a way to categorize studies. Grouping the            7   characteristics.
      8   occupational workers together, and those that used         8      Q Have you validated the statement that
      9   Paraquat as part of their occupational use. And then       9   agricultural workers have a better understanding of use
     10   some studies that used it occupationally, and there       10   than occupational workers? Have you validated that
     11   could be some mixed use in terms of residential           11   anywhere, or has any study validated that statement?
     12   application.                                              12      A Studies may have said that. I don't recall a
     13       Q I asked you for your rationale for this             13   specific study.
     14   grouping into these three different groups, what is       14      Q Do you cite any studies that have validated
     15   your rationale? Where is it stated?                       15   that statement?
     16       A The rationale would be to group the studies         16      A I don't recall a specific study. It may be in
     17   based on similar characteristics. Again, I would have     17   my report, or I would have to look at the individual
     18   to take a look and see if I have addressed that or        18   studies to see if that particular aspect was mentioned.
     19   indicated that in other parts. I do think if you -- if    19   But again, this is a way to look at or characterize
     20   you bear with me a second.                                20   studies by more homogenous groupings.
     21       Q It is occupational, agricultural, and mixed.        21         That is something that is typically done by a
     22   What is the rationale for these three different groups    22   study population if you look at the guidelines. This
     23   you have created? Where is your rationale stated?         23   is methodology that is very consistent with the
     24       A Throughout, I think, beginning around 32 and        24   recommended guidelines when performing a systematic
     25   on. I discuss the study population aspects that I         25   evaluation.


                                                                                73 (Pages 286 to 289)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 76 of 128 Page ID #6037
                                         Dominik Alexander, PhD
                                              March 8, 2023
                                                 Page 290                                                       Page 292
      1      Q Has this statement by you been validated, yes        1   one indicating higher study quality. Would be the
      2   or no?                                                    2   incidents studies. Medical records. Physician
      3      A Which statement?                                     3   confirmation. And then exposure based on individual
      4      Q The statement we are talking about.                  4   level. Do you see that?
      5   "Occupational -- agricultural workers have a better       5          MS. REISMAN: First full paragraph?
      6   understanding of use than occupational workers." Has      6          THE WITNESS: I see where you are reading
      7   that, to your knowledge, ever been validated? Yes or      7   from.
      8   no?                                                       8      Q (By Mr. Kennedy) He has tier one and tier two
      9      A I am not sure. I am not sure exactly what you        9   studies according to Breckenridge and his review, true?
     10   mean by validation for that particular statement.        10      A He did tier studies. Two tiers. I believe
     11      Q Thank you. Let me ask the next question.            11   that is correct.
     12   Tell me what other occupations than agricultural use     12      Q And he did a Bradford Hill analysis. Go to
     13   Paraquat? List those for me, please.                     13   page 22. You see this? Page 22, Bradford Hill
     14      A I am sorry?                                         14   analysis?
     15      Q What other occupations, other than                  15      A I am sorry, you said page 22?
     16   agricultural, use Paraquat?                              16          MS. REISMAN: You mean the paragraph? There
     17      A Meaning apply Paraquat?                             17   is a paragraph on 22.
     18      Q Correct.                                            18      Q (By Mr. Kennedy) I will ask you assume.
     19      A I would have to take a look at the individual       19   There is only one tier one study. Do you recall that
     20   occupational studies, but I believe there are            20   only Firestone 2010 was a tier one study in his
     21   individuals who apply Paraquat for -- as an herbicide    21   analysis?
     22   or for weed control.                                     22      A I believe that to be the case.
     23      Q I asked what other occupations. Other than          23      Q If you go to page 22 of Breckenridge where he
     24   agricultural, what other autopsies utilize paraquat?     24   is talking about his Bradford Hill causation analysis.
     25      A In terms of a list of occupations, I am not         25   Do you see that?


                                                 Page 291                                                       Page 293
      1   sure. It is based on the studies, which I could take a    1      A I see that paragraph.
      2   look and go through each of the studies to see if they    2      Q He states, "An assessment of the weight of the
      3   discuss their occupations.                                3   evidence, according to Bradford Hill's viewpoints,
      4          VIDEOGRAPHER: Off the record at 6:22 p.m.          4   indicates there is inadequate basis to draw an
      5          (Off the record.)                                  5   inference of causality between PD and Paraquat use
      6          VIDEOGRAPHER: We are back on the record. The       6   based upon one tier one study." Do you see that?
      7   time is 6:25 p.m.                                         7      A I do.
      8      Q (By Mr. Kennedy) You have reviewed                   8      Q Could we agree that if he only used one tier
      9   Breckenridge, correct, doctor?                            9   one study for his Bradford Hill analysis, that would be
     10      A I have. And I hope everyone doesn't hate me,        10   an inappropriate methodology?
     11   but I haven't memorized it.                              11          MS. REISMAN: Objection. Form.
     12      Q That is all right. If you go to page five.          12          THE WITNESS: Not necessarily because he would
     13   You see that the Breckenridge divided the epi studies    13   have reviewed all of the other studies. In
     14   for his review into two tiers. Tier one and tier two.    14   Breckenridge's view that was the one of higher quality.
     15   Do you see that?                                         15   But all of which would have been considered, and the
     16      A I see that in the second full paragraph.            16   one that had the highest level of quality in
     17      Q And he looked, it looks like, three different       17   Breckenridge's opinion did not support causality.
     18   criteria based on quality and has tier one and tier      18      Q (By Mr. Kennedy) Does he state there that he
     19   two. Do you see that?                                    19   is utilizing only the tier one study in his Bradford
     20          MS. REISMAN: Are you asking whether he sees       20   Hill analysis?
     21   tier one or tier two?                                    21      A He said based upon one tier one study.
     22      Q (By Mr. Kennedy) In the evaluation of               22   However, he would have considered all of the studies.
     23   heterogenicity in the observed association, we           23   That is the one that rose to a tier one study. All
     24   classified all studies for each risk factor to two       24   would have been considered in his assessment. That one
     25   tiers according to their methodological rigger. Tier     25   particular study was the one of better quality and


                                                                               74 (Pages 290 to 293)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 77 of 128 Page ID #6038
                                          Dominik Alexander, PhD
                                               March 8, 2023
                                                  Page 294                                                      Page 296
      1   showed no association. That is the basis of that           1   looking at me it seems like we are not on the same
      2   opinion.                                                   2   page.
      3      Q If Dr. Breckenridge testified that he only            3      Q (By Mr. Kennedy) Are you saying his approach
      4   utilized the single tier one study in his Bradford Hill    4   was appropriate? That is all I am asking. It is very
      5   analysis, would that be an inappropriate methodology --    5   clear.
      6         If Dr. Breckenridge testified that he only           6          He testified I only used a tier one study.
      7   used the single tier one study in his Bradford Hill        7   That was the only one that had tier one quality.
      8   analysis, can we agree that that would be an               8   Therefore, that is the only one I used in my Bradford
      9   inappropriate methodology?                                 9   Hill analysis. Is that appropriate to do it that way
     10      A Not if he considered the other studies that          10   in your opinion?
     11   may have risen to a tier one. So the point is if he       11      A Again, if he is reviewing all studies, like I
     12   was reviewing the study, just like you said, and only     12   said --
     13   one was tier one meaning this is the quality study, the   13      Q He reviewed all the studies.
     14   tier one study, and if that study was not supportive of   14      A He reviewed all studies.
     15   an association                                            15      Q He reviewed all the studies and he said only
     16         -- for the Bradford Hill part of it, if he          16   one is a tier one study. And therefore he only used
     17   reviewed the other studies for the quality assessment,    17   the tier one study in his Bradford Hill analysis,
     18   that is the only study that rose to the level of          18   single study, is that appropriate? He reviewed all the
     19   evidence for a causal assessment. So that would be        19   studies, yes.
     20   appropriate if he evaluated all of the studies. That      20      A Appropriate. It is his methodology that he
     21   is the only study that rose to that level. He drew a      21   followed in the paper. He found one study of higher
     22   conclusion. That would be appropriate because there       22   quality, according to tier one, and he drew a causal
     23   would have been methodology to evaluate the other         23   conclusion. That is appropriate methodology.
     24   studies.                                                  24      Q Using only the tier one study? That is my
     25      Q Let's be clear. If Dr. Breckenridge testified        25   question.


                                                  Page 295                                                      Page 297
      1   only one study met his criteria for tier one, and          1         MS. REISMAN: Asked and answered. You got an
      2   therefore he only used one study in his Bradford Hill      2   answer. You have asked it. Can we be done?
      3   analysis, it would be your opinion that would be           3         MR. KENNEDY: Fine. Yes.
      4   appropriate?                                               4         VIDEOGRAPHER: Before we go off the record,
      5         MS. REISMAN: Objection to form.                      5   the signature is waive or read or sign?
      6         THE WITNESS: His conclusion of lack of               6         MS. REISMAN: We will review and sign.
      7   evidence for causality is appropriate if you are           7         VIDEOGRAPHER: We are off the record. The
      8   relying on one study. One single study does not            8   time is 6:34 p.m.
      9   provide evidence of causation. So consistent with what     9         (Whereupon, the deposition concluded at 6:34
     10   Dr. Breckenridge said, he had one study and he said       10   p.m.)
     11   there is no evidence for causation or something along     11               ****
     12   those lines. That would be -- so you can't get to         12         By signing hereafter, I declare that the
     13   causation with a single observational study.              13   foregoing is true and correct.
     14      Q (By Mr. Kennedy) I am talking about Bradford         14         Executed at ______________ on _____________.
     15   Hill. If Dr. Breckenridge determined there was only       15                    __________________________
     16   one tier one study in his quality review, and therefore   16
     17   he only applied that single tier one study in his         17
     18   Bradford Hill analysis, is it your opinion that that is   18
     19   appropriate?                                              19
     20         MS. REISMAN: Objection to form.                     20
     21         THE WITNESS: It is appropriate to conclude no       21
     22   causation because you would not base causation on one     22
     23   single study. Meaning you would not say there is a        23
     24   causal relationship based on one single study. It is      24
     25   appropriate from that perspective. The way you are        25


                                                                                75 (Pages 294 to 297)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 78 of 128 Page ID #6039
                                         Dominik Alexander, PhD
                                              March 8, 2023
                                                 Page 298
      1         DEPOSITION OFFICER'S CERTIFICATE
      2
      3   STATE OF CALIFORNIA               )
      4                     )
      5   COUNTY OF ORANGE                  )
      6         I, Rebecca A. Harp, hereby certify:
      7         I am a duly qualified Certified Shorthand
      8   Reporter in the State of California, holder of
      9   Certificate Number CSR 11895 issued by the Court
     10   Reporters Board Of California and which is in full
     11   force and effect. (Bus. & Prof. 8016).
     12         I am not financially interested in this action
     13   and am not a relative or employee of any attorney of
     14   the parties, or of any of the parties. (Civ. Proc.
     15   2025.320.
     16         (a) I am authorized to administer oaths or
     17   affirmations pursuant to California Code of Civil
     18   Procedure, section 2093 (b) and prior to being
     19   examined, the witness was first placed under oath or
     20   affirmation by me. (Civ. Proc. 2025.320, 2025.540(a))
     21         I am the deposition officer that
     22   stenographically recorded the testimony in the
     23   foregoing deposition and the foregoing transcript is a
     24   true record of the testimony given. (Civ. Proc.
     25   2025.540(a))


                                                 Page 299
      1         I have not, and shall not, offer or provide
      2   any services or products to any party's attorney or
      3   third party who is financing all or part of the action
      4   without first offering same to all parties or their
      5   attorneys attending the deposition and making same
      6   available at the same time to all parties or their
      7   attorneys. (Civ. Proc. 2025.320 (b))
      8         I shall not provide any service or product
      9   consisting of the deposition officer's notations or
     10   comments regarding the demeanor of any witness,
     11   attorney, or party present at the deposition to any
     12   party or any party's attorney or third party who is
     13   financing all or part of the action, nor shall I
     14   collect any personal identifying information about the
     15   witness as a service or product to be provided to any
     16   party or third party who is financing all or part of
     17   the action. (Civ. Proc. 2025.320(c))
     18
     19     Dated: ___________________, 2023.
     20
     21                   ____________________________
     22
     23
     24
     25


                                                                   76 (Pages 298 to 299)
                           Paszkiewicz Court Reporting
                    (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 79 of 128 Page ID #6040
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                    Page 300

            A            44:25 71:10,12    163:19 190:15       152:14 153:11     agree 113:24
    A-13 201:22          94:14 179:25      194:19 207:14       155:3,16 158:7      129:22 130:1,2
    a.m 1:19 6:3,7       208:23 283:19     246:8 275:25        161:20              130:8,14
      62:18,21 102:1     285:22            276:1             adjustment            131:11 134:6
      102:4            accurately         additional 12:24     152:21 153:3        135:1,14,16,25
    abilities 151:22     159:19 260:22     29:18 32:13         154:16 155:20       136:6 156:3
    ability 218:19     acknowledge         122:19 163:12       156:1,5,14,20       168:17 172:5,7
    able 33:3 63:1       143:5 144:2,15    190:11 216:17       157:1 158:22        172:23,25
      138:16 189:3       144:20            216:25 226:2        159:25 160:3        176:25 179:10
      195:19 204:21    acknowledged        241:10 242:5,7      160:11,14,16        199:9 200:6
      204:23 205:13      56:15 141:11     address 8:4,7,9      263:9               204:20,23
      205:14 217:25      143:19            8:16,19,20,21     adjustments           207:17 216:6
      240:16,18        acknowledge...      9:1 21:23           153:2 154:18        226:7 227:2
      241:12,20          72:18             82:25 90:20         158:24 212:14       243:16 249:10
      242:12 243:3,5   acquisition         108:20 128:5        244:15,17           260:9,12,13
    absolutely           32:17 33:1        137:10 140:21     administer            261:10,13
      147:16 172:1     action 298:12       178:3 195:2         298:16              264:14,17
      232:11 283:6       299:3,13,17       216:4 220:10      administrative        272:7 293:8
    academic 46:21     Actions 1:14        221:3 272:25        23:21 24:1          294:8
      50:23 58:11      activities 23:10   addressed 80:24      80:9              Agreeable 12:7
    academically         39:16 40:23       83:2 134:24       admitted 260:15     agreement
      133:6              41:14 42:4,12     135:24 203:12     admittedly 15:7       13:20 61:24
    acceptable           42:18,22,25       216:2 260:7       adopt 179:17        agricultural
      114:15 124:5,7     55:9,24 60:20     261:18 287:18     adult 226:23          48:24 49:7
      128:7,25 129:3     64:18 80:12      addressing           227:15 230:17       145:19 147:7
      171:15,25          83:12 84:9        250:9 274:24      adversely 126:2       169:3,4 276:4
      206:6,9,21,22    activity 39:16     adjunct 47:7,7,8   advertising 27:2      286:22 287:21
      206:25 207:22      79:23            adjust 134:3         27:4                288:2,6,13,22
      207:25 208:14    actual 44:22,25     135:8 138:19      affect 156:21         289:9 290:5,12
      210:2 253:5,11     92:3 153:16       138:23 139:2      affiliated 46:21      290:16,24
      253:13             154:3 188:12      140:15,16           47:4,5 51:8,22    agriculture 49:3
    accepted 39:25       190:2 240:3       152:16 155:12       52:9                49:5
      171:11 172:4     acute 81:22         155:24 157:4      affiliation 47:14   ahead 18:12
      206:15           adaptation          159:8 189:15        50:21,23 51:11      84:7 147:22
    account 139:10       180:6             205:6               52:19,24            166:8 173:11
      139:14 244:8     add 26:11 32:14    adjusted 94:1,7    affiliations 51:4     234:25 235:1
      244:14             97:12             95:1 134:15       affirmation           267:6
    accounted          added 183:16        153:2,8,14,15       298:20            AHS 163:11
      134:15             194:8,10          153:19,23         affirmations          174:24
    accounting           252:20            154:6 156:12        298:17            air 77:3 203:24
      137:3 244:10     adding 184:21       157:24 159:4      ag 3:3 145:20         204:6
    accurate 10:3        187:16 252:6      159:16,17         age 153:2           al 118:6 119:4
      12:14,16 13:12     252:17,23         160:21 205:25     ago 53:12,15        alcohol 158:19
      17:18 20:21      addition 11:7       206:1 240:22        76:2,4 81:16      Alexander 1:16
      22:23 29:5         13:2,25 118:12   adjusting            85:14 274:12        6:6 7:17 8:3

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 80 of 128 Page ID #6041
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                              Page 301

      31:11 70:17,18  99:20 106:21     159:18 160:7       278:6             261:25 262:5
      71:21 183:12    106:23 108:16    162:2,18 163:4    analytically       264:5,18 273:4
      184:1 219:7     109:3 112:3      163:7,8,16         277:20 278:14     274:11 278:8
      259:3           114:3 126:10     164:13 165:5       279:13 280:17     279:2,9 280:4
    Alexander's 5:8   126:21 135:6     166:23 167:18     analyzed 105:6     280:5,6,15
      5:9,14,15       137:5,6,9        170:10 193:1      analyzing 147:9    283:2,4,5,6,16
    allegation 53:22  138:1,3,5        193:16,17          207:6 208:1       283:25 286:1
    allegations       152:3 154:25     194:9 196:8,14    and/or 84:14       297:2
      80:22,23        156:13 157:20    201:19 202:20     animal 51:2,4     answered 17:10
    alleged 80:20,21  157:20 177:11    203:6 206:7,17     223:11 224:20     58:22 80:6
      81:5,21 87:13   178:9,11,14      206:22 207:25     Ann 9:9 23:1       86:1 105:25
      88:11           194:21 231:7     217:11 218:1,7     24:8,23           106:2 142:3
    allow 42:9        245:1 252:10     218:17,20         annual 45:25       143:17 144:6
      187:18,24       259:2            227:15 228:22     answer 15:19       160:19 214:20
      188:1,3 217:18 analysis 14:7,19  229:7,15,22        18:21 55:19       214:22 215:8
      221:15 225:19   15:1,7,21 16:2   230:5,14           71:5,7 81:10      215:12 236:11
      231:1           16:23,23 71:23   233:13 234:15      84:7 86:2 90:5    236:12 258:10
    allowed 270:2     90:22 94:13      235:12,17,22       90:6 91:2,6,17    274:12 297:1
    allows 218:6      96:19 98:1       236:5,9,15,20      99:9,12 105:23   answering 91:9
    alter 154:17      101:17 103:9     236:22,24          111:1 112:9       237:16 248:2
      156:22          105:7,9,10       237:4,12,14,22     115:16 136:10     283:10 284:13
    ambiguities       107:6 110:14     238:4,6,12,15      136:11,16        answers 124:23
      271:14          111:17 112:25    238:17,19,21       141:15 142:11     213:3,4 237:6
    Amelia 4:8        113:22 114:19    239:7,16           161:25 164:2     anybody 32:13
    amended 10:13     116:8 119:4      240:14 243:8       168:7,23         anymore 75:22
      12:3            120:9,11,17,25   250:19 251:23      175:14,16        anyway 49:14
    amendment         121:2 122:12     252:21 255:8       176:4,8,13        51:12 70:3
      10:7            122:16 123:4,8   255:12 262:6       179:22 180:9      164:8 238:23
    amendments        129:24 130:3     263:7 273:1        182:4,13 183:2   apologize 7:18
      10:15           131:9 133:3      278:25 279:21      185:16 186:10     167:15 284:10
    American 78:21    136:20 137:19    284:1 285:25       190:22 200:11    appear 18:17
      82:1 83:5       137:21,23        286:21 292:12      200:12,15,18      19:14 21:13,17
    amiss 70:14       138:10,13,14     292:14,21,24       205:18,19         21:18 92:18,19
    AML 81:24         138:15 139:7,8   293:9,20 294:5     208:18,21         97:1 99:1
    amount 29:11      139:8,21         294:8 295:3,18     209:14,15,15      165:17 185:4
      30:1,11,23,24   140:19,25        296:9,17           214:18 216:16     185:18 227:22
      31:2,19 32:8    141:12,13,23    analytical 14:24    216:24 218:11    appearances 2:1
      32:10 118:15    141:24 142:6     15:17,22 16:10     220:16 221:6      3:1 4:1 6:23
      177:2           142:13 143:11    18:2 20:6          237:7,11 238:1   appeared 9:24
    amounts 30:3      143:20,24        94:19 95:6         238:2 247:3       21:5 74:10
    amphibole 54:9    145:9,10,20      119:23 149:3       248:22 250:4     Appearing 2:6
    Amstar 201:8      146:11,16        181:18 185:9       256:8,14 257:2    2:13,19 3:13
    analyses 23:17    147:8 151:24     189:7 190:13       257:7,24 258:9    4:4
      29:2 55:13      151:25 153:9     207:16 226:24      258:16,25        appears 18:8,17
      77:23 80:9      153:23 154:9     228:22 229:16      259:6 261:19      19:10,18 29:19

                       Paszkiewicz Court Reporting
                (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 81 of 128 Page ID #6042
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                   Page 302

     73:20 89:18       approach 128:7     arrives 117:20        183:16 190:16 asking 7:19
     120:15 122:9        138:15 202:20    arsenic 83:1          206:12 222:5     18:15 25:18
     153:20 203:11       203:5 206:6,22     87:18 88:5          226:19 245:6     34:9 84:11
     275:11 277:3        207:6 208:1      article 5:10,16       256:20           92:8,12 98:2
    appendix 18:20       296:3              25:25 32:17       articulating       105:21,24
     168:20 182:10     approaches           48:19 49:25         173:2            106:25 108:5
     185:7 188:4         137:12,13,14       50:2,2 66:5       articulation       114:23 125:12
     197:12 221:24       243:11,22          67:8,9,12 69:4      22:5             130:1 138:2
     222:3,6,9         approaching          69:25 71:22       asbestos 45:14     140:7 142:7,16
     225:10              114:14             72:1,5,8,10         45:18,23 53:22   154:8 168:2
    apples 281:12,16   appropriate          73:9,13,17,23       53:24 54:5,6,9   170:7 173:13
     282:14              125:19,22,24       73:25 74:19         63:2,8,13,18     174:7,8 175:22
    applicable           126:4 127:19       89:14 100:19        63:24 64:2       176:15 177:25
     277:24 278:17       128:23,25          100:21 102:7        83:20            184:2 191:4
     279:15 280:21       136:10 171:10      102:19 103:9      ascertainment      200:3 206:18
    application          206:17 207:5       115:13,20,21        131:21           209:5 215:6
     121:5,13,14         219:20 271:24      118:6 141:3,14    asked 17:10        216:22 233:24
     179:19 194:5        272:3,8,12,21      143:14 159:15       21:23 36:14,21   236:7 241:9,16
     198:22 199:20       277:18 285:3       217:16,18,20        49:21 58:21      241:17,19
     204:24 208:5        294:20,22          217:22,24           59:6,8,19,20     242:10 245:9
     210:5,9,15          295:4,7,19,21      218:2,5,9,10        69:10 71:6,9     248:5,16
     215:16 216:3        295:25 296:4,9     218:16 224:5        72:25 75:5       252:11 254:21
     216:13,20           296:18,20,23       239:3               79:11 80:5       258:18 259:12
     217:4,9,15        appropriately      articles 25:15,16     82:25 85:15,25   269:11 272:9
     225:7 240:1         17:25 136:19       26:6,12 33:1        87:20 90:9,16    274:13 275:6
     267:18 284:7      approximately        41:8,16,17          100:2,16         275:22 281:15
     287:12 288:4        62:25              58:17,19 59:19      115:19 116:9     282:6,13
    applications       Arbor 9:9 23:1       59:24,25 65:7       121:17 136:15    283:25 284:2,6
     121:11              24:8,24            65:10,15,23,25      142:2,10         285:24 291:20
    applied 207:14     area 33:7 45:18      74:1,2 96:24        143:16 144:5     296:4
     208:8,10            45:21 54:19        101:6 102:21        145:2 157:10   aspect 63:24
     222:16 223:21       68:6 83:17         222:19,25           160:18 168:7     64:14 134:10
     223:22 224:22       86:6,15 121:4      223:1,13,16         182:1,3,25       141:2 163:20
     231:16 285:5      areas 67:24          224:2,7,12,13       183:10 186:20    189:16 207:7
     295:17              84:15 133:5        226:1,1,14          187:23 203:5     219:17 258:3
    applies 156:23       235:16             248:23,25           208:20 209:12    267:1 289:18
     231:24            arms 49:8,8        articular 45:21       212:14 213:2   aspects 18:2
    apply 14:16        Arnie 50:13        articulate 10:24      214:15,18        49:6 116:6
     201:13 205:20     arrangement          42:10 57:12         236:16,19        178:25 185:21
     215:19 224:1        78:11              58:23 141:2         254:20 257:5,6   190:13 191:7
     290:17,21         arrive 179:23        167:16 272:24       260:21 262:10    192:8 206:15
    appointment          250:23           articulated 12:7      263:15 264:19    230:22 231:5
     47:7              arrived 12:15        12:10,17 28:19      266:19 283:11    262:2,3,7,12
    appreciably          251:13,16          35:9 38:9           287:13 288:21    262:15,22
     154:17 156:21       269:6              54:17 116:13        290:23 297:1,2   263:3,12

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 82 of 128 Page ID #6043
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                    Page 303

      266:25 267:3     assign 203:13,15   attention 16:14     157:12 164:15      258:22 259:19
      287:25             211:25           attenuates          176:22 177:24      260:4,6 270:15
    assert 34:3        assigned 213:4,5     193:18 194:18     184:5,14           272:15 273:1,8
    asserting 53:19    assigning 213:7    attenuation         185:15 186:24      274:5,19
    assess 54:14       assist 24:13,21      173:18            189:17 190:8       278:22,25
      106:13 107:7       283:7            attorney 75:4       219:5 231:14       282:13,19,22
      107:25 109:7     assistance 33:15     298:13 299:2      245:13 255:4       283:5 287:6,17
      109:16 133:12    assistant 24:1       299:11,12         261:9 268:11       291:1,18 292:3
      158:1 211:6      assisted 40:12     attorneys 72:24     271:10 272:23      293:6,21
      212:12 220:7     assists 23:19,20     75:2 76:19        274:16,17          295:24
      239:10,18,22     associate 31:14      299:5,7           278:10,11         baseline 174:25
      241:13 242:12      32:7,16 33:8     attributed 71:23    279:10 282:14     basic 115:9
      242:21,24          35:4 36:9 40:4     193:9             285:9 291:6       basically 117:11
      244:20 261:2     associated 52:9    Austin 76:9        background         basis 16:15 45:8
      265:9 282:8        195:3            author 18:9         53:4 197:25        45:25 125:20
      283:20 284:16    association          33:18 115:25      209:7              125:21 131:11
      285:14,16,21       20:19 21:3         214:14,17        backtrack 209:3     208:12 230:1
    assessed 134:24      38:23 49:19,23     215:8 216:24     badger 249:2        249:2 250:1
      265:4,5,13,21      49:24,25 50:1    author's 217:4     BAGHDADI            278:23 288:6,8
    assessing 220:15     78:15,20 96:3    authorized          2:19               288:12,15,19
      264:15 271:23      98:10 103:10       298:16           ballpark 46:4,14    293:4 294:1
    assessment           104:16 110:6,6   authors 104:25      46:19 63:4,9      Baylen 2:13
      24:13 98:12        111:4 121:6        212:17 213:12     66:13             bear 116:23
      99:8 145:7         136:2,5 146:15     214:24 215:6     ballroom 76:18      211:21 287:20
      168:17,19,25       147:8 151:16       215:20           bar 65:3           beautiful 267:2
      169:7 181:4        151:17 152:4     auto 64:7          BARR 2:12          Beef 78:15,20
      185:12 188:11      154:11 166:17    automobiles        base 205:12        BEG 107:21,22
      189:5 196:4        193:18 194:18      63:25             295:22             107:25 108:6
      203:21,22          227:19 230:10    Automotive         based 16:9 90:11   beginning 33:2
      204:1 211:3        251:12 278:22      63:22             98:8 112:13        33:12,20 34:16
      214:16,19          281:25 291:23    autopsies 290:24    122:10,13          35:4 38:22
      215:8 216:21       294:1,15         available 118:15    125:22 127:1       51:24 120:24
      218:19 226:6     associations         240:18 299:6      128:8 155:9        178:19 190:18
      239:13 240:6       50:4,5 95:23     Avenue 2:7 3:17     161:14 162:13      192:13 287:24
      241:5 243:4        96:1 101:10      average 46:10       176:5 178:22      begun 51:17
      245:25 264:6,7     104:12 157:21      184:15            179:19 180:1      behalf 1:17 2:4
      265:8,11,15,22     158:1,4          aware 156:3         182:21 184:13      3:3,10 6:24 7:5
      265:24 286:2     assume 102:7                           184:20 186:13      7:7 25:16
      293:2,24           268:23 292:18           B            194:11,14,15       53:23 54:3,4
      294:17,19        assumed 72:4       b 298:18 299:7      195:5,7 209:11     54:23 62:22
    assessments        assuming 60:11     back 35:8 58:12     215:10 217:8       63:11 77:8
      179:17 213:19    assumption           62:20 97:18       217:12,13         beings 85:3
      230:11 234:5       258:18             102:3 104:1       219:21 231:6      belief 255:6,9,22
      237:23 261:4     Astrup 50:13         113:9 123:16      233:25 243:18      256:11 257:8
      267:13           attending 299:5      128:18 129:9      251:13 257:12      258:20,23

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 83 of 128 Page ID #6044
                                  Dominik Alexander, PhD
                                       March 8, 2023
                                                                                      Page 304

     259:18 260:2         256:4,6 258:4       12:23 13:19,25      22:10 120:25     bring 179:7
     260:16 272:16        261:7 283:6         225:13 246:20       121:1,3,5,7,9    bringing 98:15
    beliefs 114:22        290:20 292:10       247:12,19           121:17,21        broad 164:7
    believe 8:21 10:5     292:22              248:10              122:24 123:3      198:12
     10:15 11:11        believed 271:22     big 143:9             124:6,10,12,20   broke 31:7
     12:1,23 14:8       Belott 3:17 7:5,5   bill 32:4,5,5 35:1    124:25 125:4     broken 104:25
     16:7 17:1 22:1     benzene 81:19         39:3,4 40:15        127:13,25         226:13,18
     33:14 34:15          81:20,22 83:20    billed 30:24 32:8     128:5 197:11     brought 16:14
     35:18 44:6,19      Benzine 81:18         32:8                198:3 236:2,8     61:7 83:17
     47:10 48:6,12        81:21             biller 39:6           236:16,19,24      87:16 267:14
     48:21 49:13        Bernardo 8:5,21     billing 29:6 32:6     237:1,3,12,14    Bruce 69:4,7
     50:1,3,13 54:9     Berris 2:5            34:23 35:3          237:18 238:3,6    70:16
     59:12,25 68:1      best 9:22 32:21       40:14 41:2,18       238:8,11,15,17   BUCHANAN
     68:23 69:12          46:5,15,20          41:19               238:19,20         2:12
     71:3,17 74:13        47:21 54:14       bills 41:22           239:6 292:12     bucks 32:4,5
     75:1 76:6 77:4       165:14 166:16     biphenyl 80:19        292:13,24        building 8:8 9:1
     78:4 79:5            194:24 195:1,2    bit 28:21 241:8       293:3,9,19        9:4 140:11
     80:16,23 81:15       209:7 237:15      bites 236:17          294:4,7,16       Bus 298:11
     82:16,23 83:7        259:1 283:8       bladder 83:2          295:2,14,18      business 8:23,24
     83:9 85:12           284:5,12,12         85:16 87:17,19      296:8,17          28:18 49:3,5
     87:7,16 92:10      better 186:5          88:2,4             brake 64:1,2       59:23
     102:13,24            187:19 209:23     board 23:12          Brakes 63:22
     105:17 109:18        221:2 282:25        29:2 55:23         braking 63:24            C
     114:1,15 116:7       288:7,10,13,22      298:10             break 49:20       C 2:6
     116:11 121:12        289:9 290:5       body 64:7             53:4 62:16       C-8 67:25 68:9
     124:2,11 126:2       293:25              190:16 196:11       99:25 101:20     CA 2:20
     126:3 133:7        beyond 144:17         203:23 222:5        101:23 176:17    calculate 91:23
     137:25 139:14        145:12 210:14       284:21,24           267:21 268:6       91:25 103:2,15
     140:9,12             241:9,23,25       boiled 233:6          271:6 283:13       104:22 105:15
     141:12,22            242:2,14,15         246:23 247:4        283:15             105:19 230:12
     153:5,22,24          261:18            boilerplate          breakdown 26:3      231:1 243:3,4
     155:5,20 156:5     bias 106:4,5,5,8      17:17,19 18:7       26:16,17 28:19     244:19 250:18
     156:23 164:25        106:14,22         book 60:4,6           44:19 45:12      calculation 98:5
     166:15 173:3         107:2,7 108:1     bottom 40:3           60:19              98:11 99:6
     182:18 183:15        108:7,14,21,24      117:19,21,22       Breckenridge        104:4 239:12
     201:5 205:16         109:7,16            120:23 125:5        5:10 102:12        240:6 241:6,13
     206:3,5,9            118:11 172:15       129:16,20           103:12,13          250:23 251:3,5
     212:25 215:10        172:22 211:2        193:15 228:19       104:3,5,6          251:7 252:19
     219:16,21            213:6,20            273:15              105:16 249:6       252:25
     221:16 225:21        214:21 215:9      bouncing 231:14       291:9,13 292:9   calculations
     228:15 232:25        215:14 239:12     box 8:9 129:16        292:23 294:3,6     96:4,8,10,23
     233:7 234:1          239:14,18,19        129:20 222:9        294:25 295:10      97:6 117:20
     245:23 250:6         240:7 241:22        222:21,22           295:15           California 1:1
     250:25 252:20        249:25 261:2        223:15             Breckenridge's      1:18 2:19 6:1
     255:14,16          bibliography        Bradford 21:22        293:14,17          6:13,21 8:6,22


                         Paszkiewicz Court Reporting
                  (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 84 of 128 Page ID #6045
                                 Dominik Alexander, PhD
                                      March 8, 2023
                                                                                     Page 305

      9:7 235:15         203:7 213:14        213:4,6            137:24,24        characterizati...
      298:3,8,10,17      214:3,8 223:3     Cattleman's          138:9,11           22:24 140:20
    call 68:13 77:5      223:3 225:2         78:15,20           156:11 159:17      150:23
      104:17 124:24      226:23 227:8      causal 21:3 88:6     180:7 182:21     characterize
      184:25             230:16 234:1        147:13 294:19      187:3 199:15       15:5 28:16
    called 68:25         252:12 264:6        295:24 296:22      235:16 244:5       49:4 51:16
      72:13 77:7         268:19 273:20     causality 293:5      282:2 288:18       70:13 79:18
      107:12 127:8       276:3,12,14         293:17 295:7     certainly 15:6       84:22,23
      139:25 162:15      278:18 279:16     causation 19:15      54:18 69:8,24      184:17 253:18
    calling 69:23        283:20 292:22       20:19 21:19,21     106:16 127:14      253:19 254:14
    cancer 49:15,19    case-control          21:23,25 22:10     133:19 161:15      254:24 289:6
      54:10 58:2         110:23              49:19,23 88:16     236:4 237:9        289:19
      83:2 85:16       cases 1:7,11 6:15     88:23,25 89:1      245:6 246:1      chart 11:18,22
      86:23 87:17,19     27:25 44:17         121:1,8,10,18      247:16 252:9       203:17 209:11
      88:2,4             63:2,2 67:14        121:22 122:21      270:17             245:16
    capacity 17:7        130:9,13 131:6      122:24 124:7     certainty 74:18    check 155:2,2
      52:2,17 60:19      131:8,14,22         125:24 126:5,7   Certificate          249:4
      81:18 141:4        170:11 172:5,9      126:9 143:4,24     298:1,9          chemical-spec...
      260:8              172:11,16,24        144:19 145:7     Certified 1:21       203:25
    captured 248:22      173:21,22           145:14 196:14      4:8 298:7        chemicals 229:2
    cardiac 11:3         174:2,2,12,14       197:10 220:7     certify 298:6      Chemistry 82:1
    care 111:9 167:6     175:23,24           220:10,12,15     chair 50:12,14       83:5
      200:5              185:22,23           221:4,6,10         50:16            Chevron 3:10
    career 81:12         186:1,4 192:25      238:19 250:9     chance 249:25        7:4,5 82:2
    carefully 174:10     264:8,8 266:5       267:13 292:24      261:3            Chicago 9:9
      175:3,8 272:19     266:5,5,7           295:9,11,13,22   change 11:2,5        23:2 24:18,24
    Carol 4:8            271:16 274:6        295:22             11:10,11,18      chlorinated 85:2
    case 1:5,9 6:8,8   Castle 211:5        cause 80:21 81:6     12:2 17:22       choose 177:1,19
      6:9,15 12:15     categorical           81:22 87:19,21     20:2 252:4         178:16,18
      12:22 30:25        193:24              87:25 88:2,10    changed 11:3,6     chooses 42:6
      53:24,25 54:5    categories 93:1       88:17,17,19        152:15 153:12    choosing 176:25
      54:11 61:8         93:2 118:12         136:1,5,11,14      155:17             178:15
      67:14,16,18        194:9 212:19      caused 43:12,16    changes 10:12      chose 213:23
      88:1 90:2,11       213:8               43:17 81:21        11:1,24 12:6,9   chronic 11:3
      90:13,18         categorization        87:13 162:20       12:10,12           43:20
      107:15 118:17      194:16            caution 53:17      characteristics    chrysotile 45:15
      121:25 123:11    categorize 194:7      54:13 68:13        112:5,8,15         63:16,17 64:1
      123:13,13          287:7               126:6              127:2 181:14     cigarette 54:8
      125:2,13 128:3   categorized         Center 8:5,22        182:21 183:7       153:2
      128:21,24          118:7 152:17      certain 17:15        194:7 232:10     cigarettes
      130:20 131:1,5   category 11:6,6       20:11 89:11        234:4,9,10         160:25
      131:17,18,21       11:7 28:13          106:6 110:15       235:8 243:18     circumstances
      143:10 174:3       52:8 131:21         111:12 124:20      243:19 279:25      86:19 87:2,9
      185:23 199:2,6     148:10,12           127:1 133:18       280:1 287:17       111:12 113:5
      200:8,12 201:4     152:5 205:5         135:6 137:22       289:7            citations 22:5

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 85 of 128 Page ID #6046
                                 Dominik Alexander, PhD
                                      March 8, 2023
                                                                                     Page 306

      246:20 269:23    classified 172:16     138:24 139:3,6      186:18 187:3,4     299:10
    cite 38:10,14        174:21 213:8        139:16,17           190:6,7,9        commercial
      107:5 238:16       213:12 215:15       140:13              191:10,22          137:1
      238:20 239:5       291:24            colinearity         combination        common 39:16
      249:10 254:6     classify 172:11       132:5,8,21,23       51:3 90:3,7        85:6 126:21,24
      273:21 274:23    classifying           132:25 133:21       93:10,12           126:25 151:12
      275:10 288:21      184:19              134:7,16,22       combine 26:13        267:23,25
      288:23 289:2,3   clear 34:17 73:8      135:7,15          combined           commonly 127:2
      289:14             91:5 153:13,15      136:20 137:14       181:23 183:1,3     132:22 163:14
    cited 17:2,11        172:20 181:12       137:17 138:4,7      183:8,17,21,23     206:4
      66:25 67:4         230:10,13           139:11,21,24        187:11 195:10    communicate
      127:14 189:10      236:15 294:25       140:4,6,10,18       196:3,4 229:1      162:17
      225:13 226:5       296:5               140:21,24           278:6            communicating
      228:15 231:7     clearly 69:17       collaborated        combining            165:18
      234:15,16,19       124:16 147:10       58:1                171:6,8 230:25   communicatio...
      235:7,25           170:21 171:1      collaborating       come 25:11           34:3
      238:10,11,25       225:14 257:22       29:1                26:19 28:4       comp 170:25
      254:12 255:5       258:1,7 271:20    collaboration         36:1 37:10,17    companies 79:1
      256:7 261:1        279:11              48:23 59:3          43:20 44:11        79:2,6
      275:6            Cleveland 2:7       colleague 66:2        66:6 83:4 92:1   company 8:11
    citing 202:16      client 57:1,6       collect 242:12,21     92:3 93:8          8:13,15 9:6
      239:1              59:11               299:14              109:24,25          22:24 23:7,18
    City 3:7           clients 61:3        collected 22:16       110:3 131:16       25:8 26:8,14
    Civ 298:14,20        66:16,18          collection 33:2       131:17 180:10      26:23,24 27:11
      298:24 299:7     clinical 88:19        177:21              201:8 222:12       28:5,7,17 46:9
      299:17             198:14,23         collectively          224:20 249:18      46:10 64:16
    Civil 298:17       close 122:1           277:3               271:10             65:16 77:7
    CIVMS 1:9          co-author 61:21     Colorado 46:23      comes 25:9,14        78:7 79:10,14
    claimed 273:17     co-variants           50:24 51:8,23       26:1 49:12         82:20,22 84:4
    clarification        160:10              51:23 52:1,4,9      92:20 94:20        86:3
      21:17 26:20      coccyx 137:1          52:20,22          coming 59:11       comparative
      88:17 160:7      Cochran 201:7       colorectal 58:2       177:24 225:12      244:25
      245:12           Code 298:17           86:23               282:14           compare 146:23
    clarify 14:15      cohort 110:25       column 11:10,10     commencing           149:23 171:14
      77:18 231:5        123:1,8 124:15      152:9 170:19        1:19               185:3,17,21
      232:21 233:11      128:20 162:12       170:20 183:2      comment 14:3         186:15 187:11
      245:20 279:3       225:2 226:23        183:17 185:20       14:20 61:18,20     189:13 190:21
      283:13             227:8 230:16        185:25 186:19       64:18 99:17        196:5
    classification     cohorts 128:2,2       186:25 193:25       118:25           compared 169:9
      173:16 174:20      145:20,21           195:24 196:10     commentary           174:13 175:24
      228:10 243:18      213:15              196:10,15,18        122:14 220:24      186:5 281:13
      256:19,22        colinear 132:13       211:2 212:6,7       223:11             281:13
    classifications      132:18,24           212:9             commented          compares
      137:24 174:24      133:14 135:2      columns 33:18         159:24             148:15 173:22
      174:24             136:1,5 138:20      34:18 184:15      comments           comparing

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 86 of 128 Page ID #6047
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                   Page 307

      150:11,16,25     concept 17:21      confidence           144:13 171:15      40:24 56:9
      151:3 174:19       17:22 132:6,7      17:23 118:5        171:25 181:10      65:1 120:8
      186:20 249:7       139:22 140:8       149:5,9,15,16      184:11 189:11      129:3 190:17
      282:24             240:20             149:23 168:11      206:3 207:5        275:15 284:7
    comparison         concepts 17:20       168:14 212:11      236:2,8,23         289:23 295:9
      11:4 145:16,24     20:2 22:5          212:11 213:18      237:3,12,13      consisting 299:9
      146:8 148:11       201:9 283:9        230:12 282:2       238:3            constitutes
      150:4,6,9,10       284:5            confident          considerable         144:24 145:1
      150:14,20        concerned 65:17      214:16,19          203:8            consult 64:23
      151:2,9,18,19    concerns 49:14       215:7 216:23     consideration      consultant 25:10
      154:18 174:18      126:13,14        confidentiality      121:15 127:6       68:8 77:9
      176:5 182:25     conclude 88:1,2      53:18 54:15        128:23 141:7,9     86:17
    comparisons          98:20 187:24       68:11              144:24 145:1     consulting 23:10
      89:11 147:19       188:1,17         confirmation         197:10 234:14      23:16 24:14
      147:19,20          195:10 269:14      292:3              276:5              28:12,22,23
    compelling           270:2,5 295:21   confirmed          considerations       55:14 64:12
      147:13           concluded 87:11      133:23 271:16      121:9 124:20       86:16,24
    compensated          88:9,25 241:6    conflate 126:7       201:23 202:6     cont 3:1 4:1
      86:4               272:6,20 297:9   confounder           207:17 208:5     contain 104:2
    compensation       conclusion           204:13,21          208:15           contained 71:1
      85:20              49:16 50:6         205:14           considered 13:1      72:17 73:4
    complete 12:14       99:6,11,21       confounders          15:21 16:3         96:24
      12:20 29:5         194:13 244:7       204:14,22          17:3 118:3       content 35:6
      218:14 248:12      245:23 246:12      205:7 244:8        120:1,6 124:17     61:25
      264:19             281:25 294:22    confounding          125:19 137:18    contents 18:5,7
    completely           295:6 296:23       137:17 191:14      141:19,20          19:22
      94:14 280:8      conclusions          192:16,17,19       142:5,16         context 17:13
    completeness         179:23 180:11      196:19 206:15      143:15,21,23       188:12 206:11
      216:10             194:10 215:22      212:14 240:12      144:2,3,8,9,15   continue 34:5
    completion 13:1    conditional          240:15,17          144:15,18          183:16 200:4
    complex 42:16        157:25             241:6,14           145:7,8,10,13      228:13
      151:24,25        conditions           242:13,22          190:7 213:19     Contra 1:3 6:13
      279:19 283:25      180:13,16          243:5 244:10       215:14 228:20    contractors 9:14
      284:1            conduct 96:13        244:12,14          229:14 230:3       9:15,17 22:23
    complexity         conducted 55:10      249:25 261:3       233:20 236:5       23:1,2 24:8,17
      285:25             95:19 165:5      confused 30:15       237:17,21          24:23,24 25:6
    composite            250:3 277:16       101:14             238:5 257:15     contractual
      197:14             281:24           confusion            293:15,22,24       61:23 62:9
    compound 81:9      conducting           101:21             294:10           contrast 273:20
    comprehensive        134:21           consider 134:6     considering          276:14
      163:11 226:22    conference           134:23 138:12      125:24 126:5     control 88:18
    computational...     38:23 73:2         141:17 142:1,8     144:20 213:16      121:25 123:13
      169:11             107:18,19          142:17,19,24     consistency 18:1     125:2,13 128:3
    computer 40:19     conferences          143:1,2,3,4,8      137:8              128:21,24
      42:6               23:15 69:11        143:10,11        consistent 24:15     131:18 136:19

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 87 of 128 Page ID #6048
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                                 Page 308

      138:4 139:20     56:20              215:14 217:2     count 124:13       credibility
      140:17,19,24   correct 8:12         221:21 222:11      195:13 197:2       262:21
      198:14,23        13:24 15:14        222:19,21,22       234:21,23,24     criteria 5:18
      199:6 200:8,13   16:19 17:9         223:1,4,13,16      235:2              121:17 127:13
      204:13,14,15     18:16,21 24:19     228:8,14,17      counting 29:7        129:17 130:23
      204:21,22        25:24 27:5         229:2,7 233:24     235:6              178:2,23
      205:14 206:15    30:4 31:12,15      234:8 235:1      country 113:15       191:15,24
      214:4,9 225:2    31:16,25 32:14     238:22 241:11    County 1:3 6:13      192:2,24
      226:23 227:8     32:15 35:5         242:8 243:22       298:5              193:10 196:7
      230:16 242:13    38:8 44:14         244:16 246:10    couple 9:23          196:21,25
      242:22,24        45:3 47:23,25      246:24 272:4       10:17 29:8         197:2 198:6,7
      243:5 244:9,12   53:1 54:3          273:9,23           48:13 89:21        201:25 202:3
      273:21 276:3     55:15 59:17        276:23 282:7       171:17 196:16      204:24 215:17
      276:14 290:22    69:1,19 70:8       282:10 283:22    course 44:15,21      219:9,15
    controlled         70:18 77:6         284:24 285:18      44:24 45:1,2       221:12,20
      123:11 140:17    84:20 85:17        285:19 290:18      45:18 51:18        222:1,24
      199:2            88:13 89:8         291:9 292:11       218:9              223:18,25
    controlling        92:24 93:3,14      297:13           court 1:1,7 6:11     224:22,23
      137:13,15        94:10 102:23     corrections          6:12,18,18,19      225:19,20
    controls 11:3      114:9 115:7        252:21 253:1,3     7:2,9,11 9:24      226:9,10,12
      123:13 213:14    118:22 120:12    correctly 81:16      208:19 274:15      227:3,6 228:3
      264:9 266:8,9    120:14,18,25       102:17 174:22      278:9 298:9        228:13 229:20
    conventions        121:8 122:3,8      213:1 244:11     covariables          230:6,8 231:12
      76:24            122:12 123:20    correlate 81:3       133:9              231:16,23
    conversations      125:8 127:9,17     98:22            create 19:12         243:9 255:7,8
      27:11            128:13 136:12    correlated           33:25 41:18        255:11,12,23
    coordinated        147:19 148:17      132:10 134:3       42:2,9,15,20       255:24 256:12
      1:14 6:25        148:18 152:23      135:9 136:24       45:3 65:6          256:13 257:5,9
    Coordination       153:4 156:16       138:9 140:4        136:25 177:11      257:10,16
      1:9 6:14         161:23 162:3       155:13 157:5     created 21:7         258:8,22
    Copenhagen         162:21 163:24      159:22 161:20      34:6 44:14,16      259:20 260:10
      47:1,2,9,15,23   164:2 166:16     correlates           70:15 94:19        261:11 262:10
      48:20 50:10      167:7 169:24       254:17             134:14 161:7       262:11,22
    copies 10:7        170:9,17,24      correlation          162:14 203:11      263:12 264:14
      29:25            172:18 173:15      60:11 137:3        257:1 283:20       264:15 265:5,7
    copy 10:3,11       178:10 180:19      139:15 140:5       287:23             265:9 271:18
      11:19 29:5       185:19 186:14      140:11           creates 41:18        272:13,15,22
    corporate 25:24    186:16,17        corresponds          46:10              272:24 273:12
    corporation        187:15 188:6       34:12            creating 56:24       275:24 276:12
      25:17 54:24      189:22 194:12    Costa 1:3 6:13       137:2,3 286:3      276:23 277:1,7
      57:13 58:18      194:25 195:1     Council 82:1         286:4,11           291:18 295:1
      80:4             195:10 197:20      83:5             creation 25:14     critical 246:13
    corporations       199:4 202:7,25   counsel 73:18        25:25 33:21      criticisms 116:5
      26:7,13 27:7     204:4 210:1,10     74:13              67:1               116:9 249:14
      28:11 56:9,14    211:10 215:1,9   Counselors 6:22    credence 187:7       249:16,18

                       Paszkiewicz Court Reporting
                (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 88 of 128 Page ID #6049
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                                Page 309

    criticize 249:12  37:19 38:11,15    230:12             213:5,16           45:21
    criticized 207:3  40:13,25 89:18   dated 10:2,4        214:20 215:9      der 91:18,20,24
    critique 116:3    89:23 92:6,9      299:19             215:13 216:24      92:2,17,18
    Crop 3:4          92:12,13,21,23   dates 53:11         216:25 228:6       93:1,9 94:7,13
    cross-check       93:5,5,19,22     DAVID 2:6          definition 267:4    94:16,20,22
      36:16,22        96:10 99:17      Davis 9:13 23:5     267:23 268:1       148:14 252:6,9
    cross-sectional   122:18 124:16     23:24             degreasing 85:7     252:18 273:18
      131:2,18        124:17,18        day 3:12,16 24:3   degree 23:20        274:5,8,19
      213:15 227:8    145:8,10          24:6,7 35:1,2      24:10 240:17       275:7,17,22
      230:16          146:10 149:9      38:3 39:2,5        254:7,19           276:7
    crosses 131:20    153:5,16 154:3    40:16 244:21      DEJULIUS 3:13      describe 147:2
      131:23 180:21   154:10,23        days 29:7 148:13   delved 137:10       189:22 254:6
      180:22 181:1    155:23 156:18     152:18            demarcation        described 160:1
      203:13,15       156:25 159:3     deal 117:6,8        205:9              179:21 203:9
      211:13,15,17    159:21 161:8      128:20            demeanor            248:18
      211:20          163:15 165:13    Dean 8:3            299:10            description
    crowd 76:20       167:11 174:1     Debra 3:17 7:5     department          40:24 41:6,15
    crucial 238:25    175:15 176:5,9   decedents           50:9,11,12         189:2 190:1
    crude 243:2       176:13,14         131:13             51:1,6            descriptive 20:6
    CSR 298:9         178:24 192:22    decent 63:3        depend 114:24       40:8 234:4,10
    cumulative        196:12 203:24    decided 171:12      114:25,25          235:8
      148:4,6 157:22  222:25 224:13    decision 163:23    dependent 79:21    design 33:19
      196:13,17       228:25 230:11    declaration 16:8   depending 19:13     112:4 126:19
    current 29:6      231:1 239:17      17:3 246:17        38:3 51:3          131:19 161:18
      277:19 278:13   239:22,24         255:14             244:13             177:8 195:13
      279:12 280:16   240:4,4,9,14     declare 297:12     depends 161:16      195:19 230:16
      280:19          240:18,21        defendant 3:10      179:14 198:8       245:2 262:6,13
    curriculum        241:1,2,5,13      63:11              198:12 208:4       262:23 263:4,4
      51:18           241:15,17,21     defendants 3:3      250:8              263:5,12
    cut 241:9         242:3,5,6,7,9     60:13 64:13,22    deposed 45:24       278:21 279:5
    cutoff 253:10     242:12,17,21      64:22             deposition 1:16    designed 220:10
    CV 18:18 19:7     243:1 244:1,18   defense 27:8        5:11 6:6,20        221:3 264:10
                      249:22 250:20     63:14 64:25        7:20 9:20          266:13,14
            D         251:12,13,23      65:3 68:25         14:13,14,17       designs 110:15
    D.C 3:18          252:3 271:21      69:18,22 70:6      16:8,17,21         191:6
    daily 24:5        271:21 279:1      70:11,22 72:6      17:3 34:4         despite 272:13
     288:19           285:1 286:11      72:6,13,17         44:18 45:22       destroyed 75:21
    dairy 77:16,20   data-driven        73:10,12,18        46:16 91:1        detail 169:6
     77:24            220:25 221:2,9    74:3,20 75:2,7     248:11 261:21      244:15
    dandy 65:20      database 89:22    define 25:1         263:19 268:14     detailed 118:14
    Danish 48:25      89:24 222:17      161:16 204:7,8     269:5,13,18       determination
    darn 91:8         224:19 243:6      220:21 266:20      297:9 298:1,21     97:23 162:2
    data 5:15 14:4,7 date 6:6 29:7      266:21             298:23 299:5,9     163:21 196:8
     14:7,8,19 15:7   35:7 36:5        defined 203:22      299:11             219:23 244:1
     16:24 36:23,25   39:11 40:14      definitely 213:3   depositions         245:10

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 89 of 128 Page ID #6050
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                   Page 310

    determine 90:2       276:25 277:7       179:11,22,23       79:2,15 80:1,3     147:12,14
      106:21 107:1     diagram 214:6,8      180:11,14,24       84:3,4 85:10       172:3 195:4
      107:25 152:4       217:13 221:25      185:6,8 190:11     86:8,14,21         202:7,13 205:8
      177:6,10           222:4              191:13,23,23       87:4 274:24        206:8,24
      178:11 188:17    dialogue 20:10       191:24 192:23    disagree 130:8       227:16 228:24
      189:25 215:20      20:13 21:9         193:10 198:7       131:11 150:23      229:1,25
      216:11,18          74:7               198:17,20        disappear 136:2      230:15,17
      217:1 239:11     dictionary           199:1,3,9,11       136:6              243:9 244:3
      239:13,17          266:22             199:14,16,21     discarded 75:21      255:7,23
      240:14,17        dictyomas            199:21 200:6,7   discipline 18:3      256:12 259:20
      241:21 243:8       173:17             200:9,13         disclose 53:17       260:4,9 261:10
      243:10 245:18    die 85:8             201:10,11,15     disclosed 56:23      261:23 262:5
      246:6 250:12     Diego 1:18 6:1       202:9 211:10       57:20 66:5         264:6 265:4,8
      250:15 252:22      6:21 8:5,22        211:11 212:18    disconnect           265:11,25
      266:12           dies 85:11           230:22 239:23      101:3 154:22       266:1,2,6
    determined         dietary 48:6,9       243:11,24          154:23             267:12 277:12
      252:5,16         difference 49:22     245:25 251:8     discuss 73:3,15      277:17 280:11
      295:15             145:22 146:3       252:2,3 257:5      116:6 117:2        281:5,20 282:1
    Detroit 2:7          146:17,19          283:11 286:20      123:2 188:8        282:9 283:22
    device 73:2          149:11 232:14      287:14,22          190:9 191:6,6      284:2,18 285:7
    Dhillon 242:23       283:14             291:17             191:8 192:11       285:15,17,22
      277:8,8          differences        differential         192:16 208:11      286:9
    diabetes 80:25       175:1 179:18       172:15,21          249:25 287:4     diseases 271:14
    diagnosed 262:6      198:13,22,25       173:3,6            287:25 288:1     disorder 243:19
    diagnosing           279:5            differentiating      291:3              255:18 271:17
      244:2            different 32:2,3     126:17 220:2     discussed 69:11      273:20 274:21
    diagnosis 81:23      33:18 43:23      differently          73:2 113:13        275:3,9,18
      154:12 216:23      49:21 62:5         42:10 86:3         122:20 123:7       276:13,16
      255:10 257:16      77:21 81:17        145:5 180:25       141:4 192:8      dispute 206:16
      260:4 261:23       93:2 95:6 97:4   difficult 73:19      199:24 205:11      206:17
      276:20             97:10 108:3      difficulty 248:1     207:14 245:7     disputing
    diagnostic 243:9     110:7,10,13        248:4              248:11 256:6       263:16
      243:22 255:7       112:5,8,15       Dioxin 81:1,1,2      258:4 261:16     disrespect
      255:11,23          113:1 118:4        81:7,11,16         274:9 285:9        139:22
      256:12,19,24       126:10 132:20      83:20            discusses 123:1    disseminate
      257:9 258:4,22     132:20 133:5,6   direct 26:5        discussing 279:4     69:18
      259:20 260:10      137:7 139:8,15     60:11 61:8       discussion         disseminated
      261:11 262:10      139:16,17,22       79:6 82:21         162:25 208:25      70:11
      262:22 263:12      146:6 148:17       160:6 225:7      disease 11:3       distinction 27:3
      264:15 265:4,7     148:18 149:1,2   directing 176:9      40:9,13 41:1       83:25 84:5,8
      265:9 273:12       149:3,8,9        direction 34:18      43:6,9,13,20     District 1:7,7
      273:19 274:9       153:9 154:24       37:3,8 40:22       44:5 83:2 96:2     6:10,11
      274:20 275:14      155:7,8 162:7      147:9              110:21 111:6     divide 71:22
      275:24 276:11      177:11,19        directly 25:9        129:18,23        divided 291:13
      276:13,15,23       178:14 179:3       66:23 78:17,21     130:4,14         dock 208:2

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 90 of 128 Page ID #6051
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                  Page 311

     209:15,17          284:4,24 285:1     246:13 247:7     due 30:10,16,21     155:17 156:20
    doctor 27:18        285:3 286:1        247:23 248:3,6    31:2 121:12      educational
     54:13 91:6        DOLES 2:13          249:8,12,17,24    177:25 236:22      156:20
     102:5 129:11      dollar 30:3         250:3,13,24       239:15,20        EEG 232:17
     291:9             Dominic 8:3         251:4,10,13       240:19 251:6     effect 88:10,17
    doctoral 51:13     Dominik 1:16        252:7,18,24       264:18 279:18      88:18,20 121:1
    document 1:7,13     6:6 70:17,18       255:6,22          284:6              122:14 125:20
     5:18 18:19         71:21              256:12 257:8     duly 298:7          156:22 252:5
     71:17,18 72:19    dose 147:19,25      258:21 259:3     DuPont 82:1,13      252:17,22
     73:7 74:14         148:3 191:13       259:18 260:2,8   duration 118:13     298:11
     90:15,24 205:1     195:23 196:9       260:10,13,17      147:18,20        effects 44:8
     207:13,23          196:15             261:12,21         148:1,8 157:22     136:20 137:13
     208:10,11         dose-response       264:14 268:13     160:8,23,24        137:16,16
     210:4,6,9,13       147:11 192:25      268:14,15,20      196:12             138:4 139:20
     218:3,13          double 30:9,10      268:24 269:6     duties 23:21        140:24 154:17
    documentation       46:3,19            270:15,19                          effort 38:19 39:9
     190:14            doubled 30:4,8      271:15,22               E            104:14 140:3
    documented         doubt 59:17,21      272:20 273:14    E 2:6               251:9
     207:11             60:7 266:15        274:4 275:7,19   earlier 7:18      efforts 272:14
    documents 13:3     Douglas 66:15       278:4,22,24        26:18 28:20     Egger's 108:12
     206:11 207:18     Dow 81:25 82:9      279:1,22 280:4     52:13 70:24       108:13,15,17
    doing 14:21 29:2   Dr 5:7,8,9,11,14    280:8 281:1,22     86:20 87:3      eight 213:15
     29:2 33:24         5:15 7:17 13:4     282:4,20,25        105:1 122:15    either 16:7 17:6
     35:24 36:10        13:5,6,6,14,14     284:21 285:2       136:23 167:16     40:6,6 62:6
     37:6,21 40:20      13:15,16 14:16     286:5,9 294:3      234:15 265:8      66:2 78:12,17
     43:14 51:20        14:17 16:7,15      294:6,25         early 31:10         78:21 79:25
     58:14 64:8         17:13 27:16,22     295:10,15        easier 157:12       80:2 111:17
     65:19,21 69:11     28:2,15,17        drafting 111:11   East 3:6            133:12 172:22
     80:8,9 84:1        50:13 61:9,11     drafts 34:3       easy 195:23         261:1
     91:8 92:25         61:21,25 62:7     draw 99:11        ecological        Elbaz 148:11
     112:22,24          62:22 66:8,10      244:7 293:4        131:19            149:25 171:24
     115:2 120:24       66:12 67:2,14     drawing 281:25    edited 11:23        252:23 268:15
     122:12 131:10      95:18 102:8       drew 194:10       edition 70:22       268:20,24
     133:2 138:8        103:21 105:14      245:23 294:21      73:9              269:7,14 270:2
     139:8 150:4,6      109:1,20           296:22           editorial 23:12     270:8 271:4,15
     150:8,18,19        119:15,16,22      DRI 27:4 69:10      23:21 29:2        271:22 272:6
     151:1 155:2        121:12 123:25      74:23 75:12        36:15 55:23       272:20
     172:17,19          124:11 140:9       76:1,8,11,24       223:11          electronic 226:3
     189:2 191:3        141:6,9,11        drinking 83:1     editorials        elements 205:22
     209:7,23           161:7 165:9,12     88:5               224:21            210:16 263:24
     219:15,20          183:12 184:1      Drive 1:18 6:21   editors 106:12    eleven 30:21
     226:20 228:11      194:2,17 207:3     8:5              education         eligibility 258:3
     237:15 244:15      207:10 219:7      drop 97:15          152:14 153:4    eligible 261:23
     260:15 266:18      244:19 245:17     drops 151:6         153:11,24       Elijah 4:12 6:17
     282:2,3 283:8      245:19 246:8      drug 198:14         154:16 155:4    Ellis 3:5 4:6

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 91 of 128 Page ID #6052
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                   Page 312

      208:17,25          208:10 213:8     epidemiologic...     198:11,16,18       19:24 20:16
      258:13             269:12             92:25 185:24       198:24 199:11      21:5,8,13,24
    embedded 71:3      entirely 149:2       228:9              200:21 202:2       22:9
      231:8            entirety 205:10    epidemiologist       206:7 221:10     establish 49:18
    emphasis 243:20    entities 56:22       23:8,9 28:8,10     226:17,24        established 86:5
    employed 8:11      entity 59:2,5,13     42:17 43:9,14      231:6 237:16       133:23 135:7
      58:1,3 78:5        267:1              43:21 56:1         237:17 247:2       151:12 162:9
    employee 22:22     entries 40:17        57:21 65:9         250:2 254:15       162:10 173:5
      56:2,4 57:18       41:5 42:13         66:1 74:22         254:23 260:11      180:15 198:1
      57:22 59:7         93:11 270:18       201:13 205:1,2     260:18 267:10      199:20,23
      65:16,22 66:6    entry 33:14          237:16 249:24      267:12,18          286:20
      78:13 79:14,20     36:18 38:25        284:4 285:24       268:2 284:5,8    estimate 9:22
      80:7,11 84:4       40:11,24 41:2      288:17             285:14 286:8       46:5,15 63:4,9
      85:19 86:7         80:17 89:19      epidemiologists      288:16             66:13 110:16
      298:13             91:22 103:17       107:9 179:3,6    Epistat 64:10,10     117:25 118:3
    employees 9:6,8      103:19 104:7       179:7,11,23        64:11 65:2,4       123:7 155:25
      9:12,18,19       enumerate            180:10,24          65:11,14,22        156:23 157:24
      22:25 23:3,4       90:10              189:11 198:2,6     66:6 75:24         172:2 279:23
      24:23,25         enumerated           199:3,10,15        78:6,12            280:2,7,10
    employer 78:18       198:20 256:21      200:7,14         equal 184:24         281:5,19
      78:22            environment        epidemiology       equally 184:16     estimated
    employment           288:18             12:17 14:24        185:14 193:1,3     121:24
      56:2             environmental        15:17,18,22        193:8 277:24     estimates 106:7
    encompassing         24:11,12           16:10,16 18:2      278:16 279:15      111:5 118:4
      268:1              157:25 158:7       19:9,12,23         281:8              134:2 135:2,5
    engaged 36:24        158:10,14,16       20:2,25 23:9     equation 176:7       135:8,14,22
      83:21,22 84:1      158:19,20          23:14 33:6,6     equipped 221:2       136:8 152:15
      84:16              160:3,12,17        35:19 40:8         221:3              153:12 155:18
    engagement         EPA 5:18             41:6,15 44:11    Eric 2:6 6:24        156:22 280:24
      46:25 77:19        180:18 181:10      46:18 48:6,9       7:17 62:22         280:25 281:21
      84:10              201:19 203:10      51:5 54:19         91:8 106:2         282:17 285:4,6
    engagements          249:6,8            55:9 63:16         129:11 144:8       286:7
      51:17 78:4       epi 36:11 129:23     64:11 69:25        151:20 175:10    estimating
      86:6               179:5 203:6        74:2 83:1          252:12             110:20 111:5
    Engel 233:4          206:24 208:1       86:25 88:22      errors 133:4,8     et 118:6 119:4
    engineers 60:18      244:18 261:12      103:14 111:22      133:17,25        Europe 48:24
    English 142:17       291:13             129:17 130:12      135:3,4,16,23    evaluate 131:13
      222:15,18        epidemiologic        130:15,19,23       139:13             131:14 133:11
    entail 28:24         19:21 20:5         130:25 131:7     escaping 51:7        133:12 137:7
    entails 75:10        33:3 36:8,25       132:19 140:7     especially           180:7 185:23
    enterprise 77:22     37:1 39:13         148:16 151:11      118:16             191:24 198:10
    entire 67:22         43:5 49:18         162:11 179:13    ESQ 2:6,13,18        199:4,10,16
      72:21 193:6        201:22 210:3       179:24 180:12      2:19 3:6,12,13     200:7,14
      195:18 197:14      245:3,15,18        180:25 192:9       3:17               202:21 203:6
      204:18 207:23      246:4 264:12       197:10,25        essentially 12:6     207:13 208:15

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 92 of 128 Page ID #6053
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                    Page 313

      210:2 212:9        140:8,10 143:3     41:5 57:25         131:4,6 218:4       90:17 91:19
      214:18 221:6       144:18 147:13      58:24 59:1         224:3,7,12,13       115:5,6,10
      227:10 241:22      184:25 188:11      75:23 89:9         233:9 270:20        116:10,17
      242:21 244:25      189:5 197:13       94:21 97:12,17     275:17              152:8 157:11
      246:6 260:11       236:5,21 237:2     99:17 106:16     exclusion 129:17      157:18 198:5
      260:14,17          237:18,19,23       106:24 133:2       130:3,23            201:16 274:1,2
      261:12 264:23      238:6 239:1        134:4,13 138:8     178:23 222:24     EXHIBITS 5:5
      273:3 282:8        245:25 247:17      138:11 139:1,9     223:18,25         exist 107:1
      284:16 294:23      262:16 263:2       149:13,25          224:23 225:18       140:18 176:14
    evaluated 84:14      264:23 293:3       180:19,23          225:18,20           240:5
      93:20 132:20       294:19 295:7,9     185:22 188:14      226:9,10 227:3    existed 103:8
      184:8 186:1        295:11             189:15 192:10      227:6 228:3         140:8 239:18
      196:17 227:9     evidence' 70:21      224:20 229:17      229:4,19 230:7      241:6
      243:8 246:11     evidentiary          229:17,20          231:12,16,23      existence 88:25
      247:17 248:20      228:21 229:6       230:8,24 231:2     256:13 257:9        106:22 107:2
      249:6 272:11       229:15,21          235:21,24          257:16,23           239:19 240:6
      288:1 294:20       230:4 233:13       238:24             258:2,8,15          240:17 241:14
    evaluates 147:6      233:23 234:15    examples 22:2        271:25 272:3,8      241:22
      279:24           exact 26:3,17        192:22 198:22      272:12,13,15      exists 64:17
    evaluating 70:21     53:11 67:16        228:23 229:7       272:21,24           242:10
      72:12 104:15       251:9,23,24        231:19,22,22       273:2 274:22      expenses 76:23
      140:10 161:18    exactly 9:22         232:11,12          276:7             experience
      198:18 200:21      29:24 46:24      Excel 89:23        exclusion/incl...     113:8
      225:15 227:16      50:8 62:11       exclude 127:1        222:1 228:13      experienced
      230:14,23          130:10 142:20      223:18 229:21      255:8,12,24         180:10
      251:9 267:4        142:25 153:18      273:18           exclusive 41:14     expert 19:11
    evaluation 14:23     187:13 189:23    excluded 122:6       95:5 194:22         20:11 56:5,6
      131:2 163:11       208:9 221:18       122:13 129:21      237:21              67:13,15 81:8
      185:22 191:5       229:8 239:21       131:9 223:4,6    excuse 16:23          81:14 201:19
      193:24 197:13      241:19 275:21      223:8,12           42:7 95:12        explain 29:10
      201:25 202:2,7     290:9              227:12,20          117:7 150:5         39:22 118:20
      202:12 208:7     exam 273:19          228:21 229:6       160:15 204:7        118:25 154:24
      209:10 212:6       274:9,20 275:8     229:14 230:4       227:4               183:13 188:3,5
      225:3 230:19       275:17 276:13      232:13,23        Executed 297:14       190:17 193:14
      241:20 256:5       276:15             233:3,9,18,23    Executive 1:18        226:9,11 227:3
      289:25 291:22    examination          234:2 258:21       6:21                228:2 259:6,7
    evaluations          7:15 243:16        259:19 260:2     exercise 279:4        259:7 283:9
      255:15 256:20      255:17 271:16      268:15,20,24     exhibit 4:13 10:1   explained 91:10
      275:1              275:2              269:6,14 270:8     10:2,7,12,13        186:18 228:4
    evasion 208:4      examined             271:3 274:5,8      11:1,25 12:11       281:14
    everybody 151:6      152:10,13          274:19 275:7       12:13 13:9        explanation
      151:17 198:5       153:10 155:16      275:13,22          18:4 29:4,5,21      111:18,21
      259:4              298:19             276:2,24           30:2 31:11          259:9
    evidence 49:18     example 13:4       excluding 119:4      68:19,20 70:15    explanations
      72:12 128:17       14:1 29:21         129:22 130:15      89:15,16,18         100:4

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 93 of 128 Page ID #6054
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                                 Page 314

    explicitly 112:6   145:18,22,23     197:24 206:12      128:5,23 153:8    feature 135:24
      195:12           146:4,4,14,15    241:3 245:6        186:5 196:13      features 264:11
    exploration        146:17 147:6     283:24             256:24 291:24     feeling 272:15
      112:7            147:10,12,14   expressing         factors 115:1       feet 9:3
    explore 112:4,14   147:25 148:4,6   115:2 182:19       128:10 132:9      female 80:24
      177:11 178:13    148:6,13 151:5 expression           134:3 135:9       few-minute 53:4
    Exponent 14:1,4    151:13,17        130:6              137:2 139:6,9     fiber 63:19
      14:6,18 15:2,5   157:22 158:15 extend 145:12         155:24 156:13     fifth 11:7
      15:12,21 16:1    168:17,18,25     221:22             157:25 158:8      figure 119:11
      16:12,23 55:1    169:5,7,8,10   extent 16:3 17:5     158:10,14,16         120:17,20
      55:4,8,15,22     169:12 172:6     35:16 36:20        158:19,21            122:3,4,5,7,22
      56:3,5,7,11,20   172:10,13,21     74:5 106:13,15     159:4,8,17           123:6,17,19,21
      56:25 57:1,4,5   172:24 173:17    106:21 107:1       160:3,5,12,17        125:10,14,15
      57:6,9,11,13     173:21,23        144:2,4 227:9      160:23 161:17        127:20,23
      57:18,22,23,24   174:6,8,13,15    242:10 246:16      161:20,22            147:23 148:8
      58:1,3,4,9,10    175:24,25        250:15             162:6,8,9,15         149:15 150:3,6
      58:14,17,18,20   178:4 195:3    external 208:15      164:4 181:4          150:9 165:7
      58:24 59:1,5,7   196:13,17        242:5              182:9,22             166:9 189:3,3
      59:11,13,15,16   202:11 203:21 externally 240:5      184:25 187:7         197:19 209:24
      59:18,23 60:6    203:22,25      extra 11:19          189:7,11 190:9       214:10,13
      60:10,13,16,17   212:12 213:18    140:3 208:19       191:13 192:19        217:13,13
      60:21 61:2,10    214:16,19      extract 93:22        194:3 202:9          251:11
      61:12,19,24      215:7 234:5      94:25              206:12 212:14     figures 35:17
      62:7,10 78:5     240:10 242:7   extracted 37:20      222:4 227:9,11       90:4,8,23,23
      78:12            264:7 265:13     38:20 94:9         227:19 256:6         106:17
    expose 73:19       265:15,21,23     95:7,9             260:10 261:5      file 153:21
    exposed 85:3       271:14,24      extracting 36:25     261:11            files 215:25
      118:8 146:12     272:7,11         37:8             failure 242:13         216:9 217:7
      152:18 192:25    277:12,17      extraction 34:22     242:22,24            276:21
      227:17 230:15    282:1,9 283:21   36:16,22,23        243:4             fill 29:25 176:10
      285:6            284:17 285:21    37:4 38:11,15    fairly 60:17        filtered 222:14
    exposure 13:21     286:8 288:1,20   93:19 249:22     fall 39:16 223:10      222:24 226:14
      84:17 85:6       292:3          eyeball 151:19     falls 28:12         filtering 222:18
      87:20 88:1     exposures 63:16                     familiar 60:10      filters 222:16
      92:10,13,22      88:5,11 89:2           F            62:9 116:21          223:21,22
      93:2,4 94:2,8    97:19 105:5    F 3:13               132:6,7 211:23    final 11:6 144:18
      94:18,20 95:2    118:17 134:4   fact 12:5 100:4    far 21:12 22:16        182:15,17,17
      95:8,10,11       134:20 135:9     127:14 162:10      118:4 169:8          183:20,24
      96:2,7,20        138:18 151:7     163:6,22 209:3   fare 77:3              195:19 196:3
      97:14 103:8,22 express 17:2       239:11,14        farming 157:23         196:23 197:2,5
      110:22 111:6     112:2,23 145:4   260:4 262:25       160:25               228:12,14
      113:12 114:25    253:15 284:5     273:3 274:20     fashion 71:22       finally 11:9
      118:13,15,16   expressed 87:3,9   288:2              91:3 114:15       financially
      119:1 137:7      90:4 103:21    factor 43:17       fault 161:23           298:12
      145:16,17,17     114:1 167:2      120:4 127:24     faulty 73:19        financing 299:3

                       Paszkiewicz Court Reporting
                (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 94 of 128 Page ID #6055
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                   Page 315

      299:13,16          251:24           footnotes 190:10     176:3 177:23       143:13 212:18
    find 96:7 116:25   fixed-effects        191:9 247:5        181:11 182:3       213:13,23
      117:14 124:4       141:24 142:13    force 298:11         182:16 190:4       235:25
      128:6 241:5        143:20           foregoing            191:1,16,19      four-page
      271:17           FL 2:14              297:13 298:23      193:2 195:21       283:16
    finding 143:23     flaws 286:11         298:23             197:4,21         four-year 46:25
      147:10 168:12    Floor 2:7          foremost 89:24       202:15 203:1     fourth 11:6
      256:16           flow 221:25        forest 35:25         220:8,17 221:7   framework
    findings 279:8       222:3              194:20             236:10,25          198:25 208:6
    fine 10:10         focus 24:12 51:5   form 15:3,15         240:8 246:25       209:9 210:16
      127:21 193:14      57:3 116:18        16:5,25 18:11      247:9,15 248:8     230:18
      210:18 252:14      123:10 235:22      26:15 34:2,14      249:20 253:7     Francisco 2:20
      267:20 268:25    focused 14:23        35:13 36:2,12      253:12 255:25    free 85:22
      270:3 297:3        39:7,8             37:12 38:18        257:3,11 267:5   frequency
    finish 281:2       focussing 226:22     43:7 56:12         267:24 273:6       118:14 148:5
      286:18,19          266:25             58:21 60:4,15      281:10 293:11      196:12
    finished 46:24     folks 9:10 22:22     60:24 61:4         295:5,20         fresh 77:2
    finishing 55:19      24:2,20 48:19      63:18 64:15      formal 243:3       friction 63:22
    Firestone          follow 198:2         68:4 69:20       formatting         front 11:18 12:3
      149:25 186:1,4     199:21 219:21      70:9 71:6,24       23:21 33:15        40:18 42:5
      242:11,18          244:22 272:14      76:16 79:4         35:17              273:25
      292:20           followed 130:11      80:5 83:23       former 28:5,7      full 8:2 30:1
    firm 31:25 32:2      180:3 194:17       84:6,21 85:4     formula 86:10        52:25 72:23
      64:12 68:22        230:19 296:21      85:25 87:23        86:11,13           201:21 218:8
      70:16            following 147:4      97:2,24 99:14    formulate 16:15      218:11,15
    firms 32:4           179:15 189:8       110:11 111:23    forth 164:15         224:2,5,6,12
    first 18:18,22       193:16 239:15      112:18 113:23      189:8 245:13       224:12 226:13
      31:12 55:21        273:15 285:2       114:6,10         forum 261:1,2        226:15,16
      59:24 66:14      follows 234:8        118:23 120:3     found 88:9           291:16 292:5
      71:11 87:18      foot 31:8 233:11     120:19 129:25      181:10 222:18      298:10
      89:24 100:21     footnote 11:9,13     130:5,17           229:13 248:12    full-time 24:23
      102:10,17          11:14,19,20,22     131:25 134:9       248:12 296:21      24:25 25:1
      104:9 111:3        11:23 95:13,13     135:18 136:13    foundation         fully 156:3
      124:9 126:6        95:15 96:5         141:18 142:2       15:18,23 60:15     230:23
      135:19 146:21      97:5,7 101:1,2     142:10 143:16      60:24 61:4       fundamental
      199:13 207:8       101:5 102:6,23     144:5 147:21       67:20 68:4         219:17
      216:7 285:8,8      103:7,18 104:8     154:1,20           69:20 70:9       funded 48:22
      292:5 298:19       164:14,15          155:22 158:11      76:16 118:23       56:19 78:16,22
      299:4              167:9,12           158:12,25          120:3 142:21     funding 48:23
    five 44:15 46:11     215:10 228:1,2     159:10,13          192:9 247:9        56:22 57:19
      53:11 153:7,8      228:3,4,5          160:18 162:4     foundational         66:4
      183:11 219:1       231:18,20,21       162:22 163:2       162:24           funnel 107:12,13
      235:25 283:11      232:22,24          165:21 166:2     four 47:3,22         107:15,17,19
      291:12             233:9,12,17        168:3 171:16       52:11 62:24      funny 27:3
    fixed 141:13         261:1              173:24 175:19      63:7 75:13       Furlong 235:9

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 95 of 128 Page ID #6056
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                                  Page 316

    further 171:18     171:1            gleam 218:6          119:3 221:20       201:8
      183:13 216:5,8 generating         global 143:12        232:7            graded 180:15
      259:9,10         286:2            go 8:17 18:12      going 10:23,25       180:18 205:4
                     genetic 132:19       19:6 24:5,6        11:21 12:4         243:14
            G        genotype 137:22      27:4 40:17         18:10 31:24      graduate 51:14
    gap 176:11         138:11             41:24 42:22        32:1,9,13        grant 56:15 59:2
    Garabrant        genotypes            58:12 62:25        58:12 62:15        59:3,12 61:22
      27:16,19,20,22   137:24,25          84:7 89:13         63:5 67:6          66:4,5 77:20
      28:2,15,17       138:9              95:12 97:18        70:14 94:25        79:19,21,23
      66:8           getting 53:3,6       98:17 104:1        95:13 98:17        82:23 85:13
    garage 64:8        77:4 166:4,6       105:1,2 113:9      99:2 102:16        87:7
    garbage 70:20      209:4,22 283:4     116:15,25          104:1,17         grants 58:7,8,8,9
      72:11          give 7:12 10:11      117:5,13,14,24     116:18 123:16      78:1,2,10,19
    gather 217:25      23:11 46:8,14      120:16,23          128:18 135:10      86:18 87:1
    gathering 75:12    47:14 57:25        128:10 134:10      136:15 149:12    granular 224:25
    gender 112:25      63:5 68:10         136:9,11,14,17     157:12 164:15      227:11
      113:15           72:25 75:5         143:7 144:17       172:7,25         graphical 114:5
    general 19:9,12    76:10 90:24        147:1,22 152:8     177:21 179:19    graphically
      19:14 21:18,21   115:8 119:22       158:9 164:24       180:5 184:5,14     107:13 149:4
      21:23,24 22:10   119:23 131:20      165:14 166:8       185:15 186:11      166:11,14
      33:11 88:22,25   131:21,23          173:7,11 178:2     186:24 190:8     graphs 35:23
      89:1 121:10,18   137:12 149:13      189:1,17,21        200:3 208:22     great 244:15
      121:19,22        181:20 182:2,7     206:10 208:24      208:24 209:1     greater 225:3
      168:21,22        182:13,15          209:23 210:19      218:24 219:9       243:20 288:3,4
      175:22 186:3     183:3,20 196:6     210:25 214:1       221:13 223:19      288:20
      194:15 221:3     209:16 210:1       222:6,21           225:23 226:13    group 11:4
      221:10 223:8     228:23 229:7       223:15,15          226:20 227:1       48:25,25 49:1
      238:19 250:9     229:20 238:2       224:1,22,23        231:10 238:1       75:1 82:23,24
      273:1            264:2 267:22       225:6,19           245:13 247:21      117:9 138:17
    generally 18:20    269:21 282:18      228:12 234:2,3     251:24 256:9       138:18 148:15
      43:21 65:24    given 18:11          234:22,25          258:12 272:5       148:17,18
      107:13 245:21    62:24 72:6         235:1 255:4        277:9 279:11       151:10,10
      254:4            99:23 120:18       264:11 267:6       288:7              177:1 225:12
    generate 97:10     130:6 131:12       268:22 272:23    Goldman 235:9        225:12,23
      97:16 110:15     142:18 187:7       277:10 280:20    good 65:20 91:9      234:7 243:16
      136:8 178:6      245:2,2 248:17     291:2,12           91:11 179:3,6      272:11 273:19
      282:5            271:11 273:19      292:12,23          180:10 204:14      287:16
    generated 95:6     274:20 275:8       297:4              204:15,22        grouping 234:11
      124:17 170:20    276:13 284:24    goal 177:13          264:12 268:6       234:13 243:23
      194:8 222:13     298:24             178:17             271:12             287:7,14
      250:21 254:12 gives 118:5         goals 176:25       Grab 210:21        groupings 287:3
      279:21 280:24    119:13 186:2       177:14,21        gradations           287:5,6 289:20
      281:3,4,22     giving 119:14,15     178:15             246:1            groups 48:24
    generates          262:24 267:16    goes 17:17 24:2    grade 179:4,8,12     244:9 286:20
      151:24,25      glad 30:19           38:3 70:6          180:24 182:2,7     287:14,22

                       Paszkiewicz Court Reporting
                (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 96 of 128 Page ID #6057
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                   Page 317

     289:4              291:10              126:3,15,18,19     254:2,4,5,16     home 43:24 64:9
    guess 35:17 78:9   hazard 109:23        177:2,4,7,8,8      254:19 292:1     Homer 69:6
     130:7 243:12       110:2,9,24          177:12,14,22       293:14 296:21    homes 9:10
     257:15 260:7       111:10 169:23       178:8,12,14      highest 94:2,8     homogenous
    guidance 187:8      170:18,20,23        250:13,17          95:1,1,9          289:20
     189:8 198:25       171:7,8,24          253:22 254:3,8     146:14 147:6,9   honest 179:3,6
     199:14 219:18      192:11,11,15        254:11,18          178:17 293:16     285:23
    guidances          hazards 110:18       277:20 279:5,7   highlighted        hope 291:10
     198:17             137:1 140:1         285:11             231:18           hopefully 7:22
    guideline 264:23    161:19 170:17     heterogeneous      highly 134:15       7:25 231:5
     267:10             171:12 172:1        279:14             138:9 161:20     hopping 170:3
    guidelines 194:4    192:12 263:8      heterogenicity     Hill 21:22 22:10   hospital 276:21
     249:11,18         head 51:6 77:2       250:23 251:4       120:25 121:1,4   hospital-based
     254:6,20,21        89:13 141:5         252:4,6,17,23      121:5,7,9,17      276:3
     267:12 289:22      201:8               253:6,18           121:21 122:24    hotel 76:18,23
     289:24            heading 37:17        291:23             123:3 124:6,10    77:3
                        277:13            heterogenous         124:12,20,25     hour 183:10
            H          health 24:11,12      278:14 280:17      125:4 127:13      218:24
    hair 85:8,11        24:12 49:14       high 87:21,24        127:25 128:5     hourly 25:3,5
    half 29:11,12,19    77:12 169:4         93:3 118:21        197:11 198:3     hours 7:19 25:1
     29:25 30:25       hear 7:24 59:20      135:3,7,15,24      236:3,9,16,19     31:17,18 32:7
     127:23             183:14 252:12       145:17,23          236:24 237:2,4    33:8 34:12
    hand 221:1          259:13              146:4,10,23        237:12,14,18      38:6 39:11
     226:1             heard 59:17,22       148:10,12,15       238:4,6,8,12      40:9 91:1
    handed 209:5        65:3 200:20         148:21 149:17      238:15,17,19      208:20,22,24
    hands 218:14        201:2 260:19        150:5,8 151:10     238:20 239:7      209:19 286:17
    Hannah 9:13        heart 83:2           152:5 180:18       292:12,13,24     HR 94:1 169:17
     23:5,24           help 30:15 126:8     180:20 184:20      293:9,20 294:4    191:14
    happen 106:6        176:10 207:2        202:9 203:22       294:7,16 295:2   human 85:3
     132:19             231:5               203:24 204:2,6     295:15,18         222:14,18
    happened 75:20     helped 55:20         204:8,9,14,24      296:9,17          267:1
     165:16            helpful 30:17        205:4 213:5,20   Hill's 293:3       humans 60:22
    happens 140:6       31:6,7,8            215:14 253:19    hire 27:8          hung 209:4
    happy 73:3,15      herbicide 81:4       254:7            hired 19:11 44:2   hydrocarbon
     98:23 101:18       290:21            high-exposure        55:17 67:14       85:2
     208:11 271:8      herbicides           145:20 146:18    history 46:16
     286:17             157:23 158:2,5    high-level 87:18     67:22 255:17             I
    hard 115:11        Hertzman 11:4      high-low 145:16      275:2            I-2 250:24
    harm 80:20          234:20,20         higher 98:10       hold 27:10 197:4   I-square 251:16
     88:11              242:11,19,20        151:5,7,13,21    holder 298:8       I-squared 251:8
    harmonious          271:18              162:3 168:18     holistic 264:21      251:14,25
     138:17            heterogeneity        168:25 169:2       265:2 266:20       252:3 253:22
    Harp 1:20 6:19      112:4,5,8,14        188:18 189:19      266:21,24          253:23,24
     298:6              119:6 122:14        190:1,24           267:2,8,9,14       254:7,10,16
    hate 109:5          125:21,23           194:15 196:18      267:17,23,25     idea 62:13 67:11


                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 97 of 128 Page ID #6058
                                 Dominik Alexander, PhD
                                      March 8, 2023
                                                                                      Page 318

       68:7,11 69:23    implied 112:25     included 12:19        256:5              85:10 86:9,15
       253:8 262:14       228:6,7 282:16     14:25 15:20       incorporate          86:22 87:5
       267:18           importance           35:24 36:9          148:5            individual 36:11
    Identical 271:17      191:12,23          71:16 95:20       incorrect 39:21      40:1 54:24
    identification        192:17             123:3 160:9         39:22 212:23       60:22 64:3
       39:12,13         important 70:20      161:1,24 164:3      272:1              134:12,17,25
       276:12             72:12 127:24       164:16,20,21      increased            138:7 152:16
    identified 39:19      128:16 134:2,6     164:22 165:20       193:17             153:12 155:18
       126:20 131:22      134:16 148:19      165:23 166:17     independent          181:23 186:18
       179:2 226:14       185:13 204:14      166:20 167:24       22:23 55:17        186:19 188:21
       226:22 235:13      204:22 206:16      196:14 219:24       57:15 58:15        194:20 196:1,5
       247:23 248:6       207:16 246:2       219:25 226:5        65:12,19 77:21     196:21 206:13
       274:6              258:13 283:3       238:7 246:5         94:3 138:19,23     212:18 215:19
    identify 40:2       importantly          252:9 256:4         139:3 228:24       238:23 245:5
       138:2 178:1,3      155:11 180:4       257:21 258:25       229:25 241:20      280:2,11 281:6
       178:22 192:15      184:23             264:4             independently        282:17,18
       226:2 230:20     impossible         includes 11:7         28:17 36:3         284:3 288:25
       230:22 254:22      96:12 97:16        170:10 203:22       57:14              289:5,17
    identifying           237:11             237:22 238:6      INDEX 5:1            290:19 292:3
       39:18,20,23      improper 121:4     including 42:24     indicate 96:20     individuals
       40:25 299:14       121:14 151:11      43:1 97:20,23       96:25 103:3        146:12 149:21
    ideologic 43:17     improvements         109:3 167:1         167:13 169:17      152:17 288:17
    IG 232:14             286:10             217:22 234:4        211:5 212:10       290:21
    Illinois 1:8 6:11   in-person            255:16 264:16       259:23           industries 26:12
    illustrated 114:5     255:15 271:16      275:1             indicated 12:24    industry 25:16
       149:4 182:10       275:1            inclusion 178:2       22:21 29:10        25:19,22,24
    illustrates         inadequate           178:23 222:4        70:24 119:5        26:6 49:2
       107:13             293:4              227:7 256:13        121:21 160:6       57:14 61:3
    illustrations       inappropriate        257:10,16,22        219:8 221:16       63:20 64:5
       35:19              150:12 293:10      258:1,7,15          261:2 277:18     infant 77:12
    illustrative          294:5,9            261:24 272:12       278:13 279:12      86:9,11,12
       103:20,24        incidence 40:12      272:24 278:24       280:16 287:19    inference 293:5
       104:14 105:3       40:25 131:14     inclusion/excl...   indicates 19:4     infertility 80:24
       105:14 108:25      230:17             219:9,14            30:10 95:7       inflate 119:2
       109:19 126:23    incident 185:22      221:12,19           119:7 147:11     inform 126:8
       161:7 164:12       185:23 186:1,4   income 26:1,7         153:17 154:5     information
       165:8 166:22     incidents 292:2    incomplete 14:8       225:6,14           17:5 19:5,6,16
       181:6 193:25     include 12:25        15:7 218:3,13       254:18 293:4       34:22 36:16,20
       194:16 277:15      13:13 29:8,14    inconsistencies     indicating 96:5      37:9 38:20
       278:2,3 280:12     36:19 38:22        276:6               265:19 292:1       42:19 71:1
       281:15 282:4       97:20 122:17     inconsistency       indication 186:3     118:9,14
       284:22             126:25 163:14      280:14            indirect 78:22       131:12 132:2
    impact 133:21         167:15,16        inconsistent        indirectly 25:10     138:16 153:17
       242:13,22,24       219:10 221:13      135:23              78:17 79:2,15      169:12 176:6
       243:4              252:2 271:18     inconsistently        80:1,3 84:3        185:10 192:18

                         Paszkiewicz Court Reporting
                  (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 98 of 128 Page ID #6059
                                  Dominik Alexander, PhD
                                       March 8, 2023
                                                                                    Page 319

      198:2,4 203:23      79:6                4:8                       J         15:12,19 16:17
      215:21 216:5,8    interchangeably     invoice 30:12,24   Jamie 70:16        17:8,14 18:16
      216:10,12,17        110:18,19           31:22,24 32:1    JCCP 1:9 7:4       26:22 29:14,22
      217:1,7,10,12       111:2,12            32:10,13 34:25   JCCP-5031-C...     30:2,7,13,17
      217:25 218:9        132:22              39:7               6:16             30:20 31:3,4,7
      218:10 225:1,3    interest 155:13     invoiced 31:19     job 55:17 58:13    31:10,11 34:6
      225:22 235:14       178:4               31:20 32:10        91:9,11 288:19   34:11,20 35:14
      239:24 240:10     interested          invoices 5:14      Jones 3:12,16      36:4,18 37:15
      240:22,24           298:12              29:6,9,11,13       9:13 23:5,23     38:14,25 43:12
      241:2 269:19      Interjected           29:18 30:6,11      23:24            45:2 53:6,7,23
      299:14              235:5               31:1,2           journal 43:25      54:20 56:4,19
    informative         internal 181:19     invoked 124:11       48:17 74:10      59:10,21 60:21
      107:17              208:15 261:3,5    involve 37:19        106:12           61:2,9 62:22
    infrequently        internally 240:5      40:10 41:16      journals 23:12     62:22 64:20
      28:1              interpret 104:19      53:15 63:8         56:18            66:15 67:25
    initial 107:11        188:4               151:19 221:1     JR 3:13            68:5,19 69:21
      177:5 178:8       interpretation      involved 44:4      judgment 68:13     70:10 71:8,19
      276:20              21:1 142:5          47:9 49:3 62:1   jumped 82:4        72:3 76:22
    injuries 212:13       143:3,23            64:21 67:25      junk 73:19         79:12 80:14
    injury 81:5,21        144:18,19           68:3,9 79:13     jury 104:20        82:8 84:16,25
      87:13,21,25         145:13 181:8        83:23 164:21     justification      85:8 86:8,12
      88:11               194:13 284:1        167:25             179:16 180:2     86:14 87:24
    input 89:18         interpreted         involvement                           88:13,24 89:8
    inputted 251:12       113:18              25:9 48:8               K           89:15 90:25
    Institute 74:21     interval 107:18       63:24 66:21      Kamel 235:9        91:5,11,14,18
      77:16 78:21         107:20 118:5        67:1 68:12       keep 60:16         97:5 98:2
    institution 50:23     168:11,15           82:19,21          71:25 72:25       99:15,25 100:2
    institutions          282:2             involves 187:2      73:25 98:15       100:7,14,18,23
      46:22             intervals 17:23     involving 43:5      123:16 128:18     101:5,20,22,24
    instruct 208:18       38:23 149:6,9       48:5 63:2,12      144:22 177:24     102:5,16,21
    instructions          149:16,17,23        80:15 206:8       184:4,14,18       106:1,4 109:11
      42:8,14             230:13            isolated 138:18     185:15 186:24     109:14 110:17
    intake 49:13        intervene           isolation 188:10    190:8 201:10      112:9 113:3,24
    intensity 148:5,8     256:10            issue 53:19         210:17 251:22     114:8,11 115:6
    intensity-weig...   introducing           68:14 137:21      282:14            115:9,12
      148:13              7:18                161:16 209:3     keeps 91:15        117:13 119:3
    intent 217:5        inverse 119:25        263:1 275:14      232:9             120:1,4,21
      282:3               147:8 152:4       issued 298:9       Kelly 2:18,18      125:8,9 127:17
    intention 285:20    investigation       issues 26:11        7:1,1 75:6        127:18 129:11
    interact 23:12        118:7               207:11 249:22    Kennedy 2:5,6      129:11,14,16
      23:14             investigator        items 49:21         5:3 6:24,24       130:2,12,22
    interacted 47:11      59:1,4,8,14         187:6             7:16,17 10:11     132:5 135:1,10
      48:13 52:10         66:3 79:9         iterative 225:11    10:18,21,24       135:11,25
      55:12 79:10         82:22 85:14,15      225:24 226:20     11:15,20,24       136:4,14
    interactions        Investigator/A...                       12:4 14:18        141:25 142:7

                         Paszkiewicz Court Reporting
                  (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 99 of 128 Page ID #6060
                               Dominik Alexander, PhD
                                    March 8, 2023
                                                                                Page 320

     142:15,23          256:8 257:4      48:25 49:6        261:16 262:1,7   leave 68:12
     144:1,7,8          258:12,16,19     50:14 53:16,18    262:15 263:3,9   lectures 48:1,7
     147:24 150:19      259:9,15,16,17   54:13 58:13,16    264:6,8 267:14     51:14,20 52:3
     151:20 152:6,7     266:24 267:7     60:5,7,21 61:6    268:24 269:15      52:6,15
     154:7,21 156:2     267:22 268:4,7   61:9,13,14,15     271:3            lecturing 52:16
     157:7,8,17         268:13,13,23     61:23 65:20      knowledge 67:6    left 117:25
     158:13 159:6       269:4,12 270:1   66:24 67:21       288:4 290:7        154:15 157:18
     159:11,25          270:7,12,22,25   68:5,6 70:14     known 28:2          283:12
     161:3 162:5,23     271:3 273:7      72:16,17,22       66:12 126:11     left-hand 152:9
     163:3 165:22       274:18 276:19    73:12,23,24      knows 29:17         152:9
     166:4,8 167:10     278:9,12 281:7   74:20 75:9,9      30:5 34:9        legal 4:8 24:15
     168:5,9 169:21     281:17 283:10    76:12,17 77:1    Kuopio 148:21       25:9 26:11,11
     170:5,9 171:22     283:15,17        82:7 91:14        242:11,18          27:17 28:11
     173:11 174:2       286:13,14,19     98:3,18,25                           44:17 45:4,18
     175:12,16,21       291:8,22 292:8   109:6 110:12             L           53:8 64:21
     176:12,18,24       292:18 293:18    112:20 115:22    lack 142:21       legitimate 73:21
     177:20 181:16      295:14 296:3     118:24 124:11      285:2 295:6     lens 205:2
     182:6,24           297:3            125:16 130:20    laid 257:22       LEON 3:13
     183:19 184:7     kept 101:13        130:25 132:18      258:1,7         let's 31:4 44:15
     191:2,17,22        164:15           137:20 139:11    Lake 3:7            45:9 47:2
     193:3 195:25     keyboard 42:14     139:13,14,19     LANDEVER            49:24 91:13,17
     197:15,22          43:3 89:19       139:24 141:11      2:6               97:18 100:14
     200:1,2 201:18   KHALDOUN           142:4 143:22     landscape 267:2     115:3 137:22
     202:18 203:4       2:19             144:1,4,11         267:15            143:8 149:25
     203:18 208:17    kind 42:22 44:8    145:4 146:6,20   language 74:16      189:17 195:23
     209:12,25          56:1,15 62:14    149:12 156:24      99:19 121:3,11    196:9 207:4
     210:19,21          74:19 86:11      159:12 173:20      141:20 142:17     209:2,25
     214:6,8,11,12      107:17 113:17    173:20 174:3       246:12 253:14     213:23 247:7
     217:23,24          117:9 131:17     174:12 175:17    laptop 75:23        294:25
     219:1,7 220:13     143:19 153:21    175:19,22        large 46:17       leukemia 81:22
     220:21 224:10      174:18 175:3     176:1,1,2,12       60:17 106:9     level 87:21 92:10
     227:21 232:4       178:20 196:12    176:13 177:4       162:11 267:15     92:13,22 94:2
     232:11,16          246:19 248:13    178:7,21 196:6     268:1             94:8 95:1,10
     233:2 234:24     kinds 141:22       196:25 197:1     largely 63:14       107:14 134:12
     235:1,4 236:12   KIRKLAND           200:15 204:2,9     150:2 250:25      134:18 138:8
     236:16,19,23       3:5              204:15 205:17    law 31:25 32:4      147:6,10
     237:1,7,10       knew 269:10,14     208:2,9 213:23     68:22 70:16       152:14 153:11
     240:12 241:11    know 7:21,24       233:16 245:8     lawyer 265:17       153:24 155:4
     241:12,25          16:18,22 22:17   247:10,13,22       265:18            186:3 292:4
     242:15 245:15      26:3 27:11       247:24 248:3,6   lawyers 27:8        293:16 294:18
     245:17 247:3       28:4 29:12,16    248:14,18,20       69:18 70:7,12     294:21
     247:10,20          29:24 32:18      249:1,3,5,9        72:6 75:7       levels 87:24 88:1
     248:5 249:5        34:6 37:25       257:2,25 258:2     76:14             113:12 155:17
     252:14,16          43:16 44:19      258:9,17,24      lead 115:25         190:11 191:23
     253:9,16 256:1     45:19 46:2       259:8,10         lease 8:18,20 9:3 LEVIN 2:12 4:9


                       Paszkiewicz Court Reporting
                (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 100 of 128 Page ID
                                  #6061
                             Dominik Alexander, PhD
                                  March 8, 2023
                                                                                  Page 321

  Liability 1:5 6:9   158:24 159:7     listening 175:2,8     logic 98:9          165:13 168:22
  Library 48:18       159:24 239:10    listing 12:20         logistic 133:3,18   169:13,21
     222:13 224:19    239:11,12,14        99:10 100:3,10       136:25 153:18     170:14 171:18
     226:21           239:19,22,24        165:23,25            154:9 157:25      185:13,20,25
  lifetime 148:13     240:2,7,13,16       228:19 232:9       long 10:25 28:2     186:18 187:4
     157:22           240:21 241:3,7   lists 129:16            36:8 51:22        188:21,22,25
  light 15:10         241:10,13,16        170:18 232:7         66:12 259:11      189:1,7,20,24
  likes 129:21      list 12:19 13:10   literature 16:11      longer 64:17        190:3,20,23,25
  limit 95:25 96:6    13:17 36:8          32:17,25 33:13     look 13:9,10        194:1,20
     97:13 100:22     45:20 62:23         39:18 40:18,19       16:13 18:4,5      196:19 197:11
     101:8 177:13     65:1 68:16          40:20 41:3,4,7       19:8 29:4,20      198:5 201:16
     255:15 256:18    80:17 84:13,14      43:8,13,21,22        29:20 30:2,3,9    207:23 209:14
  limitations         98:21,25 103:1      57:16 69:25          30:22 31:4,11     209:17 211:22
     116:8 178:24     103:3,5 104:2       70:3,5 107:8         33:11 39:10       212:5,9 216:1
     188:9,23 191:8   104:5,6,19,21       180:5 220:22         43:15,18 44:10    222:8 227:7
     245:7 248:18     104:24 106:20       222:3 277:19         45:20 46:16,18    230:21 232:24
  limited 131:12      137:12 158:9        278:13 279:13        50:7 51:3         233:13,21,25
     189:14           158:14,15           280:16,19            58:25 63:7        234:19 243:25
  limiting 96:18      164:21 166:1        282:20,21            68:19 72:21       244:1,23 245:1
     163:1 274:25     201:20 224:17       284:21,25            79:25 84:13,13    245:25 246:15
  line 87:18          226:22 227:3        286:10               86:25 87:15       247:11,19
     135:23 183:9     229:12 230:6     litigation 1:5 6:9      88:15,16 89:5     252:10 255:4
     207:9 261:21     232:24 246:15       23:16 28:12          89:15 90:1,9      259:24 261:20
     273:13           246:19 248:12       29:6 43:4 44:9       90:17 91:18       261:20 262:1,3
  lines 148:23        248:13,23,24        45:14,25 60:14       92:4,14 93:8      262:6 263:7,18
     295:12           249:8 290:13        60:14,20,22          93:18,25 94:15    264:1,5,7,7
  linings 64:1,2      290:25              64:14,23 66:21       94:21 95:12       265:14,18,20
  Liou 5:12 11:21 listed 13:7,8           66:22 67:17          97:21,25 99:21    265:22,24
     97:17 99:18      51:4 99:13          68:9 80:15           100:14,15         266:4,8,10,12
     116:19,21,21     122:4 153:16        81:8,19,25           101:11 106:19     266:21 268:17
     117:3,6,8,9,10   156:16,17           82:3,5,9,11,13       106:23 107:8      270:18 271:6
     117:15 118:3,6   158:22 159:8        82:15 83:6,24        108:13 113:9      273:10 287:4
     118:20 119:4,7   160:12,17        litigation-relat...     115:3,4 116:14    287:18 288:25
     119:13 120:1,9   161:22 184:5        24:22 83:12          117:14,19         289:17,19,22
     120:11,13,17     205:10 224:16    little 28:21            119:10 120:16     290:19 291:2
     122:6,8,9,13     226:10,12           177:22 241:8         129:12 132:1    looked 16:6
     122:15,17,18     227:10,14           243:24 271:11        133:3,7,14        17:14 20:15
     122:23,25        228:14 231:25    living 43:24            136:23 137:6      75:10 81:16
     123:3,5,14,19    232:5,23 239:2      160:23               140:3 141:3       88:4 104:12
     123:23 124:3,6   247:2,25,25      LLC 3:4                 145:15 147:18     108:6 124:12
     124:8 125:10     264:16           LLP 3:5                 149:15 151:6,7    147:5 164:12
     127:5,6,15,21 listen 71:8 109:5   located 9:8             151:12,15,15      167:13,14
     128:4,25         114:16 124:22       210:24               152:2,7 153:22    186:4 194:3
     157:11,13,13     135:12 174:10    location 8:18           154:3,5 157:11    197:18 226:13
     157:15,17        272:19              24:6 76:10           157:15 160:21     240:21 244:19

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 101 of 128 Page ID
                                  #6062
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                             Page 322

    244:19 245:10    losing 209:19    26:7,14,18,20     252:18 273:18      53:14,15 61:7
    245:14,17        lot 10:23 17:14  28:14 45:20       274:5,8,19         64:21,25 68:18
    247:1 251:10       180:21,22      46:17 63:15       275:8,17,22        72:24 221:3
    251:11 262:11      181:1 206:5   making 118:25      276:7              250:9
    262:12,21,22       255:20 265:20  151:18 252:20    market 26:23,23    MDL 1:8 2:4
    263:11 264:14      270:1          253:1 286:10     marketing 27:1      6:11 7:4
    266:25 274:1     Louisiana 3:17   299:5             27:4,5            MDS 81:24
    289:5 291:17     low 93:3 180:19 male 80:24        marking 115:5      meals 76:23
  looking 13:20        180:23 181:10 malignancies      marks 211:17       mean 8:25 9:16
    18:6 19:3,8        184:11,19      81:17            master 4:6 23:19    18:8 27:2 45:6
    29:17 33:6         202:10 213:4  manager 28:9       32:23 114:13       47:6 72:7
    35:3 37:16         213:13 214:21  41:24             124:24 183:9       130:10 133:9
    39:23 40:12        215:9 253:18  Mandel 61:9,11     183:12 184:1       142:16 143:15
    43:25 49:13        254:7          61:21,25 62:7     200:3 208:17       146:6 148:19
    54:8 70:2        low-level 45:15 manufactured       238:1 256:9        149:5,10
    74:15 88:19        63:16 83:1     63:12             258:13 259:3       158:18 159:15
    90:12,23 92:15     88:4          manufacturing      259:14 283:2       162:7 191:20
    93:1 97:8        lower 96:11,13   11:8 64:4,5       283:12 286:13      194:24 195:1
    101:11 104:14      119:5 151:16  manuscript        master's 24:10      198:13 204:2
    106:17 110:6       152:4 172:6,10 56:23 57:20       24:11              204:15,25
    112:2 113:1,12     172:25 246:2   59:6,9 61:25     matching 244:9      205:4 207:1
    113:12 120:25      254:18 255:1   62:2,6,8,12,13    244:12             211:16 243:12
    123:24 124:1,6   LPA 2:5          66:7 79:11       materials 12:24     246:19 249:21
    140:2 146:11     lunch 104:17     80:8 85:21        17:13 63:22        253:8 263:4,7
    148:11 150:14      129:5          87:8,16 111:25    75:17              263:8 267:17
    151:3,4 155:11   lung 54:9        217:5            math 151:20,20      290:10 292:16
    162:11 174:25    Lynn 9:14 32:19 manuscripts        251:25            meaning 17:21
    185:8 186:11       32:21 33:9,10  23:11 55:10      mathematical        20:2 25:22
    188:6 189:6        33:24 34:12    56:8,13,14,16     98:8 99:7          42:13 55:10,23
    196:15 198:13      40:6           57:5,8,14,17      151:22             63:21 65:25
    215:4 216:15                      57:18 58:4,5     mathematically      67:16 78:10
    217:24 218:3            M         61:20 62:5        96:12 97:15        79:20 84:2,9
    218:13 225:25    Maggie 9:14      78:14 79:7,8      99:21              98:9,10 110:14
    228:10 231:4      37:23 38:1,3    80:13 84:18      matrix 192:25       114:2 119:14
    235:24 237:23     40:6            87:2 88:15       matter 12:18        119:22 128:16
    243:21 252:12    magnitude       March 1:20 6:2     17:24 35:2         139:13 144:15
    267:3,15 269:1    121:1 127:8,11  6:6 12:3          53:12,18 54:10     146:1 184:24
    269:18 270:17     127:13,16      Margaret 37:23     54:15,18 68:12     193:22 199:14
    282:20 285:10     151:3,4 152:5   38:1,4            82:6 100:5         226:1 251:7,23
    285:11 296:1      280:12         mark 10:8 91:18    159:14 180:9       272:10 273:17
  looks 40:15        mailing 8:9,19   91:20,24 92:2     181:24             278:20 279:4
    120:7 122:13     main 222:5       92:17,18 93:1    matters 23:15       280:9 290:17
    129:21 130:8     maintain 103:15  93:9 94:7,13      24:14,15,22        294:13 295:23
    203:8 222:9      majority 18:8    94:16,20,23       25:9 26:19        means 41:11
    251:18 291:17     19:11 25:13     148:14 252:6,9    39:9 43:19         60:5 88:18

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 102 of 128 Page ID
                                  #6063
                             Dominik Alexander, PhD
                                  March 8, 2023
                                                                             Page 323

   101:19 104:11     47:11 48:10       94:15 95:18,24    281:18 282:4,8    291:25
   119:24 132:23     52:11 74:13       95:25 96:13       283:19 284:16    methodologic...
   141:21 143:2     membership         97:20 100:24      285:16            277:19 278:14
   143:18,21         75:10             102:8,22 104:3   meta-analytic      279:13 280:13
   144:14,21        memorized          105:13 112:11     42:12,18,21       280:17
   145:9 220:23      248:13 291:11     115:15,22,24      129:1 247:17     methodologies
   239:21 254:16    memory 35:7        117:7,8 119:5     256:25            108:3
   262:15 263:2,6    39:2 167:21,25    119:10 120:2,5   meta-analytical   methodology
   265:3,12         men 113:1          120:12,13         42:4              69:11 70:25
   266:24 267:3,8   mention 104:8      123:2,11,12,19   meta-regression    71:2,15 73:1,3
  measure 110:9      125:1,3,9         125:20,22         106:17 107:4,6    73:6,15,21
   110:21 133:10     152:21 153:3      126:5,7,8,23      107:16,19,20      93:21,24
   133:11,12         175:8 275:23      127:10,15         108:3,16,20,22    106:19 107:3,9
  measured 133:1     276:11,22,25      128:4,22,24       109:3,16 194:9    121:18 125:25
  measures 19:21    mentioned 16:7     134:8,11,21,23    194:14            130:7 131:12
   19:23 38:23,23    17:8 87:17        147:5 161:3,6    metabolite         131:13 179:20
   93:17 111:4       89:7 93:11        161:10 163:14     203:23            189:9 190:12
   172:3 227:19      125:17 163:10     164:9,11,20      metal 85:7         194:17 197:9
   230:10            289:18            165:3,8,10,19    MetaMethod         200:21 202:11
  meat 49:13        mentions 125:12    165:23 166:19     8:12,15           202:17 205:6
   78:21 86:22      mentor 51:13       167:1,24 177:1   method 107:11      206:6,22 207:6
  mechanic 46:17    Merced 4:9         178:3,6,16,17     130:10 157:3      207:10,25
   63:16 64:8       merely 29:19       178:19,20         200:24 201:12     210:2 220:15
  mechanics 45:16    197:12            194:2,16          202:19,20         246:14 249:13
   64:7             met 295:1          207:11 219:25     203:6 221:5       249:16 250:5
  mechanistic       meta 8:15 109:9    220:3,3 245:19    243:10 244:2,5    256:25 257:15
   223:1,2           170:25            246:5 250:14      244:9 246:23      277:18 282:22
  mediator 32:3     meta-aggressi...   252:7,19,24       250:7,10          282:25 285:2,3
  medical 25:15      109:7,10,12,15    254:13 255:13     255:11,23         285:11 289:23
   26:5 33:2 46:9   meta-analyses      255:15 256:3      256:13 257:9      293:10 294:5,9
   65:22 73:2        35:25 90:2        256:14,19         257:23 258:2      294:23 296:20
   255:16 275:1      97:9 103:19       257:17,18         264:21            296:23
   276:21 292:2      104:9 111:17      258:21 259:19    methodologic      methods 114:1,4
  Medicine 48:18     112:12,20,21      261:24 264:4      213:9 228:22      133:6 194:5
   222:13 224:19     113:10 164:13     268:16,20        methodological     198:1 200:7,9
   226:21            249:8 277:16      269:7,15 270:9    18:2 116:6        200:13 201:10
  medicolegal        278:20            273:21 274:25     126:12,14         212:12 255:7
   44:16 46:9       meta-analysis      276:15 277:11     127:1 181:18     metric 95:11
  medium 184:19      35:23 37:10,14    277:21,25         185:9 186:5       146:14 148:4,6
  meet 264:3         37:16 42:2,9      278:1,4,15,17     187:9 189:7       171:2 179:14
  meetings 76:24     42:15,20,23       278:23 279:6      191:7 205:2      metrics 110:7
  Melodia 2:18       69:12 70:25       279:14,16,18      207:16 208:7      137:7 195:24
  member 74:23       71:2,15 73:1      279:24 280:4      209:10 211:6      196:9,17
   75:6              73:16,20 89:20    280:13,18,20      229:15 237:24    MICHAEL 2:18
  members 21:15      90:10,13,18       280:21 281:15     284:23 286:11    Michigan 9:9

                     Paszkiewicz Court Reporting
              (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 103 of 128 Page ID
                                  #6064
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                   Page 324

   27:21 32:24         misunderstan...     253:19 254:7        157:24 160:21    19:13 22:19
  middle 119:19         14:11 100:6        255:2              multimineral      31:20 34:22
   166:3 273:13         241:9             modest 253:24        87:6             41:13 51:15
   283:16              mixed 117:9        modifications       multiple 132:17   55:23 79:18
  Mike 7:1              286:22 287:11      35:20 284:23        132:21,21        91:21 95:5
  million 81:23         287:21            money 78:2,6,7       134:14 269:23    103:18 106:15
  Millions 109:15      mixing 171:9        79:25              multivitamin      108:23 113:7
  mind 49:12            232:17            Monsanto 82:1        87:5             126:17 149:24
  minor 21:9           modalities 258:5    82:11 83:13,16     mutually 41:14    158:20 169:2
  minus 152:15         modality 89:11     month 9:25           95:5 194:21      172:13 177:3
  minutes 183:11        257:15            Moore 4:8            237:20           184:16 185:20
   209:18 218:25       model 94:19        moose 201:7         myeloid 81:22     186:17 187:21
  Mischaracteri...      113:15 119:25      202:22 207:19                        193:12 194:24
   281:11               120:7 122:10      morning 209:1              N          195:8 204:25
  misclassificati...    122:19 123:7      mortality           N-O-S 200:25      213:17,17
   172:21 173:4,6       123:24 124:1,3     129:22,23          N.W 3:17          242:6 245:24
   173:14 174:8         124:14 132:9       130:9,14,21        name 6:17 7:17    249:21,23
  misclassified         132:24 137:4       131:3,7,9,16        8:2 27:24 51:7   261:25 262:1
   173:21,23,25         140:1 141:13       131:23 132:3        66:14 72:10      283:23 284:19
   174:4,5,13,14        141:24 142:14      230:17              73:10,17,24      293:12
   175:5,23,25          143:20 149:1,3    mos 189:9           names 9:12       necessary
  misclassify           149:22 153:18     motor 45:15          255:3            111:18 220:11
   172:6,9,12,13        158:2,3,5,6        46:17 63:15,20     narrative 36:7   need 62:15
   172:24               160:5,6,8,10       64:7                152:22 189:21    73:18 96:10,15
  misheard 93:7         161:1 165:10      MOUGEY 2:12          190:1,22         97:9 98:11
  misinterpreting       169:18 172:1      move 106:2           192:18 220:6,9   99:5,20,25
   121:13               194:14,14          135:10 152:6        220:11,14,18     112:23 113:3,5
  mispronouncing        251:24 257:18      157:7 200:1         220:20,21,23     140:19 176:6
   27:21                278:6              207:20 212:4        221:5,8,9        183:13,14
  misreading           modeling 159:20     286:13              223:9 235:22     188:5 193:14
   92:12                223:1,2           movement             250:7,11         199:8 207:22
  misrecalling         models 36:24        243:19 255:17      narratives 36:10  209:8 210:5,8
   257:13,20            37:5,6,11,15       271:17 274:21       36:13 235:18     216:2,11,16,20
  misrepresent          37:17 38:12,16     275:2,9,18          235:20           216:25 217:3,9
   81:3                 94:18 95:6         276:13,16          National 48:18    242:3 278:8
  missed 226:3,25       133:18,24         moving 259:11        78:15,20         279:2,9 283:2
   247:14 248:7         134:3,14          MPH 32:23            222:13 224:19    283:6
   248:19,22            136:25 137:1      multi-colinear...    226:21          needed 264:3
   249:5                139:25 140:11      132:11,23,25       nature 13:21     needs 100:7
  missing 127:24        149:3 158:1        133:24 135:21       54:6 99:7,23    neither 75:4
   176:7                161:7,19 177:5     136:7 140:22        114:25 288:20    130:7
  misstating 248:2      177:11 181:5      multi-variant       NCI 58:7         Nestl 77:7,7,7,8
  mistake 171:3,5       240:25 257:1       159:16 240:22      ne 102:8          77:14,19,24
  mistaken 119:17       257:17 286:3       240:24 241:2       nearby 8:18      neurological
   218:25              moderate 202:9     multi-varied        necessarily 19:4  255:17 275:2

                       Paszkiewicz Court Reporting
                (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 104 of 128 Page ID
                                  #6065
                             Dominik Alexander, PhD
                                  March 8, 2023
                                                                             Page 325

  neurologist         21:9 88:21      158:11 167:8       240:8 246:25       118:8 287:10
    276:20           number 6:10,12   176:3 190:4        247:9,15 248:8   occupations
  never 54:2 57:8     6:15 9:2 45:19  191:1,19           249:20 253:7       290:12,15,23
    57:10,10 69:4     46:7,8,12,19    202:15 203:1       253:12 255:25      290:25 291:3
    69:6 73:10        92:20 93:25,25  208:24 236:10      257:3,11         occur 45:25
    75:10             94:1,25 95:1,4  236:25             258:10 267:5       58:20
  new 3:14 76:12      95:4,7,9 96:13 objection 15:3      267:24 273:6     occurrence
    115:5 211:5       96:14,23 97:16  15:15 16:5,25      281:10 293:11      110:21 111:6
  newly 163:7         98:4 124:25     26:15 34:3,14      295:5,20         occurs 132:9
  nice 267:16         151:21,21       35:13 36:2,12    objective 250:8    Ochoa 4:12 6:17
  night 29:9,13,15    164:16 173:20   37:12 38:18      objectively        odds 38:22
    29:18 200:5       173:22 174:12   43:7 56:12         193:10             91:19,24 92:1
  NIH 58:6            174:14 175:23   58:21 60:15,24   observational        92:18 94:12
  NLM 222:16          175:24 182:11   61:4 64:15         295:13             96:7,11,21,25
  nods 110:8          184:22 185:7    67:20 68:4       observed 291:23      97:10 98:5,20
  non-association     227:22 231:9    69:20 70:9       obtain 242:17        99:7,22,23
    122:1             269:2 298:9     71:6,13,24       obtained 118:9       103:2,15 104:4
  non-peer-revi...   numbered         76:16 79:4         225:22             104:23 105:15
    60:3 74:6         116:24          80:5 84:6,21     obvious 283:6        105:19 106:9
  non-scientific     numbers 44:13    85:4,25 87:23    obviously 47:19      109:23 110:2,9
    60:3 74:7         94:15 150:9,20  97:2,24 99:14      175:14 238:25      110:17,22,23
  nondifferential     150:25 188:17   110:11 111:23      269:17             111:10 117:20
    172:14 173:8,9    193:25 211:14   112:18 113:23    occasion 47:23       117:21 118:21
    173:10,11,13      211:14,18,19    114:10 118:23      47:24              119:2,7 120:12
    173:16            211:25 212:2    120:3,19         occasions 66:2,9     120:13 122:5
  nonlitigation      numerical        129:25 130:5       68:17 75:11        122:23 123:4
    28:22,23          251:14          130:17 131:25      76:18              124:5,7 125:2
  nonresponsive      numerically      134:9 135:18     occupational         127:5 146:13
    152:6             166:14          136:13 141:18      84:17 92:10        151:5 155:2
  nonstatistical     numerous 164:8   142:2,10           96:1,6,19,24       159:16 160:1
    50:4              254:12          143:16 147:21      97:14,19,21,22     160:21 164:23
  nontestifying      nutrition 50:11  154:1,20           98:4,19 99:2       165:2,19
    34:4              51:2            155:22 158:25      99:10 100:12       166:20,25
  Norwegian          nutritional 49:8 159:10,13          100:16 103:1,8     167:19 170:1
    48:25             51:5            160:18 162:4       103:14,20,22       170:13,16,19
  Nos 200:20,24      NY 3:14          162:22 163:2       104:2,12,22        170:22,23
    201:7 211:23                      165:21 166:2       105:5,9,10,16      171:6,8,13,14
    212:1                    O        168:3,7 171:16     105:20 145:19      171:19,23
  notations 299:9    O'BRIEN 2:12     173:24 175:19      164:13 277:11      172:6,10,25
  note 30:22 95:17   O'Conner 69:13   177:17,23          277:17 286:22      243:2 271:21
    274:8,8          oath 266:16      181:11 182:3       287:8,9,21       offer 91:19,21
  noted 12:3           298:19         182:16 191:16      288:8,14,23        299:1
  notoriously 39:6   oaths 298:16     193:2 195:21       289:10 290:5,6   offering 299:4
  nuanced 140:7      object 18:10     197:4,21 220:8     290:20           offhand 89:6
  nuances 20:9         34:2 144:5     220:17 221:7     occupationally     office 8:8,16,18

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 105 of 128 Page ID
                                  #6066
                               Dominik Alexander, PhD
                                    March 8, 2023
                                                                                 Page 326

    9:5,5 24:3,5,6     161:14 188:24      178:4 205:8        118:16            100:17,25
    28:8 41:24         189:3 194:25       212:13 213:18    overgeneralizi...   101:11,16
    50:19 52:22        206:20,24          228:24 229:25      75:3              105:1,2 106:24
  officer 298:21       207:21,22,24       230:24,25        overlap 17:20       108:22 109:4
  officer's 298:1      208:3 209:16       271:19             67:23 148:17      109:23 116:15
    299:9              210:1,10,12       outcomes 43:15      148:20,22,24      116:17,25,25
  Offices 8:23,25      219:14 220:1,6      43:20             149:6,7,10,20     117:13,23,24
  OH 2:7               220:14,18         outings 63:10       150:2,12 201:6    120:16 129:13
  okay 13:15 23:3      253:4 262:24      outlier 118:3       203:2,5,8,12      145:15 147:1,2
    32:12 34:23        268:23,25          126:12,20          211:9,12,12       147:4,15,18
    52:12 63:17        269:6 293:17      outliers 106:19     235:14            149:14 152:8
    91:23 127:4        294:2 295:3,18    outline 93:18     overlapping         152:25 153:1
    143:7 155:15       296:10              113:5 152:22      201:9,9 235:6     153:22 155:16
    156:19 163:18    opinions 12:14        226:8             235:11            156:4,6 157:15
    163:21 166:13      12:17 13:12       outlined 93:21    overreporting       158:23 159:9
    167:23 169:14      15:18,23 16:9       162:19 164:10     119:1             160:1 162:19
    170:15 184:1       16:16 114:22        207:18 249:17   overview 270:19     164:15,25
    195:13,24          114:23 143:4      output 107:22     overwhelming        165:2,3,17,18
    199:13 200:19      179:4,11          outputs 42:2        63:15             165:20,22
    203:21 207:20      197:24            outside 267:16                        166:14 169:13
    211:1,25 212:4   opposed 54:24       overall 119:25            P           169:21 170:2,6
    215:2,11 222:7     60:14 94:25         144:12 145:13   P 107:18            170:8 171:19
    251:22 261:22      211:14,20           145:13 152:14   P-value 253:21      181:7,16 182:8
    273:15 288:12      266:25 288:23       152:16 153:3      254:18            182:14 183:18
  once 230:20,21     opposite 111:13       153:11,23       P-values 252:4      183:18 184:5
    276:19             227:7               154:16 155:4    P.A 2:12            185:3,17
  one-study          optimum 157:3         155:10,17       p.m 129:7,10        191:11,15,17
    101:17           ORANGE 298:5          156:21 162:12     176:20,23         191:18 192:1
  ones 12:1 22:16    oranges 281:12        171:20 181:5      219:3,6 268:9     192:14 193:8
    30:7 31:1 77:2     281:16 282:14       184:20,25         268:12 291:4,7    194:12 201:22
    105:6 115:9,11   order 13:11           185:12 186:8      297:8,10          205:20 206:21
    171:23 224:2,7     157:12 216:17       186:15,20,22    page 5:1 11:2,5     208:9 209:6
    245:16,17          264:3               187:5,18          11:9,14,15,16     212:19 214:1
    246:9 281:1,3    organization          188:11 194:15     12:3 18:4,7,18    215:3 217:6
    281:4,7            49:2,7,9 75:2,4     194:18 196:2      19:10,22 20:4     220:19 221:17
  operational          78:25               197:5,13          21:22 29:21,21    221:18,20,20
    208:4            organized 37:20       207:13 213:9      30:14,22 31:4     221:22,22
  opinion 54:11,18   original 226:5        226:5 236:5       31:12 33:20,22    222:5 225:1,5
    54:21 91:16      Orleans 76:12         237:18,22         34:21 35:15       225:9,13,22
    114:21 126:8     ORRR 94:1             257:17 278:3      38:22 39:10       226:8 227:7,13
    141:6,8,25         191:14 192:25       278:19,24         62:3 92:4,14      227:14,22,25
    142:8,8,15,18    ORs 157:24            279:1 286:7       93:18,18 94:24    228:1,6,7,12
    142:23 143:8,9   os 93:1             overarching         95:2,7,12,14      228:14 229:10
    144:13,23,25     Ottawa 211:6          201:14            95:15 97:5        230:9 231:8,14
    157:9 160:15     outcome 49:15       overestimated       98:23 100:12      231:14,25

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 106 of 128 Page ID
                                  #6067
                             Dominik Alexander, PhD
                                  March 8, 2023
                                                                             Page 327

   232:4,4,5,25      159:24 211:22     105:5 115:24      43:5,9,13 44:5    44:4
   234:2,3,16,17     214:25 215:24     118:8 129:17      96:2 115:24      particular 12:18
   235:24 236:1      240:2,23 241:3    130:3 145:23      129:22 130:4      32:11,12 49:12
   238:13,14,21      241:24 242:1,2    146:12,15         130:14 147:12     50:5 59:2,6,9
   247:2 251:10      242:16 263:17     147:10,12,14      147:14 195:3      67:3 69:15
   261:20 263:18     296:21            153:23 154:4      202:6,13 205:8    72:18 79:21
   264:1 269:2,21   papers 55:11       154:10 155:2,6    206:8,24          81:9 91:22
   271:13 273:10     56:21 188:8,9     155:21,25         227:16 228:24     94:19 95:10
   273:16,22,22      209:20 223:6      156:7,24 157:2    229:1,24          98:11 99:5,8
   274:4,7,19,23    paradigms          157:5,23 158:3    230:15,24         103:21 120:7,9
   275:4,5,6,7,10    201:15            158:6 159:3,5     243:9 244:2       122:10,20
   275:13,15,16     paragraph          159:21 160:2      255:6,23          123:9,24 124:3
   275:20 276:1,1    124:9,19 125:6    160:12,14,16      256:12 260:3,9    126:19,22
   276:8 277:5,10    125:6,7 127:23    169:9,25 195:3    261:10,23         137:21 138:18
   286:19,24         128:1,9,11,12     202:6,13          265:25 266:2,6    139:6 141:24
   289:4 291:12      128:13,18         203:23 206:8      277:12,17         146:16 157:1
   292:13,13,15      157:18 213:1      206:23 212:12     281:20 284:17     160:5,10 171:1
   292:23 296:2      277:15 291:16     222:25 224:13     285:7 286:9       186:2 196:18
  pages 10:17        292:5,16,17       227:17 228:25    part 15:13,16      217:6 235:23
   38:10 94:21       293:1             229:1 230:15      44:7 55:21        240:20,23
   97:4 184:21      paragraphs         271:21,23,24      64:24 65:6,15     256:22 289:18
   204:19 225:21     18:14 19:6        272:7,10,21,25    69:6 71:3,3,20    290:10 293:25
   227:2 239:1      Paralegal 4:8,9    273:3 277:11      71:21 75:4       Particularly
   276:5            parameter          277:17 281:19     80:2 85:23        83:11
  paid 25:3 50:21    163:16 175:4      282:1,9 283:21    108:15 109:2     parties 298:14
   52:19 57:6        186:2             284:17 285:6      111:3,20 112:3    298:14 299:4,6
   58:5,6,18        parameters         285:15,18,21      113:17 124:5     partner 28:18
   65:14 75:14       17:23 42:6        286:8,21 287:9    128:1 135:20     parts 81:23 85:7
   77:6 78:2 79:3    163:19 179:2      288:23 290:13     162:16 176:7      262:1 287:19
   79:12,15 80:1     181:19 184:17     290:16,17,21      188:10 218:2     party 299:3,11
   80:3 84:3,20      184:21 185:9      290:24 293:5      220:3 233:13      299:12,12,16
   85:9,17,18,23     187:3 188:21     parenthetical      237:18 240:1      299:16
   85:24 86:8,14     190:6,8,10        232:8             248:25 256:2     party's 299:2,12
   86:21 87:4        192:8 201:6      Parker 69:5,7      287:9 294:16     Paszkiewicz
  pain 259:5,5       202:9 221:23      69:12 70:16       299:3,13,16       4:13 6:18,19
  painful 259:4      224:18 237:24     71:17,20 72:15   partial 56:22     patient 276:19
  painting 267:15    261:5,18          73:5,14          participant       patterns 113:1
  PAPANTONIO         264:20           Parker's 71:4      212:13            137:8 152:2
   2:12 4:9         paraphrase        Parkinson         participants       282:19
  paper 50:5,7       116:7             129:18 259:20     118:7 137:23     Paul 3:6 7:7
   57:21 87:18      paraquat 1:5,11    282:1,9 283:21    138:10 227:17    pay 44:3 76:22
   88:16 89:5        6:9,15 44:8,11    285:15,17,18      276:22           payment 59:10
   95:10 103:24      66:21 67:10       285:22           participate       PCB 83:17
   115:14 141:4      94:2 96:2        Parkinson's        45:14            PCBs 80:14,15
   154:24 159:22     103:22 104:13     40:9,13 41:1     participated       80:18 83:20

                     Paszkiewicz Court Reporting
              (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 107 of 128 Page ID
                                  #6068
                             Dominik Alexander, PhD
                                  March 8, 2023
                                                                                 Page 328

  PD 129:21 130:9    63:8 174:25         73:16 85:15        156:14 226:8       50:17 54:2,21
   130:9,13 131:3   perform 23:9,15      88:21 99:19      placed 298:19        85:22 97:10
   131:6,7,8,8,13    23:16 39:24         101:14 103:5     places 38:14         106:18 149:2
   131:22,22         40:1 47:11          121:3,6 124:20     41:9               152:15 153:6
   154:11 157:21     77:21 79:7          159:22 233:12    plaintiff 53:8,10    153:12 155:18
   158:2,4 174:2     86:17 105:6,8       240:10 242:7       53:24 54:3,4       159:15 174:7
   216:23 255:11     105:10 114:3        254:13 256:3     plaintiffs 1:17      178:5,13
   257:8 258:22      126:10 134:2        276:6 288:1        2:4 6:25 7:1       182:23 183:23
   264:10 266:7      277:20 278:15     pertains 103:7       60:14,23 62:23     185:11 186:7
   271:17 273:12     279:14 280:18     pesticide 134:4      64:3               193:13 198:21
   273:19 274:6,9    280:20,22           139:15 152:14    plant 51:17          201:21 203:19
   275:23 276:11    performed 15:7       152:16 153:3     play 94:20           208:20 219:12
   276:12,15,20      32:15 37:14         153:11,24          134:22 139:23      221:16 240:4
   276:23,25         40:23 42:3          154:16 155:4     please 6:22 8:2      252:3 263:20
   293:5             43:5,10 48:9        155:10,12,13       53:18 70:4         269:21 278:5
  peer 23:11 29:3    55:9,13 78:13       155:17 156:21      71:8,10 89:16      279:4,7 281:7
   55:12             79:24 80:12       pesticides           89:17 90:5,6       283:1 286:5,6
  peer-review        81:8 82:5           134:14 140:2       91:6 92:15         294:11
   56:17,18          103:10 107:25       152:16,17          99:16 135:13      pointed 100:11
  peer-reviewed      108:22 109:2        153:12 154:12      163:4 164:19       100:12,13,17
   14:23 15:8        110:15 113:11       155:19 156:1       166:8 183:22      pointing 227:13
   16:11 57:15       141:12 167:18       156:11,12,15       191:2 206:18      points 93:5
   60:1 65:10,13     250:3 277:25        156:17 157:4       210:25 220:15      251:12
   69:8,25 70:5      278:2,17            157:23 158:2,5     221:6 238:1       Policy 223:6
   74:4 111:25       279:16,24           159:23 229:2       248:20 256:1      politician 77:5
   112:1,11 180:4    281:14,18           288:4              256:10,14         Polychlorinated
   217:5 264:22     performing         pharmaceutical       276:9 277:11       80:19
  peer-reviewer      28:16 29:1          79:1,2,6,10        279:10 283:7      pool 146:12,18
   55:24             121:14 134:7      PhD 1:16 23:9        290:13             146:18
  Pensacola 2:14     138:20,24         phenomena          plot 107:12,13      pooled 149:16
  people 64:3        139:3,7 178:14      132:8 140:21       107:15,17,19       149:17 150:4,5
   138:17 146:22     282:22 289:24     phone 77:4           146:1 149:4        150:7,7
   146:24 151:4,7   performs 42:11     phrase 59:17         171:1 194:20      poor 126:3
   151:9,13          42:17,21            65:3             plots 35:25         population
   161:19           period 56:3        physical 8:16      plus 92:11           150:13 227:15
  percent 28:21      58:15             physically 24:3      152:15 211:16      230:18 264:9
   63:9 118:5       person 32:11,12      24:5 52:5,7        246:8              266:9 280:2
   126:13 148:22     32:18 38:2        Physician 292:2    pluses 11:11,12      284:3 287:25
   148:24 152:15     42:17 280:8       picture 267:2        169:10 181:2       289:22
   155:3,18 253:9   personal 299:14    piece 174:1          181:22,24         populations
   253:9,10,10,17   perspective          239:24             182:9,10 183:6     226:23 235:11
   253:20,21,24      295:25            pieces 18:25         183:8 184:22       285:6
   254:1 255:1      pertaining 13:20     45:11 176:7        187:16 190:11     portion 20:6
  percentage 25:8    23:16 53:22         185:13 215:21      190:12 203:16     portions 17:15
   25:10,14 26:1     59:25 64:23       place 6:20         point 33:11          17:16

                     Paszkiewicz Court Reporting
              (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 108 of 128 Page ID
                                  #6069
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                                Page 329

  position 54:14      167:14,16          60:13 63:23      proceeding 1:9     program 43:2
   159:7,11,12       pre-Tanner          64:13,21          6:14 53:8          44:4 119:23
   160:11 209:13      100:11             163:25           proceedings         170:18 171:1,4
  positive 121:25    preferred          primary 24:1       6:25 7:2,4        project 80:3
   147:11             107:20,20         principal 15:18    26:11 27:17        85:20
  possibility         250:7,10           23:8 28:8,10      28:11             projects 79:9
   132:15            premise 221:11      59:1,4,8,14      process 56:17       88:7
  possible 132:12    premised 73:19      66:3 79:9         65:13 67:8        prominent
   132:18 177:22     premises 106:1      82:22 85:13,14    106:10 109:2       161:16
  possibly 193:21    Premium 8:23       principle 42:17    112:1 187:1,2     proper 126:10
   221:17             8:24              principles 19:9    187:9,11           140:20 141:1
  post-COVID         prepare 56:8        19:12 20:25       190:15,17          165:10 194:5
   51:16             presence 137:20     201:9,14          191:5 192:10       205:6 208:6
  postgrad 48:10      138:6 141:12      prior 12:21        220:25 221:2       209:9 210:15
  potential 66:16     143:5,19           17:16 20:22       225:11,25          282:22 284:23
   106:5 172:3        144:20             21:10 22:2,4      226:4,20 231:6    proportion
   276:22            present 4:3         43:4 44:9,10      262:18             25:12 26:4
  Pouchieu 140:23     46:22,23 76:15     61:7 74:19       processed 49:13    proportional
   140:23 141:3,7     257:14 299:11      76:10 77:2        86:22              140:1 161:19
   141:9,10,14       presentation        84:23 95:20      PROCTOR             192:11 263:8
   142:1,6,9          47:10 69:10        103:8,24          2:12              prospective
   143:10 144:13      70:25 73:1         104:13 135:20    produce 19:7        110:25 161:18
   180:18,21          75:25 76:7,8       149:21 205:18     45:3,9 251:7       162:12
   181:5,8 184:10     76:11 84:13        235:13 276:1     produced 29:13     Protection 3:4
   184:19 187:17     presentations       298:18            29:15,18 30:6     protein 86:9,12
   187:19,20          23:11 47:13       prisma 189:9       44:12,20 45:7     protocol 179:15
   244:6              52:10 55:11        201:7 202:22      45:17,24 63:12     179:16 180:2,5
  Pouchieu's          75:5,12,15,18      207:19            73:7 133:15        180:7,15
   181:9              76:14,25          probability        280:7,10           199:16,17,20
  PowerPoints        presented 71:16     110:21,22        producing 19:14     219:21
   75:17,20          pressed 265:1       111:6            product 54:7       protocols 199:14
  practically        presume 266:2,7    probably 19:2      59:18,21 60:7      199:22 254:21
   20:20             pretty 169:6        33:11 181:6       63:12 83:16       provide 14:7
  practice 39:25      195:11             198:17 213:3,5    299:8,15           19:15 27:24
   40:1 114:6        prevalence          213:15 214:20    products 1:5 6:9    28:11 34:18,25
   126:21,24,25       40:13 41:1         215:8,13          64:6 83:19,21      51:14 69:10
   151:12 187:9       230:17             216:24,25         88:10 89:2         111:18,20
   219:16 250:2      prevalent           243:15 286:14     288:18 299:2       112:12 156:25
   254:15 288:14      131:14 170:10     problem 10:19     products' 87:12     212:21 217:5
  practices 288:11    185:22             127:4 209:2      Prof 298:11         221:23,24
  pre-COVID          previous 158:5     Proc 298:14,20    professional 8:4    230:11 247:16
   51:12 52:14        163:8              298:24 299:7      8:7 55:25 66:1     250:16 270:19
  pre-Shrestha       previously 265:6    299:17           professor 47:7,9    272:12 278:21
   95:25 101:8       primarily 23:19    Procedure          50:15 52:9,25      295:9 299:1,8
   104:15 105:7       23:20 24:21        298:18            52:25             provided 10:6

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 109 of 128 Page ID
                                  #6070
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                            Page 330

   15:8 19:5          65:12 74:5        187:23 194:2   qualities 211:6    200:8,14,21
   33:17 36:20        77:24 113:9,19    195:8 225:10    244:25            201:23 202:5
   44:18 45:8         235:6,14          225:10 277:16 quality 5:18        202:12,13,21
   52:3 62:23        publish 56:13      280:12 282:3,6  122:15 125:21     203:24 204:2,6
   68:17 70:24        57:14,17,18,21    282:10,11,15    125:23 126:4      204:8,9 206:7
   71:15 78:9         69:24 70:3        284:10,20       126:15 161:14     207:6,16 208:1
   81:7,13 86:19      72:10 88:3        285:10,13       161:15,15,17      210:2 212:6,10
   92:9 105:18        112:16            286:1           161:22 162:2,3    213:9 215:17
   106:16 116:3      published 14:24   purposes 36:15   162:7,10,13,14    217:11 218:1,7
   161:12 168:10      15:10,16,22       103:20,24       162:16,18         218:20 246:1,2
   183:6 188:13       16:11,13 25:16    104:14 105:3    163:4,9,10,10     260:11,14,17
   197:25 198:1,2     43:25 48:11,16    105:14 108:25   163:16,19,21      261:4,5,12,15
   198:3 225:1        49:17 55:11       109:19 111:17   163:25 164:3,7    261:17,18
   230:12 244:21      56:14,16,17       111:18 126:23   164:8 168:18      264:15 291:18
   246:21 248:24      57:10 65:10,23    161:7 181:6     168:25 169:3      292:1 293:14
   282:23 299:15      66:8,10,24        194:1 278:2     178:17,21         293:16,25
  provides 27:12      67:2,7,7,11       280:22 284:22   179:1,4,9,12      294:13,17
   147:12 275:22      70:20 71:20      pursuant 56:25   179:24 180:8      295:16 296:7
  providing 26:24     72:1,1,3,5,7      57:10 58:13,19  180:11,23,24      296:22
   51:20 110:14       73:9 77:13        65:21 298:17    181:9,10,17,17   quantifiable
   230:8 246:11       81:20 84:18      pushing 117:10   181:21 182:8,9    189:1
  public 24:12        86:18 87:11,14   put 21:14,15     182:13,14,15     quantification
   70:5               88:9 89:3,12      43:23 54:12     182:17,19,21      253:5
  publication 15:9    95:18 97:9        73:23 89:23     183:1,3,17,21    quantify 46:1,2
   25:15 26:1,6       102:8 112:10      99:18 134:24    183:22,23,24      46:4
   43:10 48:12,15     112:11,19         143:19 144:21   184:11,17,20     quantitative
   48:22 49:11        163:6,7,13,15     145:5 174:18    185:1,3,12,14     198:4 203:24
   56:9,24 57:12      163:22 180:4      177:20 196:24   185:18 186:3,5   question 7:21
   57:16 60:3         198:19 211:24     205:25,25       186:14,15,20      15:25 18:22
   62:8 65:8          212:1 222:19      222:3,10        186:22 187:11     42:19 49:20
   68:25 69:7,9       225:25            238:24          187:15,18         55:22 71:5,9
   69:21,24 70:6     publishing        puts 42:8 171:4  188:16,18         79:15 90:1,5,6
   72:13,16,20,23     106:10           putting 34:8     189:18,19,20      91:6,6,23 99:9
   72:23 74:7        PubMed 48:17       96:17 144:15    190:1,20,24       99:12 100:3
   77:25 84:13       pull 10:1 274:3    144:21 203:17   191:3,4,13,25     101:22 102:25
   106:4,5,7,14      pulling 171:23                     192:2,5,24        104:18 105:21
   106:22 107:2,7     171:23                   Q        193:1,10,15,16    109:5 111:1
   108:1,7,14,20     purported         qualification    193:17,20         114:16 115:16
   108:24 109:7       255:14 256:18     19:2            194:11 195:14     124:4 125:18
   109:16 111:25     purportedly       qualifications   195:14,20         126:16 127:18
   112:1 124:13       276:2             18:6,14,22      196:2,3,4,5,8     128:6 135:12
   164:1,5 264:22    purpose 90:15      32:22 273:8     196:18 197:2,6    138:13 145:3
  publications        90:16 105:22     qualified 298:7  197:19 198:6,7    150:3 155:6,15
   44:11,12 56:8      108:23 165:9     qualitative      198:8,10,18       156:2,5 157:10
   58:25 60:1         185:6,8 187:22    198:3           199:10,16         159:6 161:25

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 110 of 128 Page ID
                                  #6071
                             Dominik Alexander, PhD
                                  March 8, 2023
                                                                                 Page 331

   162:24 164:2      262:25 266:17      199:10             113:6,21 114:8      292:6
   166:24 168:23    questionnaire     ranked 181:25        114:18 180:2,6    realize 75:6
   171:25 172:18     204:8,9          ranking 181:2,3      190:10 270:20     really 35:21 49:5
   175:2,9,11,15    questionnaires      181:9,13,13,15     272:17 286:25       75:3 113:16
   175:20,22         118:10 203:25      182:20 184:14      287:1,13,15,16      115:16 137:7
   176:8,15 178:1   questions 7:19      184:18 191:3,4     287:22,23           140:16 141:1
   178:22 179:22     10:23 21:23        197:6 202:6      ratios 38:22 96:7     148:19 208:18
   182:1,6 183:10    30:18 34:5,10    rate 82:25 110:8     99:7,22,23          244:22 262:14
   183:14,14         91:2,9,17          124:1 146:7        106:9 109:22      realm 132:14
   186:10,12         105:23 117:12      150:11             109:23,24         reanalysis 14:4
   189:17 190:19     124:22 183:11    rates 25:5 40:12     110:2,2,3,9,9     reason 112:12
   193:7 195:23      191:4 209:5      rating 196:18        110:23,24,24        112:14,21
   200:18 208:21     212:10,17        ratio 91:19,24       111:10 171:6,8      113:17 141:23
   209:8,13,14,19    213:2 214:3,14     92:18 94:12        171:9 192:11        247:20 269:17
   211:19 213:3      215:5 237:16       96:11,22,25        192:16              273:2 274:22
   214:18,23         258:13 266:23      97:10 98:5,20    raw 241:15,17         276:1 281:14
   215:13,17         284:6              103:2,15 104:4     242:3,6             281:23 284:10
   216:6 217:22     quick 286:17        104:23 105:19    re-establish        reasonable 31:9
   218:4 219:19     quite 133:25        109:23 110:2,8     51:19             reasoning
   220:13,16         195:23 198:12      110:8,14,18,18   read 59:18 71:9       112:17 113:21
   221:6 223:25      230:10 279:19      110:20 111:10      71:11 73:10         114:8,18
   224:10 226:7     quote 69:2,3,5      117:20,21          95:21 96:15,16    reasons 20:1,17
   229:19 231:10     69:15 70:10        118:21 119:2,7     116:2 122:15        21:11 22:20
   233:2 236:6,11    96:15,16           120:12,13          155:15 159:15       105:18 113:11
   237:5,8,11        229:13 256:7       122:5,23 123:5     189:21 195:9        128:8 129:2
   239:4,5 241:4     256:17             124:5,8 125:2      196:11 197:18       161:11,13,21
   242:11 243:24    quotes 70:2         127:5 146:13       201:21 204:3,5      166:12,15
   244:22 245:8     quoting 68:24       150:11 151:5       212:5,24 213:1      167:2,5,6
   247:22 248:2,3                       155:2 159:16       214:24 215:4        168:10,16
   252:15 255:19            R           160:2,22           229:5 256:4,17      183:24 228:23
   256:9,14 257:2   R 70:16             164:23 165:2       263:19 265:6        229:3,16 231:3
   257:5,24         RAFFERTY            166:20,25          269:12 274:16       232:23 239:8
   258:20 259:6       2:12              167:19 169:23      274:17,22           246:2 275:11
   261:9,10,21      ran 90:13,18        170:1,13,16,17     275:12,16,18        275:23 276:24
   264:2 273:4        155:1             170:19,20,22       276:8,8,17          277:2,4,4
   274:4,11,25      Randi 4:6           170:23,23          278:9,11            283:23 284:20
   278:8,10,11      random 251:24       171:7,12,13,14     279:10 297:5      Rebecca 1:20
   279:2,9,10       randomized          171:19,23,24     reading 158:21        6:19 298:6
   282:13 283:3,3     88:18 198:14      172:2,3,7,10       176:24 195:18     rebuild 51:18
   283:4,11,17        198:23            172:25 192:11      195:22 204:9      recall 9:1,22
   284:11,14        Randy 104:17        243:2 271:21       204:11 208:2        13:21 14:21
   285:9,24         range 46:6,8      ration 92:1          212:25 213:22       35:21 37:7
   290:11 296:25      240:25 254:5      105:15 165:20      219:12 223:20       39:4,15 40:23
  questioning       ranging 254:2     rationale 111:19     229:8 232:7         47:18 48:17
   16:22 209:2      rank 195:14         111:21 112:16      263:9 284:11        50:8,18 53:11

                     Paszkiewicz Court Reporting
              (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 111 of 128 Page ID
                                  #6072
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                              Page 332

    53:20 73:13        291:6 297:4,7      132:3 136:23     18:10 26:15      158:11,25
    75:19 76:2,12      298:24             146:2 150:16     29:8,16,24       159:10,13
    81:16 83:11      recorded 241:25      153:20 154:25    30:5,9,14,19     160:18 162:4
    108:11,17          298:22             168:20 173:3     30:21 31:6,9     162:22 163:1
    118:11 141:5     records 129:22       174:1,16 177:7   34:2,8,14        165:21 166:2,6
    143:25 168:13      130:9,14,21        198:8 199:8      35:13 36:2,12    167:8 168:3,7
    212:3 239:12       131:7,9,16,23      204:17 217:21    37:12 38:13,18   169:19 170:3
    239:14,16,18       132:3 292:2        220:20 223:23    43:7 45:1 53:3   171:16 173:10
    239:19 240:6     recycling 70:20      224:8 232:9      53:16 54:12      173:24 175:10
    241:22 246:11      72:11              238:13 240:11    55:19 56:12      175:14,19
    247:11 258:1     redline 10:16,22     245:20 254:8     58:21 59:20      176:3,17
    259:22,25        reduced 119:6        266:7 278:3      60:15,24 61:4    177:17,23
    260:6 261:8,16     231:12           refers 104:8       62:15 64:15      181:11 182:3
    269:16 270:5     refer 110:22,24      122:3 217:20     66:14 67:20      182:16 190:4
    270:13,16          135:4,22 162:9   reflect 216:13     68:4,10 69:20    191:1,16,19
    288:7 289:12       191:5,9 221:15   reflected 11:23    70:9 71:6,13     193:2 195:21
    289:16 292:19      269:3              194:19,20        71:24 76:16      197:4,21
  receive 10:17      reference 12:4     reflection 187:6   79:4 80:5 82:7   201:17 202:15
    25:19 27:16        16:1 60:8,10     reflects 103:19    84:6,21 85:4     203:1,15
  received 10:20       96:5 117:10      regarding 69:14    85:25 86:11      208:23 209:21
    10:21 14:8         122:22,23          84:15 118:14     87:23 88:12      210:14,18,20
    59:2 66:3          123:4,12 124:5     187:21 192:6     89:7 91:8,13     214:5,7,10
    78:24 86:4         124:7 127:20       212:10 213:9     91:16 97:2,24    217:20 218:24
    243:20             127:22 221:24      299:10           99:14 100:1,6    220:8,17 221:7
  recognize 12:5       248:1            regardless 62:13   100:9,16,20      224:3,5 227:13
    68:20            referenced           289:4            101:1,21,23      232:2,6,14,19
  recollection         14:12,12 38:16   regression         102:15 105:25    234:22,25
    32:21 47:21        102:8 233:1        108:15,17        106:2 109:9,13   235:3 236:10
    74:15,18 83:3    references 14:13     109:13,14        110:11 111:23    236:14,17,20
    112:13 165:15      37:1 95:18         132:9,24 133:3   112:18 113:23    236:25 237:5,9
    166:16 205:23      100:20 101:5       133:18,22        114:10 115:5,8   240:8 241:8,23
    256:16,23          123:6,8,16         134:7 135:1,14   117:12 118:23    242:14 245:12
    257:13,14,20       125:14             136:1,4,20,25    119:19 120:3     245:16 246:25
    258:6            referencing          137:1,19         120:19 125:5     247:9,15,25
  recommended          35:12 72:5         138:21,25        127:16 129:13    248:8 249:1,20
    39:25 289:24       169:15 212:20      139:4,21,25      129:25 130:5     252:11,15
  record 8:2 35:1      276:10             140:1,19,25      130:17 131:25    253:7,12
    62:17,19,20      referrals 27:16      153:18 154:9     134:9 135:18     255:25 257:3
    101:25 102:2,3   referred 65:2        158:1            136:3,13         257:11 258:10
    129:6,8,9,23       66:15,18 100:9   Reisman 3:12       141:18 142:2     258:14,18
    176:19,21,22       164:14 166:7       7:3,3 10:10,16   142:10,20        260:23 266:23
    208:25 209:23    referring 14:5       10:19 11:13,17   143:16 144:5     267:5,21,24
    219:2,4,5          62:5 93:6          11:22 12:2       147:21 150:18    268:6,21 269:8
    268:8,10,11        111:5 117:4        14:10 15:3,15    154:1,20         269:22 270:4
    276:20 291:4,5     121:5 130:19       16:5,25 17:10    155:22 157:16    270:10,21,24

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 112 of 128 Page ID
                                  #6073
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                               Page 333

    271:1,7 273:6      228:25 230:12    remains 96:3,3     250:19            144:14,16,21
    274:12,15          231:2 243:11       103:25         replicating         144:21 145:5
    276:18 281:2       243:12,21        remember 46:24     196:1 207:10      145:15 146:14
    281:10 283:8       271:20 279:21      54:17,22 89:6 replication          152:25 153:1,5
    283:13 286:16      279:22,23          212:4 234:20     206:19,20,23      155:25 156:10
    291:20 292:5       280:1,6,10,23      257:22 258:3,7   207:1,2,3,7       158:23 159:2,3
    292:16 293:11      280:24 281:21    reminded 231:4     218:8,12,14,15    159:4,18,21
    295:5,20 297:1     282:15,16,19     remotely 2:6,13    218:23            160:7,9,22
    297:6              282:23,24          2:19 3:13 4:4  report 5:7,8,9      161:2,12
  relate 38:11,15      285:4 298:13     removal 127:5      10:2,3,13         162:20 164:10
    49:24 89:20      relatively 9:5     remove 98:9        12:11,13,20,25    166:11,13,18
    126:14,15          85:6               125:19,22        13:1,4,5,6,9,14   166:19,21,25
    249:12,14        Relax 175:13         126:4            13:16,17 14:1     167:7,10 168:1
  related 26:10      relevancy 164:4    removed 98:1       14:6,13,14,14     168:6,14,23
    27:17 49:14      relevant 110:3,4     101:12,17        14:20 15:6,24     169:13 170:14
    74:2 75:18         205:7 226:17       120:9 122:8,10   16:2,8,9,12       183:18,20
    77:12 134:20     reliability          122:17,20,23     17:3,9,12,12      188:6 189:10
    284:17             243:11,13,21       122:25 123:5     17:17,22 18:1     189:24 190:16
  relates 1:7,13     reliable 243:10      123:14,20,23     18:1,4,24 19:1    190:21 191:7
    45:22 65:22        243:15 244:21      124:6,8 125:11   19:9,14 20:3,3    192:8,12,15,15
    67:9 85:10         277:20 278:7       127:15,21        20:5,20 22:6,6    192:16 195:9
    283:21             278:15,22        removing 96:18     23:20 29:9        195:11,18
  relating 44:8        279:14,23          98:14 126:11     33:17 38:10,15    196:11,12
    81:11 198:10       280:3,18,25        139:6            39:8 40:25        197:14,18,25
    249:19 285:15      281:18 282:17    render 13:11       66:25 67:4        201:21 203:19
  relation 29:6      reliably 280:10    rendered 54:21     71:2,4 72:16      204:12,18
    118:21 281:19    reliance 201:20    repeat 7:25 26:9   73:4 74:6 90:3    205:11,13,23
    285:17,18,21     relied 199:23        136:19 278:12    90:4,8,12,23      207:3 219:8
  relationship         202:17 203:10    repetitious        92:4,14 94:22     221:15 222:5
    21:4 51:19         221:11 235:11      17:16            95:12,19 96:8     226:19 228:12
    62:14 88:6         260:3 271:13     rephrase 7:22      97:1 98:3,6,14    228:23,25
    133:15 147:13    rely 165:10        replaced 165:6     98:18,21 99:4     229:24 231:1
    193:22 295:24      195:16,19          166:10           99:13 100:5,8     231:11,13,16
  relative 21:2        196:3 279:19     replaces 163:8     100:10 103:1,4    231:24 232:1
    103:23 106:9       279:20           replicable 278:7   104:1,21,24       238:11,16
    109:25 110:1,4   relying 186:7      replicate 195:15   106:18 107:24     240:13 241:1,1
    110:5 119:24       254:8 280:1        195:16,17,20     108:1,4,6,10      241:4 246:17
    124:1 137:8        295:8              196:8,21 197:3   108:11,13,19      247:2 248:13
    146:1,7 152:2    remain 20:25         204:21,23        108:21 109:6,8    248:25 249:11
    164:17 165:14      22:5 80:10         205:14,15,16     109:11,17,22      249:17 251:2,5
    174:18 191:12      96:5,22 101:10     215:16 217:11    110:23 111:11     251:20,21
    191:15,21        remained             217:19,25        114:2,5 116:4     252:13 255:21
    192:2,5,7          103:10 158:6       218:6,20         116:10,13         256:17,23
    193:20 196:6       160:2 167:19     replicated 216:6   141:22 142:5      259:23,25
    197:1 225:3        171:20             216:18 217:2     142:12 143:14     261:8 262:17

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 113 of 128 Page ID
                                  #6074
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                                  Page 334

    263:25 268:17    reporting 4:13     requirements       respect 10:13        194:17 195:24
    269:1,5,8,13       6:18,20 96:1       205:3              12:22 14:3,18      196:9,15 213:7
    269:17,18          106:11 108:17    research 23:10       18:21,24 20:4      237:17 238:7
    270:6,8,11,12      140:2 185:9        24:14 28:25        27:17 36:10        278:4,23 279:6
    270:14,14,15       227:19             31:14 32:7,16      47:14 51:11        281:22 282:4
    270:17,23,24     reports 13:3,4       33:8,24 35:4       59:18,23 60:6      284:22 286:5
    270:25 271:2,4     13:22,23 17:15     36:9 40:3 44:4     61:24 65:4       responses 84:24
    271:6,13,20        17:15,16,20        47:12 48:9,11      74:15 87:25        213:13,14,16
    273:11,12,21       18:9,17 19:3       49:16 51:21        89:1 92:17         215:5,18
    273:22,25          19:11,15,17,18     55:10,14 56:15     102:6 103:12     responsibilities
    274:7,23           19:22,24 20:7      57:19 58:7         103:13 121:12      12:22 29:2
    275:13,20          20:11,15,21,22     59:2,3,12          123:5 125:2        47:8 51:10,12
    276:9 277:10       21:6,8,11,13       61:22 64:11        128:21 137:11      55:24 56:10,10
    277:23 281:8       21:14,16,18,19     66:4,4 74:20       144:10,12          56:25 57:4
    287:1,5 288:2      21:25 22:3,4,7     77:7,9,13,16       155:5 156:7        65:7,15,21
    288:24 289:2       22:8,13,14         77:17,20,21,23     160:16 161:14    responsibility
    289:17             44:13,16,17,20     77:25 78:2,3,8     168:11 177:25      23:6 26:2 55:7
  reported 71:16       44:22,24 45:4      78:10,16,19,23     179:4,12           57:11 80:10
    92:21 93:9         45:7,10,13,17      78:24 79:3,7       193:22 198:18    rest 90:12
    95:24 99:22        45:19,22,24        79:16,19,21,23     206:19 207:7       127:12 195:9
    106:9 110:25       46:9,9,12,19       80:2,4 81:15       212:18 214:3       208:2 209:14
    120:6 122:18       95:11 127:21       81:19 82:23        214:15 215:6       209:17 210:3,6
    124:16 127:8       127:22 154:10      83:23 84:1         215:12 219:25      210:8,13
    131:3 134:1        239:22 241:10      85:9,10,13         228:17 236:22    restated 260:22
    140:9 147:6        254:24             86:9,15,17,18      239:15,20        restrict 137:23
    153:16 155:8,9   repository 89:22     86:22 87:1,5,7     240:12,19          138:10
    155:24 156:14      89:24              87:10,11 88:7      243:7,25 244:2   restricted 276:3
    156:18 157:3     represent 30:1       133:5 178:22       251:6 252:11     restriction
    167:3 176:6      representative     researcher           264:18 279:18      138:16 139:1,5
    179:20 225:21      176:5              39:24 57:15        284:6            result 99:3 119:5
    227:17 229:23    represented          68:8 86:25       respond 233:19       131:6 134:1
    230:10 239:24      30:11 35:18        112:25 133:2     responding           146:18,18
    240:3,9,21,22      125:15 175:5     researchers 14:2     105:14 112:20      149:16,17
    241:2,23         representing         48:14 60:17        165:9 199:13       150:4,5,7,8
    242:14,15          6:17,19 7:1,3      106:11 136:22    response 18:11       166:25 171:20
    243:2 245:3      represents 30:23     136:23 179:17      65:11,24 78:9      173:17,18
    246:7 250:16       122:7 186:25       179:18,21          90:7 92:6        resulted 104:4
    251:18,19          278:19           residence            108:25 109:20      167:25 228:16
    285:1,4          require 237:6,7      160:24             119:20 129:4     results 104:16
  reporter 1:21        273:19 276:12    residential          135:20 137:7       234:5 244:21
    6:18 7:9,11      required 114:16      118:17 287:11      139:5 149:21       244:24 245:3
    274:16 278:9       114:16,18,20     residentially        161:6 163:1        245:11 284:15
    298:8              219:10,15,19       118:8              165:12 166:3     retained 53:9,10
  Reporters            219:22,23,24     residents 157:23     179:25 188:20      53:25 54:5
    298:10             220:5 276:15     resolved 54:1        191:13 194:1       67:22 77:8,14

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 114 of 128 Page ID
                                  #6075
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                                  Page 335

    77:17,19,22        220:19,20,22       115:23 220:6,9      165:14 172:3       137:19,21
    81:14 82:5         220:23,23,25       221:1,5,8,9,10      211:2 213:4,6      139:25 177:5
    84:1 85:9,9,12     221:14,25          223:8,9 225:25      213:13,20          178:8,11
    86:16,21,24        222:2 226:15       231:7 249:19        214:21 215:9     rural 157:22
    87:4               226:16 230:21      250:7,11            215:14 225:3       160:24
  retentions 63:14     233:4,24 236:3   rid 222:25,25         227:16 228:25
    64:25              246:5,15,19      rigger 291:25         230:12,14                 S
  revenue 25:8,13      248:7,10 249:7   right 7:22 8:1        231:2 271:20     Sadoff 9:14
    26:19              249:12,23          10:9 22:21          271:23 279:21      37:24 40:7
  revenues 25:11       250:1,4,6,10       26:22 31:3          279:22,23        salaried 9:19
    26:14              256:23,23          50:9 51:7,16        280:2,2,6,7,10     22:25 23:3,4
  reversal 147:9       268:14,19          57:24 58:8          280:11,23,24       56:1 59:7
  review 12:19         269:9,10,13,17     65:18 72:8          281:5,19,21        79:13,19 80:7
    13:10,17,19        269:18,22,24       83:14 87:22         282:8,15,16,18     80:11 85:19
    14:17,25 15:2      270:6,22           93:2,13 95:21       282:19,24          86:7
    15:6,12,13         291:14 292:9       101:9 105:8         283:20 284:2     salary 58:19
    16:4,14 33:6       295:16 297:6       115:3 116:19        284:16 285:4,5     79:20,22 80:2
    33:12 36:15,21   reviewed 10:18       119:18 128:17       285:14,16,17       80:10 85:23,24
    37:19 39:12        10:22 12:21,25     156:9,19            285:21 286:7       86:4,5,22 87:5
    41:6,8,10,11       13:5,7,11,16       163:12 170:22       291:24           Salt 3:7
    41:15,16 43:5      14:2 15:9          177:9 195:23      risks 106:9        sample 106:8
    43:12,22 50:2      16:18,22 17:7      212:19,24,24        113:1 282:24       162:11 192:24
    66:25 67:2,12      43:8,20 54:18      214:21 215:6      roadmap 187:1        203:24 204:6
    74:4 95:19         115:7 116:1        216:22 222:15       187:4              239:25
    101:6 102:7,19     181:14 201:19      222:24,25         role 23:7,18       Sampson 3:6 7:7
    111:17,20          218:16,18          224:2 229:5       room 43:25           7:7
    115:13,20,21       236:4 246:14       235:2 259:25      rose 293:23        San 1:18 2:20
    115:22,24          246:22 250:21      288:5 291:12        294:18,21          6:1,21 8:5,22
    130:16 133:17      255:19,20,20     right-hand          rough 46:19        Sarah 2:13 4:9
    141:7,10 142:1     255:22 269:5       129:20 211:2      Roundup 83:13      satisfied 209:22
    142:9 143:10       269:25 276:21      212:7,9           row 276:5          save 114:12
    144:3,10,12        280:19 291:8     Rio 82:1,15,17      rubric 39:17       saying 11:19
    178:2,20,24        293:13 294:17      82:20 83:4        Rugbjerg             15:25 18:13
    179:1 187:1,8      296:13,14,15       87:16               188:15,18          21:8 22:15,15
    187:11 188:7       296:18           rise 90:24 96:14      189:14,14,19       30:12 44:14
    189:12 190:17    reviewer 55:12     risen 294:11          190:21             57:7 60:16
    192:10 197:7,8   reviewing 38:20    risk 21:2 24:13     rule 1:9 6:14        71:25 72:25
    197:8,9,9          39:14 103:7        103:23 106:7        216:14             73:25 74:11
    199:25 205:10      133:7 150:15       109:22,24,25      rules 93:19 94:5     79:17 92:5,7
    206:11,13          150:15 205:1       110:1,2,3,4,4,5     94:24 95:2         101:7,13
    207:12 215:24      249:24 288:16      110:16 135:8        179:14 199:18      102:18 113:7,8
    218:20 219:8       294:12 296:11      135:22 136:8        264:2              115:2 119:21
    219:10,15,17     reviews 13:22        137:8 152:3       run 42:1 90:22       120:20 123:21
    219:20,24          23:11,22 29:3      155:25 157:21       99:2,5,20          126:16 130:20
    220:2,4,11,14      43:19 96:19,21     158:2,5 164:18      124:3 126:21       130:24,25


                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 115 of 128 Page ID
                                  #6076
                               Dominik Alexander, PhD
                                    March 8, 2023
                                                                                 Page 336

    131:15 132:14      275:16 288:21       250:22,22,24      108:24 114:2,4     228:17 229:5
    133:11 137:15    scale 193:12          251:16,25         120:24 121:12      229:11 238:19
    140:14,18          211:6             scored 194:25       122:24 124:25      240:9,13
    143:22,24        scenarios 118:17    scores 182:19       125:4 190:18       251:10 261:4
    144:22 145:6     Schoenberger          183:16 189:1      192:9,20 194:3     261:17 262:8
    145:14 146:3,7     2:18                193:20 195:5,6    237:13 238:10      269:1,19
    147:3 151:2,20   science 23:20         195:7,13 196:1    238:12,16          273:13 277:12
    154:3,3,4          24:10,13 32:23      196:3,5 197:19    239:6 246:9        286:12 287:4
    156:25 157:1       49:8 73:19          203:13,16         298:18             287:18 288:24
    162:6 172:16       74:1                251:15          sections 20:8        289:18 291:2
    172:20 174:3     sciences 24:11      scoring 185:17      21:5,12,14,15      291:13,15,16
    174:17,21,23       51:2,4              186:14,21         21:19 35:19        291:19 292:4,6
    184:18,20        scientific 9:14       187:24 190:20     181:23 259:24      292:13,25
    193:5 197:7        9:15 18:3 39:9      192:24 195:15 see 18:20 30:15        293:1,6
    200:17 201:10      44:17 73:21         195:17,18         33:21,25 34:11   seeing 34:21
    205:3 208:8        179:16 180:2,6    Scott 4:13          35:5 38:25         73:13 74:18
    210:17 214:22      189:9 194:5       search 32:17        40:2 94:22         127:7 208:10
    215:23 216:9       198:1 209:4         33:1 39:18        95:15 106:7        208:10 215:5
    216:10,14          283:9               40:18,20 41:3     109:4 117:2,18     217:8 257:22
    233:3,5 251:22   scientist 37:6,13     41:4,7,9,11,16    117:18,21,22       258:7 261:8
    253:13,21          37:18,21 38:6       222:3,8,10        118:1,2,18       seen 72:23 74:14
    261:15,16          38:17 39:11,20      224:18 225:24     119:8,11 122:4     254:25 255:1
    262:23 263:3       40:20 59:14         228:17 229:12     129:18 140:8       262:16 264:22
    263:13,14          151:8 228:9         246:13,23         141:3 147:1        267:11
    264:25 265:16    scientists 60:18      247:8 248:19      149:15,17        sees 291:20
    276:4 278:5        150:17,22         searches 39:24      152:3,11,19      Seidler 233:4
    281:13,24          179:8 189:11        40:1 42:6         155:3 156:13     select 21:15
    284:18,20          199:3,19,21         226:3,21          158:9,13,15,16     178:16
    285:5 296:3        201:11            searching 33:13     158:18,21        selected 130:9
  says 11:7,11       score 131:20          40:19 226:1       160:22 171:2       130:13 131:8
    19:21 21:21        181:20,23         second 2:7 39:24    185:25 196:16      264:9 266:9
    31:12 39:20        182:2,7,13,15       58:12 104:10      199:8 201:23     selecting 221:13
    41:3,4 87:18       182:18 183:1,3      115:8 116:23      201:25 202:14      222:2
    100:21 107:5       183:7,17,21,23      157:18,19         202:16 203:3,9   selection 212:13
    124:2 154:15       183:24 184:2,2      180:22 206:18     204:5,17         self-report
    155:9,16           184:4,5,9,10        211:21 230:2      205:11 208:14      243:15,20
    158:18 170:22      184:11 186:8        273:13 277:15     209:6 210:3,5      260:3,5,7
    183:2,17           187:5,11,15,20      287:20 291:16     210:8,13 211:3   self-reported
    204:14 213:12      187:20,21         section 18:8 19:2   212:15,22          261:22
    225:18 238:16      188:15,15,16        19:4,17,23        213:9,21,22      Semchuk 233:4
    249:3 262:15       189:20 190:2        20:4,8,19,20      214:2,3,12,13    send 32:4
    262:21 264:24      192:5 194:11        21:2,3,4,21,22    214:14 215:25    senior 31:14
    265:11,14,22       194:15,23           21:24 22:1,4,9    216:1,2,11,17      32:6,16 33:8
    266:14,14          195:8,10,20         53:5 103:21       216:20 217:3,9     37:5,13,18,21
    271:13,15          196:23 197:3,6      105:4,13          225:24 228:10      38:6,17 39:10

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 116 of 128 Page ID
                                  #6077
                               Dominik Alexander, PhD
                                    March 8, 2023
                                                                                  Page 337

    39:20 40:3,19       241:15,18          184:21 228:6       17:21 21:2         151:19 157:10
    50:15               243:1 264:2        239:2              192:20,22          163:10 190:22
  sense 121:19          278:24 282:19    shows 142:12         253:17             206:20 227:1,2
    146:25 175:10       282:21 285:3       143:13 145:22    significant 50:3     244:25 248:5
    176:10 206:3        286:9              147:8 193:17       50:4 119:6         263:9 283:3
    253:2             set-up 76:19         225:14             122:1 146:19     single 9:5 24:7
  sensitivity 114:3     78:11            Shrestha 5:13        149:11 157:21      48:7 89:5
    119:4 120:17      sets 149:9           95:20 96:11,17     158:7 160:2        128:5,23
    141:13,22           242:17 286:11      96:18 97:11,12     169:6 177:7        181:20 183:4
    142:6,13          seven 28:3 30:21     97:13 101:12       203:11 279:20      183:21 209:6
    143:20 145:9        82:4 245:21        101:16 103:9     significantly        267:1 294:4,7
    145:10              246:8 250:13       103:24 104:13      44:21,24 45:4      295:8,13,17,23
  sent 10:16 29:9       250:24 251:4       134:5,13,14,18     45:6               295:24 296:18
  sentence 59:22        252:7,18,24        135:9,12         signing 297:12     sir 20:23 25:20
    71:9,10 96:17       286:17             139:12,14,17     Sill 4:13            120:21 210:1
    100:21 102:10     severely 75:3        139:18,20,23     silly 166:5,6        254:20 266:1,6
    103:6,17 104:9    sex 153:2            140:9 148:12     similar 28:19      sit 46:5 89:6
    104:10,11,20      shadetree 64:8       155:14 161:4,8     34:20 72:24        167:23 210:10
    121:7,24          Sharyl 3:12 7:3      161:9,11 162:1     78:9 169:10        210:12 247:13
    157:19 164:16       90:25              162:2,13,20        287:6,17 289:6     247:18 248:9
    167:13 194:12     sheet 5:15           163:6,17,23      similar-type         248:17,21
    229:10 232:7      SHOEMAKE             164:3,11,17        38:5               255:21,24
    273:13 276:17       2:13               165:6,11         simple 91:3,7        256:11 258:20
    281:2             shop 64:7            166:10 168:19      100:2 101:22       259:18,25
  separate 36:4       short 206:5          169:1,6,9,11       111:3 115:16     sits 42:5
    99:20 137:2       Shorthand 1:21       169:15,17,22       128:6 150:3      sitting 40:18
    145:25 224:17       298:7              170:5,16 171:8     155:15,21          43:24 167:20
  separately 111:7    show 20:11 22:4      171:13,13,24       161:25 162:18    situations
    111:8 158:3         22:8 98:23         173:22 174:14      162:24 163:10      112:22 113:14
  September             99:15 102:25       174:23 175:6       177:14,18        six 9:25 53:11
    70:21               104:5,18           175:24 186:1,4     182:1 183:20       82:3 208:22
  series 130:21         108:19 123:14      187:14,19          186:11 189:17      213:14,14,24
    131:1,5,17          164:19,19,21       194:23 238:25      200:16 209:13      213:24
    181:22 223:3        165:2 225:5,7      244:6              226:7 231:10     size 106:8
  serve 16:15           225:11,13        Shrestha's           237:10 239:5       162:11 192:24
  served 15:17          251:2 263:1        187:18             247:22 248:17    slight 201:12,13
  serves 15:23          280:13           sic 189:10           273:4,7 283:17   slightly 42:10
    186:25 187:4,8    showed 19:17,22    side 152:9 174:9     283:24             194:18
  service 299:8,15      145:8 156:1      Siegal's 13:6      simpler 227:21     small 9:5 106:8
  services 26:24        248:23 294:1     Siegel's 13:5,14   simplifying          124:9,19 128:9
    28:11 299:2       showing 279:7        13:16,23 14:13     151:23           smaller 26:4
  serving 66:3        shown 22:1 31:2    sign 195:14        simply 83:11       smarter 10:22
  set 79:22 117:1       68:21 72:24        297:5,6            99:21,22 111:2   smoking 54:8
    117:17 121:9        74:12,13 158:4   signature 297:5      115:1 128:22       153:2 158:20
    148:16 189:8        170:21 176:14    significance         131:3,15           160:25

                       Paszkiewicz Court Reporting
                (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 117 of 128 Page ID
                                  #6078
                               Dominik Alexander, PhD
                                    March 8, 2023
                                                                                 Page 338

  snippet 127:7      sources 12:25         187:14 205:3     staff 21:14 34:4    113:21 114:8
  snips 132:20         17:6 85:6 93:5      216:3 222:4        47:11 48:10       114:18 131:4
  societies 23:14      112:7,14            226:8 229:3,25     52:11             147:4 153:10
  software 42:2,9      177:11 178:13       230:16,24        stand 46:7          160:1 195:11
    42:14,20           203:10 285:11       231:25 232:9       135:19 147:15     225:16 228:19
  sold-out 76:20     South 2:13 3:6        232:19,20          187:13 205:18     229:13 230:2,3
  sole 275:25        Southern 1:7          239:6 247:6        229:16            231:11,15
  solely 64:22         6:11                258:2,15 260:6   standard 20:6       251:3 265:6
    258:22 259:19    space 8:8,16          269:16,21          20:20,25 133:4    266:13 273:17
    259:22 260:1,4     24:3 124:13         289:13,16          133:7,17,25       274:5,6,18,21
    260:6 274:5      span 43:22          specifically         135:3,4,16,23     275:7,9 277:15
  solemnly 7:11        65:10               13:15 25:18        139:13 187:9      278:12,20
  solvent 85:2       speak 27:4 64:16      35:9 36:14         189:7 250:2       279:12 280:16
  somebody 10:22       64:17 80:22         37:7 41:5 48:8   standardized        293:18 298:3,8
    49:2               123:25 151:22       60:9 64:1 67:3     189:9 194:4     stated 26:18
  sorry 14:15        Speaking 137:11       75:19 76:2         255:16 264:22     73:18 95:2
    16:20 27:23      special 1:9 4:6       85:18 98:16        267:9,12 275:1    99:4 109:17,18
    44:23 51:23        6:14 114:12         101:15 103:6     standards           112:7 128:15
    55:4,7 92:5        124:24 183:9        104:7 108:17       198:17 249:10     135:20 144:16
    93:6 95:13         183:12 184:1        108:20 110:22      249:18 268:3      156:4,6 161:2
    97:3 110:1         200:3 208:17        110:25 136:18    standpoint          166:18,21,25
    115:6 138:22       238:1 256:9         154:5,25           127:10 129:2      168:5 192:2,3
    141:8 152:24       258:12 259:3        168:13 174:17      206:23            193:11 194:12
    152:25 154:8       259:14 283:2        204:11 212:3     start 33:5 47:2     196:7,25
    166:4 169:19       283:12 286:13       213:25 225:2       49:24 84:12       206:21 225:20
    170:3 172:14     specialist 255:18     225:17 231:11      143:9 196:9       230:8 231:13
    200:23 201:18      271:17 274:21       231:13,15,24       197:17 230:9      287:1,15,23
    202:1 210:11       275:3,9,18          239:23 254:21      245:22          statement 12:14
    212:8 214:22       276:13,16           256:17 264:20    started 67:12       12:20 17:18
    223:20 224:4,6   specialists           270:14,16          69:5 222:8        59:22 60:6
    229:8 238:13       243:19 273:20       271:21 272:10    starting 18:7       70:23 97:7,19
    238:18 252:12    specific 9:2 20:9   specificity          21:22 33:22       101:7 112:17
    255:9 259:16       30:25 32:25         212:11 230:1       143:11 144:10     113:25 135:16
    263:22 265:7       35:7 39:2,15        271:14,19,20       225:11 238:21     136:6 147:15
    279:3 283:24       40:23 43:17       speculate 204:16     254:4             153:13,15
    285:23 290:14      46:7 54:17          269:20           starts 117:25       172:23 173:1
    292:15             62:12 80:2        speech 208:21        152:10 157:19     189:4 193:19
  sort 49:18           83:9 85:20,21     spending 66:7      state 1:1 6:12,22   193:21 221:19
  sound 236:17         90:22 99:18       spent 26:21          7:2,11 8:2        231:14,23,25
  sounds 172:14        103:13,18           28:20 30:3         46:23 50:24       265:5 277:22
    172:15,20          105:8,10,15,19      39:11 40:15        51:8,23 52:1,4    278:16 279:15
    178:18             110:7,13            79:22              52:9,20,22        280:21 282:7
  source 105:12        121:11 137:5      square 9:3           94:1,3 95:17      288:6,9,12
    107:5 118:10       145:2 155:12      stability 135:5      96:25 109:6,12    289:8,11,15
    181:7 211:11       159:21 175:2      stack 209:19         112:16 113:4      290:1,3,4,10

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 118 of 128 Page ID
                                  #6079
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                Page 339

  statements             160:2 177:6     studies 11:8 13:3   178:5,15,16,22   247:23 248:19
    266:16 270:7         205:6 279:20      13:13,20,21       179:2,5 180:14   250:13,20,24
  states 1:7 6:10      statistics 110:20   14:11,24 15:10    182:14 183:4     251:4,9,11
    70:16 118:6          133:14,15         15:17,22 16:10    184:9 185:4,18   252:7,18,24
    121:24 152:13        134:11 140:2      20:5 25:18,21     186:6,16,21      256:3 257:21
    156:3,19             250:17 282:5      33:3,3,6 35:11    187:12 189:25    258:21 259:19
    157:20 160:4         286:3,4,7         36:8,11,25        192:15 194:1     260:12,14,18
    202:2 275:19       stenographica...    37:2 39:13,14     196:5,11,16,19   261:13,15
    293:2                298:22            39:18,21,23,23    198:16 199:1,6   268:15 273:21
  stating 144:24       stop 109:5          40:2,25 58:2      199:11,16        276:14 278:6
  statistic 94:20        195:25 196:20     89:11 93:20       200:8,13,22      278:20,24
    117:22 134:22        206:18 230:2      96:1,21,24        203:7 205:5,24   282:10 285:4
    146:24 151:24        259:8 260:16      97:8,14,22        205:25 206:7     285:14,20
    152:1 253:22         288:5             98:4,7,19,21      206:24 211:7     286:8 287:6,7
    253:24 254:11      stopped 210:20      99:1,2,10         212:18 214:4     287:10,16
    254:24             straighten          100:3,10,11,12    214:15 215:20    289:3,12,14,18
  statistical 17:21      252:13            100:13,17         216:3 221:13     289:20 290:20
    21:2,3 23:17       straightforward     101:8,12 103:1    222:2,10,14,15   291:1,2,13,24
    29:1 36:23           286:1             103:4,7,14,20     223:3,11,19      292:2,9,10
    37:5,6,11,15       stratified 138:10   103:23 104:2      224:15,17,20     293:13,22
    37:17 38:12,16       138:14            104:12,15,15      224:21 225:12    294:10,17,20
    55:13 80:9         stratify 138:17     104:22 105:3,4    225:14,19,23     294:24 296:11
    112:4 126:12       Street 2:13,19      105:7,9,11,13     226:2,2,4,17     296:13,14,15
    126:18,20            3:13              105:16,20         226:22,24        296:19
    132:8 133:21       strength 121:6      107:14 110:23     227:4,10,15,18 study 5:12,13,17
    133:24 135:25        121:15 124:21     111:7,22 112:8    228:14,20,20     5:19 11:4 22:6
    136:4 137:11         134:17 188:23     114:24 118:22     229:12,13,21     33:18,19 36:17
    137:12,14,17         191:12            121:25 125:13     229:23 230:3,7   36:22 39:11
    137:25 138:3,4     strengths 178:24    126:11 127:1      230:20,21,22     41:6 44:8
    138:6,12,15,20       188:9 191:8       129:18,23         230:23 231:17    87:21,25 89:3
    138:24 139:4         245:7             130:15,19,23      231:24 232:4     92:3,6,9,13,21
    140:9 141:2        strictly 97:14      131:1,8 133:8     232:22,25        93:23 98:1,9
    145:24 146:8       strike 135:10       134:19,25         233:3,7,8,14     98:13 99:18
    146:19 150:11        152:6 157:7       137:22 145:19     233:17,18        110:15,25
    150:20 151:9         200:1 277:8       146:14 148:7      234:8,10,11,13   112:15 113:2
    177:8 178:7,12     strobe 201:7        148:16 149:8      234:14,16,18     113:15 116:19
    192:20,21            202:22 207:19     149:22 162:12     234:21 235:13    116:21 122:6,8
    206:17 244:17      strong 210:16       163:12,12         235:15,15,19     122:9,13,15,17
    250:12 251:3       structure 35:4      164:20,22         238:24 239:1     122:19,20
    252:5,17,22          180:7             165:23,25         243:7,25 244:1   123:11,14
    253:5,17 254:2     stubborn 145:6      166:9 167:14      244:4,18,23      124:15 125:2
    263:8              students 47:11      167:24 171:7      245:1,4,10,15    125:20,23
  statistically 50:3     48:10 51:13,13    171:14 175:4      245:18 246:2,4   126:3,19,22,22
    134:15 149:10        51:14,20 52:15    176:25 177:1      246:14,24        130:13 131:22
    151:1 158:6          52:16             177:19 178:1,3    247:2,5,8,14     132:12 134:12

                        Paszkiewicz Court Reporting
                 (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 119 of 128 Page ID
                                  #6080
                             Dominik Alexander, PhD
                                  March 8, 2023
                                                                                Page 340

   134:17,17          273:18 276:3     subquestions         151:25 164:17      60:25 61:1,6
   137:6 138:8,8      276:11,22          144:11             165:13 166:17      61:11,12 62:2
   140:23 141:10      277:8 278:21     subspecialist        167:19 182:20      62:11 66:19
   143:6 144:13       285:6 287:25       243:16             192:18 206:2       67:21,23 68:1
   147:7 159:7,8      288:21,24        substances           220:25 231:2       68:15 72:1
   161:4,18           289:1,5,6,11       83:19,20 87:12     251:11 262:17      74:3 75:2
   163:22 165:19      289:13,16,22       88:11 89:2         263:24 279:22      76:20 82:24
   169:4 170:4        292:1,19,20      substantiate         280:1,6,9,23       98:22 117:4
   178:21 179:8       293:6,9,19,21      215:22             280:24 281:21      128:9 130:10
   179:13,24          293:23,25        substituted          282:5,15,16,23     130:18,21,22
   180:12,25          294:4,7,12,13      162:1              282:24 285:4       131:3,15,19
   181:20 182:2,7     294:14,14,18     subsume 41:7         286:2,4,6          139:19 141:20
   183:21 184:7,8     294:21 295:1,2     235:20           superior 1:1         143:2 145:6
   184:17 185:1       295:8,8,10,13    subsumes 111:4       6:12 169:8         149:13 156:8
   185:10,12,13       295:16,17,23     subtype 131:1        185:23             156:11 157:2
   186:22 187:2       295:24 296:6     sufficient 49:17   supplement           176:18 191:21
   188:21 191:6,8     296:16,17,18       230:11             170:2,4,5,6        203:20 212:21
   192:5 193:17       296:21,24        suggest 197:16       217:21,21          212:22 213:25
   194:24 195:1,2   study-by-study     Suite 3:6          supplemental         215:2,23 216:7
   196:2 198:11       208:12 250:1     summaries 36:7       5:9 153:21         217:8 220:19
   198:18,23,24     studying 272:6       188:12 192:14      171:19 174:16      239:20 242:10
   199:2 201:25     stuff 58:14          197:7 205:23       174:22 212:21      245:5 248:21
   202:2,7 205:21   subanalyses          206:13 237:22      215:25 216:9       256:21 259:4
   205:21 206:13      145:25             239:3 261:4        216:15             261:14 263:5
   208:1,16 210:3   subcategory        summarize          supplementary        265:3,12,15
   210:21,23          170:19             116:7 188:8        217:7              267:17 271:11
   213:8,12,19      subgroup             205:21 263:21    supplements          290:9,9 291:1
   214:17,18          111:16,16          263:23             217:17,23        surprise 19:25
   215:7 239:10       112:2,3,3,13     summarized           218:2,5            20:14,17,24
   239:11,12          112:24 113:18      15:24 17:12      support 25:19        21:7,10 22:3
   240:3,13,16        114:3,19 137:5     38:21 50:2,3       25:22,25 56:16     22:12,18 199:7
   244:8,14,20,24     138:14 145:18      159:2,18 160:9     56:22 57:20      surprising 19:19
   244:24 245:3,5     146:11 147:7       234:6 240:2        66:4 88:6 97:6     22:11
   249:24 252:2,6     151:13,15          269:2              293:17           survey 131:2,18
   252:18,23          153:9 279:25     summarizes         supportive         suspect 286:16
   254:17,19        subgrouping          234:7              294:14           swear 7:10
   258:23 259:21      111:19,19,21     summary 12:16      sure 10:20 15:4    Syngenta 3:3,3
   260:3,6 261:5      112:17 113:6       16:9 35:11         17:1 25:12         7:8 61:16,17
   261:17,22,23       113:21 286:25      70:25 95:23        26:17 27:25        61:22,24 62:8
   262:2,2,3,7,16   subgroups 287:2      96:3 101:10        32:20 35:16        62:10
   263:3,5,5        subject 34:4         103:10,23          41:4 45:6,12     synthesis 187:2
   264:3,13,16      submit 20:12         104:16 116:4       46:13 47:19        190:15 286:21
   266:13 267:1       57:17              116:14 123:7       49:4,5 50:14     synthesize 178:5
   271:23 272:20    submitted 14:1       146:13,15          50:16,17 53:21   system 181:2,3
   272:25 273:2       22:13              151:5,16,16,24     54:20 60:9,19      181:15 184:18

                     Paszkiewicz Court Reporting
              (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 120 of 128 Page ID
                                  #6081
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                                 Page 341

    195:15,17,18       192:10,13,17       205:21           tanner 5:19 14:4     206:14 207:15
    211:9,10,13,23     197:8 205:24     talked 21:12         14:9,19 15:1       209:10 224:15
    212:1              212:22 216:15      62:4 87:13         16:1,23,24         234:12 248:14
  systematic 15:13     218:10 233:1       88:8 113:18        95:20 152:7,13     250:22,24
    33:12 40:21        233:14 234:1,9     135:5 162:15       152:22 153:1       253:4,16
    111:20 178:20      235:7,21 239:2     167:8,12           153:23 155:1       260:23 268:3
    219:8,15,17,20     239:3              202:18 207:9       156:6,10 159:7     268:13,15,19
    220:4 221:1      tabulated 233:1      243:14 244:15      159:23 161:4,9     274:18 277:7
    249:12,19,23       233:21             246:23 265:9       161:11 162:1,3     285:13 288:5
    250:1,4,6,10     tact 20:25           275:14             162:20 163:23      290:12
    289:24           tactical 81:4      talking 20:13,14     164:4,10,12,17   telling 16:2
  systematically     take 10:25 18:5      22:7,17 36:5       164:21,22          145:2 146:5
    15:9 220:24        29:4 44:10         43:24 44:2         165:2,3,5,11       148:7,9 187:10
                       46:18 50:7         49:2 52:15         165:17,19,24       188:25 197:20
          T            51:13 53:4         62:12 70:4,5,7     166:1,10,20        205:13 265:18
  table 18:5,6         84:12 87:15        84:3 88:24         167:1,14,15,17     284:15
    19:22 33:15,21     88:15 89:4         102:5,22,23        167:25 168:18    tells 212:6
    34:11,17 92:2      99:25 100:14       117:25 119:16      169:1,9 173:21   Template 35:6
    92:18 119:11       100:15 101:20      122:21 123:10      174:12 175:23    templates 33:15
    147:2 153:17       101:23 106:23      124:10 125:5       188:14,17          33:21 34:16,17
    154:5,6,7,8,11     107:8 116:14       127:11,13          189:13,19        Temple 3:6
    154:13,15,19       141:3 149:25       128:2,3 139:2      190:22 236:2,4   temporality
    155:8,24 156:3     176:17 188:14      147:24,25          236:8,23 237:3     238:21,24
    156:12,15,20       188:21,22          148:3 153:9        237:12,13,17     ten 209:18 219:1
    158:4,13,16,18     195:23 197:11      163:9 169:7        237:21 238:3     ten-minute
    160:13,17,22       205:3 206:2        171:22 174:5       238:11,16          209:15
    160:24 161:23      212:5 216:1        175:21 196:1,2     239:6 241:20     tenure 46:25
    162:15,16,19       218:25 219:1       196:23,24          241:22 242:8     tenured 52:25
    171:20 174:16      233:21,25          198:16 201:7     Tech 4:13          term 17:19
    175:6,7,8,12       240:23 241:12      203:16 206:19    techniques           41:11 109:22
    175:21 181:21      247:11,18          245:14 254:3       234:5              110:5 162:7
    182:8,14 183:4     259:24 267:21      263:16 264:25    tell 10:12 29:16     164:7 237:1,2
    183:22 184:8       271:5,6,9          265:17,25          33:4,9 42:1        267:7,11
    185:3,4,17,19      280:9 283:13       267:10 273:14      63:1,7 67:7      terms 15:5 18:1
    186:15,16,22       283:15 284:21      276:6 280:18       71:11 76:21        20:9 26:16
    186:23 187:17      287:4,18           290:4 292:24       89:16 90:12,18     27:2 28:20,22
    190:23 192:21      288:25 290:19      295:14             90:22 98:3,6       36:13 37:8
    193:15 201:22      291:1            talks 124:14,14      98:13,18           45:19 46:12
    207:14,15        taken 1:17 7:20      202:5              103:12 106:20      50:1 51:19
    217:12 234:6,7     9:20 91:1        Tang 102:15,16       107:1 141:21       56:1 60:1 62:9
    234:12,13,18       188:12           Tanga 105:20         142:25 155:9       72:17 74:1
    234:21           talk 44:13,15        249:6              163:5 164:22       82:3 88:22
  tables 33:17,23      72:7 113:16      Tangamornsu...       167:23 191:11      89:10 110:17
    33:25 35:5,11      117:5 127:12       102:14,18,20       191:14 192:1       110:19 113:8
    35:17 36:8,21      153:1 158:23       104:18,24          193:8 196:7        132:22 134:11

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 121 of 128 Page ID
                                  #6082
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                                 Page 342

    134:21 145:8       81:7,14 84:15      197:15 238:9       122:18 124:14      53:13 75:13
    149:1 167:11       113:4 144:4        239:9 259:14       128:22,25          76:5,5 90:25
    169:4 174:20       167:21 185:2,5     277:6 290:11       131:7 133:13       95:17 96:19,21
    179:25 181:1,7     187:12 188:16    thankfully 88:5      139:9 144:9        96:24 101:6
    188:4,22 192:7     188:19 233:10    the-- 203:3          149:12 151:23      102:7,21,22,24
    204:3 205:9        246:17 248:3     theory 240:20        152:25 154:17      142:21 149:22
    207:10,12          255:20 260:18    thereof 285:3        155:1 164:14       169:10 213:24
    212:25 216:21      260:21 262:13    thesis 49:10         164:24 165:15      233:7,9,11,12
    218:23 222:8       262:20,24        thing 77:18          166:16 167:21      233:17,17,22
    222:10,20          263:11,18          102:18 117:11      170:1 192:13       234:1,2 235:25
    233:19,20          265:10 268:21      126:9 172:17       195:11 199:6       247:4 266:23
    235:15 239:21      269:9,10 270:1     172:19 233:3       204:18 209:22      286:20 287:14
    240:2 249:7        270:11 281:11      269:12             211:24 217:3,4     287:22 289:4
    250:8 254:10       283:5 298:22     things 89:21         217:8 219:18       291:17
    267:9,17           298:24             110:10,13          220:10 221:20    three-quarters
    270:14,15        tests 106:13,21      113:13 132:20      232:3,21           129:20
    271:19 278:5       107:1              154:4 158:19       233:21,22        tier 291:14,14
    278:21 287:6     Texas 76:9           162:7 164:8        234:16 235:5       291:18,18,21
    287:11 290:25    text 11:11 13:9      171:17 172:22      235:18 241:8       291:21,25
  terrible 39:6        69:13 71:15,23     189:6 206:4        241:17 244:11      292:8,8,10,19
  test 106:23          72:21 73:15        227:20 232:8       246:3 248:4        292:20 293:6,8
    107:6,21,23,25     98:25 120:6,8      237:20 257:19      250:16 256:2       293:19,21,23
    108:6,12,13,18     122:10 124:2       263:1 264:24       260:25 262:20      294:4,7,11,13
  testified 18:23      158:12 188:7       265:1              265:17,18          294:14 295:1
    19:1 53:7,9,21     188:13,22        think 12:12          270:4 271:9        295:16,17
    53:23 54:2,4       189:1,21           14:16 16:14        283:12 284:13      296:6,7,16,17
    54:23 68:2         190:15,19          18:18,19 22:13     285:8 286:14       296:22,24
    198:19 261:7       191:7 192:18       30:19 31:7         287:4,19,24      tiers 291:14,25
    294:3,6,25         192:21 218:9       45:17 47:16,19   thinking 259:1       292:10
    296:6              224:2,5,6,12       47:19 48:10      thinks 142:21      time 6:7 9:20,24
  testify 45:5,9       224:13 226:14      49:22 50:11        144:8              10:25 26:9,21
    53:25 54:16        226:15,16          51:2 52:10       third 104:11         27:24,24 28:20
    262:12             261:1              62:24 63:6         273:13 299:3       28:22 30:3
  testifying 81:14   textbooks            68:21 72:2,14      299:12,16          32:8 33:12
  testimony 7:12       254:12 255:5       73:1 75:13       thought 30:17        34:16,25 35:1
    17:4 18:25       texts 72:15          76:5,9,18,19       125:15 157:9       35:1 39:4 40:5
    34:1 39:1          192:14             79:8 81:8,16       189:18,25          40:15 46:22,23
    41:10 42:15      Thank 31:4           82:4 83:2 86:2     190:24 195:5       51:18 52:18
    44:18,20,22,25     62:16 109:21       87:16,17 91:9      223:20,23          56:3,6 58:12
    45:8,11,13,20      111:15 120:10      95:22 96:15        224:8 248:12       59:24 62:18,21
    46:18 56:6         121:23 123:18      97:3 101:3         269:10 272:10      63:1 64:24
    62:24 63:8,10      125:16 129:5       104:9 109:23     thoughts 114:22      65:9 66:7
    65:1 67:22         147:17 164:6       111:13 113:10    three 11:12,21       75:25 79:21
    68:16,17 73:8      167:4 169:19       116:20,24          11:23 22:25        81:11 85:19
    73:11,22 80:17     176:16 188:2       117:2,3,16         23:1,3 24:17       91:3,13,15

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 122 of 128 Page ID
                                  #6083
                                Dominik Alexander, PhD
                                     March 8, 2023
                                                                                    Page 343

    98:17 102:1,4     told 27:25            269:24 270:18       250:7 272:16       171:9 180:23
    102:17 114:12       125:14 129:1        298:23              272:18 273:5,7     189:20,22,25
    129:7,10 140:6      142:18,20,22      transparent           282:11 292:9       190:2,24
    143:7 163:12        186:13 191:22       199:18              297:13 298:24      208:19,24
    176:20,23           249:1 258:14      transparently       truly 175:4          213:12,16
    178:21 193:6        285:19              199:24            truth 7:12,13,13     214:24,25
    200:3 202:1       tolerant 91:12      trappings 73:20       266:15             222:16 234:20
    208:20 219:3,6    Tomenson            travel 76:23        truthful 262:20      235:25 239:1
    236:7 239:4         235:16            travelled 76:24       262:23             243:22 276:5
    247:21 248:16     tool 70:21          treatment 89:10     try 176:10           277:19 291:14
    249:3 250:21      top 89:13 117:24      116:19,20           177:13 197:19      291:14,19,21
    257:14 265:20       125:6 141:5         117:3               209:24,25          291:24 292:8
    268:6,9,12          144:10 149:22     trend 147:11        trying 57:3          292:10
    271:11 272:5        150:1 152:10      trial 44:18 88:19     111:14 118:20    two-study 130:8
    281:4 283:18        181:16 201:8      trials 198:14,15      118:24 145:5     type 19:5,6,13
    286:16 291:7        202:2 222:9         198:23              162:16 163:9       19:15 20:10,13
    297:8 299:6         223:21            trichloroethyl...     175:10,14          34:11 39:17
  times 18:23         topic 33:7 43:11      84:17,25            200:16 252:13      41:16,21 43:2
    45:10 51:25         48:4 49:10        trick 162:23          258:25 264:12      44:3 45:25
    75:5 112:22         54:19 66:24       trip 47:18,20,25      272:23 282:22      54:6 56:2 60:2
    142:21 143:13       67:3,18,19,24       48:2,8              284:12             63:19 74:6
    167:3               68:6 77:10        tro 189:9           turn 30:14           76:18 77:20
  Tinto 82:1,15,17      81:15 84:15,19    true 10:3 16:24     twice 100:10         80:24 95:11
    82:20 83:4          85:15 86:6,17       20:7 21:4 26:8    two 9:12 11:11       119:1 130:15
    87:17               86:18,25 163:7      37:1 55:2           11:21 17:6         132:3 136:25
  title 1:9 6:14        178:4 229:24        68:22 70:12,23      18:13 19:6         179:16 180:5,7
    154:12              286:17,18           85:22,24 93:23      22:22 23:1         184:2 185:23
  titled 22:9 72:11   topics 77:10,11       102:9 108:4         24:8 29:11,18      198:22,25
    154:11 201:22       84:14 87:10         113:22 115:13       30:6 31:1 32:3     201:12 239:16
    211:2 238:15      total 22:25 30:10     121:2,19,20         40:6 47:16,17      239:25 248:10
    238:18 239:6        30:11,16,21,23      132:10 135:21       47:20 48:1,7       258:3,4 262:17
  tobacco 61:3          30:24 31:2,2        136:1,2,5,7,16      49:21 53:13,13     262:17 265:2
  today 7:12,20         31:17,19 32:5       148:1,25            61:20 62:5         278:25 284:1
    12:21 16:2,18       60:19 187:15        150:21 158:24       76:4,13 77:25      285:25 286:2
    39:1 41:10        totality 13:11        161:5,10            82:4 93:1,11       288:1
    51:25 73:9,22       32:8 128:17         166:14 179:5        93:25,25 94:1    typed 89:19
    89:6 167:20,23      232:12 236:12       179:13 180:12       95:4,9 96:25     types 20:5,11
    208:3 209:13      totally 127:21        189:3 200:9,12      110:6 118:12       34:18 42:8,19
    247:13,18         toxins 83:21          207:23 210:4        126:18 132:9       60:18 114:24
    248:10,17,21        87:12               210:13 211:7        145:24,25          133:18 137:6
    255:21,24         tracking 117:16       212:19 216:19       146:8 149:3,8      199:1 225:14
    256:11 258:20     train 288:17          217:11 219:11       149:9,24 150:9     227:15 287:6
    259:18            trained 288:17        221:9 226:11        150:11,20,25     typically 17:19
  today's 6:6         transcript            227:5 234:19        152:3 153:5        19:7,15 20:10
    16:21               268:22 269:3        240:7 242:3         157:25 158:3,6     39:6 64:6,24

                       Paszkiewicz Court Reporting
                (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 123 of 128 Page ID
                                  #6084
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                                Page 344

    88:18 106:7       91:16 96:9        unreliable 244:3     251:23 280:7    115:4,7,12,14
    111:24 112:2      101:21 104:8       244:6,21,24         281:17 282:7    115:20,22,23
    112:10,12         188:24 189:18      245:3,11,19         282:11 284:15   115:25 116:10
    114:7 179:15      190:21,23          246:6 279:1         285:16,20       116:16,18
    196:14 199:18     196:20 209:21      280:5,9 281:8       287:9,11 288:3  117:3,6,6,15
    199:23 201:11     217:14 218:6      unscientific         288:10,14,17    119:15,17,22
    220:23 235:11     228:11 231:21      237:6               288:23 289:9    120:24 121:13
    254:15 288:19     239:21 259:12     unstable 135:2,7     290:6,12,16     122:12 123:25
    289:21            259:13 263:2       135:15,22           293:5           124:11 129:12
  typing 42:24        264:12 272:9      untruthful         uses 100:12       129:21 130:3
    43:1             understanding       263:13,14           127:12 139:15   131:10 210:21
                      15:1 49:7 60:2    update 233:15        211:13,14       210:23 212:7
          U           61:8 69:9 73:5     235:23            usual 7:21        215:21 218:16
  UAB 58:1            73:14 74:22,23    updated 163:15     usually 76:15     218:21 249:6
  ultimately          83:3 96:16         163:16 235:12     Ut 3:7 43:19    Vaccari's 116:8
    177:20 228:16     205:22 240:20      235:16,22         utilize 94:12     116:18,20
    246:14            256:15,18         URL 27:14            99:11 105:12  valid 279:25
  umbrella 109:24     260:20,25         USA 3:10             179:17 199:15 validated 289:8
    110:5             267:23 272:17     use 17:19 41:9       201:4,6 220:15  289:10,11,14
  unable 33:9         288:3,10,13,20     41:11 66:14         229:21 290:24   290:1,7
    242:8 272:13      288:22 289:9       87:6 107:9        utilized 73:6   validating 37:3
    272:14            290:6              110:17,19           93:19,22,24   validation 13:20
  unacceptable       Understood          111:1,4,7,7,11      94:11,16        39:19 132:2
    220:7,14 221:5    7:23               128:24 134:13       103:14 104:3    290:10
    253:11,14        undertaken 84:9     138:15 142:16       104:22 128:4  validity 181:19
  unadjusted         undertook           152:14,17           138:3 165:3     208:16 261:3,6
    243:2             216:21 265:2       153:4,11,24         171:11 191:24 value 107:18
  unaware 60:12      unexposed           154:11,16           198:7 201:2     122:2 164:25
    226:24            152:18             155:4,10,17         202:20 215:22   173:19 251:14
  unchanged          unfamiliar 74:8     156:21 157:24       225:6 249:11    254:16
    171:21            74:9               158:2,3,5           260:11 261:12 values 252:3
  underlying         unit 241:1          159:23 162:20       294:4         van 91:18,20,24
    92:23 179:20     United 1:7 6:10     163:23 171:6,7    utilizing 127:5   92:2,17,18
    242:17 243:1,6   univariant          171:12 181:17       293:19          93:1,9 94:7,13
    251:25            157:19,20          185:2,16                            94:16,20,22
  Underneath         universities        186:14 187:10            V          148:13 252:6,9
    202:5             23:13 29:1         188:7,16 196:4    Vaccari 5:17      252:17 273:18
  underreporting      55:13              198:5 199:21       97:18,22 98:4    274:5,8,19
    106:6            university 25:23    200:7,14           98:14,15,19,23   275:7,17,22
  understand 7:21     32:24 46:25        202:19 203:13      99:1,10,19       276:7
    12:8 30:12        47:2,9,15,23       207:2,4,4          100:19,20,24   variability 38:24
    34:8 58:14        48:20 50:10        211:13,18,19       100:25 101:2     134:1 135:5
    61:21 69:17,18    51:23              211:25 212:1       101:13 102:6,9   136:8 180:1,3
    70:4 75:8        unreliability       223:18 232:19      103:2,4,5        180:14,17
    79:17 84:10       245:24 279:8       237:2 247:7        105:9,11,12      199:19 201:13

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 124 of 128 Page ID
                                  #6085
                              Dominik Alexander, PhD
                                   March 8, 2023
                                                                                 Page 345

    279:5 280:14     verbiage 20:10     wait 115:10        282:3 285:19      week 25:1
  variable 94:3      verifying 39:17    waive 297:5       waste 91:13        weeks 9:23,25
    132:24 133:25    vernacular         walk 101:18       water 83:1 87:24   weighed 182:22
    135:21 173:17      88:22            Walkup 2:18        88:5 160:25        184:16 185:12
    278:21           versus 21:3 84:1   wall 267:2        way 8:22 15:5       185:14 187:6
  variables 110:7      84:1 107:18,19   want 10:1 12:10    27:7 43:23        weighing 262:20
    132:12,17          174:22 191:13     14:10 18:5        44:18 46:20       weight 119:13
    134:7,16 135:2     191:14 220:2      30:15 34:6,17     58:24 62:14        119:14,15,22
    135:15 136:1,5     232:17            55:16 58:13,15    63:11 70:13        119:24,24,24
    136:24 137:2     Vesey 3:13          65:20 77:5        79:18,25 84:23     120:18 187:7
    138:20,24        vetted 56:16        79:25 81:3        84:23 97:25        188:11 189:5
    139:3,12,16,17     65:12             89:12 98:3,18     105:21 129:21      192:7 197:13
    140:13 158:15    Video 1:16          98:25 101:23      141:1 150:16       236:5,13,21
  variance 107:14    Videographer        105:23 109:6      150:17,22          237:2,18,19,23
  variants 93:17       4:12 6:5 7:9      117:14 123:10     173:2 176:8,15     238:5 243:20
    119:25 133:8       62:17,20          125:16 151:12     177:25 184:16      245:24 246:1
  variation 254:17     101:25 102:3      176:1 182:12      186:24,25          293:2
    254:19             129:6,9 176:19    183:9 188:24      196:22 197:16     weighted 93:10
  variations           176:22 219:2,5    189:13 195:25     207:4 211:17       93:12 120:2
    201:12             268:8,11 291:4    200:4 202:19      220:7 239:22       181:4,24
  variety 35:22,23     291:6 297:4,7     202:24 204:16     241:16,16          184:15,24
    43:15 60:17      videotaped 6:5      205:17 212:5      243:23 244:6       186:9 193:1,4
    77:11 81:17      view 73:25 74:2     212:20 215:2      244:12,17          193:8
    85:5 86:5          81:2 142:8        216:7 218:25      245:6 246:3       weighting
    109:3 113:12       264:21 265:2      220:19 231:22     248:22 259:11      182:25 189:16
    115:1 189:6        266:20,21,24      233:16 234:22     284:24 285:24      191:15,21
  various 23:15        267:16 273:1      237:25 247:5      287:7 289:6,19     192:6 193:9
    56:22 60:18,20     293:14            249:2 255:3       295:25 296:9       196:24 197:1
    80:12,22 84:14   viewed 188:10       259:7 268:22     ways 133:10,19     weights 191:23
    84:15 137:9      viewpoints          269:19,23         136:18,19,21       192:2 193:20
    140:2 167:5        293:3             270:22 271:7      137:9 138:19       196:6
    232:8 252:10     virtue 238:7        274:15 283:13     138:23 139:2      Weisman 2:5
    255:4 259:1        286:3             283:15            198:20 199:3,9    welcome 168:22
    282:18           visible 183:18     wanted 10:19       199:11 200:6      well-cited 194:4
  varying 230:11     visually 107:12     189:18 228:7      283:11            well-established
  vast 18:8 19:10      166:11,13        wants 82:7        We'll 104:19,20     207:18
  vehemently         vitro 223:11        100:4 259:9       143:7             well-known
    150:23             224:20            270:21           we're 114:21        112:24 161:17
  vehicle 45:15      voice 65:2         Washington         149:13 214:6       254:23
    46:17 63:15,20   volume 268:1        3:18             we've 122:15       well-utilized
    64:7             volunteer 44:3     wasn't 31:6       website 27:10,14    208:14
  Venable 5:16       voter 11:3          32:13 76:20      Wednesday 1:19     wells 5:7,11 13:6
    68:22 70:16                          101:14 108:23     6:2                13:14,15,23
  veracity 263:16         W              159:1 238:23     weed 66:10,12       14:16,17 16:7
    264:25 266:17    W-H-E-Y 86:12       255:19 261:9      67:2,14 290:22     16:15 17:3

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 125 of 128 Page ID
                                  #6086
                             Dominik Alexander, PhD
                                  March 8, 2023
                                                                               Page 346

   95:18 102:8       263:5 285:9       176:4 177:18       274:24 275:16     world 51:15
   103:21 105:14    weren't 55:17      177:24 181:12      275:19,20          55:12
   109:1,20 141:6   whatnot 29:7       182:5,17           276:8,9           wouldn't 20:17
   141:9,11          68:8              183:15 184:4      work 9:10 22:22     20:24 21:7
   142:22,23        whey 86:9,12       190:5 191:20       26:5,10,12         22:3 28:16
   161:7 165:9,12   wide 43:15,22      195:22 197:5       27:17 28:6,14      41:13 51:15
   194:2,17 207:3    240:25            202:16 203:2       28:16 31:14,17     57:12 58:23
   207:10 244:19    widely 172:4       208:18 210:15      32:15 37:5         70:13 79:17
   245:17,19         206:15            220:9,18 221:8     38:5,5 39:7,8      84:22 108:2
   246:8,13 247:7   wife 23:5,18       224:4,6 227:14     55:4 56:2,5        130:7 134:10
   247:23 248:7     window 267:16      232:3,21           59:6,8,13          134:22 139:24
   249:12,17,24     witness 7:10,14    236:21 240:9       60:13 61:15,17     146:21,23,24
   250:3,13,24       11:14 14:15       247:1,16 248:9     62:7 64:8,13       149:23 169:2
   251:4,13 252:7    15:4,16 16:6      249:21 253:8       64:14,20,24        193:12 253:2
   252:24 255:6      17:1,11 18:13     253:13 257:12      78:13 79:7,11     write 23:10 58:5
   255:22 256:12     26:16 29:17       259:13 260:25      79:24 81:8,11      58:17,19 62:8
   257:8 258:21      30:18 34:9,15     267:25 269:1       82:5 83:4,5,6,8    65:7,14 95:23
   259:18 260:2,8    36:3,13 37:13     269:16 270:13      83:9,21 85:15      193:15
   260:10,13,17      38:19 43:8        271:8 274:13       85:24 86:5,17     writing 25:25
   261:12,21         53:21 54:16       281:3,12 283:8    worked 28:5,17      26:12 36:15
   264:14 268:14     55:21 56:5,13     292:6 293:12       31:20 39:5         56:24 57:5
   268:16,20,24      58:23 60:16,25    295:6,21           44:3,7 55:1,10     65:22 67:8,9
   269:6 270:8,15    61:5 64:16        298:19 299:10      59:4 61:6 64:3     73:6 74:10
   270:19 271:22     67:13,15,21       299:15             64:10 68:6         80:8
   272:20 273:11     68:15 71:14,25   witness' 281:11     78:19 79:8        written 21:19
   273:14,17,22      76:17 79:5       woman 119:17        80:14 81:18,25     36:14 71:17
   273:25 274:5      80:7 84:8,22     women 113:2         82:7,8,11,13       74:17 188:22
   275:7,19 278:4    85:5 86:2        wondering           82:15 84:17        190:15
   278:22,24         88:14 89:9        269:4,20           87:1,8            wrong 100:15
   279:1,22 280:8    91:2,17 97:3     Woods 4:8          worker 145:19      wrote 57:8 58:4
   281:1,23 282:5    97:25 101:2      word 19:18,18       145:21             68:25 69:4,6,7
   282:20,25         102:20 110:12     19:24,24 20:14    workers 11:8        69:13 70:6,11
   286:6,9           111:24 112:19     20:14,16,16,20     147:7 169:3        100:24 116:20
  Wells' 13:4        118:24 119:21     20:20 21:5,5,8     276:4 286:22       204:20 277:23
   17:13 248:3       120:20 129:15     21:8,24,24         287:8 288:3,6      278:16
   249:8 251:10      130:1,6,18        22:2,2,9,9 41:9    288:8,13,14,22
   252:18 280:4      132:1 134:10      58:24 89:5,5       288:23 289:9             X
   284:21 285:2      135:19 141:19     89:14,14           289:10 290:5,6    X 27:12
  went 47:22,24      142:4,12          124:13,13         working 25:22
   82:3 89:2         143:18 147:23     165:17 181:17      28:25 39:2                Y
   155:3 169:6       154:2 155:23      207:2 268:4        43:2 57:24        Yeah 55:21
   222:1,23          158:12 159:1     words 41:21         64:7 66:7 78:7      61:11 119:21
   223:12,21,22      159:14 160:20     118:2 142:17       80:13 86:3,7        224:6 274:13
   224:7,9,14        168:4,8 170:7     246:3 263:10      works 60:22        year 33:18 44:25
   225:17 226:9      171:17 173:25     263:16 274:23      177:3               45:1,2,10,18


                     Paszkiewicz Court Reporting
              (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 126 of 128 Page ID
                                  #6087
                            Dominik Alexander, PhD
                                 March 8, 2023
                                                                               Page 347

    46:10            160:13,17,24     1.9 39:11            264:1 265:6      12:37 129:7
  yearly 45:8        164:24 165:7     1/19/22 40:3         277:8            120 222:9
  years 28:3 43:10   166:10 182:11    1/20/23 10:2,4     108 169:22         122 198:5
    43:15 44:16      185:7              12:11            108- 5:13            201:17,18
    46:11 47:3,22  1.0 149:7          1:22 129:10        1099 9:17 23:1,1   122- 5:18
    48:13 52:11    1.01 92:22 93:15   10 5:8,9 253:9     11,7- 29:23        124 152:8
    53:12,13,14,15   93:16 94:8,22    10/25/21 31:12     11,700 30:22       124- 5:19
    61:3 62:25     1.08 123:1,8         32:6,16          11/15 37:22        15 81:23 109:23
    63:7 66:13,16    128:16           10/27 33:8 36:18   11/15/21 36:23       152:15 155:3
    66:18 76:2,4   1.09 96:11,13      10/27/2022           37:6,18            155:18 273:22
    81:15,23,23      146:13,18          34:13            11/16 38:5,7         273:22 274:4,7
    85:14 118:13     169:17,23        10/27/21 34:23     11/16/2021 39:1      274:19,23
    118:14 160:8     170:17,21          35:8,14,24       11/16/21 38:17       275:4,6,7,10
  yes-or-no 91:2,5   171:2              36:1,10          11:44 102:1          275:13,16,20
    182:1,6,12     1.1 151:25         10:29 62:18        11:57 102:4          276:8
    183:2,10       1.11 150:5,7,15    10:46 62:21        112 29:4,5,21      152 5:19
    186:12 208:20    151:3,6          100 32:4,5 45:10     30:2 31:11       157 5:12
    219:19 237:25  1.13 170:1,7,12      63:6 126:13        201:16,17        1585 157:15,16
    239:5          1.2.2 120:22         147:4,15         112- 5:14            157:17 159:9
  yesterday 10:6   1.210 91:20,24       204:18           113 89:15,16,18      160:1
  York 3:14          92:1,17 93:8,9   101 145:15,16        90:17 91:19      16 188:15
                     94:12,16           274:1,2          113- 5:15            234:18 235:1
          Z        1.25 119:8 120:8   101- 5:7           114 68:19,20       16769 8:5
  zero 119:13        120:13 122:5,7   102 10:1,2,7         70:15            169 5:13
    120:2,18 124:1   122:23,25          11:1,25 12:5     114- 5:16          17 19:17,18,22
    251:18,19        123:4,22 124:2     12:11,13 13:10   115 5:17             19:24 20:15
    254:25           124:14 125:1,4     18:4 94:21       116 181:16           22:8,12,14,17
  Zwica 9:14         125:10 127:22      147:18 201:22    117 11:9,16          195:17 275:5
    32:19,21 33:9    128:11,12        102- 5:8             162:19 163:4       275:15
    33:10,24 34:13 1.41 170:21        102-A 10:8,12        182:8,14         175 210:25
    36:21 40:6     1.42 92:22 93:12     10:14 11:1,25      183:18 184:5     177 129:12,13
                     93:14              12:5,13            184:21 185:3,7     129:15
          0        1.43 117:20        10281-1047 3:14      185:17 192:1     18 116:17 182:8
  0 92:11            120:12 122:18    102A- 5:9          118 115:3,6,12       182:14 195:17
  0'Conner 70:17     123:3 124:16     103 5:10 94:22       116:10 152:25      275:5,15
  0.14 150:1         127:22 128:11    103- 5:10            162:19 163:4     189 116:25
  0.84 170:21        128:13           104 95:14,15         183:18 184:6       117:13,14,18
  0.88 146:16      1.44 282:1           96:5 97:5          184:21 185:3,7     117:21 214:1,8
  0.92 150:15      1.46 166:20,24       164:15 261:20      191:11 192:1     19 118:13
    151:5,6 152:1    167:21,25        105 261:20,20        210:23           190 116:15,17
  04 55:1,5,5        168:4            105- 5:11          118- 5:17            116:24 117:13
          1        1.64 165:15        106 157:11,13      11895 1:21           117:14,14,18
                     166:17 168:4,8     157:18             298:9              117:25
  1 31:4 118:13
                     168:12           106- 5:12          12 66:13           192 120:16,16
    158:13,16,18
                   1.88 279:22        107 263:18         12/3/21 39:10        120:23 125:6

                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 127 of 128 Page ID
                                  #6088
                            Dominik Alexander, PhD
                                 March 8, 2023
                                                                             Page 348

  193 125:6,7      2017 70:21         250 3:13 25:7      232:2,4,4,7      5:40 268:12
  198 5:18         2019 51:24,25      261 5:11           233:3,6,18       50 28:21 45:9,10
  1997 116:19,21     52:3,7,16        273 5:7            234:3,18,24        253:10
    119:4 157:11     116:18 201:19    283 222:21,23      246:24 247:1,7   5031 1:9,9
                   202 3:18 223:19      223:12,15,19     247:8,14,23      51 3:17
           2         224:15             223:22 224:1,9   248:6,19         53 11:5 235:24
  2 80:24 98:10,20 2020 18:23 19:3      224:11,14        287:24           55 169:13
    99:3,12 101:10   19:24 20:15      29 5:14 187:15   32502 2:14         57 153:1
    103:3,16,25      22:8,13,14         187:20 194:23 326-3939 3:14       58 18:23 19:3
    104:4,16,23      95:20,25 103:9     194:25 235:5   36 95:12,13,13       22:17
    158:4 160:6,8    103:24 104:13      247:6            95:15 97:6,7
    160:22 214:10    161:8 165:6      2900 2:7           102:6,23                6
    214:13 217:13 2023 1:20 6:2,7                        164:14,16        6 150:1
    221:24 222:3,6   12:3 299:19              3          167:9,12,13      6:22 291:4
    222:9 225:10   2025.320 298:15    3 153:17 154:5,7 373 222:10,19      6:25 291:7
  2.0 95:24 96:3,6   298:20 299:7       154:8,11,19      222:23 223:12    6:34 297:8,9
    96:12,14,22    2025.320(c))         155:8,24 156:3   223:22           60 3:6 148:24
    97:16,22 98:6    299:17             156:12,15      38 234:2,2,3,3       254:1
    99:24 103:11   2025.540(a))         217:14         39 11:2 33:20,22   60,000 161:19
    164:18 165:14    298:20,25        3.2 31:18 32:7     33:25 34:12,21   61K-144 8:10
    167:19         2093 298:18        3.45 118:5         35:5,15 38:22    650 2:19
  2.01 150:1       21 188:15          3.550 1:9 6:15     192:14           66 158:23
  2.3 40:9         212 3:14           3.8 92:11,11                        68 5:16
  2/14/22 40:17    216 2:8            3:21-MD-3004...           4
  2/22/22 40:17    22 21:22 184:10      6:10           4 18:7 119:11              7
  2:37 176:20        187:17,20        3:21-md-3004...    122:3,4,5,7,22   7 5:3 120:17,20
  2:51 176:23        235:18,19          1:5              123:6,17,19        148:8 149:15
  20 43:15 118:13    292:13,13,15     3:52 219:3         125:10,14,15       150:3,6,9
    160:8 253:9      292:17,23        30 253:9,17,19     127:20,23          261:21
    254:25 255:1   23 52:13             253:21,24      4.3 33:8 34:12     700 3:6
  200 32:5         23,000 29:22       3004 1:8 6:12    4.8 38:6           74 231:8
  20001 3:18       23,400 30:23       31 228:12,14     4/16/21 38:11      76 238:13,21
  2004 55:6        24 221:17,18,20      229:10 231:14 4:09 219:6          77 238:14
  2010 55:1          221:22 222:5       231:25 232:2,4 40 25:1 81:22      781-1111 2:8
    292:20           225:1,5,7,9,14     232:5,7,25       158:23 255:1     79 231:15
  2011 14:4,19       225:21,23          234:16,17      415 2:20           7th 12:3
    15:1 95:20       226:8 227:2,8      247:2          44 148:22
    152:7 161:4                       316 2:13         44113 2:7                  8
                     227:13,14,22
    165:5 168:18                      32 224:23,24     46 92:4,14 93:9    8 1:20 6:2,7
                     227:25 228:6,8
    236:2,4,8                           225:6,17,19    4655 1:17 6:20       19:10,22 170:2
                     230:9 231:15
    237:3,14 238:3 25 152:18            226:4,10,16                         170:6,8 174:16
    238:11 239:6                        227:4 228:4,12          5           174:22 175:6,7
                     221:20,22
    241:22                              228:14,19      5 169:21             175:8,12,22
                     225:5,8,9,22
  2014 55:6                             229:6,12 230:7 5.61 150:1           233:10,12,17
                     226:8 227:3,22
    273:18                              231:6,12,17,24 5:26 268:9         80 227:4
                     228:1

                     Paszkiewicz Court Reporting
              (618) 307-9320 / Toll-Free (855) 595-3577
Case 3:21-md-03004-NJR Document 3957-1 Filed 04/03/23 Page 128 of 128 Page ID
                                  #6089
                            Dominik Alexander, PhD
                                 March 8, 2023
                                                                Page 349

  801 3:7            118:6
  8016 298:11      98 98:23 100:13
  81 223:16,17,19    100:17,25
    223:23 224:1,9   101:11,16
    224:11,14,22     105:1
    224:23 225:6
    225:17,19
    226:10,13,14
    227:4,4,18,22
    227:25 228:4
    231:9
  84111 3:7
  85 63:9
  86 198:17,20
    199:6
  868 152:8,9
    155:16 156:6
  869 153:22
  87 276:2
  877-8140 3:7
  879-3689 3:18
  88 146:19
    273:10,16
  889-2919 2:20
  89 5:15
          9
  9 20:4
  9:08 1:19 6:3,7
  90 63:9
  91 271:13
  92 150:8 251:10
  92121 6:21
  92128 8:6,22
  94 277:10
    286:24 289:4
  94108 2:20
  95 93:18,18,18
    94:24 95:3,7
    118:5
  96 105:2 164:25
    165:2,3,17,18
    165:20,22
    166:14 170:14
  97 108:23 109:4


                      Paszkiewicz Court Reporting
               (618) 307-9320 / Toll-Free (855) 595-3577
